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   Via Email                                                           January 27, 2023

   Jason G. Sheasby
   Irell & Manella LLP
   1800 Avenue of the Stars, Suite 900
   Los Angeles, CA 90067


          Re: Samsung Electronics Co., Ltd. et al. v. Netlist, Inc., Case
                No. 1:21-cv
                         cv-01453-RGA-JLH (D. Del.)

   Dear Jason:

           We write on behalf of Plaintiffs Samsung Electronics Co., Ltd. (“SEC”) and Samsung
   Semiconductor, Inc. (“SSI”) (together, “Plaintiffs”)
                                                     ”) regarding deficiencies in Defendant Netlist,
   Inc.’s (“Netlist”) January 13, 2023 responses to Plaintiffs’ First Set of Requests for Production
   (Nos. 1–65) (“Netlist’s RFP Responses”). Please let us know when Netlist will amend its responses
   and supplement its document production to correct these deficiencies. Please also provide your
   availability in the week of February 6, 2023
                                             23 to meet and confer regarding these issues.

   Netlist’s General Objections

           Netlist objects to the Requests “to the extent that they seek to elicit confidential business
   information, trade secrets, other proprietary information, or information subject to
   confidentiality agreements or protective orders that prohibit dissemination of such information,”
   and states that it “will produce such information, if requested and not otherwise objectionable,
   only pursuant to the restrictions of confidentiality obligations to third parties and/or a protective
   order or any other suitable protections agreed to by Netlist.” Netlist’s RFP Responses at 4. As
   Netlist is aware, Local Rule 26.2 provides for protection of confidential information until a
   protective order or other confidentiality agreement is in effect. L.R. 26.2. Please confirm that
   Netlist is not withholding any documents responsive to any of Plaintiffs’ Requests on this basis. If
   Netlist is withholding responsive documents on this basis, by February 6, 2023, please provide to
   Plaintiffs a list of the withheld documents and, for each withheld document, (1) Plaintiffs’
   Requests to which the document is responsive, (2) the reason(s) why the document requires
   protection, and (3) the reason(s) why Local Rule 26.2 does   es not provide adequate protection for
   immediate production of the document.

           Netlist objects to the Requests “to the extent they seek information subject to
   confidentiality obligations to third parties and/or a protective order,” and states that it “will not
   produce confidential third-party information without the third parties’ consent.” Netlist’s RFP
   Responses at 5. Please confirm that Netlist is not withholding any documents responsive to any
   of Plaintiffs’ Requests on this basis. If Netlist is withholding responsive documents on this basis,
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   please confirm by February 6, 2023 that Netlist has sought all necessary consent from the relevant
   third parties to timely produce these responsive documents. Also by February 6, 2023, please
   provide to Plaintiffs a list of the withheld documents and, for each withheld document, (1)
   Plaintiffs’ Requests to which the document is responsive, (2) the identity of the relevant third
   parties that must provide consent for Netlist to produce the document, (3) the reason(s) why the
   document requires protection, and (4) the reason(s) why Local Rule 26.2 does not provide
   adequate protection for immediate production of the document.

           Netlist “objects to Samsung’s definition of ‘Accused Product,’” and states that it “will
   interpret the term as products Netlist accuses of infringing one or more claims of its asserted
   patents in this Action and products that operated in a substantially similarly manner.” Netlist’s
   RFP Responses at 7. But Plaintiffs are entitled to seek information relevant to “any party’s” claims
   and defenses. FRCP 26(b)(1). Plaintiffs’ claims include claims for declaratory judgment of non-
   infringement. D.I. 14. Plaintiffs are thus entitled to seek information regarding any products that
   are the subject of those claims. Netlist articulates no reason or justification for its objection to
   Plaintiffs’ definition, and its redefinition of “Accused Product” to encompass only the products
   relevant to its own infringement claims is plainly improper. Please confirm that Netlist will
   withdraw this objection and produce all information sought by Plaintiffs’ Requests under
   Plaintiffs’ definition of “Accused Product” provided on Page 4 of Plaintiffs’ First Set of Requests
   for Production (Nos. 1–65).

           Netlist “objects to Samsung’s definition of the term ‘Communication,’” and states that it
   “will interpret the word ‘communication’ to mean ‘electronically stored information’ (‘ESI’) as it
   is used in the Federal Rules of Civil Procedure and the Local Rules.” Netlist’s RFP Responses at 7.
   But Netlist’s stated reasons for its objection do not provide a proper basis for categorically
   excluding non-ESI from its search and production. Please confirm that Netlist is not withholding
   any information based on Netlist’s interpretation of this term.

   Netlist’s Objections and Responses to Specific Requests

           RFP No. 2: Netlist states that it will produce “documents sufficient to show conception,
   reduction to practice, diligence in reduction to practice of Netlist asserted claims of the patents-
   in-suit.” Plaintiffs’ Request is not so limited. The Request seeks all information regarding the
   development of the subject matter of the Asserted Patents. This would include all information
   regarding the history and trajectory of development of the alleged inventions of the Asserted
   Patents and any information that tends to prove or disprove that the inventors had conceived of
   the alleged inventions, reduced them to practice, or diligently reduced them to practice. Limiting
   the production to documents that support conception, reduction to practice, or diligence is
   improper.

          Netlist objects to producing “drafts” and documents and communications relating to
   “development of the subject matter of each of the claims of the Asserted Patents.” But drafts are
   highly relevant to conception, reduction to practice, and diligence. And all documents and
   communications relating to development are highly relevant to evaluating the documents
   regarding conception, reduction to practice, and diligence that Netlist has committed to
   producing.
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          Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   2.

           RFP No. 3: Netlist states it will produce “documents sufficient to show the invention of
   Netlist’s asserted claims of the patents-in-suit.” Plaintiffs’ Request is not so limited. The Request
   seeks information about each person involved in the alleged inventions of the Asserted Patents,
   not simply documents that describe the alleged invention itself. The Request also seeks
   information relating to the contribution of each person to the claims of the Asserted Patents,
   including information about the contributions of each named inventor.

          Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   3.

           RFP No. 18: Netlist objects to the use of “Asserted Patent Family Members” and “Related
   Litigations.” But the specifications of patent families contain overlapping subject matter, and
   prior art to one patent can be highly relevant to the interpretation, validity, and enforceability of
   another patent in the same family. And to the extent that Netlist’s infringement theory relies on
   industry standards (e.g., JEDEC), prior art identified in litigations involving products practicing
   the same standards are similarly relevant. Further, Netlist’s knowledge of the documents or things
   that have been identified as being prior art is not publicly available or accessible to Plaintiffs. For
   example, invalidity contentions are not made public as a matter of course, so invalidity
   contentions served on Netlist in other litigations are much more readily available to Netlist than
   to Plaintiffs.

          Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   18.

          RFP No. 19: Netlist states it will produce “documents sufficient to show secondary
   considerations of non-obviousness of the subject matter of Netlist’s asserted claims in this
   Action.” Plaintiffs’ Request is not so limited. The Request seeks all evidence regarding secondary
   considerations, including all information that tends to prove or disprove that the alleged
   inventions of the Asserted Patents: were commercially successful; solved a long-felt but unsolved
   need; were failed by others; demonstrated an unexpected result; achieved industry recognition;
   were viewed by others with skepticism; were invented nearly simultaneously by others; or were
   copied by others. Limiting the production to documents that support non-obviousness is
   improper.

          Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   19.

          RFP Nos. 20–21: Netlist states that it will produce “documents sufficient to show the
   conception and reduction to practice of Netlist’s patents in suit” and “documents sufficient to
   show the design and operation of Netlist’s products that embody Netlist’s asserted claims of the
   patents-in-suit.” These Requests are not so limited. The Requests seek all information regarding
   the development of the subject matter of the Asserted Patents and products embodying the claims
   of the Asserted Patents. This includes all information tending to prove or disprove that the
   inventors had conceived or reduced to practice the alleged inventions, and all information
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   January 27, 2023
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   showing whether, when, and how any products embodying any claims of the Asserted Patents
   were developed and tested.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP Nos.
   20–21.

           RFP No. 29: Netlist states that it will produce “documents sufficient to show the public
   disclosure and sales of Netlist products that embody one or more asserted claims of Netlist’s
   patents in suit.” This Request, however, calls for promotion, marketing, and advertising materials
   and includes subject matter claimed in an Asserted Patent or Asserted Patent Family Member,
   not public disclosure or sales of a product embodying a claim of an Asserted Patent. There is
   significant overlap in the subject matter contained in the specifications of patent families.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   29.

           RFP No. 31: Netlist states that it will produce “documents sufficient to support the
   royalty rates Netlist contends applicable to the patents-in-suit.” This Request is not limited to
   Netlist’s contentions in this litigation for the patents in this case. The Request seeks all
   information regarding any royalty rates that have been established for the use of the Asserted
   Patents or Related Patents.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   31.

           RFP Nos. 37–38: Netlist states that it will produce “documents of the assignment record
   of the patents asserted in this Action.” But these Requests are not limited to assignment of
   ownership of the patents; the Requests encompass any assignment of any interest or rights to the
   patents. The Requests are further not limited to interests or assignments that have been recorded
   with the USPTO. Further, RFP No. 37 seeks information in addition to mere identification of
   rights or interest in the patents, such as documents relating to acquisition of the patents, including
   agreements with assignors or named inventors and documents exchanged with third parties
   relating to the acquisition of the patents.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP Nos.
   37–38.

           RFP No. 52: Netlist states that it will produce “documents sufficient to show the
   construction of claims of the patents in suit in previous litigations.” But this Request seeks
   contentions and communications by Netlist and third parties regarding claim construction, not
   merely a court or tribunal’s final constructions in prior litigations. This information is highly
   relevant to claim construction, and Netlist’s knowledge of various claim construction positions
   and the evidence therefor is not publicly available or accessible to Plaintiffs. For example, claim
   construction exchanges and evidence may not be made public as a matter of course, so claim
   construction papers served on or by Netlist in other litigations are much more readily available to
   Netlist than Plaintiffs.
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           Netlist objects to the use of “Asserted Patent Family Members,” but the specifications of
   patent families contain overlapping subject matter, and the construction of the claims of one
   patent can be highly relevant to the construction of the claims of another patent in the same
   family.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   52.

           RFP Nos. 54–55: Netlist states that it will produce “license agreements relating to
   Netlist’s patents in suit.” Netlist’s narrowing of these requests is improper. License agreements
   and licensing offers relating to Related Patents are clearly relevant, because the definition of
   Related Patents includes patents that are highly likely to be seen as technologically comparable to
   Asserted Patents. Still further, RFP No. 55 seeks information relating to offers and counter-offers,
   not merely license agreements—including information concerning whether any such offers and
   counter-offers were RAND-compliant.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP Nos.
   54–55.

           RFP No. 60: Netlist states that it will produce “documents sufficient to support Netlist’s
   contentions that one or more claims of Netlist’s patent-in-suit is standard compliant (if
   applicable).” This Request does not seek documents relating to Netlist’s contentions regarding
   whether claims of Asserted Patents are compliant with an industry standard; instead, the Request
   seeks documents and communications relating to Netlist’s contentions regarding whether
   Netlist’s licenses, agreements, or offers to license were RAND-compliant.

            Please confirm that Netlist will provide the full scope of materials responsive to RFP No.
   60.

           RFP Nos. 2, 3, 30, 33, 35, 36, 45, 47, 52, 54, 55, 64: Netlist states that it will produce
   certain documents that “are located after a reasonable search in accordance with” the Court’s
   Scheduling Order. These Requests seek documents and communications relating to certain facts,
   as described in each Request. There are no specific provisions in the Scheduling Order regarding
   the timing of searching for and producing documents and communications relevant to the subject
   matter of these Requests. For example, documents reflecting facts concerning marking of
   products practicing Netlist’s patents are not claim construction disclosures, infringement and
   invalidity contentions, responses to contention interrogatories, or expert disclosures covered by
   the Scheduling Order. See D.I. 61. Please confirm that Netlist will not delay its search for or
   production of materials responsive to these Requests.

           RFP Nos. 1, 4–17, 22–27, 34, 39, 42–44, 46, 50–51, 53, 57–58, 61–63: Netlist
   states that it is “willing to meet and confer” with Plaintiffs regarding the subject matter and scope
   of these Requests. Please provide your availability in the week of February 6, 2023 to meet and
   confer regarding these Requests.

                                             *       *      *
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          The foregoing is not an exhaustive recitation of all deficiencies in Netlist’s discovery
   responses. Further, discovery is ongoing and Netlist states that responsive documents “will be
   produced on a rolling basis.” Netlist’s RFP Responses at 1–2. Plaintiffs reserve all rights to raise
   other deficiencies in Netlist’s discovery responses and productions as their investigation and
   discovery progresses.



                                                                       Sincerely,




                                                                       Thomas Garten
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                                                                      March 3, 2023



                   VIA EMAIL

                     Neal Hoopes
                     Covington & Burling LLP
                     One CityCenter, 850 Tenth Street, NW
                     Washington, DC 20001-4956
                     nhoopes@cov.com

                                Re:         Samsung v. Netlist, No. 21-cv-1453 (D. Del.)

                   Dear Neal:

                          We write regarding Samsung’s requests that Netlist produce “everything” from two
                   separate legal proceedings before the International Trade Commission (“ITC”) despite that
                   they do not involve any of the patents-in-suit: Certain Memory Modules and Components
                   Thereof, Inv. No. 337-TA-1089 (ITC), and Certain Memory Modules and Components
                   Thereof, and Products Containing the Same, Inv. No. 337-TA-1023 (ITC) (the ITC Actions).
                   The parties have discussed this issue in the context of Samsung’s RFP Nos. 23–24 during
                   two separate conferences.

                            When the parties conferred on February 9, 2023, Samsung argued that the ITC
                   Actions are relevant because they involved patents that are in the same family as the patents-
                   in-suit. Netlist asked Samsung to provide case law supporting its requests for “[a]ll
                   Documents” from the ITC Actions. Samsung did not provide any such case law before the
                   parties again met and conferred on February 28, 2023, when Netlist repeated its request.
                   Samsung replied that it was under no obligation to provide supporting case law, and stated
                   that it would not do so. Netlist further asked whether Samsung could provide any factual
                   support for its relevance arguments, for example, the extent to which the ITC Action patents
                   shared claims or terms with the patents-in-suit. Samsung confirmed that it reviewed the
                   public filings of the ITC Actions, but replied that it had not analyzed the ITC Action patents
                   and had no intention of doing so. As the party seeking discovery, however, Samsung bears
                   the burden to establish the relevance of the requested information. Invensas Corp. v.
                   Renesas Elecs. Corp., 2013 WL 12146531, at *2 (D. Del. May 8, 2013) (quotation omitted).

                          As you are aware, Netlist has lodged numerous objections to Samsung’s requests for
                   materials from the ITC Actions via RFP Nos. 23–24. Primary among those objections is the
                   sweeping breadth of the requests, which seek “[a]ll Documents” without limitation. Indeed,
                   Samsung confirmed during the parties’ February 28 conference that it seeks “everything”
                   from the ITC Actions. As Netlist has further explained, and as reflected in Netlist’s
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         objections, Irell was not of record in the ITC Actions, and must obtain any non-public ITC
         Actions materials from Netlist’s counsel of record in those actions. That counsel is bound
         by the terms of the Protective Orders governing the ITC Actions, which forbid disclosure
         beyond their terms absent “an order by the Commission or the Administrative Law Judge.”

                 Samsung asserted during the parties’ February 28 conference that it need not take
         proportionality into account in seeking discovery. Netlist strongly disagrees. Samsung is
         equally bound by Rule 26, which limits the discovery that Samsung may seek to what is
         “relevant to any party's claim or defense and proportional to the needs of the case.” Fed. R.
         Civ. P. 26(b)(1). Samsung’s requests must be so limited. Requests for “everything” from
         the ITC Actions facially violate Rule 26.

                 The Scheduling Order requires that the parties engage in “good faith efforts” to meet
         and confer to resolve discovery disputes. Dkt. 61, ¶ 8.g. Given Samsung’s refusal to narrow
         and/or justify its requests, Samsung has yet to satisfy its obligations under the Scheduling
         Order. Netlist reiterates its request that Samsung provide legal and factual support for its
         requests, as described above, and make a good faith effort to narrow its requests so that they
         comply with the proportionality requirements of Rule 26. We look forward to hearing from
         Samsung accordingly in advance of our next meet and confer.

                                                      Very truly yours,




                                                      Thomas C. Werner

         cc: Counsel of Record (via agreed service emails)




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 Via Electronic Mail                                                 March 8, 2023

 Tom Werner
 Irell & Manella LLP
 1800 Avenue of the Stars, Suite 900
 Los Angeles, CA 90067


        Re:     Samsung Electronics Co., Ltd. et al. v. Netlist, Inc.,
                Case No. 1:21-cv-01453-RGA-JLH (D. Del.)

 Dear Tom:

         We write in response to your March 3, 2023 letter concerning Samsung’s request for
 documents relating to Netlist’s prior assertion of patents related to the patents-in-suit, including
 in the ITC actions that Netlist commenced against SK hynix, Inv. Nos. 337-TA-1089 and 337-
 TA-1023 (the “Related ITC Actions”). Although the parties first met and conferred on this issue
 more than a month ago, Netlist still has not stated whether it will produce such documents.
 Instead, your letter simply rehashes—and misstates—the discussion from the parties’ meet-and-
 confers. While we have provided a detailed response below, it is improper under the rules for
 Netlist to deliberately withhold its position in an apparent attempt to delay discovery.
 Accordingly, please state which documents, if any, Netlist will produce from the Related ITC
 Actions by Friday, March 10, 2023.

        First, Netlist’s claim that it lacks any understanding of whether the patents asserted in
 the Related ITC Actions are relevant to the present case is not credible. Netlist is the alleged
 patent owner and was a party to each proceeding. Netlist does not need a detailed explanation
 from Samsung as to the overlap between those cases.

         In any event, the patents asserted in the Related ITC Actions are clearly relevant to the
 current action. Contrary to the assertion in your letter, Samsung has analyzed the patents
 asserted in those actions (and Samsung never said otherwise). Indeed, as you acknowledge in
 your letter, when the parties conferred on February 9 and 28, Samsung explained that the ITC
 actions are relevant because they involved patents that are in the same family as the patents-in-
 suit, with shared inventors and the same technology: performance of memory subsystems in
 computer systems. For instance, the ’623 patent from the -1089 ITC action and the ’218 and ’595
 patents in this action are all continuations tracing back to U.S. App. No. 13/942 ,721; therefore
 those patents contain identical technical drawings, identical descriptions of those drawings, and
 identical detailed descriptions of the invention. The same can be said for the specifications of the
 ’064 patent from the -1023 ITC action and the ’523 patent at issue in this litigation.
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         Further, the patents Netlist asserted in the -1023 action were asserted to accuse the same
 types of JEDEC-compliant products as in the current action, see, e.g., 337-TA-1023, Public
 Complaint ¶¶ 82–87 (’434, ’501, and ’064 patents asserted against LRDIMM products) and
 ¶¶ 88–89 (’837 patent asserted against LRDIMM and RDIMM products), including the same
 features or functionality of those products, see, e.g., 337-TA-1023, Initial Determination, 2017
 WL 11569255, *27–33 (’434 patent), *65–71 (’837 patent) (U.S.I.T.C. Nov. 14, 2017), and include
 overlapping claim language, see, e.g., ’434 Patent cl. 1 (including “control module” and “data
 module”); ’837 patent cl. 1 (including “memory module,” “memory controller,” “notification
 signal,” “notification circuit,” and “modes”). Similarly, the patents Netlist asserted in the -1089
 action were asserted to accuse the same types of JEDEC-compliant products as in the current
 action, see, e.g., 337-TA-1089, Public Complaint ¶ 62 (’907 patent asserted against LRDIMM
 products) and ¶ 64 (’623 patent asserted against LRDIMM and RDIMM products), including the
 same features or functionality of those products, see, e.g., 337-TA-1089, Final Initial
 Determination, 2020 WL 4500711, *12–14 (’907 patent) (U.S.I.T.C. Apr. 21, 2020), and include
 overlapping claim language, see, e.g., ’907 Patent cl. 1 (including “memory controller,” “address
 and control signals,” and “data module”);’623 patent cl. 1 (including “module controller” and
 “open drain output”). The above points are by no means exhaustive and serve only to illustrate
 the relatedness of the patents at issue in the Related ITC Actions and the resulting relevance of
 those litigations overall.

         Samsung also stated during the parties’ meet-and-confers that the Related ITC Actions
 are relevant to Samsung’s RAND breach of contract claim. Both Netlist and SK hynix referenced
 and took positions during the course of the ITC litigation on (1) the provisions of the Samsung-
 Netlist Joint Development License Agreement (“JDLA”) and (2) Netlist’s RAND obligations. See
 337-TA-1089, Initial Determination (U.S.I.T.C. Nov. 4, 2019); 337-TA-1023, Initial
 Determination (U.S.I.T.C. Dec. 4, 2017) (summarizing and analyzing the parties’ arguments
 regarding the interpretation of the JDLA and Netlist’s RAND obligations).

          Second, your letter incorrectly asserts that Samsung refused to provide any supporting
 case law to Netlist. Although citation to case law should be unnecessary given the clear relevance
 of the Related ITC Action documents, the case law supports Samsung’s position that its
 discovery requests are proper. See, e.g., Inventio AG v. ThyssenKrupp Elevator Ams. Corp., 662
 F. Supp. 2d 375, 381 (D. Del. 2009) (compelling production of documents from a previous case
 related to a patent not asserted in the later action because the earlier-asserted patent and the
 patents-in-suit “possess a common inventor” and share “a technological nexus”); Qualcomm
 Inc. v. Broadcom Corp., 2006 WL 8455382, at *9 (S.D. Cal. Aug. 14, 2006) (holding that
 litigation documents concerning “the Qualcomm patents-in-suit [and] Qualcomm patents
 within the same family tree as the Qualcomm patents-in-suit,” are relevant and, accordingly,
 compelling production); cf. Ormco Corp. v. Align Tech., Inc., 498 F.3d 1307, 1314 (Fed. Cir.
 2007) (“[S]tatements from prosecution of a familial patent relating to the same subject matter
 as the claim language at issue . . . are relevant in construing the claim.”).

         Further, Netlist is incorrect that it may not produce in this action any non-public ITC
 materials absent “an order by the Commission or the Administrative Law Judge.” Netlist is not
 precluded from producing materials that implicate only Netlist’s confidential information, and
 Netlist needs no authorization to produce to Samsung what it produced in the ITC actions.
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 March 8, 2023
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         To the extent other documents from the Related ITC Actions contain confidential
 information of other parties, Netlist need only acquire consent from those parties to produce the
 documents and is required to begin seeking such consent—which Netlist should already be
 doing given its commitment to produce documents from the SK hynix district court cases. See
 337-TA-1089, Order 1 (U.S.I.T.C Dec. 4, 2017) § 3 (allowing disclosure with “written permission
 from the supplier”). In doing so, Netlist must disclose to Samsung the identities of such parties
 and the status of Netlist’s request for consent. If consent is withheld, the parties can resolve this
 issue before the district court or the ITC at the appropriate time. See, e.g., Certain
 Microelectromechanical Systems (“Mems Devices”) and Products Containing the Same, Inv.
 No. 337-TA-876, Order 25 (U.S.I.T.C. Sept. 24, 2013) (granting motion requesting permission to
 use ITC protected information in a related district court proceeding because there was no
 showing that “the district court’s procedures for maintaining confidential documents are in
 some manner lacking”).

         Third, Netlist’s overbreadth objection is also misplaced. As an initial matter, Netlist may
 not refuse to produce any documents in response to a document request simply because Netlist
 objects to the production of some documents that would otherwise fall within that request.
 Moreover, contrary to your assertion, Samsung never stated that it need not take proportionality
 into account. Instead, we explained that the requests are proportional, as the relevance and
 importance of the documents easily outweighs any burden to Netlist, particularly given that the
 documents are already in Netlist’s (or its counsel’s) possession.

        Nevertheless, in an attempt to compromise, Samsung is willing to limit the initial
 production to discovery requests and responses, pleadings and other filings, expert reports,
 deposition transcripts of Netlist fact witnesses and the parties’ expert witnesses, and trial
 transcripts from the Related ITC Actions. Samsung reserves the right to seek additional
 materials falling within the scope of the requests based on its review of this initial production (or
 other developments in the case). Please confirm by March 10 that you will promptly produce
 these documents.



                                                                      Sincerely,

                                                                      Neal Hoopes
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                           EXHIBIT D
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                                                                                                               TELEPHONE (310) 277-1010
    N EWPO RT BEACH, CA 92660-6324
       TELEPHONE (949) 760- 0991                                                                                 WEBSITE:   www.irell.com




                                                                    March 17, 2023



                   VIA EMAIL

                     Neal Hoopes
                     Covington & Burling LLP
                     One CityCenter, 850 Tenth Street, NW
                     Washington, DC 20001-4956
                     nhoopes@cov.com

                                Re:         Samsung v. Netlist, No. 21-cv-1453-RGA (D. Del.)

                   Dear Neal:

                           We write in response to your March 8, 2023 letter regarding Samsung’s requests that
                   Netlist produce materials from two separate legal proceedings before the International Trade
                   Commission (“ITC”) despite that they do not involve any of the patents-in-suit: Certain
                   Memory Modules and Components Thereof, Inv. No. 337-TA-1089 (ITC), and Certain
                   Memory Modules and Components Thereof, and Products Containing the Same, Inv. No.
                   337-TA-1023 (ITC) (the “ITC Actions”).

                           We appreciate that Samsung has finally made an effort—as it must under the
                   proportionality requirements of Rule 26—to narrow its requests from “everything” from the
                   ITC Actions to something less than that. We also appreciate that Samsung has finally made
                   an effort to provide the factual and legal bases for its requests.1 We take great issue with the
                   aspersions cast at Netlist in your letter, which are not well taken. Netlist has engaged on this
                   matter in good faith, as required by the Court, D.I. 61, ¶ 8.g., something that Samsung
                   repeatedly refused to do—despite our repeated requests—until last week.

                                Relevance of Samsung’s Requests

                           Despite Samsung’s claims, it is less than clear that materials from the ITC Actions
                   are relevant to this action. For example, by Samsung’s logic, any litigation in which
                   LRDIMM or RDIMM products are accused of infringement would be relevant. Does
                   Samsung intend to produce materials from other litigations in which its LRDIMM or
                   RDIMM products are accused of infringement? Samsung also argues that ITC Actions

                                1
                             Your letter claims that Netlist “incorrectly asserts that Samsung refused to provide
                   any supporting case law to Netlist,” without further explanation or justification. The fact is
                   that, until March 8, Samsung did not provide any supporting case law, despite our February
                   9 and February 28 requests. Please refrain from any further misstatement of the record.
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           Neal Hoopes
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         materials are relevant because this action and the ITC Actions involve JEDEC standards.
         Again, does Samsung intend to produce materials from its other litigations involving JEDEC
         standards? Samsung further argues that the language of certain patent claims overlap
         between this action and the ITC Actions. As you know, however, no party has identified
         any patent claims for assertion in this action. Netlist’s disclosure along those lines are not
         due until April 27, 2023. D.I. 61, ¶ 7.c. Samsung’s speculation of the claims Netlist has yet
         asserted in this Action is not appropriate. Further, certain examples Samsung pointed to in
         its discovery letter are generic terms used generally in all patents relating to memory
         technology, e.g., “memory module,” “memory controller,” “modes,” and “address and
         control signals.” As this Court has pointed out to Samsung while denying Samsung’s
         motion for leave to file a Second Amended Complaint and granting Netlist’s motion to
         dismiss, “Samsung’s characterization of the underlying technology as computer memory
         modules is too broad,” and would improperly “sweep in every patent that Netlist ever
         obtains relating to memory modules.” D.I. 37 at 9–10.

                 Samsung further claims that the ITC Actions are relevant because the ITC Actions
         parties “referenced” and “took [unidentified] positions” regarding the Samsung-Netlist Joint
         Development License Agreement (“JDLA”). Samsung fails to explain how such
         “references” or “positions” directly bear on the parties’ claims or defenses in this action.
         Samsung cites no specific text or even page numbers from any ITC Action filing, all of
         which are public, at least in redacted form. Samsung may not base its relevance arguments
         on such vague hand-waiving.

                      Proportionality of Samsung’s Requests

                  Although Samsung has made an effort to narrow its requests from “everything” to
         something less than that, Samsung has not actually narrowed its requests in accordance with
         Rule 26. Samsung offers only a proposed “initial production” scope. Elsewhere in your
         letter, Samsung effectively demands that Netlist produce in this action all of the documents
         it produced in the ITC Actions, regardless of relevance to this action. And Samsung
         expressly reserves the right to seek an unlimited number of additional materials “based on
         its review of this initial production (or other developments in the case).” Such a reservation
         should be subject to a good cause requirement, i.e., that Samsung could not despite its
         diligence have learned that additional materials are important to this action and their
         production does not prejudice Netlist. There are so many caveats and exceptions to
         Samsung’s “narrowed” proposal that it is effectively not narrowed at all.

                  Even were Samsung’s proposal expressly limited to the categories of documents
         listed in your letter, Samsung still fails to take its Rule 26 obligations seriously. Samsung


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         seeks all discovery requests and responses, all filings, all expert reports and depositions, and
         all trial transcripts. As you should know, there are a plethora of legal and factual issues
         unique to the ITC forum that bear no relation to any issue in this action. For example,
         substantial aspects of any ITC investigation focus on the existence of a domestic industry
         and the appropriateness of an exclusion order. Each of those issues involves a myriad of
         sub-issues. Those issues are also subject to substantial fact and expert discovery and
         extensive briefing. How do those issues relate to any party’s claims or defenses in this
         action? And even were such materials to contain some information that might be relevant to
         this action, given the burdens involved, why should that information not be obtained through
         discovery requests served by Samsung in this action?

                 Further, as you should be aware, the ITC does not place limits on the number of
         discovery requests that parties may serve, as do the Federal Rules of Civil Procedure.
         Parties typically serve a very large number (tens if not hundreds) of each form of discovery
         request. This, together with the issues outlined above, brings the disproportionality of
         Samsung’s requests into sharp focus. Samsung effectively demands that Netlist produce—
         after reviewing each document for the presence of non-Netlist confidential information—a
         substantial volume of irrelevant materials. Samsung makes no effort to address the
         inevitable waste of resources involved in sifting through its broad categories of documents
         in search of smaller nuggets of relevant information.

                 Yet Samsung makes no effort to tailor its requests to take any of the foregoing into
         account. By demanding production of such a broad swath of materials, without appropriate
         (and actual) limits, it is plain that Samsung is engaging in a fishing expedition. For what
         purpose—whether it be to impose burdens and cost on Netlist on the eve of the Samsung
         463 trial, or some other purpose—we do not know. The sooner Samsung makes the
         requisite good faith effort to narrow its requests, the sooner the parties can resolve this
         matter and move forward with discovery.

                                                      ***

                 Contrary to your letter, Netlist has never “refuse[d] to produce any documents” from
         the ITC Actions. Again, Netlist has sought to engage with Samsung regarding its requests
         for “everything” from the ITC Actions, which both parties are obligated to do under the
         Scheduling Order, D.I. 61, ¶ 8.g., to see if the parties are able to agree on an appropriate
         scope. Samsung, by contrast, apparently seeks to extract some discovery from Netlist,
         returning again and again with still more requests, which only serves to increase the burdens
         on and cost to Netlist.



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           Neal Hoopes
           March 17, 2023
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                 While the parties continue to meet and confer regarding whether they can reach
         agreement, Netlist will continue to work with Netlist’s ITC counsel to identify materials that
         may be produced without undue burden to Netlist given the volume of ITC Actions
         materials and the obligations imposed by the ITC Actions Protective Orders. And Netlist
         believes that it will be able to identify and produce such documents. These cases are years
         old, and it is taking time for Netlist’s ITC counsel to dust these cases off and sift through
         what discovery remains in its possession.

                                                      Very truly yours,



                                                      Thomas C. Werner

         cc: Counsel of Record (via agreed service emails)




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 Via Electronic Mail                                                March 22, 2023

 Tom Werner
 Irell & Manella LLP
 1800 Avenue of the Stars, Suite 900
 Los Angeles, CA 90067


        Re:     Samsung Electronics Co., Ltd. et al. v. Netlist, Inc.,
                Case No. 1:21-cv-01453-RGA-JLH (D. Del.)

 Dear Tom:

         We write in response to your March 17, 2023 letter, in which you continue to withhold
 Netlist’s position on producing materials from the SK hynix -1023 and -1089 ITC actions
 involving parents, grandparents, and other patents related to the patents asserted in this case
 (“Related ITC Actions”). As we have repeatedly stated, this is improper. Netlist’s efforts to
 frustrate the discovery process must stop.

         As you are well aware, the parties have conferred by telephone about the materials from
 the Related ITC Actions on two separate occasions—the first of which was nearly six weeks ago—
 and have exchanged a series of emails and letters. Throughout this extensive meet-and-confer
 process, Netlist has never disputed that at least some of the requested documents are relevant
 and discoverable. Nor could it, given the significant overlap between the Related ITC Actions
 and the present case. At this point, Samsung has offered numerous reasons for why the
 documents are relevant—which have been met with endless questions from Netlist but no
 explicit disagreement as to relevance. And while Netlist has complained about the breadth of the
 request, it has never proposed a narrower scope that would be acceptable to Netlist—even after
 Samsung unilaterally narrowed the scope of its request to reduce the burden on Netlist.

         Netlist’s latest letter offers more of the same. With respect to relevance, Netlist
 deliberately mischaracterizes Samsung’s position as based solely on the fact that the Related ITC
 Actions involved LRDIMM or RDIMM memory products. As we have repeatedly explained,
 Samsung seeks documents from the Related ITC Actions because, inter alia, they involved
 related patents, which were asserted against the same features or functionalities of the same
 types of JEDEC-compliant products at issue in this case,1 and the Related ITC Actions involved


 1Indeed, Samsung’s March 8 letter sought to address Netlist’s previous argument that the mere
 fact that the Related ITC Actions involved related patents was not sufficient to demonstrate the
 relevance of the documents. Thus, Netlist’s claim in its March 17 letter that Samsung’s position
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 litigation over the Samsung-Netlist license agreement and Netlist’s JEDEC obligations,
 including its commitment to license allegedly essential patents on reasonable and non-
 discriminatory (“RAND”) terms (which bears on Samsung’s breach of contract claim and
 damages for the alleged infringement). Once again, Netlist’s letter fails to dispute the relevance
 of the Related ITC Actions, and the questions Netlist raises are belied by the fact that Netlist
 apparently re-produced in this case entire productions from Netlist’s first lawsuit against
 Samsung in the Eastern District of Texas (No. 2:21-cv-00463-JRG) (“EDTX I case”)—even
 though the EDTX I case does not involve any related patents and only involves some of the same
 accused memory products.

         With respect to the scope and burden of the requests, Samsung does not agree that
 documents relating to domestic industry or the appropriateness of an exclusion order “bear no
 relation to any issue in this action.” To the contrary, such documents would be relevant to
 damages, including the hypothetical negotiation between Netlist and Samsung, Netlist’s request
 for equitable relief, Netlist’s obligations to JEDEC, including its RAND commitments, and
 Samsung’s breach of contract claim. See Georgia-Pacific Corp. v. U.S. Plywood Corp., 318 F.
 Supp. 1116 (S.D.N.Y. 1970) (evidentiary factors relevant to reasonable royalty include “[t]he
 established profitability of the product made under the patent; its commercial success; and its
 current popularity,” “[t]he nature of the patented invention; the character of the commercial
 embodiment of it as owned and produced by the [patentee],” and “[t]he portion of realizable
 profit that should be credited to the invention as distinguished from non-patented elements”);
 In re Certain Memory Modules, No. 337-TA-1023, 2017 WL 11569355, at *125 (analyzing
 Netlist’s RAND obligations in connection with the issue of whether to issue an exclusion order);
 In re Certain Memory Modules, No. 337-TA-1089, 2022 WL 834257, at *148 (same). There is
 no burden associating with collecting these documents, which are already in the possession of
 Netlist’s ITC counsel. Additionally, it is unclear why Netlist believes it must review documents
 piecemeal to determine the presence of non-Netlist confidential information. Netlist has not
 argued that the ITC materials contain any “non-Netlist confidential information” beyond that of
 SK hynix, whose consent Netlist presumably received before producing the materials from
 Netlist’s case against SK hynix in the Western District of Texas, and Netlist’s ITC counsel should
 already know which documents contain SK hynix’s confidential information. Deposition
 transcripts of Netlist’s fact witnesses, for example, should contain only Netlist confidential
 information and should be easy to produce.

         Netlist’s letter concludes with a cryptic statement that “Netlist believes it will be able to
 identify and produce” “materials that may be produced without undue burden to Netlist.” That
 is insufficient. Netlist had an obligation to state its position on what documents it would
 produce, if any, in its objections and responses to Samsung’s RFPs, and Netlist’s refusal to do so
 after weeks of meet-and-confers and correspondence has impeded the discovery process. See
 Fed. R. Civ. P. 34(b)(2)(C) (“An objection must state whether any responsive materials are being
 withheld on the basis of that objection. An objection to part of a request must specify the part
 and permit inspection of the rest.”). If Netlist believes that there are specific documents or



 is based solely on the overlap between the accused products not only is incorrect, but
 demonstrates that Netlist is not meeting and conferring in good faith.
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 categories of documents that cannot be produced without undue burden, Samsung is happy to
 meet and confer as to such documents. But we cannot do so unless Netlist first states its position
 on which documents it is willing to produce.

         Samsung has asked for Netlist’s position on this issue multiple times. Nothing in the
 rules requires Samsung to continue meeting and conferring in the face of Netlist’s steadfast
 refusal to state what it intends to produce. Again, Samsung strongly prefers to resolve these
 issues without the intervention of the Court, but Netlist’s evasive, vague responses are
 inappropriate and will necessitate relief from the Court if Netlist does not provide its position on
 the documents it will produce, if any. Please therefore identify with specificity what documents
 from the Related ITC Actions Netlist is willing to produce by Monday, March 27.

                                                                     Sincerely,

                                                                     /s/ Neal Hoopes
                                                                     Neal Hoopes
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                                    8232

  From:               Werner, Tom
  To:                 Hoopes, Neal
  Cc:                 #Netlist-Samsung-D.Del; SKNetlist@shawkeller.com; Samsung-Netlist-COV; Smith, Rodger
  Subject:            RE: 2022-1-13 Netlist"s Responses and Objections to Samsung"s First Set of RFPs (Nos. 1-65) (D. Del.)
  Date:               Wednesday, March 1, 2023 11:22:46 AM


  [EXTERNAL]
  Neal,

  During our meet and confer yesterday, I expressly cautioned you against attempting to memorialize
  Netlist's positions, which – as I stated yesterday – we will provide in writing. We will endeavor to do
  that on the timeframes referenced below, but otherwise your email reflects numerous inaccuracies.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)



  From: Hoopes, Neal <NHoopes@cov.com>
  Sent: Wednesday, March 1, 2023 7:45 AM
  To: Werner, Tom <TWerner@irell.com>; Ahn, Alice <aahn@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Tom,

  Thank you for taking the time yesterday to discuss Netlist's objections and responses to Samsung's
  first set of RFPs. Below are the points that were discussed and agreed upon during the call.

      ·      RFPs 23 and 24: materials pursuant to the -194 SK hynix action in W.D. Tex. are being
             processed and Netlist will produce responsive documents next week.
      ·      RFPs 23 and 24: Netlist will endeavor to provide its position on whether to produce
             documents relating to the "1089 and "1023 ITC actions by this Friday, March 3rd.
      ·      RFP 34: Netlist has performed a reasonable search for responsive documents and is not
             withholding or aware of any responsive documents that were not produced.


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       ·    The parties discussed Netlist's objections to RFPs 39, 42, 44–46, 50–51, 53, 57–58, 61–63.
            Netlist will provide supplemental responses indicating the documents it agrees to search for
            and produce in response to these RFPs.
       ·    Netlist will endeavor to provide its positions on the remaining issues presented in Tom
            Garten's January 27th letter next week.
       ·    Netlist will endeavor to provide formal supplemental responses to Samsung's RFPs by March
            15th.

  We appreciate your meeting and conferring on these issues and look forward to hearing back from
  you on the above.

  Regards,


  Neal Hoopes
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  From: Werner, Tom <TWerner@irell.com>
  Sent: Monday, February 27, 2023 1:01 PM
  To: Ahn, Alice <aahn@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  Alice,

  We are available tomorrow 9–10am PT. Please send an invite.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel


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  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Ahn, Alice <aahn@cov.com>
  Sent: Friday, February 24, 2023 8:25 AM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Tom,

  We appreciate your confirmation of Netlist’s intent to correct its deficient responses to Samsung's
  RFPs. But that does not allow Netlist to withhold its position on specific RFPs that have already been
  discussed in a meet-and-confer, pending a discussion of different issues that Netlist seems intent on
  delaying as long as possible. Netlist has had two weeks since the meet-and-confer to consider its
  position on the specific categories of documents discussed in my email below. Your continued
  refusal to provide Netlist’s position is improper, particularly in the absence of any reason as to why
  Netlist is unable to do so.

  We appreciate your representation that you are working to produce documents from the SK hynix
  litigation in the Western District of Texas. But that is insufficient for a few reasons:
       · First, we are asking for Netlist's position on the scope of prior litigation documents that it
           agrees to collect and produce in this case. Netlist is required to provide this information
           under Rule 34(b)(2)(C), which provides that "[a]n objection must state whether any
           responsive materials are being withheld on the basis of that objection." The fact that Netlist
           may produce certain prior litigation documents does not inform Samsung of whether Netlist
           intends to withhold any prior litigation documents (aside from documents available on the
           public docket) in response to the RFPs.
       · Second, the SK hynix cases in the Western District of Texas are only some of the prior cases
           for which Samsung seeks prior litigation documents in response to RFPs 23 and 24.
           Additional cases include, without limitation, Certain Memory Modules and Components
           Thereof, Inv. No. 337-TA-1089 (ITC), and Certain Memory Modules and Components Thereof,
           and Products Containing the Same, Inv. No. 337-TA-1023 (ITC). Your email fails to address
           these other cases.
       · Third, while we recognize that certain materials may be subject to protective orders in the
           prior litigations, (a) we expect Netlist to promptly seek approval to produce the materials
           that contain third-party confidential information, and (b) there is no reason for Netlist to

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           delay producing documents from those cases that contain only Netlist’s confidential
           information.

  As to the JEDEC documents, which are responsive to at least RFP 34, Samsung did not concede that
  the requests for such documents are overbroad. Our position during the meet-and-confer was that
  these documents are within the possession, custody, and control of Netlist and the fact that some
  may be publicly available does not discharge Netlist's obligation to search for and produce these
  documents. Once again, the fact that Netlist may have produced certain "documents that reflect
  Netlist's participation in JEDEC" does not relieve Netlist of its obligation to specify whether any of the
  requested documents are being withheld on the basis of an objection.

  Netlist has had ample time to consider its position on these specific categories of documents
  following the parties' meet-and-confer, and we do not see any justification for Netlist's delay on this.
  Please promptly provide Netlist's position.

  Finally, our availability for the meet-and-confer is below.

  Tuesday
  8–10 AM PT
  11 AM–12 PM PT
  3–4 PM PT

  Wednesday
  8–9 AM PT
  1–3 PM PT

  Regards,
  Alice

  From: Werner, Tom <TWerner@irell.com>
  Sent: Thursday, February 23, 2023 5:52 AM
  To: Ahn, Alice <aahn@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  Alice,

  I hope you enjoyed your holiday, as well.

  The fact is that Netlist offered two windows to continue the meet and confer, both of which
  Samsung rejected. Please advise when on Tuesday or Wednesday Samsung is available to continue


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  the meet and confer. We will make every effort to accommodate your schedule.

  Please allow me to refresh your recollection regarding the Feb. 9 meet and confer:

      ·    Netlist repeatedly confirmed its intent to amend and/or supplement its responses based on
          the results of our meet and confer. Samsung never requested that Netlist do that by today,
          or indeed by any deadline. Your expectation and imposition otherwise is not reasonable.

      ·    I confirmed that Netlist had been working to obtain materials from the WDTex Hynix actions
          for production to Samsung. Your omission of this fact is disconcerting, and suggests that our
          meet and confers must be recorded to prevent Samsung from making false accusations (and
          then apparently threatening to file a motion based on them). Samsung confirmed that it
          already possesses and is not seeking from Netlist publicly available documents, including
          from the dockets of those actions. Irell was not of record in those actions, and does not
          have access to materials from those actions that continue to be restricted by protective
          orders. We will endeavor to provide more information when we continue to meet and
          confer next week.

      ·    Samsung repeatedly confirmed the overbreadth of its requests seeking documents
          regarding Netlist's participation in JEDEC, including RFP 34. We will take that—and
          Samsung's own ready access to JEDEC documents—into account when we amend and/or
          supplement our responses. Regardless, well before you sent your email, Netlist had already
          produced hundreds of thousands of pages of documents that include documents that reflect
          Netlist's participation in JEDEC.

  Finally, we provided our comments and edits on the ESI Order, and are waiting on Samsung and
  Google to respond.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Ahn, Alice <aahn@cov.com>
  Sent: Tuesday, February 21, 2023 4:33 PM
  To: Werner, Tom <TWerner@irell.com>; Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger

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  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Tom,

  We agreed that the parties would attempt to schedule a call for the week of February 13 in order to
  resume the meet-and-confer process. When we tried to schedule a time last week, you only
  provided a single window of availability (Thursday morning PT) -- which you subsequently said you
  were "not sure . . . would have even worked," citing the pending Texas action. You then stated you
  "might" be available yesterday -- a federal holiday -- and you waited until noon ET yesterday to
  inform us that Netlist allegedly has no other availability this week -- once again citing the Texas case.

  The Texas case that Netlist filed does not allow Netlist to skirt its discovery obligations in Delaware
  and delay the meet-and-confer process by weeks. Netlist chose to prosecute the Texas action on an
  expedited schedule rather than litigate its claims in a single action in Delaware. If you are too busy to
  engage in the litigation, Netlist can identify another attorney to carry out its obligations. Please
  provide your availability to resume the meet-and-confer.

  Further, Netlist has still failed to provide its position on the issues discussed in the last meet-and-
  confer. Please do so by Thursday, February 23. This includes the issues raised in our February 17
  email, namely whether Netlist agrees to produce documents relating to the Related Litigations
  (which are responsive to at least RFPs 23 and 24) and documents relating to Netlist's participation in
  JEDEC (which are responsive to at least RFP 34). We are entitled to understand Netlist's positions on
  these issues, which were discussed during the last meet-and-confer. If you fail to respond, we will
  assume that Netlist is refusing to produce these categories of documents, and we will proceed
  accordingly.

  Finally, you failed to acknowledge our request that Netlist circulate its proposed edits to the draft ESI
  proposal by tomorrow, February 22. Netlist has failed to provide edits to the ESI proposal for
  months. Samsung's agreement to toll the deadlines in the default standard was premised on Netlist
  diligently working to finalize the ESI order -- which Netlist has failed to do. Please confirm you will
  provide your edits by tomorrow.

  Regards,
  Alice


  From: Werner, Tom <TWerner@irell.com>
  Sent: Monday, February 20, 2023 9:27 AM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)


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  [EXTERNAL]
  Tom,

  Netlist has honored its discovery obligations and will continue to do so. We promptly conferred
  regarding Samsung's six-page RFPs letter for an hour on Feb. 9, at which time you stopped the
  conference and declined my invitation to schedule a continuation. We didn't hear from you again
  until Feb. 14, but we immediately responded proposing the morning of Feb. 16 to continue the
  conference. You declined to confer at that time, so we proposed to confer this morning, which you
  also rejected.

  And now we also have an eight-page Interrogatories letter from Samsung, which regurgitates many
  of the same unfounded complaints lodged in your RFP letter. For example, your RFP letter accused
  Netlist of refusing to produce documents pursuant to LR 26-2 despite that Netlist had already
  expressly agreed to do so, and had indeed already done so. Despite that we discussed that on Feb.
  9, your Interrogatories letter raises precisely the same baseless issue—further despite that the
  parties had already submitted a stipulated protective order to the Court.

  Whether you—as counsel for Samsung—are aware or not, the reality is that we are extremely busy
  with the 463 action heading into trial, particularly this week as Netlist is briefing fourteen separate
  motions. I do hope that you enjoy your holiday today. We are not available to confer this week, but
  I will check in with you when I have a better sense of our schedule next week.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Thursday, February 16, 2023 10:33 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Tom:


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  The Netlist v. Samsung EDTX matter is a separate action involving different patents. There is no
  justification for Netlist to use the EDTX matter, or Netlist's attorney staffing choices across matters,
  as an excuse to delay legitimate discovery in Samsung's Delaware action. We expect Netlist to
  comply with its discovery obligations in Delaware. Since Monday is a federal holiday, please confirm
  your availability to continue the meet and confer regarding Samsung's First Set of RFPs on Tuesday
  (2/21). We are available between 10:30 am to 12:00 pm Pacific and 3:00 pm to 4:30 pm Pacific.

  To move things along, we ask that Netlist be prepared to confirm that it will begin to produce next
  week relevant materials from "Related Litigations," including, e.g., infringement and invalidity
  contentions, interrogatory responses, expert reports, deposition transcripts, and trial transcripts.
  These documents are responsive to at least RFPs 23 and 24, which we discussed on the last call. We
  also ask that Netlist be prepared to confirm that it will begin to produce next week documents
  relating to Netlist's participation in JEDEC. These documents are responsive to at least RFP 34, which
  we discussed on the last call. Separately, we intend to resume our discussion concerning the issues
  raised in our January 27 letter.

  Finally, we note that Netlist has been sitting on the draft ESI proposal for several months. Please
  confirm that Netlist will circulate its proposed edits by Wednesday (2/22).

  Regards,
  Tom



  From: Werner, Tom <TWerner@irell.com>
  Sent: Thursday, February 16, 2023 5:15 AM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  I’m not sure this morning would have even worked, Tom. We are in the whirlwind of pretrial in the
  other action. We might be able to make time Monday morning PT.

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Wednesday, February 15, 2023 9:52 AM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)


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  Tom: I'm not available on Thursday until Noon PT. Please let me know if that works.

  From: Werner, Tom <TWerner@irell.com>
  Sent: Tuesday, February 14, 2023 6:09 PM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  Tom,

  As you're no doubt aware, it is a very busy time for us as we head into trial in the 463 action.

  We can make some time Thursday morning PT. As Samsung repeatedly confirmed during our prior
  call that its RFPs are incredibly overbroad, including by targeting plainly privileged documents, we
  hope to be able move quickly through the remaining issues.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Tuesday, February 14, 2023 9:41 AM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Tom: Please let me know your availability to resume the meet and confer regarding Netlist's
  responses and objections to Samsung's First Set of RFPs. I'm generally free tomorrow before 3PM
  Pacific.


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  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Wednesday, February 8, 2023 9:37 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Please find the conference link below:

  ****************

  Join Zoom Meeting
  https://covingtonburling.zoom.us/j/84253179719?pwd=MkMwZmgxS0krM1lXa2JCMFF6bWtQQT09

  Meeting ID: 842 5317 9719
  Passcode: 840090
  One tap mobile
  +13017158592,,84253179719#,,,,*840090# US (Washington DC)
  +16692192599,,84253179719#,,,,*840090# US (San Jose)




  From: Werner, Tom <TWerner@irell.com>
  Sent: Wednesday, February 8, 2023 2:26 PM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  AOK

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Wednesday, February 8, 2023 2:23 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)


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  How about 10:30 AM Pacific Thursday?

  From: Werner, Tom <TWerner@irell.com>
  Sent: Wednesday, February 8, 2023 12:15 PM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  Flexible Thursday, morning PT preferred. Friday does not work.

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Tuesday, February 7, 2023 12:46 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Thanks. Please let me know your availability on Thursday or Friday.

  From: Werner, Tom <TWerner@irell.com>
  Sent: Saturday, February 4, 2023 10:25 AM
  To: Garten, Thomas E <tgarten@cov.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  [EXTERNAL]
  Tom,

  I should be able to make time to chat with you about your letter late this coming week. Hopefully
  we can get the protective order nailed down without having to brief anything. I'm hoping to focus
  on the ESI Order shortly. Let's touch base a bit later in the week.

  Very truly yours,

  Thomas C. Werner, Esq.


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  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Garten, Thomas E <tgarten@cov.com>
  Sent: Friday, January 27, 2023 1:33 PM
  To: Sheasby, Jason <JSheasby@irell.com>; Zhao, Yanan <yzhao@irell.com>; Werner, Tom
  <TWerner@irell.com>
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Smith, Rodger
  <RSmith@morrisnichols.com>
  Subject: RE: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65)
  (D. Del.)

  Counsel: Please see the attached correspondence regarding Netlist's objections and responses to
  Samsung's First Set of RFPs.

  Best regards,
  Tom

  From: Zhao, Yanan <yzhao@irell.com>
  Sent: Friday, January 13, 2023 1:48 PM
  To: Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; Ahn, Alice <aahn@cov.com>; Nester,
  Brian <BNester@cov.com>; Swanson, Peter <pswanson@cov.com>; Garten, Thomas E
  <tgarten@cov.com>; bbefiling@mnat.com; rsmith@morrisnichols.com
  Cc: #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>; SKNetlist@shawkeller.com
  Subject: 2022-1-13 Netlist's Responses and Objections to Samsung's First Set of RFPs (Nos. 1-65) (D.
  Del.)

  [EXTERNAL]
  Counsel,

  Please see attached for Netlist’s responses and objections to Samsung’s First Set of RFPs.

  Best,
  Yanan

  Yanan Zhao
  Associate
  IRELL & MANELLA LLP

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  1800 Avenue of the Stars, Suite 900
  Los Angeles, CA 90067
  DID: 310-277-1010 | yzhao@irell.com




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  From:            Swanson, Peter
  To:              Werner, Tom
  Cc:              ~Blumenfeld, Jack; Smith, Rodger; Samsung-Netlist-COV; kkeller@shawkeller.com; nhoeschen@shawkeller.com;
                   Emily DiBenedetto; SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del
  Subject:         RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav RFPs 23-24.pdf
  Date:            Thursday, April 6, 2023 2:38:22 PM
  Attachments:     image001.png
                   Motion for Teleconference to Resolve Discovery Dispute.docx


  Tom,

  Your email is not accurate. The parties spent a considerable portion of the February 28
  meet-and-confer on this issue -- which followed a discussion of the issue on a previous
  meet-and-confer. And the parties have subsequently discussed the issue in numerous
  letters and emails. Netlist has had ample time -- more than 10 weeks -- to discuss the issue
  with its client and formulate its position as to these documents. Yet Netlist has consistently
  refused to say which documents it is willing to produce. Samsung has plainly satisfied its
  obligations under the rules.

  Attached is a motion for a teleconference that Samsung plans to file. The motion includes
  five dates. Please let us know which of the dates work for Netlist.

  Finally, as to your comment about Samsung's proposed compromise, Netlist has had this
  proposal for a month. As we made clear at the time, Samsung is willing to limit the
  production of the related ITC materials to the specific categories of documents we
  identified, but this is without waiver of Samsung's right to request additional materials
  later.

  Regards,
  Peter

  From: Werner, Tom <TWerner@irell.com>
  Sent: Wednesday, April 5, 2023 7:52 PM
  To: Swanson, Peter <pswanson@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  [EXTERNAL]
  Peter,

  The parties discussed these issues for a total of a few minutes while meeting and conferring
  regarding at least 35 discovery requests. That discussion lacked any substance because Samsung
  refused to explain the factual basis for its requests (other than the bare assertion that the ITC
  actions involved related patents), refused to provide any legal authority supporting its requests, and
  only demanded that Netlist produce "everything" from the ITC actions, making no effort to address
  the proportionality requirements of Rule 26. Nor did those meet and confers comply with the rules
  and orders governing discovery disputes in this action. (And neither does the parties' letter writing

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  satisfy those requirements.) There are also issues that Samsung refuses to address at all, including
  regarding the timeliness of its demands (given that no patent claims will be asserted until April 27,
  and that the close of fact discovery is a few days under a full year away), and whether Samsung will
  share in the costs flowing from those demands.

  And your email marks the first time that Samsung has agreed to limit its requests to certain materials
  without any caveat, which we sincerely appreciate. Samsung's commitment significantly impacts our
  consideration of this issue, and we are discussing it with our client as we continue to work through
  the myriad pertinent issues. That process is obviously impacted by our efforts to prepare for trial in
  the Samsung 463 action, which is just days away. Your email confirms that you are coordinating with
  Samsung's counsel in that action, which raises serious concerns about Samsung's motivations in
  pressing this matter at this time.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)


  From: Swanson, Peter <pswanson@cov.com>
  Sent: Sunday, April 2, 2023 8:02 PM
  To: Werner, Tom <TWerner@irell.com>; Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Tom,

  Thanks for the email. We are disappointed that Netlist continues to refuse to provide its
  position on what documents, if any, Netlist is willing to produce from the related ITC
  actions, even after Samsung narrowed its request more than 3 weeks ago to a clear, limited
  set of documents ("discovery requests and responses, pleadings and other filings, expert
  reports, deposition transcripts of Netlist fact witnesses and the parties' expert witnesses,
  and trial transcripts"). Not only is Netlist's refusal contrary to the rules, but it aims to
  prevent resolution by delaying case preparation and obfuscating Netlist's positions. Netlist's
  recent production of a handful of deposition transcripts from the ITC actions exemplifies
  the problem. Samsung is in the dark as to whether Netlist will be producing the exhibits to
  the transcripts as well as whether Netlist is withholding any other transcripts.

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  The fact that the "ITC actions terminated years ago," "Databases were taken offline," and
  "Files were archived" does not prevent Netlist from saying whether or not it objects to
  producing the requested materials to the extent they remain within Netlist's (or its
  counsel's) possession, custody, or control. Moreover, Netlist has had months to coordinate
  with its counsel from these actions. Indeed, Netlist produced discovery from the ITC actions
  in its case pending in the Eastern District of Texas.

  Samsung has satisfied its obligation to meet and confer in an attempt to resolve the dispute,
  including through two telephonic meet-and-confers and numerous emails and
  correspondence. Netlist, by contrast, has used the meet-and-confer process to delay
  discovery, not to come to a compromise. So if Netlist will not accept Samsung's compromise
  -- or otherwise state its position as to which of the requested documents it will produce --
  then we are at an impasse.

  Regards,

  Peter Swanson
  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
  T +1 202 662 5111 | pswanson@cov.com
  www.cov.com




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  From: Werner, Tom <TWerner@irell.com>
  Sent: Friday, March 31, 2023 7:28 PM
  To: Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  [EXTERNAL]
  Neal,

  Everyone has been consumed with the multi-day Samsung 463 pretrial conference this week. At
  present, I do not think more letter writing will be productive, despite the numerous inaccuracies and
  misstatements in your March 22 letter—such as your outrageous, counterfactual claim that we have
  never disputed relevance. This isn't the first time I've warned you about doing that. I hope it will be


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  the last. And your refusal to answer our questions—indeed, your complaining about us even asking
  questions—is just plain inappropriate.

  We are working diligently with Netlist's ITC counsel. The ITC actions terminated years ago.
  Databases were taken offline. Files were archived. There are substantial burdens and costs
  involved. (Speaking of which, will Samsung consider cost sharing? Sorry, I know, another pesky
  question.) Samsung has never explained why it is pushing for this discovery with such urgency. If
  Samsung had its way, we would be producing discovery about patents not at issue in this action
  before we have to produce discovery about the patents-in-suit. In fact, that's just happened! We
  just produced about 17k pages of documents, including documents from the ITC actions.

  We agree, as I stated before, that the parties need to meet and confer. Letter writing does not
  satisfy this Court's Rules and Orders. Nor do the two prior conferences. For starters, they consisted
  solely of Samsung demanding that Netlist produce "everything" from the ITC actions without any
  substantive discussion—because Samsung refused until well afterwards even to attempt to provide
  the factual or legal bases for its requests.

  I promise to update you as soon as I have more information.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Hoopes, Neal <NHoopes@cov.com>
  Sent: Wednesday, March 29, 2023 6:49 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Tom,

  Thanks for your email. We note that Netlist has had months to formulate its position on what
  documents, if any, Netlist intends to produce from the SK hynix ITC actions, and Netlist has had


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                                    8250

  Samsung's narrowed request since March 8, 2023. Please let us know when we can expect a
  response.

  Regards,

  Neal Hoopes

  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
  T +1 202 662 5629 | nhoopes@cov.com
  www.cov.com




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  intended recipient, please immediately advise the sender by reply e-mail that this message has been inadvertently
  transmitted to you and delete this e-mail from your system. Thank you for your cooperation.




  From: Werner, Tom <TWerner@irell.com>
  Sent: Monday, March 27, 2023 1:01 PM
  To: Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  [EXTERNAL]
  Neal,

  We are reviewing your letter – which you sent well after the close of business – and will respond in
  due course. Your unilateral deadline is inappropriate, particularly given the impending Samsung 463
  trial.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)


                                                                 5
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                                    8251



  From: Hoopes, Neal <NHoopes@cov.com>
  Sent: Wednesday, March 22, 2023 7:20 PM
  To: Werner, Tom <TWerner@irell.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Counsel,

  Please see the attached correspondence.

  Regards,

  Neal Hoopes
  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
  T +1 202 662 5629 | nhoopes@cov.com
  www.cov.com




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  From: Werner, Tom <TWerner@irell.com>
  Sent: Friday, March 17, 2023 8:31 PM
  To: Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  [EXTERNAL]
  Neal,

  You are incorrect, and your email misstates the facts. I'm not going to spend the precious little time
  that I have (once again) correcting you, and refer you to our prior correspondence, which accurately
  reflects the factual record.


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  Netlist has been working diligently to respond to the issues Samsung has raised. The crush of the
  Samsung 463 trial has hampered our ability to do that. Samsung has repeatedly dismissed that
  reality, and scoffed that Netlist should spend more money hiring lawyers. Not only does Samsung's
  attitude violate Rule 1, it is hypocritical. Just today, in the Samsung 293 action (another action
  pending between our clients in which I am of record and on which I am actively working), Samsung
  requested a nearly two week extension of a mid-April deadline – to which Netlist agreed – citing the
  demands of the Samsung 463 trial.

  Attached is Netlist's responsive letter regarding Samsung's requests for materials from the ITC
  Actions. We look forward to receiving Samsung's response.

  We will address in writing Samsung's letters regarding Netlist's RFP and interrogatory responses next
  week, as early in the week as practicable.

  Finally, your threat to file a motion without meeting and conferring (which is not the first time
  you've done that) is completely inappropriate.

  I sincerely hope that you enjoy your weekend, or at least, that you have one.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Hoopes, Neal <NHoopes@cov.com>
  Sent: Friday, March 17, 2023 10:28 AM
  To: Werner, Tom <TWerner@irell.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Tom,

  Your email mischaracterizes the history of the parties' discussions in several respects. The parties


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                                    8253

  met and conferred on this topic for a second time on February 28, 2023, during which Samsung
  again set out its basis for requesting the SK hynix ITC documents and asked for Netlist's position. Not
  once in the 17 days since has Netlist provided its position. While Samsung agrees with the
  importance of the meet-and-confer process, it is improper to use that process as a tool to delay
  discovery, as Netlist has done here. Thank you for the confirmation that you are discussing
  Samsung's March 8 letter with Netlist. We look forward to receiving Netlist's position today.

  Further, in the parties' February 28 meet-and-confer, Netlist stated that by March 10 it would
  endeavor to provide its positions on all remaining issues in Tom Garten's January 27, 2023 letter and
  serve formal supplemental responses to Samsung's RFPs by March 15. We have not received either.
  Additionally, the last word from Netlist on providing a response to Tom Garten's February 15, 2023
  letter (re: Netlist's deficient interrogatory responses) was that Netlist would "respond as soon as is
  practicable." Given Netlist's pattern of delaying discovery in this case, such non-committal response
  is insufficient.

  Please immediately provide us with a date certain for when Netlist intends to provide Samsung with
  its positions on Samsung's RFPs and interrogatories and provide its supplemental responses.
  Samsung strongly prefers to resolve these issues without the intervention of the Court, but if Netlist
  cannot commit to resolving the issues on reasonable timeframes, we will need to seek the assistance
  of the Court.

  Regards,

  Neal Hoopes

  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
  T +1 202 662 5629 | nhoopes@cov.com
  www.cov.com




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  From: Werner, Tom <TWerner@irell.com>
  Sent: Tuesday, March 14, 2023 5:31 PM
  To: Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
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                                    8254

  [EXTERNAL]
  Neal,

  What has been happening for several weeks now is that Netlist has repeatedly sought to engage
  Samsung in a meaningful meet and confer on this issue, which Samsung repeatedly resisted. Until a
  few days ago, Samsung refused to narrow its requests in any way, refused to provide the factual or
  legal bases unpinning those requests, and refused even to attempt to address the proportionality
  requirements of Rule 26. We are discussing Samsung's March 8 letter with our client, and hope to
  respond more fully this week.

  Your threat to file a motion based on an "assumption" is not well taken. The Court expects the
  parties to work cooperatively in good faith, which we again implore Samsung to do.

  Very truly yours,

  Thomas C. Werner, Esq.
  Discovery Counsel
  Irell & Manella LLP
  1800 Avenue of the Stars
  Suite 900
  Los Angeles, CA 90067-4276
  TWerner@irell.com
  (310) 203-7956 (direct)
  (he/him/his)

  From: Hoopes, Neal <NHoopes@cov.com>
  Sent: Tuesday, March 14, 2023 10:48 AM
  To: Werner, Tom <TWerner@irell.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Counsel,

  We have not received a response to our March 8, 2023 letter regarding Samsung's request for
  documents from Netlist's ITC cases against SK hynix. We have been seeking Netlist's position on this
  request for several weeks, and our March 8 letter asked for Netlist's position on whether it would
  produce the documents identified therein by March 10. If we do not receive Netlist's position by
  Wednesday, March 15, 2023, we will conclude that Netlist is refusing to produce the documents and
  that the parties are at an impasse on the issue.

  Regards,


                                                    9
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                                    8255

  Neal Hoopes
  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
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  intended recipient, please immediately advise the sender by reply e-mail that this message has been inadvertently
  transmitted to you and delete this e-mail from your system. Thank you for your cooperation.




  From: Hoopes, Neal
  Sent: Wednesday, March 8, 2023 11:03 PM
  To: 'Werner, Tom' <TWerner@irell.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;
  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: RE: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
  RFPs 23-24.pdf

  Counsel,

  Please see the attached correspondence.

  Regards,


  Neal Hoopes
  Covington & Burling LLP
  One CityCenter, 850 Tenth Street, NW
  Washington, DC 20001-4956
  T +1 202 662 5629 | nhoopes@cov.com
  www.cov.com




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  intended recipient, please immediately advise the sender by reply e-mail that this message has been inadvertently
  transmitted to you and delete this e-mail from your system. Thank you for your cooperation.




  From: Werner, Tom <TWerner@irell.com>
  Sent: Friday, March 3, 2023 7:29 PM
  To: Hoopes, Neal <NHoopes@cov.com>
  Cc: ~Blumenfeld, Jack <jblumenfeld@mnat.com>; Smith, Rodger <RSmith@morrisnichols.com>;

                                                                10
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 49 of 242 PageID #:
                                    8256

  Samsung-Netlist-COV <Samsung-Netlist-COV@cov.com>; kkeller@shawkeller.com;
  nhoeschen@shawkeller.com; Emily DiBenedetto <edibenedetto@shawkeller.com>;
  SKNetlist@shawkeller.com; #Netlist-Samsung-D.Del <Netlist-Samsung-D.Del@irell.com>
  Subject: Samsung v. Netlist, No. 21-cv-1453 (D. Del.) - 2023-03-03 Werner ltr re ITC Materials vav
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Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 51 of 242 PageID #:
                                    8258



                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  SAMSUNG ELECTRONICS CO., LTD.                    )
  AND SAMSUNG SEMICONDUCTOR,                       )
  INC.,                                            )
                                                   )
              Plaintiffs,                          )
                                                   )
         v.                                        ) Case No. 21-cv-1453-RGA-JLH
                                                   )
  NETLIST, INC.,                                   )
                                                   )
              Defendant.                           )
                                                   )
  NETLIST, INC.                                    )
                                                   )
              Counter-Plaintiff,                   )
                                                   )
         v.                                        )
                                                   )
  GOOGLE LLC, ALPHABET INC.,                       )
  SAMSUNG ELECTRONICS CO., LTD.                    )
  AND SAMSUNG SEMICONDUCTOR,                       )
  INC.,                                            )
                                                   )
               Counter-Defendants.                 )

               NETLIST, INC.’S OBJECTIONS AND RESPONSES TO
          PLAINTIFFS SAMSUNG ELECTRONICS CO., LTD. AND SAMSUNG
             SEMICONDUCTOR, INC.’S FIRST SET OF REQUESTS FOR
                          PRODUCTION (NOS. 1-65)

        Pursuant to Federal Rules of Civil Procedure 26 and 34 and the applicable Local Rules of

 the U.S. District Court for the District of Delaware, Defendant and Counter Plaintiff Netlist, Inc.

 (“Netlist”), by undersigned counsel, hereby objects and responds as follows to Samsung

 Electronics Co., Ltd. and Samsung Semiconductor, Inc.’s First Set of Requests for Production of

 Documents to Netlist, Inc. (Nos. 1-65). 1 Except as provided otherwise, documents produced in


    1
       Unless specified otherwise, Samsung Electronics Co., Ltd. and Samsung Semiconductor,
 Inc. are collectively referred to as “Samsung.”
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                                    8259



 response to these requests for production (as set forth in detail below) will be produced on a rolling

 basis and in accordance with the Court’s Scheduling Order and subject any Protective Order the

 Court may enter in this case.

        The following responses are based upon information currently known to Netlist. Without

 obligating itself to do so, except to the extent required by Fed. R. Civ. P. 26 and 34, Netlist reserves

 the right to modify, amend or supplement these responses as its investigation and discovery

 progress, and reserves the right to use subsequently discovered documents and information at trial.

 These responses have been prepared based on Netlist’s good faith interpretation and understanding

 of the individual requests. The General Objections set forth below are intended to apply to each

 and every request.

        These responses do not in any way waive any objections by Netlist in this or any subsequent

 proceeding, on any grounds, including objections as to the competency, relevance, materiality,

 privileged or protected nature, or admissibility of any documents produced in response to these

 requests or the subject matter thereof. Specific documents identified in response to a request are

 offered by way of example, without limiting Netlist’s right to rely on any other documents

 produced or otherwise made available as being responsive to a request. Nothing in these responses

 constitutes a representation regarding the existence or non-existence of any documents or category

 of documents, unless otherwise specifically noted.

                                     GENERAL OBJECTIONS

        The following General Objections apply to, and are incorporated into the Objections and

 Responses to each and every specific Request answered below. Netlist’s identification of one or

 more specific objections in any given response does not preclude the applicability of any of the

 General Objections. From time to time, these responses may repeat a General Objection for



                                                    2
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 emphasis or other bases. The omission of any General Objection in any response is not intended

 to be and should not be construed as a waiver or limitation of any General Objection. Likewise,

 the inclusion of any additional specific objection in any response is not intended to be and should

 not be construed as a waiver or limitation of any General Objection.

        1.      Netlist objects to all definitions, instructions, and requests to the extent that they

 seek information protected by the attorney-client privilege, the attorney work product doctrine, or

 any other applicable privilege. Such responses as may hereafter occur pursuant to these Requests

 shall not include any information protected by such privileges or doctrines. Netlist objects to

 logging privileged documents created during and in connection with legal proceedings during the

 pendency of those proceedings.

        2.      Netlist objects to Samsung’s Requests to the extent they seek to require Netlist to

 provide any information beyond what is available to Netlist at the present time after a reasonable

 search of its own records and a reasonable inquiry of its present employees. For example, Netlist

 objects to any Request that solicits documents or information outside of Netlist’s possession,

 custody, or control. Likewise, Netlist objects to any Request that seeks to impose a duty on Netlist

 to create analyses that Netlist does not create or maintain in the ordinary course of business.

        3.      Netlist objects to Samsung’s Requests to the extent they are unbounded in

 timeframe and therefore overly broad and unduly burdensome.

        4.      Netlist objects to Samsung’s Requests as overly broad and unduly burdensome and

 oppressive, and not proportional to the needs of the case, to the extent that they seek information

 that is either already in Samsung’s possession or is equally available or more readily available to

 Samsung.




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           5.    Netlist objects to Samsung’s Requests to the extent they seek information that is

 not relevant to the parties’ claims or defenses in this action.

           6.    Netlist objects to Samsung’s Requests to the extent they purport to impose

 obligations on Netlist that are not imposed by, or are otherwise inconsistent with, the applicable

 Federal Rules of Civil Procedure.

           7.    Netlist objects to all Requests that require information to be disclosed earlier than

 the deadlines for disclosure in the Federal Rules of Civil Procedure, Local Rules for the District

 of Delaware, and the Scheduling Order (D.I. 61).            To the extent any Request seeks such

 information prematurely, Netlist will disclose such information on the dates set by these rules and

 orders.

           8.    Netlist objects to the Requests to the extent they fail to describe the information

 requested with reasonable particularity, are indefinite as to time and scope, and/or seek information

 that is not relevant to the claims or defenses of the parties in this matter.

           9.    Netlist objects to the Requests, including Samsung’s definitions and instructions

 therein, to the extent that Samsung purports to alter the plain meaning and/or scope of any specific

 Request or otherwise render the Request vague, ambiguous, overly broad, unduly burdensome,

 and/or uncertain.

           10.   Netlist objects to the Requests to the extent that they seek to elicit confidential

 business information, trade secrets, other proprietary information, or information subject to

 confidentiality agreements or protective orders that prohibit dissemination of such information.

 Netlist will produce such information, if requested and not otherwise objectionable, only pursuant

 to the restrictions of confidentiality obligations to third parties and/or a protective order or any

 other suitable protections agreed to by Netlist.



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        11.     Netlist objects to Samsung’s Requests to the extent they seek information subject

 to confidentiality obligations to third parties and/or a protective order. Netlist will not produce

 confidential third-party information without the third parties’ consent.

        12.     Netlist objects to the Requests to the extent they seek “all documents and

 communications” or “all” or “any” documents relating to or concerning a particular subject, on the

 ground that identifying “all” such documents or things would be unduly burdensome, impractical,

 and oppressive, and to the extent such requests seek information neither relevant to the subject

 matter of the pending action nor proportional to the needs of the case. Netlist will conduct a

 reasonable search in light of the circumstances of this case.

        13.     Netlist objects to the Requests to the extent they assume facts or legal conclusions

 in crafting definitions or in describing the information requested. Netlist also objects to the

 Requests on the grounds and to the extent they contain any factual or legal misrepresentations. No

 incidental or implied admissions are intended by the responses provided herein, and no response

 or objection to any Request is an admission that Netlist accepts or admits the existence of any

 “facts,” legal conclusions, or other contention set forth or assumed by such Request.

        14.     Netlist objects to the Requests to the extent they require Netlist to perform a legal

 analysis or reach a legal conclusion.

        15.     Netlist objects to Samsung’s Requests on the grounds that they are overly broad,

 unduly burdensome, and oppressive to the extent that they seek information that is a matter of

 public record or is equally available to or readily ascertainable by Samsung from some other source

 that is more convenient, less burdensome, or less expensive. To the extent that a Request seeks

 publicly available information, Netlist will produce publicly available information within its




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 possession, custody, or control, but will not conduct public records searches for documents or

 information.

        16.     Netlist reserves the right to amend, supplement, or revise its responses as necessary

 up to and including the time of trial. Because all the documents that are possibly within the scope

 of the Requests have not yet been fully located and identified, Netlist reserves the right to assert

 additional objections to the Requests as appropriate, to supplement its objections and responses,

 and to produce additional documents.

        17.     Netlist objects to Samsung’s definition of “Defendant,” “You,” “Your,” “Yours,”

 or “Netlist” as overly broad and unduly burdensome and to the extent that they purport to require

 a response on behalf of any person or entity other than Netlist, Inc., the party to this proceeding.

 Netlist further objects on the ground that Samsung purports to extend requests for production

 containing these terms to cover information outside the possession, custody, or control of Netlist,

 or to the extent that this definition includes entities or persons who are not a party to this lawsuit.

 Netlist will interpret “Netlist,” “You,” or Your” as referring to Netlist, Inc., the party to this

 proceeding, as opposed to any additional entities or persons.

        18.     Netlist objects to Samsung’s definition of the term “Asserted Patent Family

 Members” and “Related Patents” or any request seeking information for these “Asserted Patent

 Family Members” and “Related Patents” beyond the specific patents Netlist asserted in its

 complaint and/or infringement contentions to the extent that it is used in a manner that seeks

 information irrelevant to any of the claims or defenses at issue or in a manner that is

 disproportionate to the discovery need.




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        19.     Netlist objects to Samsung’s definition of “Accused Product” and will interpret the

 term as products Netlist accuses of infringing one or more claims of its asserted patents in this

 Action and products that operated in a substantially similarly manner.

        20.     Netlist objects to Samsung’s definition of the term “Communication” as overly

 broad, vague, and unduly burdensome and to the extent that it describes information beyond what

 is within Netlist’s possession, custody, or control or beyond what is available from a reasonable

 inquiry of Netlist’s employees and a reasonable search of Netlist’s documents in those locations

 and files that are readily identifiable as those that would have responsive information. Netlist will

 interpret the word “communication” to mean “electronically stored information” (“ESI”) as it is

 used in the Federal Rules of Civil Procedure and the Local Rules.

        21.     Netlist objects to Samsung’s definition of “Related Litigation” to the extent that it

 seeks information that do not involve the patents Netlist asserted in this Action.

        22.     Netlist objects to Samsung’s definition of “Documents” as overly broad, vague, and

 unduly burdensome. Netlist will interpret the term “documents” as it is used in the Federal Rules

 of Civil Procedure and the Local Rules.

        23.     Netlist objects to the definition of “Prior Art” to the extent that it renders Samsung’s

 discovery requests overly broad, unduly burdensome, and unlikely to lead to the discovery of

 relevant information; requests information not in the possession, custody or control of Netlist; or

 seeks information that is protected by a doctrine, privilege, or immunity from discovery.

        24.     Netlist objects to Samsung’s definition of “Identify,” “Identity,” “Identification,”

 and related terms and instructions to the extent that it requests information that is outside Netlist’s

 possession, custody, or control; renders Samsung’s requests for production overly broad and




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 unduly burdensome; and purports to require Netlist to take action or to produce documents not

 required by, or which exceeds the scope of, the Federal Rules of Civil Procedure.

        25.     Netlist objects to the Requests to the extent they do not specify the form or forms

 in which electronically stored information is to be produced, or to the extent they specify a form

 or forms for the production of electronically stored information other than the form in which it is

 ordinarily maintained or a form that is reasonably usable. Pursuant to Federal Rule of Civil

 Procedure 34(b)(2)(E)(ii), Netlist will produce electronically stored information responsive to the

 requests in a form or forms in which it is ordinarily maintained or in a form or forms that are

 reasonably usable, subject to any agreement the parties may reach on the form of the parties’

 productions, or an Order of the Court.

        26.     Netlist objects to the Requests to the extent they seek electronic communications,

 including email, which Netlist will produce only subject to an agreement among the parties

 limiting such discovery, or an Order of the Court.

        The following responses reflect Netlist’s present knowledge, information, and beliefs, and

 may be subject to change or modification based on Netlist’s further discovery or on facts and

 circumstances of which Netlist may become aware.




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                                     SPECIFIC OBJECTIONS

        Without waiving the General Objections, Netlist further responds and objects to the

 Requests as follows:

 REQUEST FOR PRODUCTION NO. 1:

         All Documents and Communications relating to any of the Asserted Patents or Related
 Patents, including (i) all non-identical copies of each of the Asserted Patents and Related Patents;
 (ii) complete copies of the prosecution histories of each of the Asserted Patents and Related
 Patents; and (iii) all Communications with any Third Party (including the named inventors,
 prosecuting attorneys, prior assignees, and prior and current licensees of any of the Asserted
 Patents or Related Patents; any Person involved in litigating, licensing, assigning, transferring, or
 asserting any of the Asserted Patents or Related Patents; the JEDEC Organization; and Netlist’s
 investors) related to the Asserted Patents or Related Patents.

 RESPONSE TO REQUEST NO. 1:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “all non-identical copies,” “All Communications with any

 Third Party.” “prior and current licenses,” “Related Patents,” “any Person involved in litigating,

 licensing, assigning, transferring, or asserting. . .” as vague, ambiguous, overly broad, and subject

 to multiple meanings. Netlist objects that the request for “All” and “any” documents and

 communications renders this Request overly broad and unduly burdensome. Netlist objects to this

 Request to the extent that it seeks publicly available documents or information that is at least as

 accessible to Samsung as it is to Netlist, including for example the patent certificates and

 prosecution histories. Netlist objects to this Request to the extent that it is not proportional to the
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 needs of the case and that it seeks information irrelevant to the subject matter involved in the

 pending action, such as patents not asserted in this Action. Netlist objects to this Request to the

 extent that it seeks information protected by a nondisclosure agreement with a third party, or is

 subject to similar confidentiality requirements. Netlist will not provide such information until it

 has received consent from the third party.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 it has filed the copies of the asserted patents-in-suit publicly (e.g. D.I. 58-1, 58-2, 58-3) and

 produced the prosecution history of the patents-in-suit. Netlist is willing to meet and confer with

 Samsung regarding the remaining subject matter and the proper scope of this Request, as well as

 Samsung’s basis to seek such information. Netlist’s investigation is ongoing, and Netlist reserves

 the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 2:

         All Documents and Communications relating to the conception, reduction to practice,
 diligence in reduction to practice, and/or development of the subject matter of each of the claims
 of the Asserted Patents, including Documents and Communications sufficient to show the dates
 thereof.

 RESPONSE TO REQUEST NO. 2:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “development of the subject matter of each

 of the claims of the Asserted Patents,” “sufficient to show the dates thereof” as vague, ambiguous,


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 overly broad, and subject to multiple meanings. Netlist objects that the request for “All” and “any”

 documents and communications renders this Request overly broad and unduly burdensome.

 Netlist objects to this Request as irrelevant, overly broad, unduly burdensome, and not proportional

 to the needs of the case to the extent it seeks drafts, including “development of the subject matter

 of each of the claims of the Asserted Patents.” Netlist objects to this Request to the extent it calls

 for legal conclusions. Netlist objects to this Request to the extent that it seeks information

 protected by a nondisclosure agreement with a third party, or is subject to similar confidential

 requirements. Netlist will not provide such information until it has received consent from the third

 party.

          Subject to, and without waiving the general and specific objections and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show conception, reduction to practice, diligence in reduction to practice

 of Netlist asserted claims of the patents-in-suit that are within its possession, custody, or control

 to the extent that such documents exist and are located after a reasonable search in accordance with

 the Scheduling Order. Netlist’s investigation is ongoing, and Netlist reserves the right to

 supplement this response.

 REQUEST FOR PRODUCTION NO. 3:

        All Documents and Communications relating to any Person’s contribution to one or more
 claims of the Asserted Patents, including Documents and Communications relating to any
 contribution of any inventor named on any of the Asserted Patents to one or more claims of the
 Asserted Patents.

 RESPONSE TO REQUEST NO. 3:

          Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any


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 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “any Person’s contribution,” and “one or

 more claims of the Asserted Patent” as vague, ambiguous, overly broad, and subject to multiple

 meanings. Netlist objects that the request for “All” and “any” documents and communications

 renders this Request overly broad and unduly burdensome.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the invention of Netlist’s asserted claims of the patents-in-suit that

 are within its possession, custody, or control to the extent that such documents exist and are located

 after a reasonable search in accordance with the Scheduling Order. Netlist’s investigation is

 ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 4:

        All Documents and Communications relating to the prosecution of the Asserted Patents or
 Asserted Patent Family Members, including all drafts of applications, affidavits, and other
 Documents prepared for submission to the United States Patent and Trademark Office in
 connection with the prosecution of applications relating to the Asserted Patents or Asserted Patent
 Family Members, whether or not submitted.

 RESPONSE TO REQUEST NO. 4:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms
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 “All Documents and Communications,” “relating to,” “Asserted Patent Family Members,” “all

 drafts of applications, affidavits, and other Documents,” “in connection with,” “whether or not

 submitted” as vague, ambiguous, overly broad, and subject to multiple meanings. Netlist objects

 that the request for “All” and “any” documents, drafts, and communications renders this Request

 overly broad and unduly burdensome. Netlist objects to this Request to the extent that it seeks

 publicly available information that is at least as accessible to Samsung as it is to Netlist, including

 for example documents Netlist submitted to the USPTO during the prosecution of the patents-in-

 suit. Netlist objects to this Request as duplicative of Request for Production No. 1. Netlist objects

 to this Request on the grounds that it seeks information that is not relevant to any claim or defense

 currently in this action and not proportional to the needs of the case, and because the burden and

 expense to Netlist in responding to this Request outweighs any likely benefit to Samsung,

 including, but not limited to, to the extent that this Request seeks documents for patents not

 asserted in this Action and drafts that were prepared for submission.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 it has produced the prosecution history of the patents-in-suit. Netlist is willing to meet and confer

 with Samsung regarding the remaining subject matter and the proper scope of this Request, as well

 as Samsung’s basis to seek such information. Netlist’s investigation is ongoing, and Netlist

 reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 5:

         All Documents and Communications relating to U.S. Patent Application Publication No.
 2006/0277355 (“Ellsberry”), including all Documents and Communications related to the
 decision(s) of each Individual involved in the prosecution of the ’523 patent (including Hyun Lee;
 Jayesh Bhakta; Soonju Choi; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution
 counsel Jamie Zheng) of whether to disclose Ellsberry to the USPTO during prosecution of the
 ’523 patent, and the complete factual circumstances surrounding each Individual’s awareness of
 the Ellsberry reference.

 RESPONSE TO REQUEST NO. 5:
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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” and “awareness” as vague, ambiguous, overly broad, and subject to multiple

 meanings. Netlist objects that the request for “All” and “any” documents and communications

 renders this Request overly broad and unduly burdensome. Netlist objects to this Request to the

 extent it seeks documents or information of third parties and not in the possession, custody, or

 control of Netlist. Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 6:

        All Documents and Communications relating to U.S. Patent No. 7,310,752
 (“Jeddeloh752”), including all Documents and Communications related to the decision(s) of each
 Individual involved in the prosecution of the ’523 patent (including Hyun Lee; Jayesh Bhakta;
 Soonju Choi; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie
 Zheng) of whether to disclose Jeddeloh752 to the USPTO during prosecution of the ’523 patent,
 and the complete factual circumstances surrounding each Individual’s awareness of the
 Jeddeloh752 reference.

 RESPONSE TO REQUEST NO. 6:



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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of . . . whether to disclose,”

 “each Individual,” “involved in,” “complete factual circumstances surrounding,” and “awareness”

 as vague, ambiguous, overly broad, and subject to multiple meanings. Netlist objects that the

 request for “All” and “any” documents and communications renders this Request overly broad and

 unduly burdensome. Netlist objects to this Request to the extent it seeks documents or information

 of third parties and not in the possession, custody, or control of Netlist. Netlist further objects to

 this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 7:

         All Documents and Communications relating to the June 4, 2009 presentation by Inphi
 entitled “MB Initialization sequence Item 142.35” that was presented to the members of JEDEC
 at a JEDEC committee meeting on June 4, 2009 (Dkt. 15, Exhibit 34) (“Inphi Presentation”),
 including all Documents and Communications related to the decision(s) of each Individual
 involved in the prosecution of the ’218 and ’595 patents (including Hyun Lee; Noel Whitley;
 Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie Zheng) of whether to disclose
 the Inphi Presentation to the USPTO during prosecution of the ’218 and ’595 patents, and the
 complete factual circumstances surrounding each Individual’s awareness of the Inphi Presentation.

 RESPONSE TO REQUEST NO. 7:


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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 8:

        All Documents and Communications relating to the June 4, 2009 presentation by IDT,
 Texas Instruments, Montage Technology and Inphi entitled “Memory Buffer Membist for
 LRDIMM DDR3 MB TG item # 142.43” that was presented to the members of JEDEC at a JEDEC
 committee meeting on June 4, 2009 (Dkt. 15, Exhibit 35) (“IDT Presentation”), including all
 Documents and Communications related to the decision(s) of each Individual involved in the
 prosecution of the ’218 and ’595 patents (including Hyun Lee; Noel Whitley; Marwan Fawal; Gail
 Sasaki; and patent prosecution counsel Jamie Zheng) of whether to disclose the IDT Presentation
 to the USPTO during prosecution of the ’218 and ’595 patents, and the complete factual
 circumstances surrounding each Individual’s awareness of the IDT Presentation.

 RESPONSE TO REQUEST NO. 8:
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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 9:

         All Documents and Communications relating to U.S. Patent Application Publication No.
 2008/0098277 (“Hazelzet”), including all Documents and Communications related to the
 decision(s) of each Individual involved in the prosecution of the ’218 and ’595 patents (including
 Hyun Lee; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie
 Zheng) of whether to disclose Hazelzet to the USPTO during prosecution of the ’218 and ’595
 patents, and the complete factual circumstances surrounding each Individual’s awareness of the
 Hazelzet reference.

 RESPONSE TO REQUEST NO. 9:



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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 10:

        All Documents and Communications relating to U.S. Patent No. 8,139,430 (“Buchmann”),
 including all Documents and Communications related to the decision(s) of each Individual
 involved in the prosecution of the ’218 and ’595 patents (including Hyun Lee; Noel Whitley;
 Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie Zheng) of whether to disclose
 Buchmann to the USPTO during prosecution of the ’218 and ’595 patents, and the complete factual
 circumstances surrounding each Individual’s awareness of the Buchmann reference.

 RESPONSE TO REQUEST NO. 10:




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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 11:

 All Documents and Communications relating to U.S. Patent Application Publication No.
 2008/0147897 (“Talbot”), including all Documents and Communications related to the decision(s)
 of each Individual involved in the prosecution of the ’218 and ’595 patents (including Hyun Lee;
 Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie Zheng) of
 whether to disclose Talbot to the USPTO during prosecution of the ’218 and ’595 patents, and the
 complete factual circumstances surrounding each Individual’s awareness of the Talbot reference.

 RESPONSE TO REQUEST NO. 11:




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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 12:

        All Documents and Communications relating to U.S. Patent Application Publication No.
 2008/0155378 (“Amidi”), including all Documents and Communications related to the decision(s)
 of each Individual involved in the prosecution of the ’218 and ’595 patents (including Hyun Lee;
 Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie Zheng) of
 whether to disclose Amidi to the USPTO during prosecution of the ’218 and ’595 patents, and the
 complete factual circumstances surrounding each Individual’s awareness of the Amidi reference.

 RESPONSE TO REQUEST NO. 12:




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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 13:

        All Documents and Communications relating to the Committee Letter Ballot sent to JC-40
 committee members in November 2009 with the subject “LRDIMM DDR3 Memory Initialization
 Chapter Proposal” (D.I. 15, Exhibit 32) (“JC-40 Ballot”), including all Documents and
 Communications related to the decision(s) of each Individual involved in the prosecution of the
 ’218 and ’595 patents (including Hyun Lee; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent
 prosecution counsel Jamie Zheng) of whether to disclose the JC-40 Ballot to the USPTO during
 prosecution of the ’218 and ’595 patents, and the complete factual circumstances surrounding each
 Individual’s awareness of the JC-40 Ballot.

 RESPONSE TO REQUEST NO. 13:


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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 14:

        All Documents and Communications relating to the Committee Letter Ballot sent to JC-40
 and/or JC-45 committee members in November 2009 with the subject “DDR3 LRDIMM Design
 Specification Body” (D.I. 15, Exhibit 33) (“JC-45 Ballot”), including all Documents and
 Communications related to the decision(s) of each Individual involved in the prosecution of the
 ’218 and ’595 patents (including Hyun Lee; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent
 prosecution counsel Jamie Zheng) of whether to disclose the JC-45 Ballot to the USPTO during
 prosecution of the ’218 and ’595 patents, and the complete factual circumstances surrounding each
 Individual’s awareness of the JC-45 Ballot.

 RESPONSE TO REQUEST NO. 14:


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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 15:

         All Documents and Communications relating to JESD82-29, dated December 2009 (D.I.
 15, Exhibit 30) (“Final JESD82-29”), including all Documents and Communications related to the
 decision(s) of each Individual involved in the prosecution of the ’218 and ’595 patents (including
 Hyun Lee; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel Jamie
 Zheng) of whether to disclose the Final JESD82-29 to the USPTO during prosecution of the ’218
 and ’595 patents, and the complete factual circumstances surrounding each Individual’s awareness
 of the Final JESD82-29.

 RESPONSE TO REQUEST NO. 15:



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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 16:

         All Documents and Communications relating to a draft of JESD82-29, dated May 2009 on
 its cover with notes in the headers of its pages that it was last edited on June 4, 2009 at 5:43 am
 (D.I. 15, Exhibit 31) (“Draft JESD82-29”), including all Documents and Communications related
 to the decision(s) of each Individual involved in the prosecution of the ’218 and ’595 patents
 (including Hyun Lee; Noel Whitley; Marwan Fawal; Gail Sasaki; and patent prosecution counsel
 Jamie Zheng) of whether to disclose the Draft JESD82-29 to the USPTO during prosecution of the
 ’218 and ’595 patents, and the complete factual circumstances surrounding each Individual’s
 awareness of the Draft JESD82-29.

 RESPONSE TO REQUEST NO. 16:


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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” “awareness” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information of third parties and not in the possession, custody, or control of Netlist.

 Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 17:

        All Documents and Communications relating to the PTAB’s Final Written Decision in
 IPR2018-00303 (D.I. 15, Exhibit 37; IPR2018-00303, Paper No. 42) (“623 FWD”), including all
 Documents and Communications related to the decision(s) of each Individual involved in the
 prosecution of the ’218 and ’595 patents (including Hyun Lee; Noel Whitley; Marwan Fawal; Gail
 Sasaki; and patent prosecution counsel Jamie Zheng) of whether to disclose the 623 FWD to the
 USPTO during prosecution of the ’218 and ’595 patents, and the complete factual circumstances
 surrounding each Individual’s awareness of the 623 FWD.

 RESPONSE TO REQUEST NO. 17:



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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “decision(s) of each Individual . . .of

 whether to disclose,” “each Individual,” “involved in,” “complete factual circumstances

 surrounding,” and “awareness” as vague, ambiguous, overly broad, and subject to multiple

 meanings. Netlist objects that the request for “All” and “any” documents and communications

 renders this Request overly broad and unduly burdensome. Netlist objects to this Request to the

 extent it seeks documents or information of third parties and not in the possession, custody, or

 control of Netlist. Netlist further objects to this Request because it has no temporal limitation.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 18:

         All Prior Art to any of the Asserted Patents and Asserted Patent Family Members known
 to You, made known to You, or ever brought to Your attention by any Person, including all
 Documents and things that any Person has asserted is Prior Art, is associated with Prior Art, or is
 potentially Prior Art and any Prior Art that any party to any of the Related Litigations has identified
 or asserted.

 RESPONSE TO REQUEST NO. 18:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery
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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Prior Art,” “Asserted Patent Family Members,” “made known to You,” “brought to Your

 attention,” “any Person has asserted is Prior Art,” “associated with,” “potentially Prior Art,” and

 “Related Litigations” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” and “any” documents and things renders this Request

 overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks

 documents or information relating to patents not asserted in this Action or other litigation

 proceedings that do not involve patents asserted in this Action as irrelevant, unduly burdensome,

 and not proportional to the need of this case. Netlist objects to this Request to the extent that it

 seeks publicly available information that is at least as accessible to Samsung as it is to Netlist.

 Netlist further objects to this Request because it calls for legal conclusions.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to respond to this Request that are within its possession, custody, or control

 to the extent that such documents exist and are located after a reasonable search. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 19:

         All Documents, opinions, investigations, or studies referring or relating to objective
 evidence concerning secondary considerations of non-obviousness of the subject matter claimed
 in the Asserted Patents, including commercial success, long-felt but unsolved need, prior failure
 of others, unexpected results, industry recognition, skepticism, near simultaneous invention, and
 copying.

 RESPONSE TO REQUEST NO. 19:
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        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents, opinions, investigations, or studies,” “referring or relating to,” “objective

 evidence,” “subject matter claimed in the Asserted Patents,” “commercial success,” “long-felt but

 unsolved need”, “prior failure of others,” “unexpected results,” “industry recognition,”

 “skepticism,” “near simultaneous invention,” and “copying” as vague, ambiguous, overly broad,

 and subject to multiple meanings. Netlist objects that the request for “All” documents, opinions,

 investigations, or studies renders this Request overly broad and unduly burdensome. Netlist

 objects to this Request to the extent that it seeks publicly available information that is at least as

 accessible to Samsung as it is to Netlist. Netlist further objects to this Request to the extent it calls

 for legal conclusions.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist responds that it will produce relevant, responsive, non-

 privileged documents sufficient to show secondary considerations of non-obviousness of the

 subject matter of Netlist’s asserted claims in this Action that are within its possession, custody, or

 control to the extent that such documents exist and are located after a reasonable search. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 20:

        All Documents and Communications relating to the research, design, development, testing,
 or operation of the subject matter of any of the Asserted Patents or Asserted Patent Family

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 Members, including all engineering or laboratory notebooks, invention disclosure forms, research
 plans, summaries or proposals, presentations, reports, meeting minutes, memoranda, and internal
 Communications.

 RESPONSE TO REQUEST NO. 20:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “the subject matter of any of the Asserted

 Patents,” “Asserted Patent Family Members,” “engineering or laboratory notebooks,” “invention

 disclosure forms,” “summaries or proposals,” “presentations,” “reports,” “meeting minutes,”

 “memoranda,” and “internal Communications” as vague, ambiguous, overly broad, subject to

 multiple meanings, and not proportional to the need of this case. Netlist objects that the request

 for “All” documents and communications renders this Request overly broad and unduly

 burdensome. Netlist further objects to this Request to the extent it seeks documents or information

 of patents not asserted in this Action.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the conception and reduction to practice of Netlist’s patents in suit

 that are within its possession, custody, or control to the extent that such documents exist and are

 located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right

 to supplement this response.

 REQUEST FOR PRODUCTION NO. 21:
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        All Documents and Communications relating to the research, design, development,
 manufacture, testing, structure, function, or operation of any product that embodies, falls within
 the scope of, or is made or practiced in accordance with any claim of any of the Asserted Patents,
 regardless of whether such embodiment was commercialized, and regardless of whether or not it
 worked as intended.

 RESPONSE TO REQUEST NO. 21:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “embodies, falls within the scope of, or is

 made or practiced in accordance with,” “any claim of any of the Asserted Patents,” and “worked

 as intended” as vague, ambiguous, overly broad, subject to multiple meanings, and not

 proportional to the need of this case. Netlist objects that the request for “All” documents and

 communications renders this Request overly broad and unduly burdensome. Netlist further objects

 to this Request to the extent it seeks expert analyses and opinions prior to the time for such

 disclosure as provided by this Court’s scheduling order.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the design and operation of Netlist’s products that embody Netlist’s

 asserted claims of the patents-in-suit that are within its possession, custody, or control to the extent

 that such documents exist and are located after a reasonable search. Netlist’s investigation is

 ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 22:
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         All Documents and Communications relating to the level of knowledge, schooling,
 experience, expertise, or relevant technical information of a person having ordinary skill in the art
 of the subject matter claimed in the Asserted Patents.

 RESPONSE TO REQUEST NO. 22:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “level of knowledge, schooling, experience,

 expertise,” “relevant technical information,” and “subject matter claimed in the Asserted Patents”

 as vague, ambiguous, overly broad, subject to multiple meanings, and not proportional to the need

 of this case. Netlist objects that the request for “All” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request as it calls for legal

 conclusions. Netlist further objects to this Request to the extent it seeks expert analyses and

 opinions prior to the time for such disclosure as provided by this Court’s scheduling order.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 23:

         All Documents relating to any contention or Communication by any Third Party that it
 does not infringe any of the claims of the Asserted Patents and Asserted Patent Family Members,
 or any contention or Communication by Netlist that any Third Party infringes any of the claims of
 the Asserted Patents and Asserted Patent Family Members, including complete and unredacted
 copies of any motions, non-infringement contentions, claim charts, briefs, letters, opinions,
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 memoranda, exhibits, transcripts, deposition transcripts and exhibits, and discovery responses and
 Documents referenced therein.

 RESPONSE TO REQUEST NO. 23:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents,” “relating to,” “any contention or Communication,” “Asserted Patent Family

 Members,” and “including complete and unredacted copies of any motions . . . and discovery

 responses and Documents referenced therein” as vague, ambiguous, overly broad, subject to

 multiple meanings, and not proportional to the need of this case. Netlist objects that the request

 for “All” documents and communications renders this Request overly broad and unduly

 burdensome. Netlist objects to this Request because it seeks documents irrelevant to any party’s

 claims or defenses in this case including such documents and information for patents not asserted

 in this Action. Netlist objects to this Request to the extent that it seeks publicly available

 information that is at least as accessible to Samsung as it is to Netlist, including for example,

 documents that are publicly available filings. Netlist objects to this Request to the extent it seeks

 third parties’ confidential information, including those not relevant to this Action. Netlist further

 objects to this Request to the extent it seeks third parties’ documents not within Netlist’s

 possession, custody, or control.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper


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 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 24:

         All Documents relating to any contention or Communication by any Third Party that any
 of the claims of the Asserted Patents and Asserted Patent Family Members are invalid, or any
 contention or Communication by Netlist that any of the claims of the Asserted Patents and Asserted
 Patent Family Members are valid, including complete and unredacted copies of any motions,
 invalidity contentions, claim charts, briefs, letters, opinions, memoranda, exhibits, transcripts,
 deposition transcripts and exhibits, and discovery responses and Documents referenced therein.

 RESPONSE TO REQUEST NO. 24:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents,” “relating to,” “any contention or Communication,” “Asserted Patent Family

 Members,” and “complete and unredacted copies of any motions . . . and discovery responses and

 Documents referenced therein” as vague, ambiguous, overly broad, subject to multiple meanings,

 and not proportional to the need of this case. Netlist objects that the request for “All” documents

 and communications renders this Request overly broad and unduly burdensome. Netlist objects

 to this Request because it seeks documents irrelevant to any party’s claims or defenses in this case

 including such documents and information for patents not asserted in this Action. Netlist objects

 to this Request to the extent that it seeks publicly available information that is at least as accessible

 to Samsung as it is to Netlist, including for example, documents that are publicly available filings.

 Netlist objects to this Request to the extent it seeks third parties’ confidential information,


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 including those not relevant to this Action. Netlist further objects to this Request to the extent it

 seeks third parties’ documents not within Netlist’s possession, custody, or control.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 25:

         All Documents and Communications relating to any opinion, investigation, or study
 relating to the similarity or dissimilarity between the claims of the Asserted Patents or Asserted
 Patent Family Members and the Accused Products, including teardown or reverse-engineering
 analyses and photographs.

 RESPONSE TO REQUEST NO. 25:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “any opinion, investigation, or study,” “the

 similarity or dissimilarity between the claims of the Asserted Patents or Asserted Patent Family

 Members and the Accused Products,” and “teardown or reverse-engineering” as vague,

 ambiguous, overly broad, subject to multiple meanings, and not proportional to the need of this

 case. Netlist objects that the request for “All” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it is

 irrelevant to any party’s claims or defenses of this Action, including the request for documents or


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 information related to patents not asserted in this Action. Netlist further objects to this Request to

 the extent it seeks infringement contentions or expert analyses and opinions prior to the time for

 such disclosure as provided by this Court’s scheduling order. Samsung has not produced the core

 technical documents related to the accused products and Netlist’s deadline to produce an initial

 claim chart relating to the asserted claims is not due until April 27, 2023.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 26:

         All Documents and Communications relating to any opinion, investigation, or study
 relating to the similarity or dissimilarity between the claims of the Asserted Patents or Asserted
 Patent Family Members and any of Plaintiffs’ products, including teardown or reverse engineering
 analyses and photographs.

 RESPONSE TO REQUEST NO. 26:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “any opinion, investigation, or study,” “the

 similarity or dissimilarity between the claims of the Asserted Patents or Asserted Patent Family

 Members and any of Plaintiffs’ products,” and “teardown or reverse-engineering” as vague,

 ambiguous, overly broad, subject to multiple meanings, and not proportional to the need of this


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 case. Netlist objects that the request for “All” documents and communications renders this

 Request overly broad and unduly burdensome. Netlist objects to this Request to the extent it is

 irrelevant to any party’s claims or defenses of this Action, including the request for documents or

 information related to patents not asserted in this Action. Netlist further objects to this Request to

 the extent it seeks infringement contentions or expert analyses and opinions prior to the time for

 such disclosure as provided by this Court’s scheduling order.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 27:

         All Documents and Communications relating to any license agreements, settlement
 agreements, covenants not to sue, sale, or transfer of rights for any of the Asserted Patents or
 Related Patents entered into by Netlist or any other party (including any prior assignee of any of
 the Asserted Patents or Related Patents), including Documents relating to negotiations regarding
 any license agreements, settlement agreements, covenants not to sue, sale, or transfer of rights for
 any of the Asserted Patents or Related Patents.

 RESPONSE TO REQUEST NO. 27:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “Related Patents,” “Documents relating to

 negotiations regarding license agreements . . . or transfer of rights” as vague, ambiguous, overly


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 broad, subject to multiple meanings, and not proportional to the need of this case. Netlist objects

 that the request for “All” documents and communications renders this Request overly broad and

 unduly burdensome. Netlist objects to this Request to the extent that it seeks documents that are

 equally accessible to Samsung and Netlist, including the Joint Development and License

 Agreement (“JDLA”) entered by Netlist and Samsung and the negotiations regarding the JDLA.

 Netlist objects to this Request to the extent it seeks documents or information irrelevant to any

 party’s claims or defenses of this Action, including the request for documents or information

 concerning “Related Patents” that are not asserted in this Action. Netlist further objects to the

 extent that the Request seeks information not calculated to lead to the discovery of admissible

 evidence.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 it will produce the license agreements entered by Netlist that cover the patents asserted in this

 Action. Netlist is willing to meet and confer with Samsung regarding the remaining subject matter

 and the proper scope of this Request, as well as Samsung’s basis to seek such information.

 Netlist’s investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 28:

         All Documents and Communications relating to the sale, offer for sale, public use, public
 knowledge or disclosure by Netlist, its affiliates, or prior assignees of any of the Asserted Patents
 of a product, system or method that embodies or employs any aspect or feature of any invention
 allegedly disclosed and/or claimed in the Asserted Patent.

 RESPONSE TO REQUEST NO. 28:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist


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 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “sale, offer for sale, public use, public

 knowledge or disclosure,” “[Netlist’s] affiliates,” “embodies or employs,” “any aspect or feature,”

 and “any invention allegedly disclosed and/or claimed” as vague, ambiguous, overly broad, subject

 to multiple meanings, and not proportional to the need of this case. Netlist objects that the request

 for “All” documents and communications renders this Request overly broad and unduly

 burdensome. Netlist objects to this Request as overly burdensome and not proportional to the need

 of this case because it does not provide a temporal limitation. Netlist further objects to this Request

 to the extent it seeks expert analyses and opinions prior to the time for such disclosure as provided

 by this Court’s scheduling order.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the public disclosure and sales of Netlist products that embody one

 or more asserted claims of Netlist’s patents in suit that are within its possession, custody, or control

 to the extent that such documents exist and are located after a reasonable search. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 29:

         All Documents and Communications relating to the promotion, marketing, or advertising
 of the subject matter claimed in any of the Asserted Patents or Asserted Patent Family Members
 or any resulting product or process, including interviews, speeches, press releases, trade releases,
 and web pages.

 RESPONSE TO REQUEST NO. 29:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery


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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “promotion, marketing, or advertising,”

 “subject matter claimed,” “Asserted Patent Family Members,” “any aspect or feature,” and “any

 resulting product or process” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” documents and communications renders this Request

 overly broad and unduly burdensome. Netlist objects to this Request as overly burdensome and

 not proportional to the need of this case because it does not provide a temporal limitation. Netlist

 objects to this Request to the extent it seeks irrelevant documents or information of patents not

 asserted in this Action.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the public disclosure and sales of Netlist products that embody one

 or more asserted claims of Netlist’s patents in suit that are within its possession, custody, or control

 to the extent that such documents exist and are located after a reasonable search. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 30:

        All Documents and Communications relating to any damages that Netlist contends it has
 suffered or is suffering as a result of Plaintiffs’ alleged infringement of any of the Asserted Patents.

 RESPONSE TO REQUEST NO. 30:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery


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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications” and “relating to” as vague, ambiguous, overly broad,

 subject to multiple meanings, and not proportional to the need of this case. Netlist objects that the

 request for “All” documents and communications renders this Request overly broad and unduly

 burdensome. Netlist objects to this Request to the extent it seeks documents or information within

 the possession of Samsung or equally accessible by Samsung and Netlist.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 this case is still at an early stage where discovery just opened. Samsung has not produced the core

 technical documents related to the accused products and Netlist’s deadline to produce an initial

 claim chart relating to the asserted claims is not due until April 27, 2023. Neither has Samsung

 produced the sales or financial information in connection with its accused products. Netlist will

 produce relevant, responsive, non-privileged documents sufficient to support its damages claims

 that are within its possession, custody, or control to the extent that such documents exist and are

 located after a reasonable search in accordance with this Court’s scheduling order. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 31:

         All Documents and Communications referring or relating to any established royalty rate
 for the use of the Asserted Patent or Related Patents.

 RESPONSE TO REQUEST NO. 31:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery


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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “referring or relating to,” “established royalty rate,” and

 “Related Patents” as vague, ambiguous, overly broad, subject to multiple meanings, and not

 proportional to the need of this case. Netlist objects that the request for “All” documents and

 communications renders this Request overly broad and unduly burdensome. Netlist objects to this

 Request as irrelevant to the extent it seeks documents or information relating to patents not asserted

 in this Action. Netlist further objects to this Request to the extent it seeks expert analyses and

 opinions prior to the time for such disclosure as provided by this Court’s scheduling order.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to support the royalty rates Netlist contends applicable to the patents-in-suit

 that are within its possession, custody, or control to the extent that such documents exist and are

 located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right

 to supplement this response.

 REQUEST FOR PRODUCTION NO. 32:

         All Documents and Communications relating to any valuation made of This Litigation, the
 Breach Action, the Related Litigations, any of the Asserted Patents or Related Patents, or any of
 the claims of the Asserted Patents or Related Patents, and any assessment of potential monetary or
 other damages that could be recovered as a result of This Litigation, the Breach Action, the Related
 Litigations, and other enforcement or licensing of the Asserted Patents or Related Patents.

 RESPONSE TO REQUEST NO. 32:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery
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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “valuation,” “the Breach Action,” “Related

 Litigations,” “Related Patents,” “assessment of potential monetary or other damages,” and “other

 enforcement or licensing” as vague, ambiguous, overly broad, subject to multiple meanings, and

 not proportional to the need of this case. Netlist objects that the request for “All” documents and

 communications renders this Request overly broad and unduly burdensome. Netlist further objects

 to this Request to the extent it seeks expert analyses and opinions prior to the time for such

 disclosure as provided by this Court’s scheduling order. Netlist objects to this Request to the

 extent it seeks documents or information of patents not asserted in this Action or other litigation

 proceedings that do not involve patents asserted in this Action as irrelevant, unduly burdensome,

 and not proportional to the need of this case.

        Subject to, and without waiving the general and specific objections and to the extent Netlist

 understands Samsung’s request, Netlist contends that it is not aware of any non-privileged

 document relevant to this Request that are within its possession, custody, or control. Netlist’s

 investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 33:

          All Documents and Communications relating to Netlist’s sales, royalties, revenues, and
 profits that You contend are or were attributable to any of the Asserted Patents or Related Patents,
 or the subject matter claimed in those patents.

 RESPONSE TO REQUEST NO. 33:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery
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 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “attributable to any of the Asserted Patents

 or Related Patents,” and “subject matter claimed in those patents” as vague, ambiguous, overly

 broad, subject to multiple meanings, and not proportional to the need of this case. Netlist objects

 that the request for “All” documents and communications renders this Request overly broad and

 unduly burdensome. Netlist objects to this Request as irrelevant to the extent it seeks documents

 or information relating to patents not asserted in this Action. Netlist objects to this Request

 because it has no temporal limitation. Netlist further objects to this Request to the extent it seeks

 expert analyses and opinions prior to the time for such disclosure as provided by this Court’s

 scheduling order.

        Subject to and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents of Netlist’s sales, royalties, revenues, and profits sufficient to support Netlist’s damages

 contentions that are within its possession, custody, or control to the extent that such documents

 exist and are located after a reasonable search in accordance with the Court’s scheduling order.

 Netlist’s investigation is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 34:

         All Documents and Communications relating to Netlist’s participation in any standards
 setting organization, including the JEDEC Organization, including all Documents and
 Communications identifying the Persons who were involved or participated on Your behalf and
 the dates of their participation, all Documents and Communications identifying the dates when
 You identified one or more of the Asserted Patents or Related Patents as essential or potentially
 essential to any industry standard, and any letter of disclosure or letters of assurance, commitments,

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 promises, or agreements offered by or to or entered into with any standards setting organization
 relating to one or more of the Asserted Patents or Related Patents.

 RESPONSE TO REQUEST NO. 34:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “any standards setting organization,”

 “Related Patents,” “essential or potentially essential,” “industry standard,” and “offered by or to

 or entered into” as vague, ambiguous, overly broad, subject to multiple meanings, and not

 proportional to the need of this case. Netlist objects that the request for “All” documents and

 communications renders this Request overly broad and unduly burdensome. Netlist objects to this

 Request as irrelevant to the extent it seeks documents or information relating to patents not asserted

 in this Action. Netlist objects to this Request because it has no temporal limitation. Netlist further

 objects to this Request to the extent it seeks documents or information that is at least as accessible

 to Samsung as it is to Netlist, including for example JEDEC meeting minutes, members’

 submissions, and other materials.

        Subject to, and without waiving the general and specific objections, Netlist responds that

 Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

 scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

 is ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 35:


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         All Documents and Communications relating to compliance with 35 U.S.C. § 287
 (including its patent marking requirement) by Netlist, any prior assignee, or anyone currently or
 previously licensed under or otherwise currently or previously authorized to practice any of the
 Asserted Patents, with respect to any apparatus, product, device, process, method, act, or other
 instrumentality that practices, has practiced, or is or was alleged to have practiced any Asserted
 Claim.

 RESPONSE TO REQUEST NO. 35:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “practice any of the Asserted Patents,” and

 “practices, has practiced, or is or was alleged to have practiced any Asserted Claim” as vague,

 ambiguous, overly broad, and subject to multiple meanings. Netlist objects that the request for

 “All” documents and communications renders this Request overly broad and unduly burdensome.

 Netlist objects to this Request to the extent it seeks documents or information of third parties and

 not in the possession, custody, or control of Netlist. Netlist objects to this Request because it has

 no temporal limitation. Netlist objects to this Request to the extent it calls for legal conclusions.

 Netlist further objects to this Request as premature. Samsung has not produced the core technical

 documents related to the accused products, and Netlist’s deadline to produce an initial claim chart

 identifying the asserted claims is not due until April 27, 2023.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the marking of its products that embody one or more asserted claims


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 of Netlist’s patents in suit and that were sold after patent issuance that are within its possession,

 custody, or control to the extent that such documents exist and are located after a reasonable search

 in accordance with the Scheduling Order. Netlist’s investigation is ongoing, and Netlist reserves

 the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 36:

        All Documents and Communications relating to policies or practices regarding patent
 marking adopted or followed by Netlist, any prior assignee, or anyone currently or previously
 licensed under or otherwise currently or previously authorized to practice any of the Asserted
 Patents, with respect to any apparatus, product, device, process, method, act, or other
 instrumentality that practices, has practiced, or is or was alleged to have practiced any Asserted
 Claim.

 RESPONSE TO REQUEST NO. 36:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” “policies or practices regarding patent

 marking,” “practices, has practiced, or is or was alleged to have practiced any Asserted Claim” as

 vague, ambiguous, overly broad and subject to multiple meanings. Netlist objects that the request

 for “All” documents and communications renders this Request overly broad and unduly

 burdensome. Netlist objects to this Request to the extent it seeks documents or information of

 third parties and not in the possession, custody, or control of Netlist. Netlist objects to this Request

 because it has no temporal limitation. Netlist objects to this Request to the extent it calls for legal

 conclusions. Netlist further objects to this Request as premature. Samsung has not produced the


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 core technical documents related to the accused products, and Netlist’s deadline to produce an

 initial claim chart identifying the asserted claims is not due until April 27, 2023.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents sufficient to show the policies or practices regarding marking of Netlist’s patents-in-

 suit on Netlist’s products that embody one or more asserted claims of Netlist’s patents in suit that

 are within its possession, custody, or control to the extent that such documents exist and are located

 after a reasonable search in accordance with the Scheduling Order. Netlist’s investigation is

 ongoing, and Netlist reserves the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 37:

         All Documents relating to Netlist’s contention that Netlist is the owner of all rights, title,
 and interest in and to the Asserted Patents, including all Documents relating to Netlist’s acquisition
 of the Asserted Patents from the named inventors or prior assignees, any acquisition agreements,
 Documents describing the terms and consideration paid by Netlist or its affiliates as part of the
 acquisition, Documents describing any continuing obligations for assistance by the assignor or any
 named inventors, Documents exchanged between Netlist or any of its affiliates and any Third
 Parties relating to the acquisition, and Documents related to due diligence or other analysis
 regarding the acquisition of the Asserted Patents.

 RESPONSE TO REQUEST NO. 37:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents,” “relating to,” “any acquisition agreements,” “Documents describing the terms

 and consideration,” “Documents describing any continuing obligations for assistance,” and “due


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 diligence or other analysis” as vague, ambiguous, overly broad, and subject to multiple meanings.

 Netlist objects that the request for “All” documents renders this Request overly broad and unduly

 burdensome. Netlist objects to this Request to the extent it seeks documents or information of

 third parties and not in the possession, custody, or control of Netlist.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents of the assignment record of the patents asserted in this Action in response to this

 Request that are within its possession, custody, or control to the extent that such documents exist

 and are located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves

 the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 38:

         Documents sufficient to identify all prior owners and assignees of any interest in the
 Asserted Patents or Asserted Patent Family Members, the time period(s) that the prior owner or
 assignee had an interest in the Asserted Patents or Asserted Patent Family Members, and the
 interest that each prior assignee had in the Asserted Patents or Asserted Patent Family Members.

 RESPONSE TO REQUEST NO. 38:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “all prior owners and assignees,” “Asserted Patent Family Members,” and “the interest that each

 prior assignee had” as vague, ambiguous, overly broad and subject to multiple meanings. Netlist

 objects that the request for “All” documents renders this Request overly broad and unduly


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 burdensome. Netlist objects to this Request to the extent it seeks documents or information of

 third parties and not in the possession, custody, or control of Netlist. Netlist objects to this Request

 to the extent it seeks irrelevant documents or information of patents not asserted in this Action.

 Netlist further objects to this Request to the extent it calls for legal conclusions.

        Subject to, and without waiving the general and specific objections, and to the extent Netlist

 understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

 documents of the assignment record of the patents asserted in this Action in response to this

 Request that are within its possession, custody, or control to the extent that such documents exist

 and are located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves

 the right to supplement this response.

 REQUEST FOR PRODUCTION NO. 39:

       All Documents and Communications relating to any Person’s financial interest in the
 outcome of This Litigation.

 RESPONSE TO REQUEST NO. 39:

        Netlist incorporates by reference all its General Objections as if specifically alleged herein.

 Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

 under the attorney-client communication privilege, the attorney-work-product doctrine, or any

 other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

 objects to this Request on the ground that it is irrelevant, overly broad, unduly burdensome, vague,

 ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

 “All Documents and Communications,” “relating to,” and “any Person’s financial interest” as

 vague, ambiguous, overly broad, subject to multiple meanings, and irrelevant to any party’s claim

 or defense in this Action. Netlist objects that the request for “All” documents and communications

 renders this Request overly broad and unduly burdensome.


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         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 40:

         Documents sufficient to show Netlist’s past and current corporate ownership, organization,
  and structure, including: (a) the relationship between Netlist and any of Netlist’s parents,
  subsidiaries, joint ventures, or affiliates; (b) all groups, departments, or divisions within Netlist,
  including groups, departments, or divisions focused on engineering, designing, testing, research
  and development, manufacturing, fabrication, assembly, distribution, marketing, sales, licensing,
  and imports and exports; and (c) the identification and titles and positions of all officers, directors,
  principals, agents, and employees.

  RESPONSE TO REQUEST NO. 40:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is irrelevant, overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “past and current corporate ownership, organization, and structure,” “joint ventures,” “affiliates,”

  “identification and titles and positions,” and “all officers, directors, principals, agents, and

  employees” as vague, ambiguous, overly broad, subject to multiple meanings, and irrelevant to

  any party’s claim or defense in this Action. Netlist objects that the request for “all” groups,

  departments, divisions, officers, directors, principals, agents, and employees renders this Request

  overly broad and unduly burdensome. Netlist objects to this Request to the extent it seeks “past”

  corporate ownership, organization, and structure without any temporal limitation.



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         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce the organization chart that is within its

  possession, custody, or control to the extent that such documents exist and are located after a

  reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right to supplement

  this response.

  REQUEST FOR PRODUCTION NO. 41:

         All Documents relating to Netlist’s finances from its incorporation to the present, including
  balance sheets, income statements, financial filings, statements of operations, statements of
  changes in retained earnings and notes, and cash flow statements, on a monthly, quarterly, annual
  or other period basis, whether prepared for internal or external purposes, and whether audited or
  unaudited.

  RESPONSE TO REQUEST NO. 41:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is irrelevant, overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents,” “relating to,” “finances,” “monthly, quarterly, annual or other period basis,”

  “whether prepared for internal or external purposes,” and “whether audited or unaudited” as vague,

  ambiguous, overly broad, subject to multiple meanings, and irrelevant to any party’s claim or

  defense in this Action. Netlist objects that the request for “All” documents renders this Request

  overly broad and unduly burdensome. Netlist objects to this Request to the extent that it seeks

  publicly available information that is at least as accessible to Samsung as it is to Netlist. Netlist

  objects to this Request to the extent it is irrelevant to any party’s claims or defenses in this Action.

  Netlist further objects to this Request because it does not provide any temporal limitation.
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         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, and non-privileged

  financial documents relevant to Netlist’s patents in suit or Netlist products that practice one or

  more asserted claims of the patents-in-suit, within six years before the filing of this Action, that

  are within its possession, custody, or control to the extent that such documents exist and are located

  after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 42:

          All Documents and Communications relating to any actual or proposed activities by
  Netlist, its affiliates, or prior assignees of the Asserted Patents or Asserted Patent Family Members
  to commercialize the subject matter disclosed and/or claimed in the Asserted Patents or Asserted
  Patent Family Members.

  RESPONSE TO REQUEST NO. 42:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “actual or proposed activities,” “Asserted

  Patent Family Members,” and “commercialize the subject matter” as vague, ambiguous, overly

  broad, and subject to multiple meanings. Netlist objects that the request for “All” documents and

  communications renders this Request overly broad and unduly burdensome. Netlist objects to this

  Request to the extent that it is not proportional to the needs of the case and that it seeks information

  irrelevant to the subject matter involved in the pending action, including documents or information


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  of patents not asserted in this Action. Netlist objects to this Request to the extent that it seeks

  information protected by a nondisclosure agreement with a third party, or is subject to similar

  confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist further objects to this Request to the extent it seeks documents

  or information of third parties and not in the possession, custody, or control of Netlist.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 43:

          All Documents and Communications relating to Netlist’s current or past business,
  marketing, product development, licensing, or enforcement strategies or plans with respect to any
  of the Asserted Patents or Related Patents or their subject matter.

  RESPONSE TO REQUEST NO. 43:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “current or past business . . . strategies or

  plans,” “Related Patents,” and “their subject matter” as vague, ambiguous, overly broad, and

  subject to multiple meanings.        Netlist objects that the request for “All” documents and

  communications renders this Request overly broad and unduly burdensome. Netlist objects to this

  Request to the extent that it is not proportional to the needs of the case and that it seeks information
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  irrelevant to the subject matter involved in the pending action, including documents or information

  of patents not asserted in this Action. Netlist objects to this Request to the extent that it seeks

  information protected by a nondisclosure agreement with a third party, or is subject to similar

  confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist further objects to this Request to the extent it lacks any

  temporal limitation.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 44:

         All Documents and Communications relating to the inventors named on any of the Asserted
  Patents and Asserted Patent Family Members, including any consulting agreements between the
  named inventors and Netlist, all Documents authored by Netlist or any named inventor of the
  Asserted Patents and Asserted Patent Family Members relating to any of the alleged inventions of
  the Asserted Patents and Asserted Patent Family Members, all publications authored by any named
  inventor, prior testimony given by any named inventor, and all Communications between Netlist
  and the named inventors.

  RESPONSE TO REQUEST NO. 44:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “Asserted Patent Family Members,”

  “consulting agreements,” “the alleged inventions,” “all publications,” “prior testimony given by
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  any named inventor,” and “all Communications between Netlist and the named inventors” as

  vague, ambiguous, overly broad, subject to multiple meanings. Netlist objects that the request for

  “All” documents and communications renders this Request overly broad and unduly burdensome.

  Netlist objects to this Request to the extent that it is not proportional to the needs of the case and

  that it seeks information irrelevant to the subject matter involved in the pending action, including

  documents or information regarding patents not asserted in this Action and or proceedings that do

  not involve any patents asserted in this Action. Netlist objects to this Request to the extent that it

  seeks information protected by a nondisclosure agreement with a third party, or is subject to similar

  confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist further objects to this Request to the extent it lacks any

  temporal limitation.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 45:

         All Documents and Communications quoted, excerpted, cited, referenced, or relied upon
  in preparing Netlist’s Answers, Affirmative Defenses, Counterclaims, and infringement
  contentions.

  RESPONSE TO REQUEST NO. 45:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,
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  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications” and “quoted, excerpted, cited, referenced, or relied upon”

  as vague, ambiguous, overly broad, and subject to multiple meanings. Netlist objects that the

  request for “All” documents and communications renders this Request overly broad and unduly

  burdensome.     Netlist objects to this Request to the extent that it seeks publicly available

  information that is at least as accessible to Samsung as it is to Netlist. Netlist further objects to

  this Request as premature. Samsung has not produced the core technical documents related to the

  accused products, and Netlist’s deadline to produce an initial claim chart identifying the asserted

  claims is not until April 27, 2023.

         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

  documents sufficient to respond to this Request that are within its possession, custody, or control

  to the extent that such documents exist and are located after a reasonable search in accordance with

  the Scheduling Order. Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 46:

         All Documents and Communications relating to Netlist’s investigation of This Litigation
  and decision to file counterclaims and cross-claims, including its purchase and analysis of the
  Accused Products.

  RESPONSE TO REQUEST NO. 46:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request because it seeks information that is exempt from discovery under

  the attorney-client communication privilege, the attorney-work-product doctrine, or any other

  applicable privilege, immunity, or protection as provided by any applicable law. Netlist objects to

  this Request on the ground that it is overly broad, unduly burdensome, vague, ambiguous, and not
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  proportional to the need of this case. In particular, Netlist objects to the terms “All Documents

  and Communications,” “relating to,” “investigation,” “decision to file,” and “purchase and

  analysis” as vague, ambiguous, overly broad, and subject to multiple meanings. Netlist objects

  that the request for “All” documents and communications renders this Request overly broad and

  unduly burdensome. Netlist further objects to this Request as premature. Samsung has not

  produced the core technical documents related to the accused products, and Netlist’s deadline to

  produce an initial claim chart identifying the asserted claims is not until April 27, 2023.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 47:

         All Documents and Communications that Netlist intends to rely on in This Litigation and
  all Documents and Communications that Netlist intends to rely on in response to any claim or
  defense asserted by any party to This Litigation.

  RESPONSE TO REQUEST NO. 47:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the needs of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “Netlist intends to rely on,” and “in response to any claim

  or defense” as vague, ambiguous, overly broad, and subject to multiple meanings. Netlist objects

  that the request for “All” documents and communications renders this Request overly broad and
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  unduly burdensome. Netlist objects to this Request as premature. Samsung has not produced the

  core technical documents related to the accused products, and Netlist’s deadline to produce an

  initial claim chart identifying the asserted claims is not until April 27, 2023. Netlist further objects

  to this Request to the extent it seeks expert analyses and opinions prior to the time for such

  disclosure as provided by this Court’s scheduling order.

         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

  documents sufficient to respond to this Request that are within its possession, custody, or control

  to the extent that such documents exist and are located after a reasonable search in accordance with

  the Scheduling Order. Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 48:

          All Documents produced to Netlist pursuant to a subpoena issued in This Litigation.

  RESPONSE TO REQUEST NO. 48:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist responds that it will produce third parties’ document production in this Litigation in

  accordance with the requirements of the Federal Rules of Civil Procedure, the Local Rules, and

  the discovery orders and Protective Order entered in this case. Netlist’s investigation is ongoing,

  and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 49:

         All Documents that Netlist expects to use as exhibits at any hearing, proceeding,
  deposition, or trial in This Litigation.

  RESPONSE TO REQUEST NO. 49:




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         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents,” “Netlist expects to use,” and “hearing, proceeding, deposition, or trial” as vague,

  ambiguous, overly broad, and subject to multiple meanings. Netlist objects that the request for

  “All” documents renders this Request overly broad and unduly burdensome. Netlist objects to this

  Request as duplicative of Request No. 47. Netlist objects to this Request as premature. Samsung

  has not produced the core technical documents related to the accused products, and Netlist’s

  deadline to produce an initial claim chart identifying the asserted claims is not until April 27, 2023.

  Netlist further objects to this Request to the extent it seeks expert analyses and opinions prior to

  the time for such disclosure as provided by this Court’s scheduling order.

         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce or otherwise disclose relevant, responsive,

  non-privileged documents sufficient to respond to this Request that are within its possession,

  custody, or control to the extent that such documents exist and are located after a reasonable search

  in accordance with the Scheduling Order and/or any Orders pertaining to disclosure requirements.

  Netlist’s investigation is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 50:

          All Documents and Communications referred to, identified in, requested to be identified
  in, or used in the preparation of Netlist’s response to any interrogatories or requests for admission.

  RESPONSE TO REQUEST NO. 50:


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         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “referred to,” “identified in,” “requested to be identified

  in,” “used,” and “in the preparation” as vague, ambiguous, overly broad, and subject to multiple

  meanings. Netlist objects that the request for “All” documents and communications renders this

  Request overly broad and unduly burdensome.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 51:

         All Documents produced or otherwise disclosed by Netlist in any other litigation
  concerning any one or more of the Asserted Patents and Asserted Patent Family Members.

  RESPONSE TO REQUEST NO. 51:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms


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  “All Documents,” “produced or otherwise disclosed,” “any other litigation,” “concerning,” and

  “Asserted Patent Family Members” as vague, ambiguous, overly broad, subject to multiple

  meanings, and not proportional to the need of this case. Netlist objects that the request for “All”

  documents and communications renders this Request overly broad and unduly burdensome.

  Netlist objects to this Request because it seeks documents irrelevant to any party’s claims or

  defenses in this case including documents and information for patents not asserted in this Action.

  Netlist further objects to this Request to the extent that it seeks information protected by a

  nondisclosure agreement with a third party, or is subject to similar confidentiality requirements.

  Netlist will not provide such information until it has received consent from the third party.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 52:

         All Documents relating to any contention or Communication by any Third Party regarding
  the construction of any term of any claim of the Asserted Patents and Asserted Patent Family
  Members, or any contention or Communication by Netlist regarding the construction of any term
  of any claim of the Asserted Patents and Asserted Patent Family Members, including complete
  and unredacted copies of any motions, briefs, letters, opinions, memoranda, exhibits, transcripts,
  deposition transcripts and exhibits, and discovery responses and Documents referenced therein.

  RESPONSE TO REQUEST NO. 52:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,


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  ambiguous, and not proportional to the needs of this case. In particular, Netlist objects to the terms

  “All Documents,” “relating to,” “any contention or Communication,” “by any Third Party,”

  “Asserted Patent Family Members,” and “discovery responses and Documents referenced therein”

  as vague, ambiguous, overly broad, subject to multiple meanings, and not proportional to the need

  of this case. Netlist objects that the request for “All” documents and communications renders this

  Request overly broad and unduly burdensome. Netlist objects to this Request because it seeks

  documents irrelevant to any party’s claims or defenses in this case including documents and

  information for patents not asserted in this Action or other proceedings that do not involve the

  patents asserted in this Action. Netlist objects to this Request to the extent that it seeks information

  protected by a nondisclosure agreement with a third party, or is subject to similar confidentiality

  requirements. Netlist will not provide such information until it has received consent from the third

  party. Netlist further objects to this Request to the extent that it seeks publicly available

  information that is at least as accessible to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  it will produce documents sufficient to show the construction of claims of the patents in suit in

  previous litigations that are within its possession, custody, or control to the extent that such

  documents exist and are located after a reasonable search in accordance with the Scheduling Order.

  Netlist’s investigation is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 53:

          All Documents relating to any contention or Communication by any Third Party that any
  of the claims of the Asserted Patents or Related Patents are unenforceable (e.g., due to inequitable
  conduct or unclean hands), or any contention or Communication by Netlist that any of the claims
  of the Asserted Patents or Related Patents are not unenforceable (e.g., due to inequitable conduct
  or unclean hands), including complete and unredacted copies of any motions, briefs, letters,
  opinions, memoranda, exhibits, transcripts, deposition transcripts and exhibits, and discovery
  responses and Documents referenced therein.

  RESPONSE TO REQUEST NO. 53:
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         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents,” “relating to,” “any contention or Communication,” “by any Third Party,”

  “Related Patents,” and “complete and unredacted copies of any motions, briefs, letters, opinions .

  . ., discovery responses and Documents referenced therein” as vague, ambiguous, overly broad,

  subject to multiple meanings, and not proportional to the need of this case. Netlist objects that the

  request for “All” and “any” documents and communications renders this Request overly broad and

  unduly burdensome. Netlist objects to this Request because it seeks documents irrelevant to any

  party’s claims or defenses in this case including documents and information for patents not

  asserted in this Action or other proceedings that do not involve the patents asserted in this Action.

  Netlist objects to this Request to the extent that it seeks information protected by a nondisclosure

  agreement with a third party, or is subject to similar confidentiality requirements. Netlist will not

  provide such information until it has received consent from the third party. Netlist further objects

  to this Request to the extent that it seeks publicly available information that is at least as accessible

  to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.



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  REQUEST FOR PRODUCTION NO. 54:

          All settlement agreements and all license agreements to which Netlist has been a party.

  RESPONSE TO REQUEST NO. 54:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All settlement agreements” and “all license agreements” as vague, ambiguous, overly broad, and

  subject to multiple meanings. Netlist objects to this Request because it seeks documents irrelevant

  to any party’s claims or defenses in this case including documents and information for patents not

  asserted in this Action. Netlist objects to this Request to the extent that it seeks information

  protected by a nondisclosure agreement with a third party, or is subject to similar confidentiality

  requirements. Netlist will not provide such information until it has received consent from the third

  party. Netlist further objects to this Request to the extent that it seeks documents or information

  that is at least as accessible to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged license

  agreements relating to Netlist’s patents in suit that are within its possession, custody, or control to

  the extent that such documents exist and are located after a reasonable search in accordance with

  the Scheduling Order.       Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 55:
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         All Documents and Communications relating to licensing of the Asserted Patents and
  Related Patents, including any offers or counter-offers to license any of the Asserted Patents and
  Related Patents, and any Communications concerning whether any such offers or counteroffers
  were RAND-compliant.

  RESPONSE TO REQUEST NO. 55:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “Related Patents,” “offers or counter-

  offers,” and “RAND-compliant” as vague, ambiguous, overly broad, and subject to multiple

  meanings. Netlist objects that the request for “All” documents and communications renders this

  Request overly broad and unduly burdensome. Netlist objects to this Request because it seeks

  documents irrelevant to any party’s claims or defenses in this case including documents and

  information for patents not asserted in this Action. Netlist objects to this Request to the extent that

  it seeks information protected by a nondisclosure agreement with a third party, or is subject to

  similar confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist objects to this Request to the extent it calls for legal

  conclusions. Netlist further objects to this Request to the extent that it seeks documents or

  information that is at least as accessible to Samsung as it is to Netlist, such as the parties’

  communications regarding the Joint Development and License Agreement terminated as of July

  15, 2020 and other licensing communications.




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         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged license

  agreements relating to Netlist’s patents in suit that are within its possession, custody, or control to

  the extent that such documents exist and are located after a reasonable search in accordance with

  the Scheduling Order.       Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 56:

         All Documents and Communications relating to ownership of, or inventorship for, the
  Asserted Patents and Asserted Patent Family Members.

  RESPONSE TO REQUEST NO. 56:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the needs of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “ownership,” “inventorship,” and “Asserted

  Patent Family Members” as vague, ambiguous, overly broad and subject to multiple meanings.

  Netlist objects that the request for “All” documents renders this Request overly broad and unduly

  burdensome. Netlist objects to this Request to the extent it is duplicative of Requests No. 37 and

  38. Netlist further objects to this Request to the extent it seeks documents or information irrelevant

  to any party’s claims or defenses in this Action, including the request for documents or information

  related to “Asserted Patent Family Members” that are not asserted in this Action




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         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

  documents sufficient to show the inventorship and ownership of Netlist’s patents-in-suit that are

  within its possession, custody, or control to the extent that such documents exist and are located

  after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.

  REQUEST FOR PRODUCTION NO. 57:

         All Documents and Communications relating to the settlement of any Related Litigation or
  the Breach Action.

  RESPONSE TO REQUEST NO. 57:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” and “any Related Litigation” as vague,

  ambiguous, overly broad, and subject to multiple meanings. Netlist objects to this Request because

  it seeks documents irrelevant to any party’s claims or defenses in this case including documents

  and information for patents not asserted in this Action. Netlist objects to this Request to the extent

  that it seeks information protected by a nondisclosure agreement with a third party, or is subject to

  similar confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist objects to this Request because it is duplicative of Request




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  No. 54. Netlist further objects to this Request to the extent that it seeks documents or information

  that is at least as accessible to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 58:

          All Documents and Communications relating to This Litigation, the Breach Action, or any
  Related Litigation involving any Asserted Patent or Asserted Patent Family Member, including (i)
  complete and unredacted copies of any motions, briefs, letters, opinions, memoranda, exhibits,
  transcripts, deposition transcripts and exhibits, discovery responses and Documents referenced
  therein, and Documents filed, served, produced, or exchanged in This Litigation, the Breach
  Action, and the Related Litigations involving any Asserted Patent or Asserted Patent Family
  Member; and (ii) all Communications with any Third Party (including the named inventors,
  prosecuting attorneys, prior assignees, and prior and current licensees of any of the Asserted
  Patents or Related Patents; any Person involved in litigating, licensing, assigning, transferring, or
  asserting any of the Asserted Patents or Related Patents; the JEDEC Organization; and Netlist’s
  investors) related to This Litigation, the Breach Action, or any Related Litigation involving any
  Asserted Patent or Asserted Patent Family Member.

  RESPONSE TO REQUEST NO. 58:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request because it seeks information that is exempt from discovery under

  the attorney-client communication privilege, the attorney-work-product doctrine, or any other

  applicable privilege, immunity, or protection as provided by any applicable law. Netlist objects to

  this Request on the ground that it is overly broad, unduly burdensome, vague, ambiguous, and not

  proportional to the need of this case. In particular, Netlist objects to the terms “All Documents

  and Communications,” “relating to,” “Related Litigation,” “Asserted Patent Family Member,”

  “unredacted copies of any motions, briefs, letters, opinions, memoranda, . . . discovery responses

  and Documents referenced therein,” “Documents filed, served, produced, or exchanged,” “all


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  Communications with any Third Party,” “prosecuting attorneys,” and “involved in” as vague,

  ambiguous, overly broad, and subject to multiple meanings. Netlist objects to this Request because

  it seeks documents irrelevant to any party’s claims or defenses in this case including documents

  and information for patents not asserted in this Action. Netlist objects to this Request to the extent

  that it seeks information protected by a nondisclosure agreement with a third party, or is subject to

  similar confidentiality requirements. Netlist will not provide such information until it has received

  consent from the third party. Netlist objects to this Request because it is duplicative of the

  remaining Requests. Netlist further objects to this Request to the extent that it seeks documents

  or information that is at least as accessible to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 59:

          All Documents and Communications relating to policies or practices regarding patent
  licensing adopted or followed by Netlist, including any policies or practices regarding licensing of
  standard essential patents, and any policies or practices regarding RAND terms and conditions.

  RESPONSE TO REQUEST NO. 59:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “policies or practices regarding patent
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  licensing,” and “standard essential patents” as vague, ambiguous, overly broad and subject to

  multiple meanings. Netlist objects that the request for “All” documents and communications

  renders this Request overly broad and unduly burdensome. Netlist objects to this Request because

  it has no temporal limitation. Netlist objects to this Request to the extent it calls for legal

  conclusions. Netlist objects to this Request because it seeks documents irrelevant to any party’s

  claims or defenses in this case including documents and information for patents not asserted in this

  Action. Netlist further objects to this Request to the extent that it seeks documents or information

  that is at least as accessible to Samsung as it is to Netlist.

         Subject to, and without waiving the general and specific objections, and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

  documents sufficient to show Netlist’s patent licensing policies that are within its possession,

  custody, or control to the extent that such documents exist and are located after a reasonable search.

  Netlist’s investigation is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 60:

         All Documents and Communications referenced or relied upon for Your contention that
  any of Your licenses, agreements, or offers to license were RAND-compliant.

  RESPONSE TO REQUEST NO. 60:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “referenced or relied upon,” and “RAND-compliant” as


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  vague, ambiguous, overly broad and subject to multiple meanings. Netlist objects that the request

  for “All” documents and communications renders this Request overly broad and unduly

  burdensome. Netlist objects to this Request because it does not provide any temporal limitation.

  Netlist objects to this Request because it calls for legal conclusions. Netlist objects to this Request

  as premature because under this Court’s scheduling order Netlist’s initial claim chart is not due

  until April 27, 2023. Netlist further objects to this Request to the extent it seeks expert analyses

  and opinions prior to the time for such disclosure as provided by this Court’s scheduling order.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist will produce relevant, responsive, non-privileged documents sufficient to support Netlist’s

  contentions that one or more claims of Netlist’s patent-in-suit is standard compliant (if applicable)

  that are within its possession, custody, or control to the extent that such documents exist and are

  located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right

  to supplement this response.

  REQUEST FOR PRODUCTION NO. 61:

          All Documents and Communications referenced or relied upon for Your contention that
  You have complied with the JEDEC Patent Policy, including Documents and Communications
  referenced or relied upon for Your responses to Plaintiffs’ allegation that Netlist has failed to offer
  Plaintiffs a license to the Asserted Patents, Related Patents, or other Netlist patents that may be
  essential to any JEDEC standard on RAND terms and conditions.

  RESPONSE TO REQUEST NO. 61:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms
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  “All Documents and Communications,” “referenced or relied upon,” “complied with the JEDEC

  Patent Policy,” “Related Patents,” “other Netlist patents,” “may be essential to any JEDEC

  standard,” and “RAND terms and conditions” as vague, ambiguous, overly broad and subject to

  multiple meanings. Netlist objects that the request for “All” documents and communications

  renders this Request overly broad and unduly burdensome. Netlist objects to this Request because

  it does not provide any temporal limitation. Netlist objects to this Request because it calls for legal

  conclusions. Netlist objects to this Request because it seeks documents irrelevant to any party’s

  claims or defenses in this case including documents and information for patents not asserted in this

  Action. Netlist objects to this Request as premature because Samsung has not provided any basis

  to show any patents in suit is standard essential. Netlist further objects to this Request to the extent

  it seeks expert analyses and opinions prior to the time for such disclosure as provided by this

  Court’s scheduling order.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 62:

          All Documents and Communications relating to each instance in which any of the Asserted
  Patents or Related Patents was the subject of an offer for sale, offer to license, suggestion of a
  license, request for a license, legal proceeding, covenant not to sue, allegation of infringement, or
  any other enforcement attempt.

  RESPONSE TO REQUEST NO. 62:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any


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  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “Related Patents,” “each instance,” “subject

  of an offer for sale,” “suggestion of a license,” “allegation of infringement,” and “other

  enforcement attempt” as vague, ambiguous, overly broad and subject to multiple meanings. Netlist

  objects that the request for “All” documents and communications renders this Request overly

  broad and unduly burdensome. Netlist objects to this Request because it is duplicative of Request

  Nos. 27 and 55. Netlist objects to this Request to the extent that it seeks information protected by

  a nondisclosure agreement with a third party, or is subject to similar confidentiality requirements.

  Netlist will not provide such information until it has received consent from the third party. Netlist

  objects to this Request because it seeks documents irrelevant to any party’s claims or defenses in

  this case including documents and information for patents not asserted in this Action. Netlist

  further objects to this Request because it does not provide any temporal limitation.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper

  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 63:

          All Documents and Communications relating to the November 12, 2015 Joint
  Development and License Agreement between Netlist and SEC, including (i) Documents and
  Communications relating to negotiations, performance, and alleged termination of the agreement,
  and (ii) complete and unredacted copies of any motions, briefs, letters, opinions, memoranda,
  exhibits, transcripts, deposition transcripts and exhibits, discovery responses and Documents
  referenced therein, and Documents filed, served, produced, or exchanged in proceedings before
  the Tax Tribunal of the Korean National Tax Service and the Breach Action.

  RESPONSE TO REQUEST NO. 63:
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         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “negotiations, performance, and alleged

  termination,” “complete and unredacted copies of any motions, briefs . . . and Documents

  referenced therein ,” and “Documents filed, served, produced, or exchanged in proceedings before

  the Tax Tribunal of the Korean National Tax Service and the Breach Action” as vague, ambiguous,

  overly broad, subject to multiple meanings, and not proportional to the need of this case. Netlist

  objects that the request for “All” documents and communications renders this Request overly

  broad and unduly burdensome. Netlist objects to this Request because it seeks documents

  irrelevant to any party’s claims or defenses in this patent infringement case. Netlist objects to this

  Request to the extent that it seeks information protected by a nondisclosure agreement with

  Samsung or a third party, or is subject to similar confidentiality requirements. Netlist objects to

  this Request to the extent that it seeks documents and information that is at least as accessible to

  Samsung as it is to Netlist, including for example, documents exchanged between Netlist and

  Samsung in other litigation proceedings and before the Korean Tax Tribunal. Netlist objects to

  this Request as overly burdensome because it does not provide any temporal limitation.

         Subject to, and without waiving the general and specific objections, Netlist responds that

  Netlist is willing to meet and confer with Samsung regarding the subject matter and the proper




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  scope of this Request, as well as Samsung’s basis to seek such information. Netlist’s investigation

  is ongoing, and Netlist reserves the right to supplement this response.

  REQUEST FOR PRODUCTION NO. 64:

         All Documents and Communications relating to the Accused Products.

  RESPONSE TO REQUEST NO. 64:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request because it seeks information that is exempt from discovery under

  the attorney-client communication privilege, the attorney-work-product doctrine, or any other

  applicable privilege, immunity, or protection as provided by any applicable law. Netlist objects to

  this Request on the ground that it is overly broad, unduly burdensome, vague, ambiguous, and not

  proportional to the need of this case. In particular, Netlist objects to the terms “All Documents

  and Communications,” “relating to,” and “the Accused Products” as vague, ambiguous, overly

  broad, and subject to multiple meanings. Netlist objects to this Request because it is duplicative

  of the remaining Requests. Netlist objects to this Request to the extent that it seeks documents or

  information that is at least as accessible to Samsung as it is to Netlist or is within Samsung’s

  exclusive possession. Netlist further objects to this Request as premature. Samsung has not

  produced the core technical documents related to the accused products, and Netlist’s deadline to

  produce an initial claim chart identifying the asserted claims is not until April 27, 2023.

         Subject to, and without waiving the general and specific objections and to the extent Netlist

  understands Samsung’s request, Netlist will produce relevant, responsive, non-privileged

  documents sufficient to respond to this Request that are within its possession, custody, or control

  to the extent that such documents exist and are located after a reasonable search in accordance with

  the Scheduling Order. Netlist’s investigation is ongoing, and Netlist reserves the right to

  supplement this response.
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  REQUEST FOR PRODUCTION NO. 65:

         All Documents and Communications relating to Netlist’s document retention practices,
  procedures, and/or policies, including practices, procedures, and/or policies relating to storage,
  maintenance, retention, destruction, and deletion of electronically-stored information.

  RESPONSE TO REQUEST NO. 65:

         Netlist incorporates by reference all its General Objections as if specifically alleged herein.

  Netlist objects to this Request to the extent that it seeks information that is exempt from discovery

  under the attorney-client communication privilege, the attorney-work-product doctrine, or any

  other applicable privilege, immunity, or protection as provided by any applicable law. Netlist

  objects to this Request on the ground that it is overly broad, unduly burdensome, vague,

  ambiguous, and not proportional to the need of this case. In particular, Netlist objects to the terms

  “All Documents and Communications,” “relating to,” “practices, procedures, and/or policies,” and

  “storage, maintenance, retention, destruction, and deletion” as vague, ambiguous, overly broad

  and subject to multiple meanings. Netlist objects that the request for “All” documents and

  communications renders this Request overly broad and unduly burdensome. Netlist objects to this

  Request because it has no temporal limitation. Netlist further objects to this Request as irrelevant

  to any party’s claims or defenses in this Action.

         Subject to, and without waiving the general and specific objections, Netlist will produce

  relevant, responsive, non-privileged documents sufficient to show its document retention policies

  that are within its possession, custody, or control to the extent that such documents exist and are

  located after a reasonable search. Netlist’s investigation is ongoing, and Netlist reserves the right

  to supplement this response.




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                                    8334



                                          /s/ Jason G. Sheasby
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                                          Emily S. DiBenedetto (No. 6779)
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   Dated: January 13, 2023




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                                     CERTIFICATE OF SERVICE

         I, Yanan Zhao, hereby certify that on January 13, 2023, this document was served on

  Netlist-Samsung-D.Del@irell.com, SKNetlist@shawkeller.com and on the persons listed below

  in the manner indicated:

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             @ r|~@l~}~I@_~@a||I@szI@`K_K@azW@ \|~~||K|K@s~@
           z @_@`zI@]~z}~@cz~|I@g~~@d I@o@n{@fz|{I@o~~@dz{~I@`z@gzzI@
           h@ hz~~}I@ n{~@ i~I@ f~@ lz I@ q¤ z@ l~??I@ iz|@ n|z}I@ iz~@ oz{zI@ ^@
           o~zI@dz@pzI@z}@]}~@rzz@@~@|~K@p~@~@z@~@~~@~~@z~@~@
           @K@_@OMNT@{@fK@c~@o}z @D@f~~@kK@o K@]@@~~~}K
           @ >@ S__2, _4a4I, f=<<;=:@ iK@ s9987;675=I@ e43;972139;:@ a19490=3;61/W@ ]@ i97=;4@ ]..;9-1,@ NPR@
           EoJs~~@_~~@l{@N@~}K@OMMMFK
           @ +@ o~@ ~~@ ~~@ @ z~@ z@ |~|@ |~}@ z@ ~@ n]j`@ @ bn]j`@
           {z@ }|~@ z@ ~@ @ ~z~@ @ z@ z@ z@ ~@ oal@ }~@ @ *~@ @ z@ @
           ~~~@ @ ~@ z}z}K@pz@ |~@ @ z~K@p@ ~@ |zI@ ~~@ ~|~z@ @z@ n]j`@@
           bn]j`@z~@|z@z@)~@{~@@}*~~@@~z~@@|@~@oal@}~@z}@
           ~@~~~@|}@ z~~K@]@|~~@~z@z}@~||@ ~zz@@@z@@@
           {~@~@~|~~}@~@ |~@@ @z|~@{@ z~z@@fK@ c~@o}z I@ Im, FRAND, [,Pichn,il,[,R[ha_@I@
           O(_;63=;694@fK@94@e449'-3694@QMN@EOMNTFK

                                                                                                                            SMN
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           SMO@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                               w r K @O WS M N

           ~~@ @ @ |zz{~@ |~~@ ~K@ e@ I@ @ ~}@ @ @
           ~}|@|~@@|z|z~@~@~{~@z~@@~zz{~@z~@@
           z~@~~@z@~z@{z}@z|z{K
                k@ ~}|@ |~@ ~z@ ~z{~@ z@ )}~@ @ z|@ @ ~zz~@ ~@
           |~~z@ z~@ @ ~@ z~~}@ ~@ @ ~@ }~@ z~@ @
           z}z}zK@ e@ @ ~~|I@ @ ~}|@ |~@ ~}@ }~@ z@
           @~z@@z@~@b~}~z@_|@}~|~@@Elc]mmih,p4,D3Lche@
           @ |}~@ ~@ }*~~|~@ {~~~@ ~@ z}}~}@ z~@ @ ~@ ~||z@
           ~@ z}@ ~@ z}}~}@ z~@ @ z@ ~@ z}z}zK¡P@ k@
           ~}@z@z~@@~z@z@~zz{~@z@@z@z~@z@
           @z||~}@@z@|~@}|@{@@@}~|z~}@~~z@@z@
           z}z}K
                k@~}|@|~@~}@}~@z@~|z@{@z}@~J
           z{~@ ~z~~@ @ ~@ |~~z@ z~@ @ z@ z~~}@ ~|@ @
           |z|z@z@n]j`@@bn]j`@zK@pz@@@@z@z@~~@z~@@
           ~@ z||~z{~@ ~}~@ @ }@ @ @ ~@ ~|~z@ z@
           @ zzz{~K@ b@ ~z~I@ |~~@ z~~~@ @ z@ z~~}@ ~|@ |z@
           }~@ z||z~@z}@ ~z{~@ ~}~|~@ @ z@ ~|@z~@@~@z~@
           &|~@ |zz{~@ @ ~@ |~~@ z@ ~@ @ KQ@ _zz{~@ |~~@
           }~@~@|~@z@~~~@z~@}~z~}@z@~@z~@@
           @z@@~@@@zz|~@z@z}z}J|z@}|K@d~~I@
           |zz{~@ |~~@ @ @ ~£z}@ {@ }~)@ @ @ ~@ @ ~@
           oal@z~@{~@|~~}@@~@)@~K@p@z@@ ~@@~@|z~@
           @z@z|~@z}z}@@z@z~@|z@z@z| @z@@@|~K@
           e@|@z@|z~I@@~}|@|~@~}@}~@z@z~z~@~J
           }@ @}~~@ ~@ z~@ @~@ z~~}@ ~K@ k@~}|@
           ~}@z@|z@{~@~}@@z@~zz~@@zI@|@z@
           @zz@zz@@@|~@~zK
                p@ z|~@ }z@ @ zz@ @ |@ ~@ @ @ Eo}z F@ ~~}@ @
           ~~@ ~||@ ~@ {~}@ @ OMNT@ @ ~@ qKoK@ e~zz@
           pz}~@ _@ Eep_F@ @ {~z@ @ ~@ |zz@ Ej~@ e|KI@ @
           C_ln[ch,M_gils,Mi^of_m,[h^,Cigjih_hnm,Tb_l_i`2,[h^,Pli^o]nm,Cihn[chcha,S[g_I@
           e~z@jK@PPTJp]JNMOPF@z}@z@|~~}@{~~@~@z|~@@z@
           z@}~|K@pz@~z@z}}~~}@~@|z@z@~@~J
           }~@ z}@ ~}@ |~z@ z~@ ~}@ @ ~@ }~@ @ ~~~@
           ~~K@p~@|zz@z}@}~|z~}@~@z~@@@@{~@~~z@@


           @ %@ a|I@ e|K@ K@ `Jh @ oKI@ e|KI@TTP@ bKP}@ NOMNI@ NOPP@ Eb~}K@_K@OMNQFX@ m__, [fmi,fK@ c~@ o}z I@Tb_,
           V[fo_,i`,[,Sn[h^[l^,V_lmom,nb_,V[fo_,i`,Sn[h^[l^ct[ncihI@SU@^-:89;@hK@n='K@RV@EOMNSFK
           @ $@ S__, fK@ c~@ o}z I@ Ajjilncihg_hn2, FRAND, Ris[fnc_m2, [h^, Cigj[l[\f_, Lc]_hm_m, A+_l, a|@
           K@`Jh I@OMNS@qK@e88K@hK@n='K@NUMVI@NUON@E p~@}|@|@z}@~@b~}~z@_|@@@Elc]mmih,
           p4, D3Lche, |)@ z@ @ @ z@ ~z{~@ ~}@ @ ~@ |zz{~@ |~~@ @ |z|z~@ z@ bn]j`@
           zK¡FK
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           OM NTx @                   H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                  SMP

           z}z}@ ~z{~}@ {@ ~@ f@ a~|@ `~|~@ a~~@ _|@
           Efa`a_FK
                s~@ ~@ ~}|@ |~@ ~z@ @ }~@ ~@ }~z~}@ z~@
           z@ |~@ z|~@ @ z@ }|@ ~z~I@ |}@ ~@ zJ
           }z}@ @ z}J~}|~}@ }zJ~@ ~@ }~@ Ehn`eiiF@ @
           ~@ @ ~~z@ @ }z@ }zz@ z~@ E``nQF@ }z|@ z}Jz||~@
           ~@ E`n]iF@ |~K@ s~@ z~@ ~@ z~@ @ ~@ ~|~@ z@
           z@fa`a_@hn`eii@z}z}@@~z~I@z{~@z}@{~}@~@z~@
           @ z}z}z@ ~@ Ez@ I@ ~@ z~@ @ z@ [hs@ z}z}I@ ~z}J
           ~@ @ @ ~|~@ ~||z@ |~F@ {@ }~~@ ~@ ~@ z@
           |~@z~@@@zI@~z~@@~@~J{~@z}z}I@|@@@
           |z~@@fa`a_@~z~@z}z}@@~~~}@}zJ~@~@}~@
           En`eiiFK@]~@~@@~@zz|~@|~~z@|@@}|J
           @z@``nQ@hn`eii@z~@z@z@n`eiiI@~@~@~@z}J|zJ
           @zz@@z~@~~z@@~@hn`eii@z}z}@@|z|z~@~@
           z@{~@z@z@}@{~@n]j`@@~@|zz@J
           @@oalK
                s~@~@@zz@@z~@~@~@~@@z@|~@|J
           ~@ z~@ @ @ z@ @ z||~@ z@ z}z}@ @ ~@ ~@ @ ~~I@ z@ z@
           ~z@ z~I@ ~@ ~}~z@ ~~~@ @ }~@ z}@ z@
           z~K@ s~@ }@ @ z~@ @ z}}~@ ~@ z~@ ~@ @ @ z@
           z~@ }@ {~@ }{~}@ @ z@ z|z@ ~zI@ @ ~~@ z~@
           ~@@zz|~@}@z@~@z~@@z}z}z@@@
           ~|@@~@{|@}zK
                p@@z|~I@~@~z@@zz@{@z @E@J
           ~|z@~|z@z~F@z@}|@@z|z@z@*~@z}~@@~@
           ~z@~|~}@~@ep_@NMOP@~zK@^@@}I@~@@@
           }|@ @ ~||@ zz@ ~~@ @ |)}~z@ {~@ z@
           E_^eF@@z@~zK
                @ e@ lz@ e@ @ @ z|~I@ ~@ }~|{~@ ~@ @ @ z@ oal@ }~@
           n]j`@{z@@fa`a_@z}@~z@z@~@@~~@}~@
           @ |z@ ~@ ~@ ~||@ ~}@ @ |z|z@ z@ n]j`@
           zK@ e@ lz@ eeI@ ~@ ~z@ @ ~||z@ ~@ ~@ ~@ @ ~}|@
           |~I@ |@ ~|@ o~@ n~@ ~z@ z}z|~}@ @ NVTQKR@ e@ lz@
           eeeI@ ~@ ~z@@ @ ~z~@ ~}|@|~@@ }~~~@ ~@z~@z@
           z@ z~~}@ ~@ |~z~K@ e@ lz@ erI@ ~@ z~@ @ @ ~@ ~}|@
           |~@ zz@ @ ~z~@ ~@ |{@ @ z~~}@ z}z|~@ z||~}@
           @hn`eiiK@e@lz@rI@~@~@z@|@~~z|@~}@}@@
           ~@ ~||@ |z@ @ z~@ zz£z}J|z@ zz@ @
           z~£@ z@ ~@ z~@ z@ z@ oal@ }~@ @ |{~@
           @ #@ o~@n~I@H_^ihc],Plc]_m,[h^,Igjfc]cn,M[le_nm>,Pli^o]n,Dc*_l_hnc[ncih,ch,Pol_,Cigj_ncncihI@UO@fK@l98K@
           a194K@PQ@ENVTQFK
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           SMQ@                 Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                    w r K @O WS M N

           @~@z}z}@@~K@e@lz@reI@~@~@z@{zzJz~@z~ @
           @}~z~@z@~@|zz@~|z@n]j`@*~@@BNO@~@
           @ @ ~@ ep_@ NMOP@ ~z@ |@ @ ~@ |~~z@ z~@
           z{z{~@@~@|zz@hn`eii@oal@K@e@lz@reeI@~@
           ~z@ @ @ ~}|@ |~@ zz@ ~}@ }|~@ z}{~@
           ~~@~@}~@~@b~}~z@n~@@a}~|~I@@z@~}@
           z@z)~@~@b~}~z@_|@z~@~~~@~|z~}@@
           Elc]mmih,p4,D3LcheI@z}@@z@z~z~@~}@z@~@z|z}~|@
           z}|z~£z@ zz@ @ z@ z~@ _r, [hn_@ |~~z@ z~@ z@ ~@ ~@ @
           ~@ z}z}@ z}£@ "z~}@ @ ~||@ }@ z}@ |~~@
           ~~zI@~I@z}@~z{~@@z@~}~z@~~K

                             eK@fa`a_/@o3-47-;7/@-47@n]j`@_900630=43

           fa`a_@ @ z@ ~zz@ z}z}J~@ zz@ EookF@ @ ~@
           z@ ORM( ~{~@ |z~@ z@ @ }~~@ z}z}@ @ ~@ |J
           ~~||@ }I@ |}@ z}z}@ @ }Jz~@ }~|~I@ ~z~}@
           ||I@ z}@ ~~||@ }~I@ |@ z@ ~@ }~KS@ fa`a_@
           hn`eii@ z}@ n`eii@ z}z}@ z~@ }~@ ~~~}@ @ ~@
           }~@~}@@~@zz|~@@~~K

           A4, JEDECum,RDIMM2,LRDIMM2,DDR92,[h^,DDR:,Sn[h^[l^m

           _~@ ~I@ |@ z@ ~@ `n]i@ |@ z~}@ @ z@ }zJJ
           ~@ ~@ }~@ E`eiiFI@ ~z{~@ z@ }~|~@ E|@ z@ z@ z~I@ z@
           |~I@ @ z@ ~~F@ @ ~@ z}@ z||~@ z@ z|~@ ~}@ @ @
           z@ z}@ ~@ ~@ |KT@ o~@ z@ z}@ |@
           ~~@ ~z~@ ~@ z@ ~K@ b@ ~z~I@ z@ z~@ ~@ ~@
           ~@ ~@ c~@ iz@ z}@ {z@ }~|@ @ z@ |z@ ~zJ
           z@z@z@~~@~@z| @~@}z@zz|@@| @@~@oDl@
           RMMK@b@z|z@}~z}@|z@~I@~@~~@@{~@z{~@
           @ @ @ ~@ z@ ~@ z@ @ z@ Ez@ ~z~}@ {@ ~@
           ~~@ ~@ |zz|FI@ {@ z@ @ z||~@ z@ z@ | @ z}@
           ~|~@ Ez@ ~z~}@ {@ ~@ ~~@ ~@ {z}}FKU@ p@ |~z~@
           {@~@~~@~@|zz|@z}@@~@{z}}I@~@~@|z@
           z@z@~@}~@@z@{~@~z|~@z@z~@z}@}~|@

           @ !@ fa`a_I@fa`a_@izz@@kzz@z}@l|~}~@§@NKOI@z@N@Ef@OMNRFI@WLLK~}~|KL
           ~L}~zL)~LfiONnK}@ w~~z~@ fa`a_@ izzxX@ m__, [fmi, A\ion, JEDECI@ fa`a_I@ WLLK
           ~}~|KLz{J~}~|K
           @ @ S__2,_4aKI@Tb_,Rif_,i`,M_gils,ch,Yiol,Cigjon_lI@_;216-8I@WLLK||zK|LzL~LJzJ
           }~J|~J~J}zJ}K
           @ @ S__, `z@iz~|I@ LRDIMM, pm, RDIMM>, Scah[f, Ihn_alcns2, C[j[]cns2, B[h^qc^nbI@a`j@ j=39;@
           E]K@ NI@ OMNQFI@ WLLK~}K|L}~L}~|LQQPOVUPLhn`eiiJJn`eiiJJozJ~JJ
           |zz|JJ{z}}K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 134 of 242 PageID #:
                                    8341



           OM NTx @                 H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                               SMR

           ~@@@z@{~~~@~@|~@~@|~@z}@~@
           |~@ ~@ |KV@ fa`a_@ hn`eii@ z}@ n`eii@ z}z}@
           ~z|@~|@~@~z|~@@~~@`eiiK
                fa`a_@n`eii@z}z}@}|~@z@~@~~@@~@~@
           }~@z@{*~@~@z@~@{~~~@~@`n]i@|@z}@~@~J
           ~@~@|~KNM@p~@z}}@@~@~~@@~@~@}~@
           ~z{~@~@~@@|~z~@~@~~@~@|zz|@~z~@@z@`n]i@
           }~@z@z| @z@~~KNN@^@z}}@~@}{~}@{*~@@~@`n]i@
           }~I@fa`a_@``nQ@hn`eii@ z}z}@~@ |~z~@ ~@~~@
           ~@|zz|@~@|~z@~@~~@~@{z}}KNO@e@~@
           }I@ ~z~@ @ ~@ }~@ z||@ fa`a_@ ~z~@ n`eii@
           z}z}I@z@``nQ@hn`eii@}|@~z{~@~z~@~@|zz|@@z@
           ~~@@~}@~@~~@z{@@~z~@z@@~@~@
           ~~}KNP@``nQ@hn`eii@}|@@*~@{~~@~~@~z|~@z@z@
           @~@|zz|@z@z@~@~~@`eiiKNQ
                i~z~I@ zz@ @ ~@ z@ @ ~@ n`eii@ z}z}@ @
           ~@hn`eii@z}z}I@z}z|~@@`n]i@~|@z~@z@|~z~}@
           ~@ ~z|~@ @ ~@ }~K@ ``nQ@ z}@ @ }{~@ }zz@ z~@
           J~~zI@ |@ @ fa`a_@ z}z}@ @ ~@ z~@ ~~z@ @
           `n]i@ }|K@ Efa`a_@ z}z}@ @ ~@ ~@ ~~z@ @ `n]iI@
           ``nRI@@|~@@}~~~KF@n~z~@@~@~z~@``nP@}|I@
           ``nQ@}|@*~@z@~@{z}}@~z|~K
                ]@~@@~z@@lz@er@{~I@@zz@@@z|~@z}}~~@
           ~@ }z~z@ @ ~@ |~~z@ ~||@ z~@ |~z~}@ ~@ ~~@
           zz|~@z}z|~@@{@ENF@~@n`eii@z}z}@@~@hn`eii@
           z}z}@z}@EOF@~@``nP@z}z}@@~@``nQ@z}z}K@b@{~I@~@
           }@ @ ~~@ ~~@ ~@ }z~z@ @ ~@ |~~z@ ~||@ z~@
           |~z~}@ ~@ ~~@ zz|~@ z}z|~@ @ ENF@ z||@ ~@ ``nP@
           z}z}@ @ ||@ @ ~@ n`eii@ z}z}@ @ EOF@ z||@ ~@
           ``nQ@z}z}@@||@@~@n`eii@z}z}K@p~@~}J
           @~~}@@z@zz@}@{~@z@~@~@@~@|~}~@~@
           ~@@}z~z~@z~@~@|~@@|~~z@z~@z@
           ~~@ zz|~@ }~~@ @ z}z|@ @ ENF@ z||@ ~@ ``nP@


           @ •@ S__,Wb[n,Im,Bo*_l_^,M_gils@I@`=88I@WLLK}~K|LLz|~LL~LNVLohjPVQVOLzJJ
           {*~~}J~JJJJ {Jz|~JJJNSOUTO[zYajK
           @ >¥@ fz@ `~@ c~zI@ LRDIMMm, RDIMMm2, [h^, Soj_lgc]lium, L[n_mn, TqchI@ ]4-47p=1,@ E]••K@ PI@ OMNOFI@
           WLLKzz}~|K|LLSMSUL}J}J~|Jz~JLOK
           @ >>@ I^4
           @ >+@ S__,iz~|I@LRDIMM,pm,RDIMM>,Scah[f,Ihn_alcns2,C[j[]cns2,B[h^qc^nbI@mojl[,~@UK
           @ >%@ I^4X,DDR:,LRDIMMm,L_n,Yio,H[p_,In,Aff,P¢QI@d=8=33@l-1-;7@a43=;.;6/=@Ef@OMNSF@w~~z~@
           dla@ ``nQ@ hn`eii@ s~@ lz~xI@ WLLK~K|LOMNVRLOL~}KzLQ]]SJSMSTajsK
           }[~YNKMK
           @ >$@ I^4@z@OK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 135 of 242 PageID #:
                                    8342



           SMS@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                        w r K @O WS M N

           z}z}@ @ ||@ @ ~@ n`eii@ z}z}@ @ EOF@ z||@ ~@
           ``nQ@z}z}@@||@@~@hn`eii@z}z}K

           B4, JEDECum,P[n_hn,Pifc]s,[h^,RAND,Ciggcng_hn

           i~{~@ |z~@ z@ z|z~@ @ fa`a_@ z}z}J~@ |~@
           @ z}~~@ @ ~@ ook@ izz@ @ kzz@ z}@ l|~}~I@ |@
           }~~@fa`a_@z~@|@z}@@n]j`@|~KNR@fa`a_@z~@
           |@ ~~@ ~{~@ z@ @ z}z}J~~z@ z~@ @ }|~@
           ~@z~@@fa`a_@z}@~z~@~@~@E@~F@
           @~@@|~~@~@z~@@n]j`@~@@z@|~~@}|~@z@
           fa`a_@{~~@z ~@zzz{~@@~@~{~KNS
                o~|)|zI@ fa`a_@ ~~@ ~z|@ ~{~I@ z@ z@ |}@ @ z|J
           z@ @ fa`a_@ z}z}J~@ |~I@ @ }|~@ z~@ z}@ z~@
           z|z@ z@z~@~}@@|~}@{@z@K(K(K@i~{~¡@z}@z@~@
           ~{~@ ~zz{@{~~~wx@K(K( K@@|z@ ~@@~@a~z@lz~@
           _zK¡NT@fa`a_@}~)~@z@a~z@lz~@_z@z@~@ ~@~@@|@
           }@~|~z@{~@~}@{@~@~I@z~I@*~@@z~@@~@}J
           @@z@@@z@}|@K(K(K@@{~@|z@@~@~~}@@
           @z@)z@z~}@fa`a_@oz}z}K¡NU@
                b~~I@ fa`a_@ z~@ |@ ~~@ ~@ ~{~@ @ ~J
           z~@ @ }|~}@ ~~z@ z~@ z}@ @ ~@ @ |~~@ ~@
           z~@@ n]j`@ ~@@ ~~@z@|~~@zz|~@E@@ |~F@
           @ z@ @ z~}I@ j|~@ @ n~z@ @ k*~@ h|~~@ @ n]j`@ p~¡@
           E@ @ |~FKNV@ p~@ z~@ |@ z~@ ~z@ @ z@
           @ ~@ a~z@ lz~@ _z@ z@ z~@ }|~~}@ z~@ z}@ @
           ~@oz}z}K¡OM@fa`a_@}~@@~{~@~@z||~@@z@{~}@
           |~~@zz|~KON
                fa`a_@ ~@ @ }z|~@ @ @ @ }~~~@ ~~@ z@ ~{~@
           *~@@|~~@@oal@@z@~~~@@z@fa`a_@z}z}@@n]j`K@
           fa`a_@z~@|@~z@z@ ~z|@_~~@i~{~I@z@z@|}J
           @ @ lz|zI@ z~~@ @ *~@ @ |~~@ @ n]j`@ ~I@ @ z@


           @ >#@ fa`a_@izzI@mojl[,~@SI@§@UKOI@z@OQK
           @ >!@ I^4@§(UKOKOKNK
           @ >@ I^4@§§(UKOKPI@UKOKNK
           @ >@ I^K@§(UKOKNI@z@OPK
           @ >•@ I^4, §( UKOKPX@ m__, [fmi, fa`a_I@ h|~~@]z|~L`|~@ bI@ WLLK~}~|KL~L}~zL
           )~Lh|~~y]z|~J`|~ybyOMNRMTNMK}@ w~~z~@ fa`a_@ h|~~@ ]z|~xX@
           fa`a_I@j|~@@n~z@@k*~@h|~~@@n]j`@p~@bI@WLLK~}~|KL~L}~zL
           )~Lj|~yn~zJJk*~COMh|~~ynz}Jp~ybK}K
           @ +¥@ fa`a_@izzI@mojl[,~@SI@§@UKOKUI@z@OUK
           @ +>@ fa`a_@ ~{~@ |z@ z||~@~~@ zz|~@ {@ @ @ @ fa`a_@ ~{~@ ~{~I@|| @
           @ ~@ lz~¡@z{I@z}@ }z}@z@~|~@~z}~~@z@~~@~@ {~}@ zz|~@z}@
           |}~@~{~}}~}@~ @@z@l`b@}z}@@~z|@}|~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 136 of 242 PageID #:
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           OM NTx @                   H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                    SMT

           l~z@h|~~~I@|@K(K(K@i~{~@a~z@lz~@_zK¡OO@ozI@
           ~@|~~@zz|~@z@z@~{~@~@@fa`a_@|z@~@@
           z~~@ ||~@ ~@ z @ @ z@ n]j`@ *~@ @ z@ ~z@ |~~~W@
            ]@|~~@@{~@*~~}@@z|z@}~@@~@ ~@|~~@@~@
           ~@@~~@~@fa`a_@oz}z}@}~@~zz{~@~@z}@
           |}@z@z~@}~z{@~~@@z@z@}|zK¡OP@
                 j~@ u @ z@ |@ ~@ ~~z@ @ fa`a_@ z~@ |@
           z}@ ~@ ~|~@ {z@ z@ @ z@ ~{~@ n]j`@ |~@
           @ fa`a_KOQ@ e@ I@ ~@ j~@u @ _@ @]~z@ z@ z}@ zI@ ~@
           z~@ ~@ }@ ~@ z~~~@ @ z@ |~zI@ |~~@ }|~I@ ~@
           @}@z@z@~@{~@~|~}@z||}@@@~K¡OR@_~~I@
            w~x}~|~@ }~@ ~@ @ |~@ @ ~@ }|~@ z@ @ z@ z@ ~z@
           ~}~}@ {@ z~}@ @ z~}@ @ ~~z@ z}{~@ @ z}}@ @ @
           z@ ~@ K¡OS@ q}~@ j~@ u @ zI@ ~|@ ~}~|~@ @ zz~@
           @|}~@@~~@z@|z|@~@@~@~@|@z@}@
           z{@@~@~@|z|KOT
                 j~~@ fa`a_@ z~@ |@ @ ~@ ~@ @ @ |~~@ zz|~@
           z}}~~@ ~@ oal@ }~@ @ @ ~~ @ z@ ~|@ }~@ @ ~@ ep_I@
           @ z@ |@ @ z@ |I@ zz@ z@ }@ z@ @ @ ~~@ @
           z@ |~~@ @ z||~@ z~@ ~~z@ @ ~~@ z@ fa`a_@ z}z}K@
           n~z}@}~@~I@fa`a_@z~@|@z@@z@~{~@
            z~@ ~|z~}I@ {@ hin, l_kocl_^I@ @ {@ lz~@ l|@ ~@ @ ||~@
           @~~|@@K(K(K@~@|~@@a~z@lz~@_z@@~@z~@
           @ ~@ fa`a_@ ^z}@ @ `~|@ @ ~K¡OU@ e@ z|zI@ ~~@
           fa`a_@z~@|@@~@~@@@|~~@zz|~@~~@fa`a_@
           ~{~@@~@@z{zI@~}zI@@z@~@}~J~@
           ~|z@@~~@}~@~z}@~@|~@@~@oalK
                 b~~I@ ~~@ @ @ ~}~|~@ zI@ z@ z@ z~@ @ |z|@ ~J
           ~zI@ fa`a_@ n]j`@ |~@  @ z@ |@ z~@ {@ ~@
           oal@ }~@ @ @ @ }~@ ~}~z@ z@ z@ @ ~~ @ z@ |@ @
           ~|@}~K@fa`a_@n]j`@|~@@~@@~~@~@oal@
           }~@ z~@ @ z@ @ @ ~~ @ z@ |@ {@ ~~@ @ ~@
           n]j`@ |~K@p|zI@ |z|z@ ~|~@ @ @ z@ &|~@ {z@


           @ ++@ fa`a_@izzI@mojl[,~@SI@§@UKOKQI@z@OSK
           @ +%@ p@ zz~@ z~z@ @ z~@ O@ @ fa`a_@ |~~@ zz|~I@ z@ ~|~@ @ |@ z~z@ z@
           ]~}@eeI@ch)[K
           @ +$@ fa`a_@izzI@mojl[,~@SI@§@UKOKNMI@z@OVK
           @ +#@ sss@]|KI@e|K@K@cz|~I@TT@jKuKO}@NRTI@NSO@ENVVMFK
           @ +!@ I^4
           @ +@ I^4,z@NSO¢SPK@a|@~}~|~@z@@{~@|}~~}@@|~z~@z@z{@@~@z~~~K@S__2,
           _4a4I,e~|~z@lzI@h}K@K@`zI@e|KI@OQ@jKuKO}@PTOI@PTV@ENVSVF@E wex@@~z@~@~~}@
           z@~|@z}@z@~}~|~@@@z}{~@@|~z~@z@z{@@z@~@z~~~@|@@
           |~~@z}@|~z@z}@z{@@@z|~K¡@E|z@~}FFK
           @ +@ @fa`a_@izzI@mojl[,~@SI@§@UKOKOKNI@z@OQ@E~z@z}}~}FK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 137 of 242 PageID #:
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           SMU@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

           @||}@z@z@@@z{KOV@s~@z@|z|z@@
           @ z{I@ j~@u @ z@ @ ~@ |~z@ ~@ @ ~z@
           @~}~|~@@~@ @|~@@~@}|~K¡PM@a~@@|z|J
           z@~|~@~~@@@z{I@j~@u @|@~~~@z~@z}@
           z@ z@ z@ @ z@ |z|@ @ @ {~@ }~~~}@ @ z~@ z~}@ @ z@
           @K@K@K@@z@~|@ z~~~@{~~~@ ~@ z~@@|~@
           ~}~|~@z@~@wz@z~~}@@z~@z}~@~@z~x@z}~@z@||@
           }~|@ @ }@ K¡PN@ i~~I@ ~@ o~~@ _@ @ ~@ q~}@ oz~@
           z@z}@z@@ @@~@@ z@~~z@|z|z@@z@ ~@
           z~@~}~}@@z~@z@z@~|~}@@~@~@}~z @
           @~|@z~}K@i~@|||I@~@z~@@{~@|~z@z}@z J
           z{~K@K@K@K@wpx@z~@z@z@@~@}@@{~@~z{~}@|~z@z}@
           z z{K¡PO@
                _~~I@ ~~@ ~@ @ ~}~|~@ z@ ~@ oal@ }~@ z~@ @
           @ @ ~~ @ z@ |@ @ ~|@ }~@ z~@ @ ~~@ @ fa`a_@
           n]j`@ |~K@ e}~~}I@ ~~@ @ ~}~|~@ @ ~@ |zW@ fa`a_@
           ~{~@~~~@~@@@z~}@~@ook@{z@z}@|~@z@
           @ ~@ |~}~@ |z~}@ @ ~@ fa`a_@ zzKPP@ e@ OMNRI@ ~{~@ @
           fa`a_@}|~}@~@{@@|z@fa`a_@z~@|@@@
           ~@ oal@ }~@ @ @ ~~ @ z@ |@ @ ~|@ }~KPQ@ d~~I@
           fa`a_@ }~|}~}@ @ @|}~@ |@ z@ @ @@ z~@ |I@ z}@ @
           |@@~@@fa`a_@z~@zz@@@z~@|KPR

                                          eeK@p,=@h9561@9<@d=79461@l;61=/

           e@@~z@z|~@@NVTQI@o~@n~@~W@ d~}|@|~@z~@
           }~~}@ z@ ~@ |@ |~@ @ z{~@ z}@ z~@ ~~z~}@ @ ~||@
           z~@ @ {~~}@ |~@ @ }~~z~}@ }|@ z}@ ~@ ~||@
           z@ @ |zz|~|@ z|z~}@ @ ~K¡PS@ a|~|zI¡@ ~@
           ~z~}I@ |@|~@z~@~z~}@{@~@J~@~~@zz@



           @ +•@ S__2,_4a4I@c~~)~}@K@l~@n~|}I@e|KI@ VU@jKuKO}@RSOI@RTO@EOMMOF@E wox~|~@ }~@@~z~@@
           |z|z@ z{K¡FX@o|}@ K@ iz~|@ d~z}@ _KI@VT@]K`KO}@ NRNI@ NRT@ EjKuK@]K@ `K@ NVUPF@ E ]@
           @ @ z ~@ @ z@ |z|@ }~@ @ |~@ z@ z{K¡FX@ n~@ K@ bK@ l~z|~@ _KI@
           VT@jKuKO}@NVRI@NVV@EOMMNFK
           @ %¥@ sss@]|KI@e|K@K@cz|~I@TT@jKuKO}@NRTI@NSO@ENVVMFK
           @ %>@ _~}~@K@l~@_~K@o|K@`KI@NO@jKuKP}@OUSI@OVQ@EOMMVFK
           @ %+@ i~z@ a}@ _K@ K@ jhn^I@ QSM@ qKoK@ SVPI@ TMU¢MV@ ENVUPF@ E@ iz@ lz|@ _K@
           •K@jhn^I@PRM@qKoK@OTMI@OUP@ENVRSFFK
           @ %%@ fa`a_@izzI@mojl[@~@SI@§@NKUI@z@T@E i})|z@@@zz@z@{~@z}~@@~@@@
           zI@@zz@{@~@^z}@{@~@z@{z@|~K¡FK@fa`a_@~@@{z@|~@@
           fa`a_@izzI@mojl[@~@SI@§@SI@z@NU¢OMK
           @ %$@ S__,fa`a_@l~~zI@c~z|~@_~~@n~@T¢U@Eb~{K@VI@OMNRFK
           @ %#@ S__@fa`a_@izzI@mojl[@~@SK
           @ %!@ n~I@mojl[@~@RI@z@PQK
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           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                         SMV

           E}|@ |~@ ~~~}@ @ |zz|~|F@ @ ~@ ||@ @ ~}|@
           |~@}~~K¡PT@n~@}~}@@~@~zz@@~}|@|~W

                 s~@ }@ |z@ {~@ ~z~}@ z@ ~}@ z| z~@ @ |zz|~|I@ {~~}@
                 z ~@ |~@ z~@ z@ |zz{~@ @ ~@ ~K@ p~@ ~||@ |~@
                 @ ~@ ~z@ {~~~@ {~~}@ |~@ z}@ {~~}@ |zz|~|@
                 {~|~@ ~}~@ |~@ |~@ }*~~|~@ z@ }@ z~@ ~|~}@ z@
                 ~z@}*~~|~@@~@z~z~@z| z~@~@~{}KPU

           n~@ z|~}@ ~@ ~~|z@ }z@ @ ~}|@ |~@ @ g~@
           hz|z~IPV@d~} @dz ~IQM@n|z}@iIQN@z}@j{~@z~z~@fz@
           p{~~QO@z}@cz@^~| ~KQP@n~@}~|{~}@~@@@@~}~|~J
           @@zW

                 p~@ @ @ ~~@ ~|~@ |{@ @ z@ |~@ z~@ z@
                 }|~K@ c}@ }@ @ ~@ )z@ |@ z{~@ {@ z~@
                 z~@|z~}@z@@@~J}|@|@@z~@|zz|J
                 ~|K@_~@z|@z@~@@ }}~~I¡@@@~z K QQ

           n~@|z~}@@~@@@I@|@ ~~@z@g[le_n@{~~~@
           {~@ z}@ ~~K¡QR@ `~}@ ~|@ @ {~~@ ~}@
           n~@ z~ @ z~@ |}~}@ j{~@ z~z~@ fz~@ d~| zQS@ z}@
           dzz}@~@]~@lz ~KQT
               d~}|@}~@~~@}~~~}@@~@~z@OM@|~@@|z|z~@~z@
           ~z~@~z@z~@@~@{z@@@|zz|~|IQU@z}@|@}~@
           ~~@~z@~}@~~@~z~@ @ ~z~@~@z~@@~@|}~K@
           ]|z}~|@~|@~)~}@~@~|~@z}@@~@~}|@}~@@
           z@z~@@z|zK@b@~z~I@z@~~@z}@~@}@

           @ %@ I^4
           @ %@ I^4@z@RQK
           @ %@ g~@fK@hz|z~I@A,N_q,Ajjli[]b,ni,Cihmog_l,Tb_ilsI@TQ@fK@l98K@a194K@NPO@ENVSSFK
           @ $¥@ dKoK@dz ~I@Cigj_hm[n_^,Cb[ha_m,ch,Qo[hncnc_m,[h^,Qo[fcnc_m,Cihmog_^I@NV@n='K@a194K@o327K@NRR@
           ENVROFK
           @ $>@ n|z}@bK@iI@Hiom_bif^,Pli^o]ncih,[h^,Cihmog_l,D_g[h^,Foh]ncihmI@PQ@a19490=3;61-@SVV@ENVSSFK
           @ $+@ fz@p{~~I@Oh,nb_,Tb_ils,i`,Ih]ig_,Dcmnlc\oncihI@TT@s=836;3/1,-<3861,=/@];1,6'@NRR@ENVRSFK
           @ $%@ cz@oK@^~| ~I@A,Tb_ils,i`,nb_,Affi][ncih,i`,Tcg_I@TR@a194K@fK@QVP@ENVSRFK
           @ $$@ n~I@mojl[@~@RI@z@PSK
           @ $#@ I^4@E~z@@zFK
           @ $!@ ez@ a ~}I@ fz~@ fK@ d~| z@ D@ hz@ j~~I@ I^_hnc(][ncih, [h^, Emncg[ncih, i`, H_^ihc], Mi^_fmI@
           NNO@fK@l98K@a194K@oSM@EOMMQFK
           @ $@ ]~@ lz ~I@ A, R_]ihmc^_l[ncih, i`, H_^ihc], Plc]_, Ih^_r_m, qcnb, [h,Ajjfc][ncih, ni, PCumI@ VP@]0K@a194K@ n='K@
           NRTU@EOMMPFK@b@z@~@@ ~@~||@~z~@@~}|@|~I@~~@hz@j~~I@H_^ihc],Plc]_mI@
           ch@p,=@ j=@ l-85;-'=@ `613694-;:@ 9<@ a1949061/@UVV@ Ehz~|~@ aK@^~@ D@o~~@ jK@ `z@ ~}KI@
           lzz~@iz|z@O}@~}K@OMMUFK
           @ $@ S__2, _4a4I@]}z@^z@D@]}~@]~I@Tb_, Ihnli^o]ncih, i`, H_^ihc], R_al_mmcih,T_]bhcko_m, `il, nb_, Qo[fcns,
           A^domng_hn, i`, Cigjoncha, Ekocjg_hn, ch, nb_, Pli^o]_l, Plc]_m, Ih^_r, 0PPI1, [h^, H[lgihcm_^, Ih^_r, i`, Cihmog_l,
           Plc]_m, 0HICP1@ Ek*K@ @ jz@ ozKI@ a|K@ p~}@ jK@ RVOI@ OMMPFI@ WLL~{z|~Kzzz|~KK
            LOMNSMNMRNSMTMVLWLLKKK LL~L~L~||J~}JJ}|~}JLJJRVOJJ
           z|JOMMPL}~KK
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                                    8346



           SNM@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                        w r K @O WS M N

           ~@~}|@}~@@z ~@z@z}~@@"z@~z~I@z|J
           z@ @ }|@ {~|@ @ z}@ ~||z@ |z~I@ z@ ~}|@
           }~@z~@~}@@|z~~@z@@|z@@|K@p~@{~@|z}J
           }z~@ @ @ ~@ @ zz@ z~@ }@ ~@ |~@ ~z~@ |z~@
           ~~@@z@z@~@|z@~z@}~@z}@zKQV
               e@~@H[h^\iie,ih,H_^ihc],Ih^_r_m,[h^,Qo[fcns,A^domng_hnm,ch,Plc]_,Ih^_r_m>,
           Sj_]c[f, Ajjfc][ncih, ni, Ih`ilg[ncih, T_]bhifias, Pli^o]nmI@ fz| @ p~@ @ OMMQ@
           z|~}@~@~@@~@~}|@|~@}~@z@W

                ]@ ]}~@ _@ ENVPVF@ {~}@ ~@ )@ z|~@ @ ~}|@
                |~@}~~I@~~z|~@{~~@_@}|~~}@~z@z@~~{~@
                ~}|@ |@ @ ~@ ~~K@ az~@ z~@ sz@ ENVOUFI@ @
                ~z~}@|~J|zz|~|@|@@~~z{~I@z}@dzzI@@~~@
                ~z~@~z~}@z}@|~J|z@|I@z@}|~}@@_~@z}@
                `~@ ENVVVFK@ pz@ ENVNSFI@ }|~}@ z@ z~@ ~|@ {@ a}~@
                EOMMOFI@~z~}@z@}~@@~@|@z ~@z}@z|z~}@
                |~@}*~~zI@{@~@}}@@~z~@|~@}*~~z@@~@|zz|~J
                |@@|@@z@z|z@zzKRM

           o|~@~~@~z@ I@~|@z~@~}@~}|@|~@}~@@}~~J
           ~@ ~@ |~@ @ z@ ~z~@ @ z@ }|K@ ^~|z~@ ~}|@ }~@
           z~@ {~~@ ~}@ @ }|~@ zz@ }zz@ ~@ @ z@ RM@ ~zI@ ~@ ~@
           }~~@|@~||@z}@{~@~~z|I@~~@~@~}|@~~J
           @z~@@{~~@~z~}@}~|@@~@z~K@p~@{~~}W

                p~@ )@ ~~@ z|z@ @ ~@ |zz|~|@ |~@ ~}@ z@
                ~@j~@d~@l|~@e}~I@|@z@{~~@||~}@{@~@qo@_~@
                ^~z@|~@NVSUK@p@}~@z@}|~}@@~@qo@zz@z||@
                {~@@NVTQI@z}@~~}~}@{z| @@NVSUK@pI@~@~}|@}~@@
                ~@~@||@@@@~@)@~}|@}~@@z@|@
                ~||@ z|I@@ @z@ ~@)@~}|@}~@ ~}@ @ z@|@
                zz@z||K@p@}~@@@{~}I@z}@|z@{~@~~~}@z@~@
                qo@_~@^~z@~{~@Eqo@_~@^~zI@}z~}FKRN


           @ $•@ S__2, _4a4I@ iz@ g  I@ g~@ sz~~@ D@ lz|z@ nz I@ Umcha, H_^ihc], M_nbi^m, `il, Qo[fcns,
           A^domng_hn,ch,nb_,CPI>,Tb_,Cihmog_l,Ao^ci,Pli^o]nm,Cigjih_hn@N@E^~z@@hz{@ozKI@s @lz~@jK@
           PQQI@OMMNFK
           @ #¥@ f-1@p;6.8=33I@ d-47¦99@ 94@ d=79461@ e47=¨=/@-47@ m2-863:@]72/30=43/@ 64@l;61=@ e47=¨=/W@
           o.=16-8@]..861-3694@39@e4<9;0-3694@p=1,49895:@l;97213/@UT@Eka_`@o|KI@p~|K@D@e}K@s @
           lz~I@ jK@ OMMQLMVI@ OMMQF@ E|@ ]}~@ pK@ _I@ H_^ihc], Plc]_, Ih^_r_m, qcnb, Aonigincp_, Er[gjf_mI@
           ch@ p,=@ `:4-061/@ 9<@ ]23909¦68=@ `=0-47@ VV@ ENVPVFX@ b~}~| @ rK@ szI@ Qo[fcns, F[]nilm, Ih'o_h]cha,
           V_a_n[\f_,Plc]_mI@NM@fK@b-;0@a194K@NUR@ENVOUFX@l~~@_~@D@c~~@`~I@Wbi,W[m,Fclmn@,Ah,Er[gch[ncih,
           i`, [h, E[lfs, H_^ihc], Sno^sI@ TR@h-47@a194K@SOM@ENVVVFX@b~}@pzI@R_f[ncih, B_nq__h,Plcg[ls, M[le_n, Plc]_m,
           [h^,Qo[fcnc_m,i`,CinnihI@qKoK@ `=.3@]5;61K@^288K@ j9K@QRT@EjK@OQI@ NVNSFX@`@ aK@ a}~I@D[cfs, H_^ihc],
           Plc]_,Ah[fsmcm>,Ah,Ajjfc][ncih,ni,R_acih[f,Cinnih,Plc]_,R_jilnchaI@~~~}@z@_~~@@a~z@a||@
           n~~z|@EvasF@|~~|~W@l|~@e}|~@z}@~@i~z~~@@mz@_z~@EOMMOFFK
           @ #>@ I^K@z@UUK
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                                    8347



           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                           SNN

           fz@}~@dzz@z@{~~@{~~}@z@~@ ~@@~}|@}~@ z@
           ~z}~}@ @ @ z ~@ @ ~@ }|I@ z|z@ ~@ @
           }~@ z|@ z}@ ~||z@ |z~W@ d~}|@ ~~@ z@ @
           {~|~@~@@~@z}z}@@@z|z@z~|~@@z}@~@_le@
           @z@|z~@@z ~@@z@@~@@}~~z~}@}~@
           |@z@l_K¡RO@]z@oz~@~}@z@~}|@}~@|}@{~@~}@z@
           ~}~|~@@zI@z}@z@~@}zz@zzz{~@@z|z@z~|~@z~@
           ~z@z}@|~@z~@@}~|@~}@@z@~z@z|KRP@]@~z|@@
           ~@ ~@ ~}|¡@ @ ~@]~|z@ a||@]|z@ a|h@ }zzJ
           {z~@ @ OMNT@ ~~}@ PIORN@ |z@ @ ~@ ~||@  K@ s~@ @
           ~@@~z{~}@~|z@~}@@}~~~@z@~zz{~@z@
           @z@z~K

                            eeeK@a/360-3645@d=79461@l;61=/@39@`=3=;064=@3,=@@
                                 r-82=@p,-3@-@l-3=43=7@e4'=43694@_;=-3=/

           p~@ ~@ @ ~}|@ |~@ z@ ~||@ ~}~|~@ @ z~J~~@
           z@ @ @ }~@ ~@ z~@ @ z@ z~~}@ ~z~K@ k~@ }~~@ ~@
           z~@z~@{@|z@~@|~@z}@~z~@z@z@}|@@
           }~~~@~@~||@|{@@~@z~~}@~|@@~@~z@
           z~@@~@@}|I@@~~z@~@z~@z@~@z~@z}}@
           @~@|~@z@|~@z|z@z@@~@@}|K
                ^@ ~~@ ~@ }|@ z@ |~@ @ ~@ }|@ |zz|~|I@
           ~@}~~~@@|@z~@~z|@~}@|~@z}}@@~@}|@
           z@z~K@p~@|@|~@@ ~z|@@~@}|@|zz|~|£@
           |@ ~@ |~@ z~@ ~@ |zz|~|@ z}I@ ~~~I@ @ |@ ~@
           |~@ ~~z@ z@ ~@ }@ {~@ @ @ z@ @ z@ |zz|~|£@
           }~~~}@z|z@@{~~}@|~@@~@z ~KRQ@pI@~@|z@
           z||@@z}@~z~@~@z~@z@|~@zz|@@~z|@zz~@
           |~I@~~@@~@@@|~@|z~K


           @ #+@ fz@ `~@ dzzI@ Cigg_hn, ih@ H_^ihc], Igjon[ncih,V_lmom,Tcg_, Doggs, H_^ihc], Ih^_r_mvI@ ch@ l;61=@e47=¨@
           _941=.3/@ -47@ i=-/2;=0=43@ NVS@ EsK@ a@ `~~I@ f@ oK@ c~~~~@ D@ _z~@ nK@ d~@ ~}KI@
           OMMVFK@ e@z@|~@@~@^~z@@ hz{@oz|@|~@}~@|z|zI@f~@dzz@}~|{~@
           ~~z@ ~z@ ~@ @ ~@ ~@ @ ~}|@ ~z@ @ ~@ |~@ @ |z|z@ z@ |JJ@
           |~@}~I@z@z|z@z@~~@~z@z@|~@@|K@d~@z~}@z@~}|@
           zz@z}~z~@z||~}@@~@~*~|@@~@}|@@~@}|I@z@|z~I@z}@
           ~&|~|~@@~@z~@|z~K@d~@z@z~}@z@~@zz~~@@~}|@zz@}~~}@
           @ ~@ z|z@ ~z~@ @ z@ }|@ z}@ @ z ~K@ S__@ f~@ dzzI@ Siol]_m, i`, Bc[m, [h^, Sifoncihm,
           ni, Bc[m, ch, nb_, Cihmog_l, Plc]_, Ih^_rI@ NT@ fK@ a194K@ l=;/.K@ OP@ EOMMPFK@s~@ {~~~@ z@ dzz@ ||~@ }@
           @z@@@zzK@nz~@z@|z|z~@z@|~@}~I@@zz@ ~z~@~@zz~~@
           @ z@ n]j`@ z~@ z@ |z|z~}@ @ z@ |~@ }~z~}@ ~@ @ zK@ p~@ z}z}~}I@
           |})~}@z~@@~@}|@@@zz@@|@z@@z ~@z~@dzz@|~K@
           @ #%@ ]z@hK@oz~I@Plc]_,Ih^_r_m2,H_^ihc],Ah[fsmcm2,[h^,P[n_hn,D[g[a_mI@R@fK@e43=88K@l;9.K@hK@D@l;-1K@UQ@
           EOMNMFK
           @ #$@ S__2,_4a4I,s9987;675=I@mojl[@~@NI@z@NPRK
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           SNO@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

                p~@ ~@ @ ~}|@ |~@ @ z@ |~@ ~~|@ }@ {z~}@
           @ ~@ |zz|~|KRR@ ]@ ~~~~@ }@ |@ z@ z@ |~@ @ z@
           ~@@ z~}@ z@ z@ {}~@@ }}z@zI@ |@z@ @ @ ~z{~@
           @} @z~I@|@z~@|~}@|~@~~@z@~@{~@z}@z@
           @ ~@ |~@ @ ~z|@ {}~@ |z~K@ p~@ |~@ ~@ |z~@
           ~@z*}z{~@}|@z@@|~@@@z@{}~@@|zz|~|K@
           l@}*~~I@ ~@|~@~~|@@ ~|~z@~@|~z~@@ @
           @z~@I@{@~@}|@z@~}@~@~@~@I@
           ~~@ @ @ }~)~}I@ z@ @ @ }~)~}@ |~z@ @ |~||@
           ~I@z@ ~@}*~~|~@{~~~@~@|~@~@@z@z}@~@
           |~@@~z|@}|K¡RS

           A4, Sn[ncmnc][f,Ammogjncihm

           d~}|@ }~@ ~@ ~@ z@ z|z@ z@ }~@ }J
           z@ ~z@ z~@ EkhoF@ ~~@ zzI@ z@ z|z@ ~|~@ z@
           }~~@ ~@ ~z@ {~~~@ z@ }~~}~@ zz{~@ z}@ ~@ @ ~@
           }~~}~@zz{~@@z@}zz@z~K@]@kho@~~@~z~@z@~zJ
           @ {~~~@ ~z|@ }~~}~@ zz{~@ z}@ ~@ }~~}~@ zz{~I@
           }@~@~@}~~}~@zz{~@|zK@p~@~~@~z~@
           ~@ z}~@ z}@ ~@ }~|@ @ |z~@ @ ~@ }~~}~@ zz{~@ z@
           ~@ @ z@ ~J@ |~z~@ @ ~@ }~~}~@ zz{~K@ b@ ~z~I@
           z@ kho@ ~~@ @ |z@ |~@ E~@ }~~}~@ zz{~F@ @ }~@ ~z@ E~@
           }~~}~@zz{~F@@}@z@z@~J~z@|~z~@@~@}~@~z@
           ~}|@ z@ BOIMMM@ |~z~@ @ ~@ |z@ z~@ |~KRT@ a|@ ~~@
           ~@ ~@ kho@ ~~@ }~@ @ z~}@ ~~z|@ z}@ @ ~~@ ~||@
           ~@{~~@|@z}@~@{zKRU
               e@z}}@@z @~@z@z@@kho@}~@~~zI@z@
           ~}|@~~@}~@~@z~@z@|~@ @~@~z~@
           @~@}|@~@z~@|z@z}@z@~@z@@~@~z~~@
           @~@~z~@@z||z~K@p~~@z@z~@~@~@@~@}J
           |@ ~@ }@ ~~£~@ }~@ ~}@ z@ @ {@ zz|~@ @
           ~~~@ ~~K@p~~@ ~@ }~@ z~@ z}z}~}@ }|@ @
           ~J{|~}@ |~@ z}@ ~z~I@ z@ ~@ @ z ~@ |~z@ @ @ }|@
           {~@ @ ~@ }zz@ z@ ~@ ~@ @ @ ~|~|@ zzK@ p~@ |z@


           @ ##@ S__@n~I@mojl[@~@RI@z@PQX@lz ~I@mojl[@~@QTI@z@NRUMX@j~~I@mojl[@~@QTI@z@NK
           @ #!@ n9¦=;3@hK@l,6886./I@l;61645@-47@n='=42=@k.3606-3694@RS@Eoz}@qK@l~@OMMRFK@
           @ #@ S__2, _4a4I@ f-0=/@ dK@ o391@ D@ i-;@sK@s-3/94I@ e43;97213694@39@ a19490=3;61/ NMT¢NOI@ NUS¢UV@
           E]}}Js~~@P}@~}K@OMNNFK
           @ #@ S__2, _4a4I@ `z~@ n{~}I@ R_`_l_h]_, Goc^_, ih, Mofncjf_, R_al_mmcihI@ ch@ n=<=;=41=@ i-42-8@ 94@
           o16=436<61@ a'67=41=@ PMP@ Eb~}~z@ f}|z@ _~~@ P}@ ~}K@ OMNNFK@ b@ z@ @ ~zz@ @ ~@ ~@
           ~@@~~@zz@@z@|~|z@}~I@~~@f}~@n|z}@l~@~~}~}@}|@@]p]@
           ]~I@e|K@K@b~}K@a~@_KI@SSR@bKP}@UUOI@UUV¢VN@ET@_K@OMNNFK
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           OM NTx @                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@            SNP

           |~@@z@|z~}@zz|~@@~~~@~~I@|@z@`~@
           @d~~@lz| z}@a~~K@
                e@ z}}I@ ~~z|~@ ~@ ~}|@ |~@ ~~@ @ {~@
           zz~@ @ z ~@ z@ z}@ {~@ |~z@ @ ~@ }zz@ @
           ~~@ z@ ~@ |@ |z@ @ ~@ ~z@ ~z@ z~@ z}K@
           s~@ @ @ @ @ |z~@ ||@ @ z@ ~|~|@ }~@ |z@
           z}@~~@~I@{@z@z@|@|~@@~@~}|@~~@
           }~I@|@z@z@ }~~@@~@ @ |@ |~@@ z ~@}z|I@
           |z@~z}@~@@|~z~@~@~@{~@~@@@~K
                ]@@z@~~@zzI@~@~~@@~@~@@z@~}|@
           |~@~~@}~~}@@~@|~|@~|)|z@@~@}~K@o~~z@
           ~z~@@@ ~}|@ zz@@~z~@~@z~@@z@}@zJ
           }z}@E@|@~@{~~@@}~@~@z~@@z@z~@z@
           z@ ~|)|@ z~@ |{~F@ ~~@ ~|z@ z~@ @ }~~~@ ~@
           |~|@ ~|)|zK@ p@ z@ ~@ b~}~z@ _|@ ~~~@ @ ~@
           @ ~@ z~@ @ z}z}z@ @ ~@ z~@ @ z@ z|z@ z}z}IRV@
           z@ ~|~|@ zz@ @ z}z}~}@ }|@ }@ |z~@ ~@ ~zJ
           ~@ z~@ @ z}z}K@p~~~I@ @ @ z@ z@ ~@ }zz@ z}@ }~@
           |~|@ }~@ ~@ |zz~@ {z~@ |z~¡£~@ z}z}@ z@ @ ~J
           {~¡@ ~z~@ @ ~@ z~@ z}z}K@ e@ ~@ }I@ ~@ }@ ||@
           ~@~}|@~~@}~@@}~@~@z~@@~@~J{~@z}z}@
           z@ ~@ |z@ ~@ @ ~@ ~~K@p~@ |~&|~@ @ ~@ ~@ ~@
           ~~~@~z|@}|@~z~@~@~z~@~@z~@z@~z|@~z~@
           |{~@z{~@z}@{~}@ ~@z~@@~@ ~J{~@ z}z}K@e@~@
           }I@~@|z@|z|z~@~@~z~@z~@@}|@~z~I@|}@~@
           z~@ z}z}I@ z@ z@ z}}@ @ @ }~}|@ @ ~@ z~@ @ @ {z~@
           |z~K@e@@zI@~@~~@@~@~}|@|~@zz@@}~~~}@{@
           |z~@||@@~@zz~@~~@@z@~@z~@z}}~}@{@
           ~@z}z}@z}@~@}|@~@~z~@@|z~}@@z@{z~@|z~@z@
           z~z}@ |}~@ ~@ z~@ @ z}z}zK@p~@ |~~z@ z~@ z{J
           z{~@@~@~@z}z}@z}@~@~z~@@~~{@}~|@}~)~}K@
           s~@~@~J{~@z}z}@z}@~@z~@z}z}@z~@|~@~z~}I@~@
           ~}|@~~@@@|~z@}~@~@|~~z@|{@@
           ~@~@z}z}@z{~@~@}@~K
                e@ ~@ |~@ @ ~z@ ~@ z~@ @ z}z}zI@ ~}|@ |~@
           zz@|z@z||@@~|@@~@{|@}zK@o~@@z~@
           z@ z@ )|z@ @ @ z@ z}z}@ z~@ ~@ @ ~@ {|@ }zI@
           |@z@~@z~@z@~@|~@@}~~@}z@@{z|@|~@
           ~~}@ @ zI@ |@ z@ z@ @ |zz|K@ d~~I@ ~@ }~I@
           {~|z @z}z}@@ ~@@|z@~~@{z|@|~@z@~£z}@

           @ #@ a|I@e|K@K@`Jh @oKI@e|KI@TTP@bKP}@NOMNI@NOPP@Eb~}K@_K@OMNQFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 143 of 242 PageID #:
                                    8350



           SNQ@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                          w r K @O WS M N

           @~@}~@@~@|z~@@n`eii@JªJ@hn`eiiK@_~~I@~@
           z~@ @ ~@ |~@@ ~@ {|@}z@z~z}@}@{~@ |}~}@
           @~@z~@@~@{~|z @z}z}I@|@@}~)~}@{@~@|z@
           ~@ @ ~@ ~}|@ ~~K@ b@ ~~@ @ {~@ ~@ ~}z@ z~@ @
           {|@~~|z@~@z@@~~@|~}I@~@}@~~}@@
           }~@ z@ el@ z@ ~@ {|@ ~|@ z@ @ |z~}@ @ ~@ ~@
           z}z}@{@@@~@}~I@{~|z @z}z}K@]@~||z@~~@@~@
           z}z}@ }@{~@z{~@@}~@~@~~|~@z}@~~@@|@ {|@
           ~|I@@z@~@E|@~@}{FK@
                e@@ ~@z@z@|~@z}z}I@~~|z@~@@z@z}@|z@
           }@~~@||~~@~~z@@z}z}@z~@}~~~}@@z@~@
           ~@z@~@~@@z@z~@zI@@|z~@~I@~@z~~}@
           ~|K@p~@s}@e~~|z@l~@kzz@EselkF@z@z}@
           z@ @@@|@z@~@{~@~|@@z@~||z@z}z}@@
           z@~z@~|I@~|~}@{@~@@~@z~K¡SM@p~@z{@@
           |z~@~@@~|@@z@z}z}@@~@z@~z@@)@
           @ ~@ @ {|@ zzz{~@ ~|~K@ e@ OMNSI@ z@ aq@ _@
           {~}@ z@ ~@ @ el|@ z@ z@ ~@ ~|@ @ |}~@ ~@
           z~~}@ ~|@ @ ~||z@ z}z}@ @ z@ z@ |~J
           ~@ @ )@ @ |~z~@ ~@ ~~@ @ z}z}zK@ ]I@ z~@
           }~@z~@z@~@z~@~~@@~@@~~@@~@
           z}z}@@~@|z@~|@~@|@@|~@~~K¡SN@p~~@|}J
           ~z@z ~@@}{@z@~@{|@}z@z@|@z~@z}@~@
           zz{~@ ~@ fa`a_@ )z@ z~}@ @ hn`eii@ z}z}@ z@ ~@
           fa`a_@ )z@ z~}@ @ ~z~@ n`eii@ z}z}K@ j~~~I@ @
           z ~@ @ |~~~@ ~@ |}~@ @ @ z~@ zz@ @ lz@rKb@
           ~@ ~~}@ hn`eii@ oal@ z@ z@ @ @ {|J}z@ ~|@ z@
           @zz{@ ~{}~}@@fa`a_@hn`eii@z}z}@{@@ @n`eii@
           z}z}K@

           B4, Tb_,Ajjlijlc[n_,Foh]ncih[f,Filg

           ]~@ }~~@ ~@ zz~@ ~||z@ z}z}@ @ |zI@ ~@
           @}~~~@~@zz~@|z@@@~@~}|@|~@~~J
           K@s~@~@z@ z}}~¡@}~I@~@{z|@@az@N@~|~W

                ,                              Plc]_@Y@",H,$NXc,H,$OESn[h^[l^FI@                                           ENF


           @ !¥@ a~{z@ ^~I@ Sn[h^[l^m2, Ihn_ff_]no[f, Plij_lns, Rcabnm, 0IPRm1, [h^, Sn[h^[l^m3S_nncha, Pli]_mmI@ s9;87@
           e43=88K@l;9.K@k;5K@E}z~}F@E~z@~~}FI@WLLKKL~L~L}|~Lyz}z}y
           ~K
           @ !>@ p60@ l9,80-44@ D@ g423@ ^8647I@ h-47/1-.645@ o327:@ 94@ o3-47-;7@ a//=436-8@ l-3=43/@ Eoal/F@ T@
           EOMNSFI@WLLK|K|L~~zL~J|J{~Jz}|zJ}J~J|LK
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           OM NTx @                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@              SNR

           ~~@ Plc]_@ @ ~@ |~@ @ ~@ z}z}~}@ }|I@ z}, "@ @ ~@ |z@
           z@~z~@~@z~@@~@ {z~@|z~K¡@p~@~@~~~~}@{@Xc@z~@
           ~@ z@ ~~@ @ ~@ }|@ ~z~I@ z}@ ~@ $N@ ~@ z~@ ~@ z~@
           z@|~@z|~@@~@~~@@~@~z~K@bzI@~@~@$O@}~J
           ~@~@z~@@~@z~@z}z}£z@I@~@z~@@~@z~~}@~|J
           ~@z@z@~@z}z}@@~z~K@
                k~@|z@@z@~|@|@~@@~}|@|~@
           zz@ z~@ ~@ ~@ @ ~@ |z@ @ ~||z@ z}z}K@p~@ z}}J
           ~@ }~@ z@ ~@ z}zz~@ @ z@ z@ |z@ z~@ @ ~z|@ ~z~@
           z}@ z@ ~@ ~@ @ {z@ }|z@ E@ }¡F@ zz{~@ @ z||@
           @ ~@ ~~|~@ @ z{~|~@ @ ~@ }|@ z@ ~z~K@p~@ z}}~@
           }~@@~@@~@@~@~~@|@@@~}|@|~@~~@
           }~@ z@ }~@ K@pz@ I@ ~@ z}}~@ @ @ ~@ @ }~@ |~@
           z@z)~@~@b~}~z@_|@}~|~@@Elc]mmih,p4,D3Lche@@ |}~@
           ~@ }*~~|~@ {~~~@ ~@ z}}~}@ z~@ @ ~@ ~||z@ ~@ z}@
           ~@ z}}~}@ z~@ @ z@ ~@ z}z}z¡SO@ z}@ z@ }~)~@ z@
           |z@|~~z@z~@z@~@|z@z{~@@~@z}z}K@
                o~@~|@~~@z~@z@~@|z@@@~@
           ~}|@|~@}~@z~@~@@~@z}}~@}~@@~@@|z|J
           z@~@z~@@z@z}z}K@]@~~@@@{~@zz~@@
           ~z@|~@~z@@~@ }@@z ~I@~@}@@}|~@
           ~||@~}~|~@z@~@~@)}~@@z|@@z~@~@~z@~@
           z@ ~@ b~}~z@ _|@ @ Elc]mmih, p4, D3Lche@ z@ ~}@ @ z~J~J
           ~@zK@p~@~~@|~@z}~@{@~~@~|@@z@~@
           z}}~@ }~@ }~@ @ |z~@ |~@ }z|@ z@ z||z~@ z@ z~@
           }~@ I@ z|z@ @ z ~@ @ z}@ }~~@ }|@ z@
           z~@@z@|~@~}@{@~@|~K@pz@||@@zK@
           e@ |zz|~~@ ~@ z @ z@ z}@ z@ {~@ ~@ ~}|@ @ |~@ ~@
           ~@ z@ |~@ z@ {~K@ p@ ~@ |zI@ ~@ ~~z@ z @ @ ~@ |~z@
           }~)|z@@z@|~@z~@z|z@@@z@@z~@z||~@@
           ~@z}z}~}@~|I@~z}~@@~~@~@z~@J~J
           Jz@ |~@ E@ z ~@ ~@ |z~@ @ z~@ ~@ z}z}@ z@
           {~~@z}~}F@@|~J|z~}@zJz ~@|~@E@z ~@~@
           |z~@|~@~@z}z}@z@{~|~@~@}~~z}@z}@zz|J
           @|~~@z~@{~|~@~@~&|~FK@
                e@~@|@|z@I@|@z@~@~J@@J@I@
           ~@ ~}|@ }~@ |~&|~@ }~|{~@ |~@ |z~@ z@ ~|~z~@ @
           ~z|~K@b@~z~I@|}~@~@~J@}~@{~@@az@OW

                @                           EPlc]_F@Y@",H,$NXc,H,$OESn[h^[l^FI,                 EOF

           @ !+@ a|I@e|K@K@`Jh @oKI@e|KI@TTP@bKP}@NOMNI@NOPP@Eb~}K@_K@OMNQFK
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           SNS@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

           ~~@~z|@~@~z~@~@z~@~z~@z@@az@NI@z@~@
           ~~z@@~@|~|~@z@@|z~}KSP@e@~@~J@}~I@
           ~z|@ $@ |~|~@ }~~~@ ~@ ~|~z~@ {@ |@ ~@ }|@ |~@
           |~z~@@}~|~z~@@~@z}}@@z@~@~z~K@p~@}z{z| @@
           @ z|z@ ~||z@ @ ~@ ~}|@ ~~@ }~@ @ z~@
           ~@~~z@~z@~@z@~@b~}~z@_|@~}@@Elc]mmih,p4,D3Lche@
           @ z@ ~@ ~||z@ z@ ~@ z~@ z@ ~z|@ ~z~@ |~~z@
           |{~@@~@}|@E@}z@~F@@z@}~~}@@~@}|@
           ~@~z~K@b@~z~I@@~@}~@}~~@~@z}z}~}@~|J
           @z@|~z@~@}|@z~@{@NM@~|~I@z@}@~@z@
           ~@~|@}@z}}@BNMM@@z@}|@~@~@~z~@z~@z~}@
           z@BNIMMM@{@@BNM@@z@}|@~@~@~z~@z~@z~}@z@BNMMK@
           ]@@|z@@@{~@z@~@}~|@~@~|J
           ~@z~@|~~zI@@@@@~@~@}~~@~@z~@
           @z@z}z}K@p@z~@z@~z@~@@z@z~J~~@}~I@
           @@~@zz~@@zz~@|~~z~@E@~@~~@z@~@
           ~@z@zF@{@@z@}~~@}~@~||zI@|@z@z@~z|@
           ~@ E|@ |z~@ ~@ }~~z@ ~~|@ @ ~@ ~zz@ zz{~@ @
           ~@}~~}~@zz{~@@~~|@@z~@~zz@zz{~FKSQ
                ]~@|@|z@@@~@~}|@~~@}~@@~@
           J@}~I@z@@{~@@az@PW@

                  @                      EPlc]_F@Y@",H,$NEXcF@H@$OESn[h^[l^FI,                                           EPF

           ~~@~z|@~@~z~@~@z~@~z~@z@@az@NI@z@~@
           |~|~@@~z~@~@~~|~@~z|~@@~@@z@@
           ~~|@@~z|@~z~£z@I@@~z|@~z~I@~@~|~z~@|~z~@@
           ~@~@@|~@@z@@~@}|@z@}@~@@z@
           ~J~|~@|~z~@@~@~~@@~@~@~z~KSR@b@}~~@~@
           z~@@z@z}z}I@@|z@@z@~@z~@}z{z| @z@~@~J
           @K@pz@I@z@~@z~@@~@~@~z~@|z~I@~@~|~z~@
           z~@z}}~}@{@~@~~|~@@~@z}z}@~z@~@z~I@~z@z@
           ~@z~@z}}~}@{@~@z}z}@E@}z@~F@|z~K@k@~z~@||~@

           @ !%@ b@ z@ ~z~@ @ ~@ @ ~@ ~J@ ~}|@ }~I@ ~~@ bz@ o|@ iI@ f~@ ozJn@
           D@ bz@ v~~~~I@ Wb[n, M[nn_lm, ch, [, Plc]_, N_ainc[ncih>, Epc^_h]_, )ig, nb_, U4S4,Aoni, R_n[cfcha, Ih^omnlsI@
           V@m2-4363-36'=@i-;=3645@D@a194K@PSRI@PUQ@EOMNNFK
           @ !$@ b@~z~I@|}~@z@}~@@@|~@z@z@|@@z~@z~I@{~@@{~}I@
           z}@ z@ ~z|@ ~W@ jlc]_, Y@ "Nmk+@H@"O\^lgm@ H@ "Pmk+& × \^lgmK@p~@ ~z|@ ~@ ~@ z@ ~@
           ~*~|@ @ z@ z}}z@ {~}@ @ @ |~@ }~~}@ @ ~@ ~@ @ ~@ ~I@ z}@ z@ ~@ ~*~|@
           @ z}}z@ z~@ z~@ @ @ |~@ }~~}@ @ ~@ {~@ @ {~}@ @ ~@ ~K@ S__,
           s9987;675=I@mojl[@~@NI@z@NVM¢VNK
           @ !#@ b@ ~z~@ @ ~@ @ ~@ J@ ~}|@ }~I@ ~~@ ]~z@ ^~|~z@ iz|I@ A, H_^ihc],
           V[fo[ncih,i`,Ul\[h,Gl__h,Al_[mI@SS@h-47/1-.=@D@q;¦-4@l8-44645@PRI@PV@EOMMPFX@l~~@_K@^zI@s@dK@
           _z@D@i~~@hK@i|izI@Tb_,Igj[]n,i`,Ocf,[h^,N[nol[f,G[m,F[]cfcnc_m,ih,Rol[f,R_mc^_hnc[f,Plij_lns,V[fo_m>,
           A,Sj[nc[f,H_^ihc],Ah[fsmcmI@OT@n=/92;1=@D@a4=;5:@a194K@OQUI@ORT@EOMMRFK
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           OM NTx @                      H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                           SNT

           @~@z|@z@~@J@}~@|z@z||}z~@{z@}|z@zJ
           z{~KSS@ _~~I@ ~@ J@ ~||z@ @ ~@ ~}|@ ~~@
           }~@ @ ~~@ @ z~J~~@ }~@ @ ~z@ ~@ |~J
           ~z@ z~@ z}}~}@ {@ ~@ ~~|~@ @ z@ ~@ z}z}@ ~z~@ @ z@ }~@
           z}z}K

           C4, Ih]fo^_^,[h^,Ogcnn_^,V[lc[\f_m

           ]~@ |@ ~@ zz~@ |z@ @ @ ~@ ~}|@ ~~@
           }~I@ ~@ @ }~~~@ |@ }~~}~@ zz{~@ @ |}~K@ p@
           |@@~@z@}~@~}|@|~@zzI@~@~z~@
           z@ ~@ ~~|@ z@ zz{~@ }@ {~@ ~z}@ {~z{~@ @ |~@ z}@
           ~zz{~@ @ ~@ }zzKST@ e@ z}}I@ ~@ ~z~@ z@ }~z@ zJ
           z|~@ ~@ @ z}~~@ }|@ z||@ ~@ z~@ @ @ z~@ }@
           |z}}z~@@|@z@}~~}~@zz{~I@{~|z~@~@~z~@z~@
            ~@ @ {~@ ~@ ~@ }~~z@ @ z~@ @ ~@ |~KSU@ b@ ~z~I@
           @ z@ ~~||@ ~z~@ z}~~@ z@ QJ~z{~@ z{~@ z}J}~@ @ z@
           qo^J_@|~|I@z@z@}|z~@z@z~I@z{I@z}@
           @~@z~@}@|z}}z~@zz{~K

                 74, T_gjil[f,E*_]nm

           e@ @ ~~@ ~@ @ |}~@ @ z@ ~}|@ ~~@ }~@ |@
           @ ~@ @ z||@ @ |z~@ @ ~@ z ~I@ z@ ~@ zz@ @
           |}~@ |z~@ ~@ z@ }~@ ~@ |@ @ ~@ zJ
           z{~K@b@~z~I@~@@|}~@z@|@~@zz{~@@z~@
           ~}@ ~~|@ @ z||@ @ ~~z@ |z~@ @ |~@ @ z ~@ |}@
           ~@~K@p~@|@z~@z|z@~@~@~@}|@|J
           z@~@~@z}z}@|z~@z@@~@z~@z~z@Ez}@~~J
           ~@~@z@@|zF@z@}~@~@}|@|z@~@}~@
           z}z}I@z@~@@}|@@z@~}@@@| @@@
           |~@|~z~K@^~|z~@~@@}|@~}@zI@z@~@zz{~@
           |z@z||@@z ~J}~@~~|@@{K



           @ !!@ S__2, _4a4I@sK@ a@ `~~I@ H_^ihc], R_al_mmcihm>,A, Cihmog_l,Tb_ils,Ajjli[]bI@ ch@ o1-44=;@`-3-@-47@
           l;61=@ e47=¨=/@ PNTI@ POT@ En{~@ _K@ b~~z@ D@ iz~@ `K@ oz@ ~}KI@ OMMPFI@ WLLK{~KL
           |z~L|VTQMK}@E wpx~@~@}~@z@z@z}zz~@|z~}@@~@J@}~W@~@~@
           }~@ |z@ }~z@ @ z@ @ |@ ~@ @ ~@ |zz|~|@ K@ K@ K@ z~@ ~z@ @ ~I@ ~~z@ ~@
           J@}~@|zK¡FK@
           @ !@ S__, l=3=;@ g=44=7:I@ ]@ c267=@ 39@ a19490=3;61/@ NMT¢MV@ Eiep@ l~@ R@ ~}K@ OMMPFX@ ^;:-4@ gK@
           k;0=I@ c=33645@ o3-;3=7@63,@ _949643@]4-8:/6/W@ o3;-3=56=/@ <9;@ l;97213@ `=/654@-47@ l;61645@
           n=/=-;1,@ RO@ En~~z|@ l{~@ O}@ ~}K@ OMNMFX@r63,-8-@ nK@ n-9I@]..86=7@ _949643@]4-8:/6/@ QP¢QQ@
           Eo~@OMNQFK
           @ !@ S__@k;0=I@mojl[@~@STI@z@ROX@n-9I@mojl[@~@STI@z@QPK
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           SNU@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                       w r K @O WS M N

                  84, Lc`_3Cs]f_,E*_]nm

           ]~@~z@~~|@@|@~@@|@@z@~}|@~~@
           }~@@~@~~|~@@ ~J||~¡@~~|£z@I@z@z}z}@~}~|@@
           ~@z~@~@~K@p@|@@z@~}~|I@~@@@@|}~@z@
           zz{~@@~@~}|@~~@~z@~@~@|~@~@z}z}@z@
           z}~}K@ d~~I@ |}@ |@ z@ zz{~@ }@ ~@ ~@ z}}zI@
           }~}@z@@~@}~@z@z@z}z}@z}@}|@~z~@
           }~|~@@z~@z@~@z~@z~@z}@z@~~@@z@}~~|I@J~@
           |z@|~@~}K@e@|~@z~@@ }~~~}@{@z@~}|z{~@}~|~@
           ~@~I@~@@z@}@{~@zz~@z}@}@~~z~@
           ~z}@~K@e@z@~~@z}z}@@~@}z{~@z}@~@z~@~@
           @z@~@}~@z}z}I@~@|@@~@}zz@@z@@
           z@ |z@ z~@ @ }~|z@ }@ ~~~@ ~@ z~@ @ ~@ ~@ }z{~@
           z}z}K@
                p@z@@@z@~~@~@@~}|@|~@zz@
           @}~z}@~@~*~|@@z@@z@@~@|z@@~@
           ~@z ~@|z~@~@~@{~@z@~@@@~K@b@~z~I@
           @ z~@ @ |@ @ z@ }~|~@ @ |~I@ @ ~J||~@ ~*~|@
           |z@|~@@}*~~@z}z}@@~}@@z@zI@z@z@
           z@~@}zz@@@{zz~K@e@|@z@|~zI@~@~~@}@
           }~z~@~@~@z}z}K
                ]@~@z}}~@}~@z@~@~@@@~@@@~I@@
           z@~@~@@{~@z@zz~|@}~I@~z@z@@ ~wx@}zz@
           @ ~@ z@  @ z@ ~@ z @ z@ ~@ z@ z@ J
           {~K¡SV@b@~z~I@@~}|@}~@@zz~|@{~|z~@~@}@
           zz{~@ z ~@ ~@ zz~@ z~I@ z@ }~~~}@ {@ ~@ }zzI@ @
           {~@|z~}@{@)@~@|~@@z@z|z@z~z|z@|K@
           p~@z|@z@~@z}}~@~@@~@~}|@~~@}~@}~@@
           ~@z@z|z@z|z@~z@{~~~@~@~~@@~@}|@
           ~z~@@~@~J}~}@~z@@@z@@|z@~~z|KTM

                  94, Pli^o]_l,Cimnm

           e@ @ zz~@ @ |}~@ }|~@ |@ }~|@ @ z@ ~}|@ |~@
           }~I@ z@ |~@ }@ @ {~~@ ~@ |@ z}@ }@ @ ~}|z~@ ~@
           |@}~|@@~K@e@}|~@|@}~@{~~~@z}z}I@
           ~@ }@ ~@ |}~@ ~@ |@ }~~|~@ ~~~~@ @ ~@ zzJ
           I@ }~@ ~@ ~}|@ ~~K@ d~~I@ ~@ @ z ~@ |z~@ @ }~~@

           @ !@ h-;;:@s-//=;0-4I@]88@9<@j94.-;-0=3;61@o3-36/361/@N@Eo~@OMMSFK@
           @ ¥@ S__2,_4a4I@n-9I@mojl[@~@STI@]~}@z@PN¢PP@E@z@z~@@z|z@@|@zzFX@
           k;0=I@mojl[@~@STI@z@P@E w]x@~@z}}~@}~@K@K@K@~}@@ @~@@z||~K¡FK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 148 of 242 PageID #:
                                    8355



           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                          SNV

           zz~@ ~@ ~~z@ |@ {~~@ |~|@ |@ z@ zzK@]~@
           zI@ wx@ z@ ~~@ @ ~@ ~}@ @ z||@ ~@ @ | @ ~z~@
           z@~@~@~@d@|@}}@@}|@|[@z@}~@@
           z~@z@~@z~K¡TN
                ]~@ |~}@ z@ z@ ~}|@ |~@ zz@ @ "z~}@ {~|z~@ @
           ~@ z@ ~~@ ~~~@ @ }|~@ |@ @ )@ }~)~@ |~z@ z}@
           ~@ z@ ~@ ~@ ~z~@ @ }|@ |@ @ ~@ @ @ |~I@
           |@ @ ch]l_g_hn[f, ]imnKTO@ e|~~z@ |@ z@ z@ z@ ~||@ }~)J
           W@ @ rI@ sI@ tI@ K@ K@ K@ ~~~@ ~@ @ @ ~@ )@ z@ }|I@
           z}@ TCErI@ sI@ tI@ K@ K@ KF@ @ ~@ z@ |@ z@ ~@ )@ @ |@ @ }|~@
           z@ |{z@ @ I@ ~@ ~@ |~~z@ |@ @ X@ @ ICr@ Y@
           TCErI@sI@tI@K@K@KF@¢@TCEMI@sI@tI@K@K@KFK¡TP@k~@|z@}}~@@|z~@@~@)@
           z@|@{@@~~@@@@~~@@|~~z@|@@z@~J@
           {zW@ e|~~z@ |@ @ z@ ~~|@ ||~@ ~~@ @ ~@ z}}I@ ~@
           @ @ ~@ z}}z@ @ @ ~I@ @ ~@ )@ z@ |@ ~@ ~@
           @@X,~z}@{@~@~~~|~}@|~~K¡TQ@b@~@@@
           zzI@ |~~z@ |@ @ ~@ }*~~|~@ {~~~@ ~@ z@ |@ z@ ~@
           }|~@|@{@~~@z@~@z}z}@z}@~@z@|@z@~@
           }|~@|@@~~@~@z}z}I@}}~}@{@z@}|J
           ~@ {~@ @ @ @ @ z||@ ~@ ~@ z}z}K@ k~@ |z@ ~@
           }~}|@@|~~z@|@@~@~J@z~@@~@~@z}z}@@
           }~~@~@~@z~@~@@z@z@|~~~@}~~@@~~@z@
           ~@z}z}KTR
                e@ z}}@ @ }~)@ ~@ ~@ |~~z@ |I@ ~@ @ z}@
           |~z£z@ I@ |}@ ~@ }~~}~@ zz{~@ z@
           ~z~@~@z~@~*~|KTS@p~@|@@|~z@zz{~@|z@ ~)¡@
           ~@ ~}|@ |~@ ~~I@ |@ |z@ ~}|~@ @ ~}|~@ z||z|@
           }~@~@z~KTT@b@~z~I@@@@{~@{~@@|}~@{@z@
           ~J||~@~*~|@z}@z~@~@zz{~@@~@~}|@|~@~~@@
           z||@@@@|@|z~I@{~|z~@~@}@~z~@~@zz~@
           @~@@~@z~@zK@

           @ >@ l,6886./I@mojl[@~@RSI@z@SMK
           @ +@ S__2, _4a4I, c^K@ E ]||z@ z~@ }~~}@ z@ @ @ }|J|@ ~}~I@ |}@ @
           z|z~}@|I@zz@z|z~}@|I@zz@|I@z}~}@|I@z}@)z|z@|I@@z~@z@~K@
           s~@~z|@|@~}@z@@z|~I@|@z}@~~~@z@}~|@z~@@{z~}@
           @~@ch]l_g_hn[f,]imn@@z@|~@|~K¡@E~z@@zFFK
           @ %@ fK@c~@o}z I@M[rcgctcha,nb_,U4S4,Pimn[f,S_lpc]_um,Pli(nm,)ig,Cigj_ncncp_,Pli^o]nmI@NN@fK@_90.=363694@
           hK@ D@ a194K@ SNTI@ SOO@ EOMNRF@ E|@s6886-0@ fK@ ^-2098@ D@ fK@ c;=59;:@ o67-I@p9-;7@ _90.=363694@ 64@
           h91-8@p=8=.,94:@RT@E]ae@l~@D@iep@l~@NVVQFFK
           @ $@ ^-2098@D@o67-I@mojl[@~@TPI@z@RTK
           @ #@ S__,o}z I@Tb_,V[fo_,i`,[,Sn[h^[l^,V_lmom,nb_,V[fo_,i`,Sn[h^[l^ct[ncihI@mojl[@~@PI@z@SS¢SVK
           @ !@ S__2, _4a4I@ o391@ D@ s-3/94I@ mojl[@ ~@ RTI@ z@ NVT@ E}~)@ |~z@ z@ z@ |~~@
           z¡@@|@~@@~@~~@@z@~~|@~z@|@@~@~@~~I@|@z@~@
           }z@~z@z~@EkhoF@~z@@ {~@@|~¡FK
           @ @ S__2, _4aKI@ k;0=I@ mojl[@ ~@ STI@ z@ NUR@ E s~@ z}}z@ zz~~@ z}}~}@ @ z@ }~@ z~@ @ @
           ~I@~@|z@z@~@~}|~@z||z|@@JJz~@{~zK¡FK
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           SOM@             Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @          w r K @O WS M N

               :4, Sojjfs,F[]nilm

           ]@ @ }|~@|I@ @ @zz~@@ |}~@ J~z~}@z|@
           }~|@ @ z@ ~}|@ ~~@ }~I@ {~|z~@ ~@ z~@ ~~z@ @ ~@
           z~@z@~@|~@}~~@@~@}|K@e@z}}I@@@ ~@
           z@ z~@ |z@ ~}|@ @ | X@ |~~I@ @ z@ }~~J
           |@ |~@ @ ~@ ~~|~@ @ z{~|~@ @ @ | @ }@ {~@ zJ
           z~K@ e@ z@ z}z}@ @ @ ~@ ~z@  ~@ @ ~~£z@ I@ @
           ~@z}z}@@~@|~{~@@z}@z ~@| £~@~@}@
           z||@@z@ @@z@~zz~@|@|z|z@}~@~@~}|@~~J
           @}~K@i~@}z~zI@~@|z@z}~z~@}~@@z}@
           ~@ @ | @ @ [hs@ ~~@ zzI@ z}@ ~@ |z@ |@ @ ~@
           |~@~~|@@z@| @{@@~@~@}@zz{~@z@~@~@
           @ ~@ | K@ hJ~@ |z@ |~@ ~}@ z|~@ ~@ z~@ ~@ z@ ~@
            ~J||~¡@~~|@z@~@}|~}@~K

               ;4, Ihn_l[]ncih,V[lc[\f_m

           e~z|@zz{~@@{~@z@~@z~z~@@@z@~J@@
           @~@~}|@~~@}~@@~z~@~@z~@@|~~z~@
           @~@~~|@@~@z}z}K@b@~z~I@@z@z}@}~@|z~@
           {@~@qo^J_@z}z}@z}@z@a~~@z}z}I@~@z@~z|@~@
           |}@~z~@~@z}}z@z~@@|}@~@~z~@nia_nb_l@Ez{~@
           z}@{~}@~@z~@@|}@~z|@~z~@}}zFK@k~@~@}@
           ~~}@ @ }~z ~@ ~@ ~zz~@ z @ @ z@ z@ |~~z@
           z~@{~~~@~@z}z}K@e@z}}I@~@~z|Jzz{~@zz|@
           @ @ |~@ }~~}~@ @ ~@ zzz{@ @ |~@ }zz@ @ }~@ ~@
           ~~|@@|}@~z|@~z~@@~@~@}~K

                            erK@q/645@d=79461@l;61=/@39@i=-/2;=@3,=@@
                          e41;=0=43-8@_943;6¦23694@9<@h9-7Jn=721=7@@
                                  `2-8Je4864=@i=09;:@i9728=/@

           s~@@~@~|~|@~}@@|z|z~@j~@|{@@~@
           ~@ |~~z@ z~@ z@ fa`a_@ hn`eii@ z}z}@ z}}@ z{~@ z}@
           {~}@~@~z~@n`eii@z}z}K@k@~|~|@zz@|~~}@@
           @ ~W@ ENF@ z@ ~}|@ ~~@ zz@ z@ |z|z~@ ~@ |~~z@
           z~@ @ ~@ hn`eii@ z}z}I@ z}@ ~@ EOF@ z@ z~@ @ ~@ ~@
           |~~z@ z~@ @ ~@ hn`eii@ z}z}@ z|@ oal@ }~I@ |}@
           ~@ |zz@ @ ~@ ep_@ NMOP@ ~z@ Ej~FK@ e@ @ zI@ ~@
           ~@~@~@@~@@~@@@zzK
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           OM NTx @                 H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                              SON

               s~@)@zz~@@zz@~@~@~||z@}*~~|~@{~~~@
           z@n`eii@z}@z@hn`eiiK@p~I@@zz|z@|~@}zz@@~~J
           ~z~@n`eii@z}@hn`eii@}|@z@z~@{~~@|~}@{@`~@
           `@ D@]|z~I@ z@ z ~@ ~~z|@ )I@ ~@ ~|@ z@ ~}|@ ~~@
           }~@ @ |z|z~@ ~@ |~~z@ z~@ @ fa`a_@ hn`eii@ z}z}@
           z{~@ z}@ {~}@ ~@ z~@ @ fa`a_@ n`eii@ z}z}KTU@ pz@ I@ ~@
           zz~@~@z~@z@~@hn`eii@z}z}@z}}@@z@~@~J}J
           ~@}|@~z~@@~@z~@z@~@~J{~@zzz{~@{~@@~@
           z}z}@En`eiiF@z}}K@
               s~@)}@z@~~@~@hn`eii@z}z}@@z@~@~@
           }~@ |~z~@ ~@ |~@ z@ ~@ zz|~@ |z@ |z~@ @ z@
           ~@ }~@ {@ zz~@ BNMMKQT@ ~@ K@ ]~@ z||@ @
           ~@|~~z@|~z~@@@|@@z@hn`eii@}|@~z~@@
           z@ n`eii@ }|@ E|@ ~@ |~z~@ ~@ z@ BOMKTM@ ~@ FI@ ~@
           )}@z@~@hn`eii@z}z}@~z{~@~@zz|~@@z@~~~@
           ~~@@z@z@z}}z@BTVKTT@~@@@z~J|@z~@@~@z@
           hn`eii@}|@Ez@I@BNMMKQT@¢@BOMKTMFK

           A4, Tb_,LRDIMM,T_]bhifias

           ^~~@@~}|@~~@zz@@|z|z~@~@|~~z@z~@@
           fa`a_@hn`eii@z}z}@z{~@z}@{~}@@~z~@n`eii@z}z}I@
           ~@ @ ~z~@ @ zz@ ~@ ~@ ~||z@ }~~|~@ {~~~@ z@
           n`eii@z}@z@``nQ@hn`eiiK@n`eii@z}@hn`eii@z~@}~~@
           ~@@~@}~@|@~}@@~~~@~~KTV@p|zI@z@
           ``nQ@hn`eii@z@z@~@~@|zz|@z}@|~@~~}@~z~@
           @z@n`eiiKUM@pz@~@|zz|@z}@~~}@~@@~@}zz@{~@
           ~|@@z@``nQ@hn`eiiIUN@|@~@}~|{~@@b~@NK@




           @ @ p~@zz|z@|~@@~@}~@z~@z@~z@}zz{z~@zzz{~@@|z~@@
           `~@`@D@]|z~K@S__,WLL}~}K|K
           @ @ S__2, _4a4I@ T_]bhc][f, Blc_`I@ g645/394@ p=1,49895:I@ WLLK K|LL~L~|~L
           }X@ n-0¦2/I@ o=;'=;@ `eii@ _,6./=3/@ O@ EOMNSFI@ WLLQOMMPUOz|VN~V~J~~K
           ~}zJK|LJ|~Lz}LOMNSLMULo~~J`eiiJ_~JoJk~~K}K
           @ ¥@ S__,T_]bhc][f,Blc_`I,g645/394@p=1,49895:I,mojl[,~@TVK
           @ >@ S__,c^4
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           SOO                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                            w r K @O WS M N

                               b~@NK@hz@@~@`zz@pz@_|
                                  z}@_@_|@@z@``nQ@hn`eii




               Siol]_W@qKoK@lz~@jK@UIRNSINUR@)K@P_@E]K@NRI@OMNMFK


           ]@b~@N@I@@z@``nQ@hn`eiiI@`n]i@|@EQNO"F@z~@~}@
           @ z@ ~}@ ||@ {z}@ El_^F@ EQNM"FK
                                                        FKUO@ p~@ ~@ ~@ |~@
           EQOM"F@ ~}@ |@ z@ @ ~@ z}}~@ z}@ |@ ~@ EQQM"F@ @
           ~@|@||@EQPM"FI@|@~@z@|@z@@zJ
           @~@ EQQO"F@ @ ~@`n]i@|KUP@p~@`n]i@|@ ~@ z@
           }zz@@~@z@@}zz@z@||@|@{~J~@}zz@
           {~@ EQNS"FI@ |@ z@ }zz@ @ }zz@ ~@ EQRM"F@ {z| @ @ ~@
           ~@~@|~KUQ@p~@}zz@z@||@|@{~J
           ~@ }zz@ {~@ ~}|~@ ~@ z}@ ~~@ {@ ~@ ~@ ~@ |~I¡@
           ~z{@``nQ@hn`eii@@~z~@z@z@~@~~}@z}@~@|zz|@
           ~z~@@n`eii@@~~~@~~KUR
               ]@b~@N@z~@z@``nQ@hn`eiiI@~@|~@z{~~}@
           QNM"I@QNO"I@QOM"I@QPM"I@QQM"I@QQO"I@z}@QRM"@~z{~@|z~@z@z~@z@
           ~~@@z@n`eiiKUS@l@}*~~I@z@n`eii@z@|@@`n]i@
           |@ ~}@ @ z@ l_^I@ z@ ~@ ~@ |~I@ z@ |@ ||I@
           z}}~@ z}@ |@ ~I@ z}@ }zz@ z@ ~KUT@ e@ z@ n`eiiI@
           ~~I@}zz@z~@z~}@}~|@@~@`n]i@|@@~@~@
           ~@ |~I@ z~@ z@ @ ~@ }zz@ z@ ||@ z@
           |~@~@{~J~@}zz@{*~KUU@d~|~I@~@|z@}*~~|~@{~~~@

             + qKoK@lz~@jK@UIRNSINUR@|K@T@K@SN¢SR@E]K@NRI@OMNMFK
             % I^4@|K@V@K@SO¢SRI@|K@NM@K@NM¢NRK
             $ I^4@|K@NM@K@PN¢QMK
             # I^4@|K@NM@K@QN¢QTX@m__,[fmi,T_]bhc][f,Blc_`I g645/394@p=1,49895:I,mojl[,~@TV@E hn`eii@~z@
           ~}|~@ ~@ ~~||z@ z}@ @ ~@ `n]i@ |@ @ ~@ ~@ {K@ K@ K@ K@p@ ~@ ~}|@ @
           ~@ ~~||z@ nz @ @ ~@ hn`eiiI@ ~@ ~~@ @ ~@ z{~@ @ @ hn`eii@ z@ ~@ ~~}@
           z@n`eiiI@ z}@ @~~@ ~|@ @ w|zz|xK¡FX@ nz@ oI@R[g\om, ni, Gi, chni, F[\f_mm, Cbcj,
           Pli^o]ncih2, Ahhioh]_m, RB8<, DDR:, DIMM, Cbcjm_nI@ ]4-47p=1,@ E]K@ NTI@ OMNRFI@ WLLKzz}~|K
           |LLVRPQLz{JJJJz{~J|J}|Jz|~J{OSJ}}QJ}J|~K
             ! S__I@_4a4I@n-0¦2/I@o=;'=;@`eii@_,6./=3/I@mojl[@~@TVI@z@OK
              S__,c^4
              S__,c^4
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                                    8359



           OM NTx @                   H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@             SOP

           z@n`eii@z}@z@``nQ@hn`eii@z~@@~@~~|~@E@z{~|~F@@
           ~@}zz@{*~@~|K@^~|z~@z@``nQ@hn`eii@|}~@z}}z@
           }zzJ{*~@ |I@ ~@ |@ @ }|@ z@ ``nQ@ hn`eii@ @ ~@ z@
           ~@|@@}|@z@n`eii@@z@~@~@}~KUV@s~@z||@
           @z@|~~z@|@@}|@@lz@erK`@{~K@

           B4, Tb_,Plc]_,D[n[

           p@ }~~@ ~@ z~@ @ ~z|@ z}z}@ ~@ ~@ z~@ @ z@ z}z}@ ~J
           {~@ zzz{~@ {~£z@ I@ ~@ |~~z@ z~@ @ @ |z~@ @ ~@
           hn`eii@ z}z}@ ~z~@ @ ~@ n`eii@ z}z}£~@ ~@ `~@ `@ D@
           ]|z~@ ~z@ |~@ }zz@ @ |z~@ @ ~~~z~@ n`eii@
           z}@hn`eii@}|@@OMNM@@~@~}@@OMNTK@p~~@}zz@}~|{~@
           ~@ z~z~@ |~@ z@ z@ ~~@ zz|~@ EkaiF@ z}@ @
           z@|z@@~@}~@@z ~@zz|K@d~~I@
           @ ~@ }zz@ @ OMNM@ @ OMNS@ |}~@ {~~}@ z ~@ |~K@pI@ ~@
           ~|}~@@@zz@~@~|z~}@|~@}zz@@~@~z@OMNTK@s~@z@
           ~|}~@}zz@@OMNMI@OMNNI@z}@OMNO@@@zz@{~|z~@@hn`eii@
           }|@@``nQ@}|@E~~@hn`eii@@n`eiiF@~~@}@}@
           ~@~zK@l@}~~I@@~~@zz@~@@|~@}zz@@
           z|z@zz|@||@@OMNP@@OMNSK
               ^~|z~@~@}zz@~@~@z@@@~z@}@z@~}@@@"zJ
           I@~@}@@z}@~@}zz@z||}@@~@~z@|@~~J
           }~@El_aF@}~@@z||@@|z~@@|z@~K@b@z@~@
           ~@~~I@@}@@|~@{~@zz~@@z ~@|@z@z}~K

                74, LRDIMMmu,Cihncho_^,Plc]_,Pl_gcog,A\ip_,RDIMMm

           ]@ ~@ |z@ @ ~@ z~z~@ |~@ @ hn`eii@ }|@ @
           ~@ z~z~@ |~@ @ n`eii@ }|@ @ OMNP@ @ OMNS@ }|z~@ z@
           hn`eii@}|@|z}@z@|z@|~@ ~@z{~@n`eii@
           }|K@b~@O@{~@@z@|~@~zK




           @ @ S__@oI@mojl[@~@URK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 153 of 242 PageID #:
                                    8360



           SOQ              Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih    w r K @O WS M N

                                b~@OK@]~z~@kai@l|~@@n`eii
                                  z}@hn`eii@l}|I@OMNM@@OMNS




                   Siol]_W@`~@`@D@]|z~@EOMNSFK
                   Nin_W@``nQ@hn`eii@}}@@{~|~@zzz{~@@OMNQK


           s~@ |z@ ~@ ~z~@ ~@ ~z~@ |~@ @ hn`eii@ z}@ n`eii@
           }|@~@~I@~@z||@@~@}~~|~@@~z~K@b~@
           P@@z@@~@@hn`eii@}|@~z@~~@@~@zz~@
           ~@}~@@z@~Jc^@{zK@]@|@~}I@~@~Jc^@
           {z@|@~@~@~||@~~~@z@z@~@}~@
           |~@@|@|z~@~z@@@|zz|@~z~}@@{~@@z{~K@
           p~@}zz@@z~@@~J ~@z@z}I@@z|I@~@}@
           z@|~@~@z@z@~@@~Jc^@~@}~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 154 of 242 PageID #:
                                    8361



           OM NTx                H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                    SOR

                               b~@PK@]~z~@kai@l|~Jl~Jcz{~@
                              n`eii@z}@hn`eii@l}|I@OMNM@@OMNS




                    Siol]_W@`~@`@D@]|z~@EOMNSFK
                    Nin_W@``nQ@hn`eii@}}@@{~|~@zzz{~@@OMNQK


           p@ }|~z|@ {~~~@ |@ z||~@ E@ @ z|@ z@
           z{@~z@|z@@~@~@@z@@~@z{~@|zz|@@
           z@ ~@ }~F@ z}@ ~@ }~@ }zz@ ~@ z~@ ~@ ~~}@ @
           z}@~~@@ ~@ {@z|z@ ~|~@ z@~@z~|@
           |z|z@ @ z~z~@ |~K@ d~~I@ |}|@ z@ }@ @ z|z@
           zz@ @ z@ ~z~J{J~z~@ {z@ @ z@ ~|~@ ~@ @ ~@ zzz{~@
           }zz@@ z@~|~|@ ~~K@d~}|@ zz@ z@~@z@zz~@
           ~~@~|~@|z@z~@z||@@|~@zz@}~@@
           ~@ ~z~@ @ ~@ }~@ ~@ |@ @ |z~@ @ ~@
           z ~@~@~K

               84 Wbs, a@ l, D[n[, Eh[\f_, S]c_hnc(], Ah[fsmcm, i`, nb_, LRDIMM, Plc]_,
                  Pl_gcog,Wb_l_[m,Hsjinb_nc][f,a@]~,D[n[,C[hhin

           e@ @ ~}|@ ~~@ }~I@ ~@ ~@ ~|~@ @ _r, jimn@ }zz@ z~@
           z@_r,[hn_@}zzK@k@~z@@}@@@{@~@z}@|~W@_r,
           jimn@}zz@z~@{~z{~I@~~z@_r,[hn_@}zz@z~@@{~z{~@{~|z~@~@
           }@ @ ~@ ~K@ _~~I@ _r, jimn, }zz@ z|z@ ~z{~@ ~@ @ z~@ z@
           ~z{~@|~|@~K@e@|zI@~z|~@@E~~F@_r,[hn_@}zz@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 155 of 242 PageID #:
                                    8362



           SOS@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

           ~~@z}}@~@~@@@z@|z@}~{z~@z@|z@~~@{~@
           z|z@ ~~}@ @ z| @ @ {~z{~@ }zz@ ~|~z@ @ |}|@ ~J
           |z@zzK@]@~@o~~@_@z}@@D[o\_lnI@@o@gz@l~@
           Cihd_]nol_m,[h^,R_`on[ncihmI@ wx~@|~@@~@|~|@z@@z@~@
           @@zz{I@@~z{I@@~z{K¡VM@]@~@~}|z~}@@}zz@
           z@}@@~@@~|~z@zz{~K
                s~@ ~~|@ z@ ~@ ~@ @ ~@ z~J}@ |~|~I@ @
           ~@ |@ @ |z|z~@ n]j`@ @ bn]j`@ z~@ @ z@ {z@ @ z@ _r,
           [hn_@~|z@~z@z@~@~@@z}z}@z}IVN@@}zJ
           z~@ @ }~|@ @ ~@ @ _r, jimn@ }zzK@ d~~I@ ~@ z~z~@ zz@
           z@ ~@ ~@ @ |~)|I@ {@ z@ z@ ~~|z@ z~@ z}@ z@
           ~}~z@z~K@e@z| @z@~|z@}z@{~|z~@@}@~~@
           z @~|z@zz@@~@|~~z@z~@@~@oal@@@
           {~~@ }zz@ @ z ~@ zz|@ z}@ |~@ @ ~K@ p~@ zz@
           }@~|~z@{~@~|z~@@z@ ~}~z@~~K@ e@ |zI@}@
           z|z@zz@~@@{~~}@}zzI@@|~|~K@l@}*~~I@~@
           |z@{~|@z@|~|~@@z~@z@z)|z@{@|}|@J
           ~}@~|z@zz@@}zz@z@z~@|~|~}@@~@{@|z@z|J
           z@{~@{~~}K@p~@}zz@z@}@{~@~~}@@@z@_r,[hn_,zz@
           @ z@ ~|z@ |~~@ ~z@ z@ ~@ ~@ @ z}z}@ z}@
           @|z@z}@}@@~K@s~@~@@lz@reeK_@@@~zz@
           @@z@_r,[hn_@|~~zJz~@zz@z| @~||@K

           C4, A, H_^ihc], Mi^_f, ni, D_lcp_, nb_, Ih]l_g_hn[f, V[fo_, i`, JEDECum, LRDIMM,
               Sn[h^[l^

           _~@ }~~z~@ ~@ }~@ @ ~@ {z@ @ }|@ ~z~I@
           |@|}~@~@}~@z{~@|zz|@E~@}~@z@z@@
           z~FX@ ~@ }~@ ~@ @ z@ z|z@ ~~z@ @ `n]iI@ z@ }~~}@
           {@@``n@~@E@~z~I@``nP@@``nQFX@z}@~@z|z@fa`a_@
           z}z}@z@~@}~@z||~@E@~z~I@n`eii@@hn`eiiFK@]@
           ~}|@~~@}~@z||@@@~@~z~@|}~}@@z@~@

           @ •¥@ C`4@ `z{~@ K@ i~@ `@ lzKI@ e|KI@ RMV@ qKoK@ RTVI@ RVP@ ENVVPF@ E@ g-;8@ nK@ l9..=;I@
           _94=132;=/@-47@n=<23-3694/W@p,=@c;93,@9<@o16=436<61@g498=75=@PT@ER@~}K@NVUVF@E~z@
           ~}FFK
           @ •>@ S__@ bz@ iK@ o|@ i@ D@ _z@ ozI@ Snl[n_ac], P[n_hn,A]kocmcncihmI@ TV@]4363;2/3@ hKfK@ QSPI@ QTN@
           EOMNQFX@f~@bz~I@f@dz~I@_z@oz@D@p~~z@ozI@Sn[h^[l^,S_nncha2,P[n_hnm2,[h^,Hif^3UjI@
           TQ@]4363;2/3@hKfK@SMPI@SMTI@SOQ@EOMMTFX@iz @]K@h~~@D@_z@ozI@P[n_hn,Hif^oj,[h^,Ris[fns,Sn[]echaI@
           UR@p=¨K@hK@n='K@NVVNI@NVVPI@OMNM@EOMMTFX@gzJq~@g®I@bz@o|@i@D@dz}@o~z I@Sn[h^[l^,
           S_nncha, Ola[hct[ncihm, C[h, H_fj, Sifp_, nb_, Sn[h^[l^, Emm_hnc[f, P[n_hnm, Lc]_hmcha, Pli\f_gI@ _le@ ]4363;2/3@
           _,;94KI@izK@OMNPI@z@NI@PK@b@}~z~}@~z@@~@z~J}@|~|~I@~~@fK@c~@o}z I@
           Tb_,M_[hcha,i`,FRAND2,P[ln,I>,Ris[fnc_mI@V@fK@_90.=363694@hK@D@a194K@VPN@EOMNPFX@fK@c~@o}z I@Di_m,
           nb_, Ihn_lh[ncih[f, Tl[^_, Ciggcmmcih, F[]cfcn[n_, P[n_hn, Hif^oj@I@ N@ _;63=;694@ fK@ 94@ e449'-3694@ SMN@ EOMNSFX@
           ]~z}~@ cz~|@ D@ o~~@ dz{~I@ Tb_, F[ff[]c_m, i`, P[n_hn3Hif^oj, Tb_ilsI@ NP@ fK@ _90.=363694@ hK@ D@
           a194K@N@EOMNTFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 156 of 242 PageID #:
                                    8363



           OM NTx @              H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                 SOT

           ~J}~@ }|@ }~~~@ @ |~K@ ]@ ~}|@ ~~@ }~@
           |z@ ~z{@ ~z~@ ~@ |@ |~@ z@ |~@ }~z~@ z@
           ~@z~@@@z@@~z|@@~@}~}@~z~K
               p~~@@z@{~@~|J}~@@~|J}~@~*~|@z@"~|~@
           ~@ |~@ ~~@ @ ~@ }~@ @ ~z@ @ ~zK@p@ z||@ @ ~~@
           ~*~|I@~@|@@~@~z@@|@~z|@|~@z@|z~}K

               74, Umcha, [, H_^ihc], R_al_mmcih, Mi^_f, ni, I^_hnc`s, Comnig_lmu, D_gihmnl[n_^,
                   Wcffchah_mm,ni,P[s,`il,[,M_gils,Mi^of_um,F_[nol_m

           s~@~|@z@~}|@~~@}~@@zz~@~@~~|@@~z|@~z~@
           @ ~@ |~@ @ ~@ ~@ }~@ z}@ ~zz~@ }~~~@ @ |@
           |~@}~z~}@z@~@~~@@@z@@z@~@~z~@@
           @z@z~z~@~@}~@z@z@~@~K@k@~}|@~~@}~@
           @}~@~@|~~z@z~@@~@hn`eii@z}z}@@~~~}@@
           ~@@~zW,

               @      Plc]_@Y@",H@$N@©@LRDIMM,H,$O@©@DDR:,H@$P@©@GB,H,$Q@©@Y_[l,H@#I,         EQF

           ~~@LRDIMM,@z@ }@zz{~@z@ z ~@ z@z~@@N@ @~@~@
           }~@@hn`eiiJ|zI@DDR:,@z@}@zz{~@z@z ~@z@z~@
           @N@@~@~@}~@@``nQJ|zI@GB,@z@|@zz{~@
           @ ~@ ~@ }~@ z{~@ |zz|I@ z}@ Y_[l, @ z@ zz{~@ @ ~z|@
           ~z@@ |@ ~@z~@|~@}zzK,p~@ {~z@ |~|~@ E$cF@@ @~}|@
           ~~@ }~@ ~z~@ ~@ z~z~@ ~~|@ @ z@ ~@ ~z~@ @ ~@ z@
           |~@@z@~@~@}~K@b@~z~I@$O@~z~@~@z~z~@~~|@
           z@{~@|z{~@@~@``nQ@z}z}@z@@~@|~@@z@~@
           }~K@ ozI@ $N@ }~~@ ~@ |~~z@ z~@ z@ {~@ |z{~@
           @~@hn`eii@z}z}@z}}@@z@~@}~K@p~@|z@~I@
           "I@ @ ~@ {z~J|z~@ }|K@ e@ ~z~@ ~@ z~@ z{z{~@ @ z}z}J
           z@z}@~@}|@{z|@|zK@^@@~@~J{~@z}z}@
           Ez~I@ ``nP@ n`eii@ @ Q@ c^@ @ |zz|@ @ OMNPF@ z@ ~@ {z~@ |z~I@
           ~@|z@~z~@~@z~@@z}z}z@{@|z~@~~|@zJ
           z~@}zz@@z ~@z@z}@|z@{~~~@z@z}z}~}@}|K@
           pz{~@N@~@~@~@@~@~}|@~~@@~@|~@}zzK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 157 of 242 PageID #:
                                    8364



           SOU@               Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                          w r K @O WS M N

                     pz{~@NK@d~}|@n~~@n~@@i~Ji}~@l|~@

                    rzz{~              _~&|~                   oz}z}@a            nJoz|
                    LRDIMM                NMMKQTNSGGG                           PRKMTOO                 OKUS
                    DDR:                  QUKTQRVGGG                            NRKUTMU                 PKMT
                    GB
                    @@@U                  SNKQOTPG                              PNKVVQP                 NKVO
                    @@@NS                 NMUKRRNPGGG                          PQKQSUQ                  PKNR
                    @@@PO                 OOPKMUOUGGG                           QRKPQMN                QKVO
                    @@@SQ                 RTTKQOQTGGG                          SPKVMVR                 VKMQ
                    @@@NOU                NQRTKPUUGGG                          SVKOMSS                ONKMS
                    Y_[l
                    @@@OMNQ               ¢VKPVPM                               OPKSQPU              ¢MKQM
                    @@@OMNR               ¢SNKMNTVGGG                           OPKPTSP               ¢OKSN
                    @@@OMNS               ¢NOUKOTOGGG                          OPKMNMM                ¢RKRT
                    _z              QSKSSSTG                               ORKRTPT                NKUO
                    RO                    MKUVUN
                    F3oz|           NQNKMN
                    Pli\,?,F              MKMMMM
                    N                     NTN

                    Siol]_W@`~@`@D@]|z~@EOMNSFK@
                    Nin_mW@ G@ }|z~@ z|z@ )|z|~@ z@ ~@ VMJ~|~@ |)}~|~@ ~~I@
                    GG@ }|z~@ z|z@ )|z|~@ z@ ~@ VRJ~|~@ |)}~|~@ ~~I@ z}@ GGG@
                    }|z~@z|z@)|z|~@z@~@VVJ~|~@|)}~|~@~~K

           pz{~@N@~@z@~@z~~}@~|~@z@z@~@hn`eii@zJ
           }z}@@~z~@z}}@BNMMKQT@@z~@z{~@~@n`eii@z}z}@@z@~@
           ~@}~K@p~@LRDIMM@zz{~@}~~@~@|~~z@z~@@
           ~@ hn`eii@ z}z}@ E~|}@ z~@ z{z{~@ @ ~@ }~@ zJ
           {~@ |zz|F@ @ ~@ ``nQ@ z}z}I@ z}@ @ z ~@ |}@ ~z@
           @~@~z@@|@~@~@}~@z@}K@hn`eii@|~@~|~~}@
           n`eii@ |~@ {@ z@ z|z@ |z@ zI@ }|z@ z@ ~@
           LRDIMM@ zz{~@ z@ ~zz@ ~@ z}@ z@ ~@ }@ |}~@ ~@
           LRDIMM@zz{~@@@~}|@~~@}~K

               84, T_mncha,nb_,Sn[ncmnc][f,Scahc(][h]_,[h^,Ri\omnh_mm,i`,nb_,H_^ihc],R_al_mmcih,
                   Mi^_f,ni,nb_,Ih]fomcih,i`,nb_,hn`eii,[h^,``nQ,V[lc[\f_m

           d~~I@~@}|@~@z|z@|z|~@@@~}|@~~@}@
           z}@|@z@~@z~@|~|@~|~}@@}~@@}~@~@|~J
           ~z@z~@@~@hn`eii@z}z}K@p~@n3z|@z@@~~@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 158 of 242 PageID #:
                                    8365



           OM NTx @                       H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                             SOV

           ~@ ~@ }|z~@ z@ z@ @ ~@ ~z~}@ ~z~@ ~z@ }~~|~@
           @|~@@~@{z~J|z~@}|I@~|~@zI@@z~z~I@|~@@OMNQ@
           }@ @ z|z@ }~@ @ |~@ @ OMNPK@ ^@ ~@ LRDIMM@ z}@ ~@
           DDR:@ zz{~@ z~@ z|z@ |z@ z@ ~@ VVJ~|~@ |}~|~@
           ~~I@ |@ }|z~@ z@ ~@ zz{~@ z~@ ~zz@ ~@ @ @
           ~}|@~~@}~K@
                s~@|}|@z@sz}@~@@zz~@~~@~@LRDIMM@zz{~@z}@~@
           DDR:@zz{~@z~@@z|z@)|zKVO@s~@{z@z@FJz|@@
           TKOO@z}@z@jJz~@@MKMMNMI@|@}|z~@z@~@LRDIMM@zz{~@z}@
           ~@DDR:@zz{~@z}}@~zz@~@@@~}|@~~@}~@
           @ z@  ~}@ @ VVKV@ ~|~K@ p@ ~@ @ |z@ @ ~||@
           ~z@ z}@ |@ ~~@ {~|z~@ ~@ ~@ @ ~@ }~@ @
           @ ~@ z}@ |~@ z@ @ ~~~@ ~~@ z@ | @ z@ J
           {~K@ k~@ }@ ~~~@ ~~|@ ~@ {~@ @ ~@ }~£z~I@
           zz|~@@~~~@~~£@z~@~|~@z@~@~@
           ~z|~@ @ ~@ }~K@ e}}zI@ ~@ LRDIMM@ zz{~@ z@
           z@FJz|@@UKON@@z@jJz~@@MKMMQTI@z}@~@DDR:@zz{~@z@z@
           FJz|@@ VKQP@@ z@ jJz~@@MKMMORK@p~~@sz}J~@~@ |)@
           ~@~@@~@nJz|@z@pz{~@N@z~z}@~~}£z~I@z@~|J
           ~@ z@ ~z{~@ ~@ ~~}@ @ ~@ }~@ z~@ ~z@
           ~zz@~@@~|~|@~K
                pz{~@ N@ z@ ~@ ~@ RO@ z|I@ |@ }|z~@ @ |@ @ ~@
           }zz@zz@@~}|@~~@}~@~zK@]@RO@ z~@@MKUVUN@
           ~z@z@z@}~@@@~@z ~~}@~z~@@~@~@}~@
           ~z@z@VM@~|~@@~@zz@@{~~}@|~@z@~@
           }~K@




           @ •+@ S__2, _4a4I@ d~@ g«@ D@ izz~@ nz~I@ Sojjiln, [m, [, Clo]c[f, Pl_^c]nil, i`, Gii^, Cigjfc[h]_, i`,
           A^if_m]_hnm, qcnb, [, Cblihc], Dcm_[m_I@ NM@ fK@ _86461-8@ j2;/645@ TSTI@ TTQ@ EOMMNF@ E p~@sz}@ ~@ @ z@ z@ @
           ~@ ~@ )|z|~@ @ z|z@ ~zz@ zz{~@ @ z@ z|z@ }~K@ K@ K@ K@ e@ @ z@ z|z@
           ~zz@ zz{~I@ @ @ @ ~zz@ zz{~I@ ~@ sz}@ ~@ @ )|zI@ ~@ ~@ }@
           ||}~@z@~@zz~~@z|z~}@@~~@zz{~@z~@@~I@@z@~@zz{~@}@{~@
           |}~}@@~@}~K@e@~@sz}@~@@@)|zwIx@~@~~@~zz@zz{~@|z@{~@~}@
           @ ~@ }~K¡FX@FAQ>, Hiq, [l_, nb_, Lce_fcbii^, R[nci2,W[f^2, [h^, L[al[ha_, Mofncjfc_l, 0S]il_1,T_mnm, Dc*_l_hn,
           [h^5il, Scgcf[l@I@ q_h]@ e4/36323=@ <9;@ `6563-8@ n=/=-;1,@ -47@ a721-3694I@ WLLzK}~K|zK~}L
           ~LJ LzL~~zLzJz~J~J ~}JzJz}Jz}Jzz~J~J|~J~J}J
           ~~Jz}JzL@E p~@sz}@~@ @{@~@~@@~@z@z@~@@zz~~@@~z@
           @~@z~K@K@K@K@wpx~@sz}@~@|z@{~@~}@@~@~@zz~~@z~K¡FX@m__,[fmi@o391@
           D@s-3/94I@mojl[@ ~@RTI@ z@ TNO@E wpx~@|~}z|J@FJz|@ z}@ ~@sz}@ FJz|@ z~@@
           ~@@~@z~@z|K@pz@I@~@@~~@z~@~z~K¡FK@
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           SPM@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                               w r K @O WS M N

                 94, Umcha, [, W[f^, T_mn, ni, D_n_lgch_, Wb_nb_l, Ahs, Schaf_, V[lc[\f_2, il, Ahs,
                     Cig\ch[ncih,i`,V[lc[\f_m2,A^^m,Sn[ncmnc][ffs,M_[hcha`of,Erjf[h[nils,Piq_l,
                     ni,nb_,H_^ihc],R_al_mmcih,Mi^_f

           p@ ~@ ~@ ~z@ z|z@ |z|~@ @ @ ~}|@ ~~@ }~I@
           ~@ z@ ~@ z@sz}@ ~I@ @ |@ ~@ {z@ z@ FJz|@ @ NQNKMN@
           z}@z@jJz~@@MKMMMMK@p~~@~@~z{~@@@~~|@~@@~@
           z@@~}|@~~@}~@@@z|z@|zKVP@l@}~J
           ~I@z@sz}@~@|@~@~z@z|z@|z|~@@@~}|@
           ~~@ }~@ z}@ }|z~@ z@ {~z{~@ |zz|~|@ @ ~@
           }~@~z@~@zz@@~@|~@z|z@z}@@~@}~K@
           pz@I@|~@}~z~@z@~@z~@@@z@z@~@|~@@
           ~}@}~@~z~K@pI@~@||}~@z@~@}|@~z~@z@
           ~@ ~z~@ @ @ ~}|@ ~~I@ z@ ~~}@ @pz{~@ NI@ z~@ ~@ z@
           }~~z@@~@|~@@z@~@}~KVQ
                o~@@@|~}@z@~@~z~@@~@}~@~z@
           z@ z@ |@ @ ~@ zz@ @ ~@ }zzI@ |@ z@ @ |}@ ~@
           LRDIMM@ zz{~@ @ @ ~}|@ ~~@ @ ~|~zK@ s~@ @
           }z~~K@p@ |~@ }~z}@~@ ~z@ @ROKVR@p~@RO@ z|@
           }~@ @ |~z~@ ~z£z@ I@ @ ~Jzz{~@ }~@ @ z@ RO@ @
           MKO@z}@MKP@|z@{~@|{~}@@}|~@~@Jzz{~@}~@@z@
           RO@@MKRK@b@z@~|@@z|z@@~~@~@@~@
           ~~@}@{~@|~)|@z}@~z}K
                e~z}I@ ~@ }@ ~@ z@sz}@ ~@ @ }~~~@ ~~@ z@ ~@
           zz{~I@@z@z|z@|{z@@zz{~I@z}}@z|z@~zJ
           @~zz@~@@z@}~K@p~@RO@z|@|z@~@~z~@~@zJ
           |z@)|z|~@@@~}|@~~@}~@~z~@@~@~z@


           @ %@ p~@F3z|@}|z~@~~@@~}|@~~@}~@z@z@~zz@~K@ p@@
           ~@I@@z@zI@~@~|K@e@z~@z@hih_,@~@~zz@zz{~@z@z@~*~|@@sK¡@
           s9987;675=I@mojl[@~@NI@z@NQU@E~z@@zFX@m__,[fmi,`-'67@nK@]47=;/94I@`=446/@fK@o==4=:@
           D@p,90-/@]K@ s6886-0/I@ o3-36/361/@ <9;@ ^2/64=//@-47@ a1949061/@ SRU@ EoJs~~@ NN@ ~}K@ OMNNF@
           E p~@F@~@@~}@@}~~~@~~@z@)|z@~z@~@{~~~@~@}~~}~@zz{~@
           z}@~@~@@z@}~~}~@zz{~K¡FK
           @ $@ ^~|z~@@|z@}~@~@z@}~~z@@~@|~@z}@@z@~@}~I@@~}|@
           ~~@}~@z@~|z@~~z|~@z@~@@z|z@@~@~~@z ~@z~@~@EairnFK@e@
           z@|z~@z@@{~@~}@{~~@z@I@~@z~~}@~@|z@|z@z@~@z~@@@}~@@
           }~@}~z}@@~@z~Jz||@|~@}|I@|@z@~@z@{z~@}@@{~@
           ~@~@~z@|~@@~@z||@}|@{@z~@}@{~@~@|~@@~@|~@@z@
           }|@|@~@z~@zz{~@z~Jz||@@EoollqFK@S__@fK@c~@o}z I@Tb_,Plij_l,
           Ris[fns,B[m_,`il,P[n_hn,D[g[a_mI@NM@fK@_90.=363694@hK@D@a1944@VUV@EOMNQFX@fK@c~@o}z I@Ajjilncihg_hn2,
           FRAND,Ris[fnc_m2,[h^,Cigj[l[\f_,Lc]_hm_m,A+_l,a|@K@`Jh I@OMNS@qK@e88K@hK@n='4@NUMVK
           @ •#@ @ S__2, _4aKI@ g«@ D@ nz~I@ mojl[@ ~@ VOI@ z@ TTQX@ _,;6/39.,=;@ bK@ ^-20I@]4@ e43;97213694@39@
           i97=;4@a19490=3;61/@q/645@o3-3-@VU¢NMM@Eozz@l~@OMMSF@E i~@~|@@~@|~&|~@
           ~|@ @ z@ @ ~I@ ~@ ~@ @ |@ @ @@ z@{@ |~@@ }}z@ ~K@ a~@ ~@@
           ~~@@zz@@@||~K@K@ K@ K@az@}~@@ )@{@|z@n@ioa@ wi~zJ
           oz~@ax@@@z@~@@~~@}~@z@z@~@R8@K@K@K@@@ ~@@~}@||~@~@
           z}@z| @z@z|z@zz~K¡@E~z@~~}FFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 160 of 242 PageID #:
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           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                         SPN

           zK@d~~I@~@z@@~|~z@@z ~@@|zJ
           @z@z@z@|z@@~@RO@@@}*~~@~~K@_@
           z|z@~@~@@z@z@@|zK
                ]@sz}@ ~@ |z@ z@ ~z{@ ~~@ ~@ }~@ ~@ ~~@ }~@
           ~@ ~zz@ ~@ @ ~@ }~~z@ @ |~@ z@ z@ |~@
           }~KVS@]@sz}@ ~@ }|z~@ z@ {@ ~@ LRDIMM@ zz{~I@ z@ ~@ z@
           ~@|{z@@~@LRDIMM@z}@DDR:@ zz{~I@}@{~@|}~}@
           @ @ ~}|@ ~~@ }~I@ ~~@ @ ~@ z}}@ @ ~@ zJ
           z{~@|~z~@~@RO@@@@z@~Jzz{~@}~K@pz{~@
           O@~@~~@ ~K@]@ ~@ z~@ ~z~}@ z{~I@ ~@F3z|@@ @
           )|z|~@@~@LRDIMM@z}@DDR:@zz{~@}|z~@z@z@}~@z@
           |}~@~~@zz{~@@~@z~@z@z@}~@z@~~|@~~@
           zz{~@z}@~z}@~z~@@~@|zz|@z}@~zK@e@~||@
           ~I@~~@~|z@)}@}|z~@z@|~@@~@}~@
           |z~@ z{@ ~@ z@ ~~@ ~@ [giohn@ @ }zz@ ~@ |z@ ~£~@ |z~@
           z@z{@~@z{@@z||~@z@}zz@koc]efsK




           @ •!@ S__2, _4a4I@ ^-20I@ mojl[@ ~@ VRI@ z@ NMM@ E d@ }@ ~@ |z~@ @ ~~@ }~@ z@ z~@ @
           ~z@~@z~@~~@zz{~@{@z@ }*~@ @~@~~@[@e@~@@~@}~@@ |@
           ~~}@@~@~I@~@|z@K@K@K@z@z@sz}@~@@~@z@@|z~}@}~@@~zz~@
           ~~@~@}zz@~~|@~@~|@~}@{@~@|z~}@}~K@p@zz|@ @~@@
           |z|z@~@~@~~@~@zz~~@@~@}~@z~@z@~@{~@@z~K¡FK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 161 of 242 PageID #:
                                    8368



           SPO@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                       w r K @O WS M N

                                      pz{~@OK@d~}|@n~~@n~@@
                                    i~Ji}~@l|~@z}@sz}@p~@n~

                                     wNx               wOx                wPx               wQx               wRx
                               NMMKQTNSGGG        QNUKNUSUGGG
            LRDIMM
                                EPRKMTOOF          EPTKOQQQRF
                                QUKTQRUUGGG                          NSRKPSTTGGG
            DDR:
                                 ENRKUTMTTF                          EPVKQNSSUF
            GB
                                 SNKQOTOTG                                               OQKURSNO
            @@@@@U
                                 EPNKVVQPF                                              EPOKMNRNTF
                                NMUKRRNPGGG                                             SRKROQVQG
            @@@@@NS
                                EPQKQSUPUF                                              EPQKNTRUUF
                                OOPKMUOUGGG                                            OSRKVTVQGGG
            @@@@@PO
                                EQRKPQMMUF                                              EPQKMSRRTF
                                RTTKQOQTGGG                                            SOMKTUUOGGG
            @@@@@SQ
                                ESPKVMVQSF                                              ERNKQPTUVF
                                NQRTKPUUGGG                                            NQTUKPPPGGG
            @@@@@NOU
                                ESVKOMSRTF                                              ERVKPVRPSF
            Y_[l
                                ¢VKPVOVSQ                                                                  RSKPQRVT
            @@@@@OMNQ
                                 EOPKSQPUF                                                                ESPKNOVMSF
                               ¢SNKMNTVNGG                                                                QMKOUMMS
            @@@@@OMNR
                                EOPKPTSPQF                                                                ESNKOQTVPF
                                ¢NOUKOTOGGG                                                                UUKRRNTN
            @@@@@OMNS
                                EOPKMMVVVF                                                                ERTKSMSNOF
                                QSKSSSSTG         VNKSVQRSGGG       NNMKSTOSGGG         QSKSSSST          NPRKVURVGGG
            _z
                                EORKRTPTPF         ENTKTUSTOF        EOSKTVNQF         EOVKSVTSUF         EQQKVQPSVF
            RO                    MKUVUN             MKQOTP            MKMVQP             MKURUP            MKMNQR
            F3oz|            NQNKMN            NOSKMT             NTKSM             NVVKUS             MKUO
            Pli\,Z,F            MKMMMMGGG         MKMMMMGGG          MKMMMMGGG         MKMMMMGGG            MKQURR
            N                        NTN               NTN               NTN                NTN               NTN

            Siol]_W@`~@`@D@]|z~@EOMNSFK
            Nin_mW@G@}|z~@z|z@)|z|~@z@~@VMJ~|~@|)}~|~@~~I@GG@}|z~@z|z@J
            )|z|~@z@~@VRJ~|~@|)}~|~@~~I@z}@GGG@}|z~@z|z@)|z|~@z@~@VVJ~|~@
            |)}~|~@~~K@p~@sz}@~@~@@@pz{~@O@Ez@I@~@FJz|@z}@~@Pli\,Z@F,~~}@
            @~z|@~|)|zF@|)@~@~z@)|z|~@@~@zz{~@@~z|@~~@~|~@@
            ~@)@~~K

           pz{~@O@~@~@~@@@~}|@~~@}~I@|@~z~@
           ~@ ~~|@ @ ~z|@ ~z~@ @ z@ ~@ }~£|@ z@ }~@ ~@
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                                    8369



           OM NTx @                  H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                    SPP

           En`eii@@hn`eiiFI@~~z@@`n]i@E``nP@@``nQFI@z}@zJ
           {~@|zz|£@z@~@}~@|~K@p@~z~@~@~~@@|@
           ~z|@~z~@@z@~@}~@~z@~@~z~@zz@@~@|~@
           }zzI@ ~@ z@ @ ~zz~@ ~~@ z}@ {~~}@ ~@ R8@ z~@ @ ~z|@
           ~~K@ p@ ~z~@ ~~@ ~z|@ ~z~@ }~}@ ~zz@ ~I@
           ~@ @ ~@ F3z|@@ ~@~z@ z|z@ |z|~@@ ~z|@ @~@
           @ ~~K@u~z@ z~I@ {@ ~~~I@ }@ @ z~@ |z@ zJ
           |z@ ~@ @ ~z@ ~@ |~@ z}@ @ ~@ }~K@ d~~I@
           ~@ |}~@ ~@ zz{~@ {~|z~@ ~@ z~@ z|z@ |z@ ~@
           |{~}@@~@~zz@zz{~I@z@|@N@@pz{~@O@}|z~K
               _@ O@ @ pz{~@ O@ ~@ ~@ ~@ @ @ ~~@ @ ~@ |~@
           }zz@ @ ~@ LRDIMM@ }|z@ zz{~I@ |@ ~z@ N@ @ ~@ }~@ @
           hn`eiiJ|z@z}@~z@M@@~@}~@@@n`eiiJ|zK@
           ]@ R8@ @ MKQOTP@ }|z~@ z@ ~@ LRDIMM@ zz{~@ z||@ @ QOKTP@
           ~|~@@~@zz@@~@|~@}zzK@
               _@ P@ ~@ ~@ ~@ @ @ ~~@ @ ~@ |~@ }zz@ @ ~@
           DDR:@ }|z@ zz{~I@ |@ ~z@ N@ @ ~@ }~@ @ |z{~@ @
           ``nQ@ ~@ z}@ ~z@ M@ @ ~@ }~@ @ |z{~@ @ @ ``nP@
           ~K@]@R8@@MKMVQP@}|z~@z@~@DDR:@zz{~@z||@@VKQP@
           ~|~@@~@zz@@~@|~@}zzK
               _@Q@~@~@~@@@~~@@~@|~@}zz@@~@GB@
           |z~|z@zz{~I@|@}|z~@~@~@}~@z{~@|zz|@
           @Uc^@@NOUc^K@]@R8@@MKURUP@}|z~@z@~@GB@zz{~@z||@
           @URKUP@~|~@@~@zz@@~@|~@}zzK
               _@R@~@z@~@~z@@|@~@}~@|~@z@~z~}@
           ~z@@NKQR@~|~@@~@zz@@~@|~@}zzK
               ]@z@~@}~~}~@zz{~I@z@}~@z{~@|zz|@}J
           }z@~z@~@~@z@@zz@@~@|~@}zzK@d~~I@
           ~@R8@z~@@}}z@zz{~@@z@zz~@~~@}~@z~@@
           @z}}~K@R8@z~@@|~@z~@@M@@NKVT@l@}*~~I@z @
           ~@@@R8@z~@@|@O@@R@@~@@z@R8@z~@z@}~@@
           ~zI@{@z~@~|~~}I@NK@
               p@}~~~@~~@~@LRDIMM@z}@DDR:@zz{~@z~@z@zJ
           |z@)|z@~*~|@@@~}|@~~@}~I@~@z@z@ENF(z@sz}@
           ~@@@LRDIMM@z}@EOF@z@sz}@~@@{@LRDIMM,z}@DDR:@E@
           }~~~@~@@)|z|~FK@pz{~@P@~~@~@~@@{@sz}@
           ~K




           @ @ S__2,_4a4I@s9987;675=I@mojl[@~@NI@z@QM@E wpx~@z~@@R8@@zz@{~~~@~@z}@~K¡FK
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                                    8370



           SPQ@                Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                          w r K @O WS M N

                                     pz{~@PK@sz}@p~@n~@@e}}z@
                                       rzz{~@z}@_{~}@rzz{~

                                 rzz{~EF                         FJoz|          jJrz~
                                 LRDIMM                                      UKON      MKMMQTGGG
                                 LRDIMM,H@DDR:                               TKOO      MKMMNMGGG
                                 Nin_mW@ G@ }|z~@ z|z@ )|z|~@ z@ ~@ VMJ~|~@
                                 |)}~|~@ ~~I@ GG@ }|z~@ z|z@ )|z|~@ z@ ~@
                                 VRJ~|~@|)}~|~@~~I@ z}@GGG@}|z~@ z|z@J
                                 )|z|~@z@~@VVJ~|~@|)}~|~@~~K

           b@~@sz}@~@@@LRDIMMI@~@{z~}@z@FJz|@@UKON@z}@
           z@ jJz~@ @ MKMMQTK@ b@ ~@ sz}@ ~@ @ {@ LRDIMM, z}@ DDR:I@ ~@
           {z~}@z@FJz|@@TKOO@z}@z,jJz~@@MKMMNMK@p~~@~@~z{~@@
           @~~|@@VV@~|~@|}~|~@~@@~@z@~@LRDIMM@
           zz{~@ }}zI@ @ ~@ @ ~@ z@ ~@ LRDIMM@ z}@ DDR:@
           zz{~@I@z~@@~~|@@@~}|@|~@}~K@

           D4, Tb_,Igjf_g_hn_lum,Ih]l_g_hn[f,Cimn,i`,Pli^o]cha,[h,LRDIMM,R[nb_l,Tb[h,[h,
               RDIMM

           ^~~@z@~@|~~z@z~@@~@hn`eii@z}z}@z@
           ~@z@|{@@z@z}z}I@~@@@{z|@@z@
           |~~z@ z~@ ~@ ~~~@ |~~z@ |@ @ }|@ z@
           hn`eii@z~@z@z@n`eiiK@]@~@z~@~z~}@@lz@erK]I@z@
           |~~z@|@@}|@@z{z{~@@~@z}}z@~@}{J
           ~}@}zz@{~@E`^F@z@z@~~~@zz|~@@~@~}@||@
           {z}@El_^F@@z@``nQ@hn`eiiIVU@|@b~@Q@K@




           @ @ S__2,_4a4I@d=8=33@l-1-;7@a43=;.;6/=I@``nQ@hn`eii/@h=3@u92@d-'=@e3@]88@P@EOMNSFI@WLL
           K~K|LOMNVRLOL~}KzLQ]]SJSMSTajsK}[~YNKM@ E@ z@ ~@ }zz@ {*~¡@ z~@
           ~~@@z@hn`eiiFK@p~@~@}{~}@}zz@{*~@z~@@~~@@~@l_^@@z@n`eiiK@
           S__2, _4a4I@ n-0¦2/I@ o=;'=;@ `eii@ _,6./=3/@ O@ EOMNSFI@ WLLQOMMPUOz|VN~V~J~~K
           ~}zJK|LJ|~Lz}LOMNSLMULo~~J`eiiJ_~JoJk~~K}@E|z@
           z@ hn`eii@ @ z@ n`eiiFX@ DDR:, Pli^o]nmI@ i943-5=@ p=1,49895:I@ WLLz~J~|K|L
           ``nQL}~KX@ o-0/245I@ i9728=@ d-478645@ c267=@ P@ EOMNRFI@ WLLKzK|L~|J
           }|L{zL)~L}|z}LOMNRLMULi}~ydz}yc}~JNK}K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 164 of 242 PageID #:
                                    8371



           OM NTx                H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                          SPR

                        b~@QK@`{~}@`zz@^*~@@z@``nQ@hn`eii




                       Siol]_W@qKoK@lz~@jK@UIRNSINUR@)K@P_@E]K@NRI@OMNMFK
                       Nin_W@p~@~}@ {@~@~@~@ }{~}@}zz@{*~K@p~@ z~@
                       ~~@@~~~}@~|zI@{@~@ }~@@|z@ ~}@J
                       z@@z@~~I@VM@}~~~@|~|| ~@@@~~z@~~K

           s~@ |~z~@ z~@ z@ ~@ ~@ }{~}@ }zz@ {~@ z}}@ z{@
           BOKPM@~z|@@~@}|@|@@z@~@}~@~z~@@z@n`eiiI@
           @ z@ }~@ }|@ ~K@ ]@ z~J|z~@ }|~@ |}@ ~z@
           ~z~@{~~@|~@@@~@z}@|~~@|z~@~@@
           ~@ K@ pI@ @ |@ @ ~I@ ~@ z~@ z@ hn`eii@
           }|@|I@@z~z~I@BOMKTM@~@~@}~@@zz|~@z@z@
           n`eii@}|K@l@}~~I@~@z~@z@~@|~~z@|@~@
           @~@ @ }|@@n`eii@@hn`eii@@ BOMKTM@ ~@
           }~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 165 of 242 PageID #:
                                    8372



           SPS@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

                s~@}~z}@z@~@z}}@@~@~@}{~}@}zz@{*~@@
           z@ ``nQ@ hn`eii@ }~@ @ ~~@ z@ ~J}~@ }|~@@ z@
           z@ z}}z@ zz|@ ~~K@ pI@ ~@ zz|~@ |@
           @ z~{@ }@ @ z~z@ |z~@ ~@ @ }|@ @
           n`eii@@hn`eiiK@_~~I@~@|z@}~@~@~~~@
           |~~z@ |@ z@ ~@ ~@ |@ @ ~@ z}}z@ }{~}@ }zz@ {*~@
           |~@z~}@@~@~@}~@l_^I@|@z@~@~@z~@
           @ z@ ~~~@ @ ~@ hn`eii@ z}z}@ @ z@ }}z@ z||@
           }|@@BTVKTT@Ez@I@BNMMKQT@¢@BOMKTMFI@z@}~~~}@{@z@|J
           ~@z~@}~z~}@~@z~@@@zK@
                j~I@@lz@rI@~@z@z@~@|~~z@z~@@BTVKTT@@~@
           z~@~~z@@fa`a_@hn`eii@z}z}K

                                   rK@q/645@b9;-;7J_63-3694@]4-8:/6/@39@@
                                  ]..9;3694@3,=@r-82=@p,-3@-4@oal@d987=;/@@
                                   l9;3<9869@_943;6¦23=/@39@3,=@o3-47-;7

           d~~I@~@~@~@~@@~@~|}@~@@@zz£z@z}J|zJ
           @zz@@z@~@~@|~~z@z~@@~@hn`eii@zJ
           }z}@ z|@ }~@ @ z~@ ~~z@ @ z@ z}z}K@ o~@ oal@ @
           |{~@z@~z~@z~@@z~@@z@~@z}z}@~z~@@~@oal@
           @z@z}z}I@|@z@z@z@@@z~@~~z@@z@zJ
           }z}@@|{~@~@z@@~@z}z}@z~K@p@~@@
           |~@@z~@~|zI@z}@@z~@@z@@~@z}z}@@
           z~K@
                j@@z ~@@z}~@@~@z~@}{@@oal@}@{~@
           z@~@@~||@zzK@a|@z~@}@||~}@~~}@
           z~@|@{~|z~@@|z@z~@z@z@z~@@z@J
           @ z~@ ~z@ z~KVV@pz@ z@ @ ~z}@ {~|z~@ )@ |z@ )~@
           ~@ z~@ @ ~@ z~@ ~|@ @ }*~~@ |~@ @ }~|z~@
           ~@ z~@ @ {~@ ~~z@ @ z@ z}z}@ z@ z~@ ~~z@ @ z|KNMM@ e@


           @ ••@ S__2, _4a4I@]~@ hz~JbzzI@]K@ f~@ lz}z@ D@ n|z}@ o|z~~~I@ Plc]cha, P[n_hnm, `il, Lc]_hmcha, ch,
           Sn[h^[l^,S_nncha,Ola[hct[ncihm>,M[echa,S_hm_,i`,FRAND,Ciggcng_hnmI@TQ@]4363;2/3@hKfK@STNI@SUO¢UR@EOMMTFX@
           bKiK@o|~~@D@`~z@dz*I@T_]bhifias,Pifc]s,`il,[,Wilf^,i`,Se_q3Dcmnlc\on_^,Oon]ig_mI@OV@n=/K@l98:@
           RRV@EOMMMFX@iz @o|z ~z@D@]~@ lz ~I@Emncg[n_m,i`,nb_,V[fo_,i`,P[n_hn,Rcabnm,ch,Eolij_[h,Ciohnlc_m,
           Dolcha,nb_,Pimn37=;6,P_lci^I@VS@a194K@fK@NMRO@ENVUSFX@o}z I@Tb_,M_[hcha,i`,FRAND2,P[ln,I>,Ris[fnc_mI@mojl[@
           ~@VNI@z@NMNV¢OMI@NMQV¢ROX@f~z@kK@hzI@]~@lz ~@D@fzz@lzI@Hiq,ni,Ciohn,P[n_hnm,[h^,
           V[fo_, Ihn_ff_]no[f, Plij_lns>,Tb_, Um_m, i`, P[n_hn, R_h_q[f, [h^,Ajjfc][ncih, D[n[I@ QS@fK@ e472/K@ a194K@QMR@ ENVVUFX@
           iz~@pz~{~I@A,P_hhs,`il,Yiol,Qoin_m>,P[n_hn,Ccn[ncihm,[h^,nb_,V[fo_,i`,Ihhip[ncihmI@ON@n]j`@fK@a194K@
           NTO@ENVVMFX@`z}@fK@p~~|~I@l~~@_K@c}~@D@a}z}@bK@o~I@o`k@el@l|~@@`z|@e}~I@
           o{@@~@epq@lz~@n}z{~@NV@Ek|K@NMI@OMNOF@E wpx~~@@@~z@@{~~~@z@~@z~@
           @ }*~~@ z~@ E@ @ @ z~F@ @ z@ @~@ {~@ @ z~@@ ~@ I@
           ~~@@~~z@z~K¡FX@m__,[fmi@Ih,l_,ez@el@r~~I@hh_@lz~@hKI@jK@NN@_@VPMUI@OMNP@
           sh@RRVPSMV@EjK`K@eK@k|K@PI@OMNPFK
           @ >¥¥@ S__2,_4a4I@o}z I@Tb_,M_[hcha,i`,FRAND2,P[ln,I>,Ris[fnc_mI@mojl[@~@VNI@z@NMQVK
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           OM NTx @                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                        SPT

           Ihhip[nciI@f}~@fz~@d}~z@~|~}@~@~z{@@~@z ~}@
           z~J|@ ~}I@ z@z@ wx@ z@z~@}~@@~@@ @ z@
           }~}@z~@~~z@@z@~@z}z}I@@}~@@zz|z@~z@
           z@ @ |{~@ NMC@ @ ~@ z~@ @ ~@ z}z}K¡NMN@p@ {~@ ~z{~@ z}@
           ~~|z@I@z@~||@z~~@@~@z~@@z@oal@J
           @@~@z@~}@z@|@@~@zz@@z~@z|@
           ~@~~z@~~@@oalKNMO
                ]@ {~@ }~@ |z@ ~@ @ z~@ ~@ |@ @ |~z@
           z~Jz @~}~@z@~~@~||@~~@z~@~}@@
           zK@ e@ Ihhip[nciI@ ~|@ c~@ h~z}@ ~}@ @ ~@ z~@ @
           ez@z~@@iz @o|z ~z@~J @zzINMP@|@
           }@ z@ ~@ @ NMC@ @ z@ wJz}z}J~~zx@ ~~||@ z~@
           z||@@UQC@@~@z~@@z@~~||@z~K¡NMQ@h~z}I@~~I@
           z ~@o|z ~z@~}@@@|~K@b@~z~I@@}~~~@
           ~@}{@@z~@z~@z@oal@@~@eaaa@UMOKNN@sb@zJ
           }z}I@ h~z}@ ~~}@ @ ~@ )}@ @ o|z ~z@ NVVU@ }I@ |@ @
           @@ {z~}@@z~J~~z@ }zz@@ NVTM@ @ NVUT@ @z@z~@ zJ
           |z@ @ bz|~@ {~~~@ NVSV@ z}@ NVUOKNMR@ o~@ ~@ }*~~|~@ {~~~@
           oal@z}@z}z}Jch~~z@z~@~~@~z{@~zz@@oal@
           ~@~@@o|z ~z@NVVU@}I@|@~z~}@z~@@~~z@
           E~z}~@@~~@~@~~@~~z@@z@z}z}FK@
                p|zI@~@z@z~@}~@}~|z~@@z~@@{~@z}z}J~~J
           zI@@@z@|@@*~@@|~~@z@z~@@n]j`@@bn]j`@
           ~K@ e@ z}}I@ ~@ }@ ~~|@ ~~z@ z~@ @ oal@ @ ~|~~}@ ~@
           ~~z@z~@@z}z}J~~z@z~I@|@~~@~@z@~|@
           {@|@o|z ~z@~z~}@z~@z~K@b~~I@o|z ~z@
           NVVU@ }@ ~z~}@ ~@ z~@ @ z~@ ~|I@ |@ }~@ @ ~|~J
           z@~z@~@z~@@~@z@@|~@z@z~K@]@z~@z@
           ~@z~@}~@~@@@~|}~@~@@@~@z~~}@~|J
           K@p~@z~@@z@@@~@z~@}~@|}~@{@~@z~@@
           ~@|~~@z}zz~@@~|}@~@|~@@@~@
           z~~}@~|@z}@~@z~@@~@z~@@|~@~@z~K@
           _~~I@o|z ~z@NVVU@}I@|@~z~@~@z~@@z~@
           ~|I@~z~@~@@@~@z~@@~@|~~@z}zz~@@

           @ >¥>@ Ihhip[nciI@OMNP@sh@RRVPSMVI@z@GNMK
           @ >¥+@ S__, clja@ _K@ K@]~I@ e|KI@ jK@ NOJ|JMOUURI@ OMNQ@sh@ NQVQOQTI@ z@ GT@ EjK`K@ _zK@]K@ NSI@ OMNQF@
           E lz~@|I@ @|@ ~@{~@@z~@ ~~z@@z@ z}z}@z}@}~~@~@z~@
           @ z@ ~@z~@{@ }}@ ~@ z~@ @~@ z}z}@ {@ ~@{~@ @~~z@ z~I@ @~|~@
           {~|z~@ @}~@@ z||@ @ ~@ z~@@~@ z~~}@z~@ ~z~@ @ ~@ ~@ z}z}@ ~~z@
           z~K¡FK
           @ >¥%@ iz @o|z ~zI@Hiq,V[fo[\f_,Im,P[n_hn,Plin_]ncih@,Emncg[n_m,\s,T_]bhifias,Fc_f^I@OV@n]j`@fK@a194K@
           TTI@UM@ENVVUFK
           @ >¥$@ Ihhip[nciI@OMNP@sh@RRVPSMVI@z@GQPK
           @ >¥#@ o|z ~zI@mojl[@~@NMPI@z@UMK
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                                    8374



           SPU@             Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @         w r K @O WS M N

           ~|}@ ~@ ~@ [h^@ ~@ z~@ @ z~@ @ |~K@ d~~I@
           {~|z~@ oal£@ |z@ @ }z@ z~£z~@ {~|@ @ z@ n]j`@ @
           bn]j`@|~I@I@@ @ zI@@ ~@ z~@@ oal@|@@ ~@
           z~@@~@z~@@|~K@_~~I@~zz@~@~@
           @ o|z ~z@ NVVU@ }@ @ Joal@ @ ~z~@ ~@ z~@ @ ~J
           ~J}z@oal@}@{~@~|z~@z}@~z{~K
                p@ z||@ @ ~@ {@ z@ ~@ oal@ |{~@ ~z~@
           ~z~@ z~@ @ ~@ z}z}@ z@ }@ ~I@ ~@ ~@ z}J|z@ zzJ
           @@z~@~~z@@fa`a_@hn`eii@z}z}@@}~~@~@z~@
           }{@@~@oalK@p~@z@@@@z~Jz @~J
           }@@z@~zz@@~z|@}}z@|~@zz|~@Ez@ @
           z@z@ ~~@ @ zz|~@ Ehk]F@ @~@ z@@ z}z}@ ~FK@p~@ |~~@
           zz|~@@~@}~|zz@@fa`a_@{@z@z~@}~@z@~@}~)~}@
           z~@@~z@~~z@@z@~|)|@fa`a_@z}z}K@]@~|~@@z@
           fa`a_@|~~@zz|~@z~z@@]~}@eK@q@}zz@@~@{J
           ~}@ |~@ zz|~@ @ fa`a_I@ ~@ )@ }~@ ~@ ~~@ @ z|~@
           qKoK@ z~@ z@ z~@ }~@ z~@ }~|z~}@ @ {~@ ~~z@ @ fa`a_@
           hn`eii@z}z}K@
                s~@~@z@~@~z~@z~@z@j~@hn`eii@oal@J
           @|{~@@~@z@z~@@~@hn`eii@z}z}K@p@z@
           z@ z~I@ ~@ |z|z~@ ~@ ~z~@ z~@ z@ j~@ oal@ |{~@ @
           ~@hn`eii@z}z}@@z@~~}@z~J|z@|~@@~z|@oalK@
           pz@I@z@~@~z@{~I@~@~@~@z~@@~z|@oal@{@@z}@
           |z@ @ z||@ @ z@ oal@ z~I@ ~z~@ @ ~@ oalI@ @ ~@
           hn`eii@ z}z}K@s~@ z}@ ~@ ~~}@ z~@ @ ~z|@ oal@ @ {@
           z@ z~J|z@ |~@ z@ |}~@ ~J|z@ Ez@ I@ z}@ |zJ
           @ z@ z@ z~@ ~|~~@ @ z@ ~@ ~}@ z~@ ~}@ {@ ~@ z~@
           |zF@z@~@z@z@z~J|z@|~@z@~|}~@~J|zK@
                k@~|z@zz@~z~}@{~@}|z~@z@|~@}~J
           z~@z@~@z~@@@z@BPQKOT@~@~@}~@@~@z}}~}@
           {~~)@"@@j~@hn`eii@oal@K@

           A4, I^_hnc`scha,P[n_hnm,D_]f[l_^,Emm_hnc[f,ni,JEDECum,LRDIMM,Sn[h^[l^

           p@ }~~~@ ~@ z~@ z@ j~@ hn`eii@ oal@ @ |{J
           ~@@~@z@z~@@~@hn`eii@z}z}I@~@@zz~}@}zz@@
           |~~@zz|~@z@z~@}~@{~}@@fa`a_@}|@~@
           z~@ z@ ~z@ ~~z@ @ z@ z}z}K@p@ }~@ z~@ ~~J
           z@ @ ~@ hn`eii@ z}z}I@ ~@ ~~~}@ fa`a_@ }zz{z~@ @ z~@
           }~|z~}@~~z@@~@hn`eii@z}z}K@p~I@@~z|@oal@}~@
           {~}@ ~}@ }~|{@ ~@ ~~z@ ~|@ @ z@ }zz{z~I@
           ~@ |~z~}@ z@ @ @ ~}@ @ |@ @ ~z|@ fa`a_@ }zz{z~@ @
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 168 of 242 PageID #:
                                    8375



           OM NTx @                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                     SPV

           {~}@ |~~@ zz|~K@ p~@ ~}@ z@ ~@ ~}@ @ }~@
           |~~@zz|~@z@}|~}@z~@~~z@@~@``nQ@hn`eii@
           z}@ n`eii@ z}z}@ ~~@ hz}@ }~|@ `eiiI@ h`J`eiiI@ h`@
           `eiiI@ h``eiiI@ hnJ`eiiI@ hn@ `eiiI@ hn`eiiI@ hz}@ ~}|@
           `eiiI@n~}|~}@z}@`eiiI@n~}|~}@z}@`eiioI@n`eii@g~}I@
           n`eiiI@ z}@ n~~~}@ `eiiK@ _zzz@ z}@ ~z@ }@ @
           z~|@~@~@@@ ~}@}~|zK
                p@|~}~@}~)~}@|~~@zz|~@z@z}@}~|z~}@z~@z@
           {~@ ~~z@ @ ~@ hn`eii@ z}z}I@ |@ z@ ~@ ~@ {@ j~@ z@
           ~@ |}~@ z@ z@ ~z~@ @]~}@ eK@s~@ ~@ ~|~}@ z~@ @
           ~z|@ |~~@ zz|~I@ |@ fa`a_@ zzI@ @ ~~@ z@ @ ~z|@
           ||~@}~)~}@~@~~z@|~~@zz|~@z}@z@~@~@z@
           ~@ ~}@ ~z~}@ @ ~@ ~@ z@ oal@ }~@ ~~~@ ~}@ @ }~|{~@
           ~@~|@|~~}@{@~@}~|z~}@~~z@ z~K@e@z@z~@~~@
           ~~@ ~|}~}@ @ @ zzI@ ~@ ~|@ }@ ~~}@ @ {~@
           ~z|z@{z~}@@@zz@z@z|z@oal@}~@{@|~~@
           zz|~@@{z@@z~@~K@k~~I@~@@}@
           {~@z~@~K
                s~@~@|~}@z@@@~@}~|z~}@oal@z@~z{~}@@@}~J
           @ z@ z~@ @ @ RM@ z|~@ qKoK@ z~@ ~~z@ @ fa`a_@ hn`eii@
           z}z}K@s~@ ~@ ~)~}@ ~@ oal@ @ {|@ zzz{~@ }zz@ @
           ~@ lz~r~@ }zz{z~@ |~}@ {@ ~@ qKoK@ lz~@ z}@ pz}~z @
           k&|~@EqolpkF@z}@}~)~}@z}}z@}zz@~z}@~@oalKNMS@p~@
           qolpk@}zz@|}~@zz{~@@z@oal@~z~I@|zI@z@z}@~zJ
           @}z~I@z}@z}@|z@E|@~z~@~@~@z~@@~~@
           @|~}@z@~~z@@z@z~@z~I@~~@{@~@z~@z~@z|z@@
           {@z@z~@~z~FK
                s~@~|}~}@~~}@z~@@@z@zzK@a~}@z~@
           z~@@~@{|@}zK@e@~~@z~@~~@~~z@@~@@z}z}@
           E@ @ |z~I@ n`eiiFI@ ~@ ~@ z~@ @ {~@ ~z~}@ {@ ~@ |z@
           ~@ @ @ ~}|@ ~~@ }~K@ k~~I@ ~@ z~@ @ {~@
           |z~}@ {@ |~@ @ ~@ @ @ ~@ |~@ @ {@ ~@ zz|~@
           @ ~@ @ @ ~@ )@ z@ @ ~@ |~I@ @ {@ {@ |~@
           z}@ zz|~@ @ ~@ |{zK@ k~@ |z@ @ z~@ z@
           ~@ ~}z@ z~@ @ ~~}@ z~@ z||~@ ~|~@ @ oal@ ~K@ e@
           lz@ rKbI@ ~@ ~@ @ zz@ @ ~~}@ z~@ |}~}@ @ }~@ z@


           @ >¥!@ P[n_hnmVc_qI@ q463=7@ o3-3=/@ l-3=43@ D@p;-7=0-;@ k<<61=@ wqolpkxI@ WLLKz~~KL
           ~}~LK@ lz~r~@ @ z@ z~@ }zz@ zz@ z}@ zz@ z@ ~}~}@ @ |~z~@ ~@
           z~I@ I@ z}@ zz~|@ @ ~@ qo@ z~@ }zzI¡@ z@ z~@ ~}@ {@ ~@ qolpk@
           k&|~@ @ _~@ a|K@ FAQm3Wb[n, Im, P[n_hnmVc_q@I@ qolpkI@ WLLKz~~KLzLzK
           K,p~@}zz@z~@ |~}@@qolpkJ}~}@~@z}@tih@}zz@@{~}@z~@z|z@
           EOMMN¢~~F@z}@z~}@z~@ENVTS¢~~FK¡@I^4
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 169 of 242 PageID #:
                                    8376



           SQM@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                                w r K @O WS M N

           |~z~@~z~@@~@~z~@z~@@~@hn`eii@z}z}@z@@
           z{z{~@@~@{|J}z@~|~K
                s~@ z@ ~|}~}@ z~@ z|z@ @ @ zzK@]@ z~@ zJ
           |z@ }~@ @ ~~~@ z@ z}@ ~~|z@ ~@ @ @ ~@ @ @
           ~}|@ ~~@ }~K@ e@ ~~@ z}}z@ }zz@ ~I@ z@ z@ z|zJ
           @@z~@{~@z~}@z}@|}~}@@~@z}z}@z@z@}~)~}@oal@
           @ z{z}~}@}@ ~@ z|z@|~K@e|}@ z~@ z|z@
           |~~@ }@ |~z~@ z@  @ @ }{~@ |@ z@ ~@ ~|@ @
           |@ z@ ~|@ z@ @ @ z|@ @ z~z{~K@ i~~I@ ~~@ @ @
           [, jlcilc@ ~z@ @ {~~~@ z@ |}@ z~@ z|z@ @ ~@ zz@
           }@ ENF( |z~@ ~@ }{@ @ z~@ z~@ @ ~@ hn`eii@ zJ
           }z}@E|@z@~@z @@|z~@{@z~@z~@}@|z~F@@
           EOF( ~~@ ~z|z@ {z@ ~@ z K@pI@ z{~@ z@ |~@
           ~z@ @ {~~~@ z@ ~@ ~*~|@ @ |}@ z~@ z|z@ }@ {~@
           @~@z@@}z~@~@~*~|@@z~}@z~@z~@@@z @
           ~}I@~@~z@~|}~@z~@z|z@@@zzK@
           ozI@z}z}@z@{~@~~}@@~@@~I@@~@~|~@
           {~@z}}~}@@}~@~|~@{~@}~}K@d~~I@~@}@@{~~~@
           z@@|~@||@@z@z@z@|z@{~@~}|~}@{~~@~@~z{J
           ~@@z@z}z}K@pI@~@}~@~@z~@@z~@z~@z@z@
           z|@Ez~@z@z@}z|F@~I@~~@~@ ~~@|~@@J
           z@z~@z~@z@~@@~@|~@{~z{~@}{K

           B4, Umcha,Filq[l^,Ccn[ncihm,ni,Cl_[n_,[,S]il_,ni,M_[mol_,[,P[n_hnum,R_f[ncp_,V[fo_

           s~@ z~~}@ ~@ z~@ @ j~@ z~@ ~~z@ @ ~@ hn`eii@ zJ
           }z}@ ~z~@ @ ~@ z~@ @ ~@ oal@ }~@ z~@ ~~z@ @ ~@
           hn`eii@ z}z}@ @ }zz@ @ ~@ lz~r~@ }zz{z~I@ |~}@
           {@ ~@ qKoK@ lz~@ z}@ pz}~z @ k|~@ EqolpkFI@ @ ~@ {~@ @
           z}@ |z@ z@ ~z|@ oal@ @ ~@ hn`eii@ z}z}@ ~|~~}@ ~@
           ~KNMT@]@ z}J|z@ |@ @ ~@ {~@ @ |z@ z@ z@ ~}@
           z~@ ~|~~@ @ {~~@ ~}@ z~K@ a|@ ~~@
           ~@z@ z~@z}@ |z@ z@ z@ @ ~z~@ @ z@ z~@ z~KNMU@

           @ >¥@ P[n_hnmVc_qI@q463=7@o3-3=/@l-3=43@D@p;-7=0-;@k<<61=I@WLLKz~~KL~}~LK
           @ >¥@ S__2, _4a4I@ iz~@ pz~{~I@ A, P_hhs, `il, Yiol, Qoin_m>, P[n_hn, Ccn[ncihm, [h^, nb_, V[fo_, i`, Ihhip[ncihmI@
           ON@n]j`@fK@a194K@NTO@ENVVMFX@]}z@^K@fz*~I@iz~@pz~{~@D@n~{~||z@d~}~I@G_ial[jbc],Li][f3
           ct[ncih,i`,Khiqf_^a_,Sjcffip_lm,[m,Epc^_h]_^,\s,P[n_hn,Ccn[ncihmI@NMU@mKfK@a194K@RTT@ENVVPFX,`~z@dz*I@
           bz|@jzI@bKiK@o|~~@D@gz@r~I@Ccn[ncih,Fl_ko_h]s,[h^,nb_,V[fo_,i`,P[n_hn_^,Ihp_hncihmI@UN@n='K@
           a194K@D@o3-3/K@RNN@ENVVVFX@^z~@jK@ozz@D@]}@]K@v~}I@P[n_hn,Ccn[ncihm,[h^,nb_,E]ihigc],V[fo_,i`,
           P[n_hnm>,A,Pl_fcgch[ls,Amm_mmg_hnI@ch@d-47¦99@9<@m2-863-36'=@o16=41=@-47@p=1,49895:@n=/=-;1,@OTT@
           Eo~@OMMRFX@]}z@^K@fz*~I@iz~@pz~{~@D@i|z~@oK@bzI@Tb_,M_[hcha,i`,P[n_hn,Ccn[ncihm>,
           R_jiln, ih, nb_, NBER5C[m_3W_mn_lh, R_m_lp_, Solp_s, i`, P[n_hn__mI@ ch, ]7-0@ ^K@ f-<<=@ D@ i-42=8@p;-3=4¦=;5I@
           l-3=43/I@_63-3694/@D@e449'-3694/@PTV@Eiep@l~@OMMOFK@bz}J|z@zz@@z@{~@@{{J
           ~|K@ S__2, _4a4I@ j6198-@ 7=@ ^=886/I@ ^6¦8690=3;61/@ -47@ _63-3694@ ]4-8:/6/W@ b;90@ 3,=@ o16=41=@
           _63-3694@ e47=¨@ 39@ _:¦=;0=3;61/@ Eo|z~|@ l~@ OMMVFX@ ^=:947@ ^6¦8690=3;61/W@ d-;4=//645@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 170 of 242 PageID #:
                                    8377



           OM NTx @                      H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                            SQN

           b~~I@ ~@ qKoK@ |@ z~@ ~|~}@ z@ z}J|z@
           zzI@~@|~@~}@@~@z|@@~@|z~I@@z@~z{~@z}@~@
           z~@ ~}@ @ }~~~@ ~@ z~@ @ z@ ~@ z~@ ~zJ
           ~@@~@z~@@~@z~KNMV@p~@zz~@@z@z@z~@~~~|~}@
           ~~@{@z~@~@@ ~@@z~@z}~@z@~z~@~z~@|J
           {@@ ~}~@z}@@~~~@~@zz{~@z@z@z~@@~~@
           z}@|z@Ez@z@~@z~@z~@~@z~@z~FK
                j~~~I@ ~~@ @ z@ |@ {z@ @ |@ z}J|z@ }zzW@
           z@ z~@ z@ z@ ~~}@ @ z@ ~@ ~@ z@ ~@ z~@ @ ~}@ @
           ~~z~@~@z}@|z@~~@}~@@~@z|@z@~@~@
           z~@z}@~@~@@}~@z}@|~@z@z|z@z~KNNM@e@b~@RI@
           ~@ }~z~@ z@ |@ {z@ {@ @ ~@ {~@ @ z}@ |zJ
           @zz@~@~z@@|@~@z~@z@z~}@@~z|@z~@@@
           ~z@z~K




           i2836760=4/694-8@ e4761-39;/@ 9<@ o1,98-;8:@ e0.-13@ E^z~@ _@ D@ _z}@ nK@ o@ ~}KI@
           iep@ l~@ OMNQFX@u'=/@ c645;-/I@ ^6¦8690=3;61/@-47@ n=/=-;1,@ a'-82-3694W@ q/=/@-47@]¦2/=/@ Eiep@
           l~@ OMNSFX@ d=4@ bK@ i9=7I@ _63-3694@]4-8:/6/@ 64@ n=/=-;1,@ a'-82-3694@ Eo~@ OMMRFX@ n9¦=;39@
           p97=/1,646@D@]8¦=;39@^-11646I@d-47¦99@9<@^6¦8690=3;61@e4761-39;/W@m2-4363-36'=@p998/@<9;@
           o327:645@-47@a'-82-3645@n=/=-;1,@Es~@OMNSFK
           @ >¥•@ S__2,_4a4I@e~@_K@K@b~@h @oKI@hh_I@jK@NQJ|JMMPTTI@OMNT@sh@OQUOUUNI@z@GR@E`K@`~K@f~@NI@
           OMNTF@E e@|z~@~~@z}@|z@zz@z@{~~@}@~z{~I@@z@{~|z~@~@~~@z~}@
           @~@~@~}@@~@z|@K(K(K(K¡@E@bzI@e|K@K@^~@_z@oKI@e|KI@jK@NPJ|JMPVVVI@
           OMNR@sh@QOTOUTMI@z@GU@EjK`K@_zK@f@NQI@OMNRFFX@_|z@_z{~@_|I@hh_@K@o@_|@_KI@
           ONU@ bK@oK@ P}@ PTRI@PUP@EaK`K@ lzK@OMNSF@E w_x@z~@ @~~|~}@z}@ |z@ zz@K¡FX@
           ^~~@i~@_K@K@o~~o~~@]oI@jK@OWNQJ|JMMNVUI@OMNS@sh@PSNNROUI@z@GO@EaK`K@p~K@fzK@RI@OMNSF@E p@
           ~@~~@lz*@|z@z@z}@|z@zz@@~~@~~z@@z~@zzI@~@_@
           ~~|@z@|zK@j@{}@z@z~@z@z}@|z@zz@@~@~@@~~z@@~@
           z|@@z@|z~K¡FX@Fchd[h,p4,Bfo_,Ci[nI@OMNR@sh@QOTOUTMI@z@GT@E w]x@zz~@zz@@z~~}@z~@
           {z~}@ @ z}@ |z@ z@ {~@ {z~@ @ z@ ~zz{~@ z@ @ ~@ z|~K¡FX@ _|z@
           _z{~@_|I@hh_@K@o@_|@_KI@jK@OJNOJ|JMMURVI@@K@z@QN@EaK`K@lzK@]K@NSI@OMNTF@
           E wbxz}@|z@zz@@~z{~@~@K@K@K@@@~}@@~@z|@@~@|z~K¡FK
           @ >>¥@ S__, pz~{~I@ A, P_hhs, `il,Yiol, Qoin_m>, P[n_hn, Ccn[ncihm, [h^, nb_,V[fo_, i`, Ihhip[ncihmI@ mojl[, ~@NMUI@
           z@ NUSX@ m__,[fmi, Fchd[h, p4,Bfo_,Ci[nI@OMNR@sh@QOTOUTMI@ z@GU@E||@~@~~@~||@ ~@J
           z}J|z@zz@@z@@z||@@~@z~@{z@@~@z}J|z@}zzFK
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           SQO                Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                        w r K @O WS M N

                                  b~@RK@n~z@^~~~@~@j{~@
                                  @bz}@_z@z}@lz~Jcz@u~z




                   Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                   Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K

           e@b~@RI@~@~zJz~@~~@~£z@I@~@~@@{~@@@~@
           |z~£z@z@~@@¢VKMQI@}|z@z@~z~@~z@{~~~@
           ~@ z~Jz@ ~z@ z}@ ~@ {~@ @ z}@ |zK@ l@ }~~I@
           ~z|@ z}}z@ ~z@ @ z@ z~@ z~@ @ z|z~}@ @ zz~@ ~@
           ~@ z}@ |z@ @ z@ z~K@pz@ ~z@ @ z|z~}@ @
           z@ jJz~@ @ MKMMM@ z}@ @ @ z|z@ |z@ z@ ~@ VVJ~|~@
           |}~|~@ ~~K@p@ |@ @ @ {zI@ ~@ ~|z~@ ~z|@ z~@ |z@
           |~@@z@z~@|z@~@~@z@~@~z~@|z@z@z@z~@
           ~|~~K@]@z~@z@~|~~@NM@|z@@z@~z@@@~@@@
           {~@ |~}@z@ ~@ zz{~@ z@ z@ z~@ z@ ~|~~@NM@ |z@ @
           NM@~z@@z|~K@s~@~~@@~z@@z@}}z@z~@@
           ~@@~zW



           ~~@n,@~@{~@@}z@{~~~@~@}z~@@~z|@|~}@z~@z|~@
           z}@~@}z~@@~@|@z~@z|~I@z}@b,@~@zJ~@@z@z~@
           |z£z@ I@ ~@ ~}z@ {~@ @ }z@ z@ ~z~@ {~~~@ z}@
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           OM NTx                         H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                                             SQP

           |z@ @ z@ z~@ zz~}K@ q@ ~@ ~}z@ {~@ @ }z@ @ z@
           |z@ z@ ~@ zJ~@ ~z@ z@ z@ |z@ z@ ||@ z@ z@ ~@ @
           z~@z@|~@@MKRK@p~@z@@|z@z@||@|~@@~@z~@z@
           }z~@@z~@|~@|~@@~I@z}@~@~@z@@|zI@|@z~@
           z}~@z@~@~@z~@~@z@}z~I@@z~@|~@|~@@~K@
                b@~z~I@~@z~@A@~|~~@~~@|z@@z@£
           ~@|z@@z@z~@z@z@{~~@~}@NM@}z@|~@~@z|~@@
           z~@AI@~@|z@@z@z~@z@z@{~~@~}@OM@}z@|~@~@
           z|~@@z~@AI@z}@~@|z@@z@z~@z@z@{~~@~}@PM@
           }z@ |~@~@z|~@ @z~@ AK@p~@|z@@ ~@ z~@~}@NM@
           }z@ z~@~@z@z@ z@ z@|~@z{~@MKRI@~@|z@z@OM@}z@z@
           z@ |~@ @ MKRI@ z}@ ~@ |z@ z@ PM@ }z@ z@ z@ |~@ {~@ MKRK@p~@ z@
           z~J|z@|~@@z~@A@@~@@@~~@~~@}}z@|~I@




           pz@I@~@z@z~J|z@|~@@z~@A@@MKTN@H@MKRM@H@MKPR@Y@NKRSK@
                e@z@{~z@~z@z@~@}|@|@z~@}@z}J|zJ
           @ zz@ @ {~@ z@ ~z{~@ ~}@ @ zz@ ~@ z~@ @
           z@ ~~}@ z~@ ~@ ~@ ~~@ z@ @ z||@ @ z}@ |z@ @
           ~@~~}@z~@~}~|~K@]@~~}@z~@@z@~}@z~@z@
           z@ }@ @ {~@ }~~|~I@ z}@ @ z}I@ {@ z@ {~~@ ~~}@
           @|~|@@~@}~~|KNNN@e@Ol[]f_,Ag_lc][2,Ih]4,p4,Giiaf_2,Ih]4I@~@qKoK@
           `|@ _@ @ ~@ j~@ `|@ @ _zz@ ~|}~}@ c~@
           h~z}@ ~@ ~z}@ z@ ~~}@ z~@ ~z~@ z~@ {~|z~@
           ~@ }}@ @ |@ z}@ |z@ @ ~@ ~~}@ z~@ ~}~|~KNNO
           j~~~I@@B_nn_l,Miom_,Ci4,p4,Sn__fS_lc_m,AjSI@~@qKoK@`|@_@@
           ~@ az~@ `|@ @p~z@ }~}@ @ ~}~z@ @ @ Ol[]f_
           {@ ~z@ z@ ~@ z*@ @ Ol[]f_@ z}~@ z@ I@ @ z}~@ ~~I@
           z@ ~@ }*~~|~@ @ |~@ z@ @ )|z@ z@ @ ~}~@ ~@ zz@
           ~z{~@ @ ~@ z|K¡NNP@]@ ~~@ |z@ }~~~@ ~~@ z@ )|z@
           |z~@ @ ~@ |~@ z~@ {@ ~z@ {@ |~z@ @ }~~~@
           |@~}@@~@zz~@~@~@z|@@~@|z~K@p~~@z~@@
           ~~}@z~@|}~}@@@zzK
                pz{~@]KN@@]~}@eee@ @~@RM@z|~@qKoK@z~@z@~@~@@
           @ z}J|z@ zzI@ z ~}@ {@ ~@ z~J|z@ |~@ Ez@ ~@

             >>> PR@qKoK_K@§@ORNX@m__,g~~@dI@a~@dK@h@D@_z~@aK@rz@dI@E*_]ncp_,Um_m,i`,R_cmmo_m,[h^,R__r3
           [gch[ncihm, ch, nb_, Uhcn_^, Sn[n_mI@ _,64-@ el@ j=/@ Ef~@ OMMVFI@ WLLK)~zK|L~|~Lz|~L
           z|~}~zKz[~YSQOQ{|S|JMPSVJQUzUJVSP}JMNQVMVUNURUOK
            >>+ jK@NMJ|JMPRSNI@OMNO@sh@UTTNORI@z@ GO@ EjK`K@_zK@izK@ NRI@OMNOF@ E~|}@h~z}@~@@
           ~@ zz@ {z@ z@ ~@ zw~}x@ @ z||@ @ ~@ z|@ z@ w~@ @ ~@ z~@ @ x@ z@ ~J~}@
           |~I@z}@@zw~}x@@|}~@|z@|@@@~}~|~@z~¡FK
            >>% jK@OWNQJ|JMMNVUI@OMNS@sh@PSNNROUI@z@GO@KN@EaK`K@p~K@fzK@RI@OMNSFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 173 of 242 PageID #:
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           SQQ@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                             w r K @O WS M N

           z~@ |~}@ @ @ z||}z|~@ @ ~@ ~@ |~}~@ ~z~}@ @
           az@ R@ z{~FK@ e@ z}}@ @ ~@ ~z|@ z~@ z~J|z@
           |~I@pz{~@]KN@ ~@ ~z|@ z~@ {~I@ |~@ z~~I@ ~I@ ~@
           }z~I@z}@{~@@z}@|zK

           C4, Tb_,V[fo_,Dcmnlc\oncih,i`,P[n_hnm,D_]f[l_^,Emm_hnc[f,ni,nb_,LRDIMM,Sn[h^[l^

           q@~@}zz@@z}@|zI@~@}z@z @~@RM@oal@|}~}@
           @ ~@ hn`eii@ z}z}@ z||}@ @ ~@ ~~}@ |zK@ cz@
           ~@ |z~@ z~@ @ ~@ z ~}@ oal@ }|~@ z@ h~@ |~INNQ@ z@ @
           z@ ~|@ z~@ @ ~}@ @ ~z@ ~@ ~z@ @ }{J
           I@ |@ z@ ~@ }{@ @ |~@ @ z}@ z@ zKNNR@ e@
           ~|~@~zI@|z@z}@~~@~||@~~@@z~J~~@
           }~@z~@~}@~@h~@|~@z@z@~}@@z @z}@z~@z~@
           @ @ @ z~KNNS@ b~@ S@ @ ~@ h~@ |~@ @ ~@ z~@
           }~|z~}@~~z@@fa`a_@hn`eii@z}z}K




           @ >>$@ b@~@}~)@@~@h~@|~I@~~@jK_K@gz zI@Ajjfc][ncihm,i`,Lil_ht,Colp_m,ch,E]ihigc],
           Ah[fsmcmI@ QR@ a19490=3;61-@ TNVI@ TNV@ ENVTTF@ E p~@ h~@ |~@ ~z~@ ~@ |z~@ @ @
           |~@@@~@|z~@@@|~@~|~~}@~@@z~@zz~}@@z|~}@}~@
           @~@|~K¡FX@`z~@^K@h~~@D@j~@iK@o~I@Tb_,M[nb_g[nc][f,R_f[ncih,B_nq__h,nb_,Ih]ig_,D_hmcns,
           Foh]ncih, [h^, nb_, M_[mol_g_hn, i`, Ih]ig_, Ih_ko[fcnsI@ PU@ a19490=3;61-@ POQI@ POQ@ ENVTMF@ E p~@ h~@ |~@
           ~{@|~@}{@{@@~@~}~~}~|~@@K@K@K@~@~|~z~@@z@|~@~z~}@
           {@~@~|~z~@@zK¡FK
           @ >>#@ S__2,_4a4I@gz zI@mojl[@~@NNQI@z@TNVX@i-;364@^;94<=4¦;=44=;I@e4190=@`6/3;6¦23694@p,=9;:@
           QT¢RM@E]}~@pzz|@NVTNFK
           @ >>!@ S__, o}z I@ Tb_, M_[hcha, i`, FRAND2, P[ln, I>, Ris[fnc_mI@mojl[@ ~@ VNI@ z@ NMPR¢PSX@fzz@ `K@ lzI@
           V[fo_,Sb[l_m,i`,T_]bhifiac][ffs,Cigjf_r,Pli^o]nm@NR@ E_~@`z|@s @lz~I@]K@NSI@OMNQFI@
           WLLK|~}z|K|LJ|~Lz}Lrz~Joz~JOMNQMQNSK}K
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                                    8381



           OM NTx                                H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                           SQR

                                          b~@SK@h~@_~@`~|@~@`{@@
                                             rz~@@lz~@`~|z~}@a~z@@fa`a_
                                           hn`eii@oz}z}I@nz ~}@{@bz}@_z
                     15001000
              Citation Value
             500     0




                                0                 10                 20                30                   40         50
                                                                     Patent Citation Rank

                                                                    Google            INPHI
                                                                    Longitude         Micron
                                                                    Netlist           Rambus
                                                                    Round RR          Samsung

                                Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                                Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K

           e@b~@SI@~@z@z@~~~@~@z ~}@z~@@~z|@hn`eii@
           oalK@ p~@ ~@ ~@ oal@ z}J|z@ z I@ ~@ ~@ ~@ z ~}@
           z~@@~@oalK@p~@z~@z@~@z~@~@@~@z@z@~@~@
           z}J|z@ z I@ z}@ ~@ z~@ z@ ~@ z~@ @ @ ~@ z@ z@
           ~@~@z}J|z@z K@az|@oal@ ~¡@@~@z£z@I@
           @ z~@ @ ~@ ~|z@ z£@ ~@ |z~@ |~}@ z~@ @ @ z}@
           |zK@ p~@ z@ ~@ @ b~@ S@ @ ~@ ~@ z@ }@ {~@ }z@ @
           ~z|@oal@|z@|~@~~@~@z~K@pz@I@@z@hn`eii@oal@~~@
           ~z@ zz{~@ Ez@ ~z~}@ {@ z}@ |zFI@ z@ ~@ @ @ ~@
           z@}@z@z@~@z@~@}~|~}K@pz@|~@|}@||@
           I@@~z~I@~z|@oal@z}@z@~z@{~@@z}@|zK
                 p~@ |~@ z~@ @ ~@ }~}@ |~@ @ b~@ S@ }|z~@ z@ ~@
           z~@ @ ~@ z}z}@ @ @ }{~}@ ~z@ z|@ ~@ z~@ }~|z~}@
           @{~@~~z@@~@hn`eii@z}z}K@p~@}~~~@@|@~@h~@
           |~@ }~z~@ @ ~@ QRJ}~~~@ ~@ E~~~~}@ {@ ~@ }zz@ z@
           ~@ @ b~@ SF@ @ z@ ~z~@ @ ~@  ~~@ @ ~@ }{@ @ z~@
           @ ~@ z~@ }~|z~}@ @ {~@ ~~z@ @ ~@ hn`eii@ z}z}@ z}@ @
           z@ ~z~@ @ ~@ ~z@ @ ~@ z~@ z@ ~@ oal@ |{~@ @ ~@
           z}z}K@p~@ }~}@ |~@ ~~zI@ @ ~z~I@ z@ z@ ~@ oal@ z@ z@
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                                    8382



           SQS                                         Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                        w r K @O WS M N

           z@z~J|z@ z @ @NM@|{~@ ~z~@~@z~@@~@z}z}@
           z@ z@ oal@ z@ z@ z@ z~J|z@ z @ @ QMK@]@ ~@ |~~}@ @ ~@
           z~J|z@z I@~@z~@@~z|@oal@@z}}~}@@~@|z~@z~@
           @ ~@ oal@ z ~}@ {~@ K@ e@ ~@ }I@ ~@ |z~@ @ ~@ |z~@
           z~@@~@hn`eii@z}z}@@z}}@~@~@oal@@~@z}z}@
           @~z@@z@oal@}}z@z~KNNT

           D4 Ajjilncihcha, nb_, V[fo_, i`, nb_, LRDIMM, Sn[h^[l^, ih, nb_, B[mcm, i`, Filq[l^,
              Ccn[ncihm2,Ih]fo^cha,S_f`3Ccn[ncihm

           q@ ~@ }~~}@ h~@ |~@ @ b~@ SI@ ~@ }~~~@ ~z|@ |z@
           |{@ @ ~@ hn`eii@ z}z}@ {@ @ ~@ ~~}@ |z@
           z~@ @ ~z|@ z~@ z|@ z@ |z~@ }@ oal@ @ z@ z}z}K@
           b~@ T@ @ ~@ }{@ @ z~@ z~@ {@ |z@ @ fa`a_@
           hn`eii@z}z}@{z~}@@~@{~@@z}@|zK

                                                          b~@TK@`{@@rz~@{@_z
                                                      @hn`eii@oal@`~~}@@bz}@_z
                                          40




                                                                                                                                 35.69


                                                                                                                    30.77
                                          30
               Share of LRDIMM Standard




                                                                                                         18.63
                                          20
                                          10




                                                                                               4.70
                                                                                    3.86
                                                               2.31       2.52
                                                    1.51
                                          0




                                                  Micron Longitude Rambus Samsung INPHI Round RR Netlist                        Google

                                               Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~}~LK
                                               Nin_W@q@}zz@@lz~r~I@~@~~}@{@z}@|z@~@}{@@
                                               hn`eii@oal@z|@oal@}~K

            >> e@|z@@@~|z@~z@@~@h~@|~@E~z~}@@~z~@}~z@{~@z}@@
           ]~}@eeFI@ lz@~}I@mojl[@~@NNSI@~@z@}*~~z{~@|@z@~z{~@@
           @~zz~@~@|~~z@|{@@z@~@z~@E~z~@@~@|{@@~@ z~z~¡@
           z~@z~}@z@~@RM@~|~~@@~@z F@{@~zz@~@~@@~@h~@|~@z@~@
           ~|~~@@~@z~@@~@E{@~zz@~@}~z~@@~@h~@|~@z@z@FK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 176 of 242 PageID #:
                                    8383



           OM NTx @                      H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                          SQT

           ]@ b~@ T@ I@ @ z}J|z@ zz@ }|z~@ z@ j~@
           hn`eii@ oal@ z||@ @ PMKTT@ ~|~@ @ ~@ z~@ @ ~@ ~|@
           |}~}@ @ ~@ hn`eii@ z}z}K@ _~~I@ ~@ z~@ @ fa`a_@
           hn`eii@z}z}@z@@z{z{~@@j~@hn`eii@oal@@BTVKTT@
           ©@PMKTT@~|~@Y@BOQKRRK

           E4, Ajjilncihcha, nb_, V[fo_, i`, nb_, LRDIMM, Sn[h^[l^, ih, nb_, B[mcm, i`, Filq[l^,
               Ccn[ncihm2,Er]fo^cha,S_f`3Ccn[ncihm

           k~@ |~@ @ |@ z}@ |z@ @ }~~@ z@ z~@ z~@ ~zJ
           ~@@~@z~@@z@z@z~@}~@@~zzz@|~@@@
           E}~F@ z~@ @ @ ~@ ~}@ z~£z@ z||~@ |z~}@ ~J|zK¡@
           pI@~J|z@ @ ~z~z~@ ~@}~@z~@ z~KNNU@p@ ~zz~@
           ~@ ~~|@ @ ~J|z@ @ @ z~Jz @ zz@ @ ~@ hn`eii@
           z}z}I@ ~@ }~@ ~@ z~~@ @ ~z|@ |@ z~K@ e@ ~@ z~~@ @
           ~@]cncha@z~@@~@z~@z@~@z~~@@~@]cn_^@z~I@~@|@z@
           z}@|z@z@z@~J|zK@s~@z@~z|@~J|z@z@z~@@~@
           z}@~@~|z|z~@~z|@hn`eii@oal@|z@|~K
                b~@ U@ {~@ |z~I@ @ ~z|@ hn`eii@ oalI@ ~@ oal@ ~~}@
           |z@ |~@ ch]fo^cha@ ~J|z@ E~@ |z@ z~@ @ ~@ sJzF@ @
           z@z~@oal@~~}@|z@|~@_r]fo^cha,~J|z@E~@|z@
           z~@ @ ~@ rJzFK@ ]@ hn`eii@ oal@ z@ z@ z@ @ |z@ |~@ @
           ~@ sJz@ {@ z@ @ |z@ |~@ @ ~@ rJz@ z@ z@ ~@ @ @
           ~J|z@ z@ z@ oal@ z@ z@ z@ @ |z@ |~@ @ {@ ~@ sJz@
           z}@~@rJzK@e@z@oal@|z@|~@@~@sJz@~z@@|z@|~@
           @~@rJz@Ez@I@@~@|z@|~@~@z@~@QRJ}~~~@~@FI@
           ~@ z@ oal@ z@ @ ~J|zI@ |@ ~@ z@ z@ @ ~@ |z@
           z~@@z@z|z@oal@|~@@~@|z~@z~@|zK




           @ >>@ ]@ ~z@ ~@|@ z@ ~|}~}@ z@ ~~@ ~@ z}J|z@ zzI@@ zI@ @ z@ @
           z||@ @ ~J|zK@ e@ Fchd[h2, Ih]4, p4, Bfo_, Ci[n, Ssmn_gm2, Ih]4I@ f}~@ ^~@ b~~z@ @ ~@ j~@
           `|,@_zz@{~~}@z@ z@z~@{~|~@z@|z@{~@{z~}@@~@{~@@~@
           z@~@|~@~@@~|@~z~}@z~K¡@jK@NPJ|JMPVVVI@OMNR@sh@QOTOUTMI@z@GU@EjK`K@
           _zK@f@NQI@OMNRF@E~|}@~@~~@~@@]~@hz~JbzzFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 177 of 242 PageID #:
                                    8384



           SQU               Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                         w r K @O WS M N

                            b~@UK@_z@o|~@@lz~@`~|z~}@a~z
                            @fa`a_@hn`eii@oz}z}@nz ~}@{@bz}
                               _zI@^@@z}@@o~J_z




                                             80
                                             60
                        Google
                        INPHI
                                      Citation Value
                        Longitude
                        Micron
                                            40

                        Netlist
                        Rambus
                        Round RR
                        Samsung
                                             20
                                             0




                                                       0    20             40            60             80
                                                           Citation Value (No Self-Citations)


                     Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                     Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K

           e@b~@UI@~@~|z@}z|~@@~@}zz@@@z@~@hn`eii@
           oal@@~@QRJ}~~~@~@~z~@~@z@@~J|z@@z@oalK@
           `zz@ @ @ ~@ QRJ}~~~@ ~@ z~@ @ ~J|zK@ b~@ U@ ~~z@
           z@ ~~z@oal@z~@~@z~@~@~J|z@z~@ |}~}@@ ~@
           z~J|z@|~@z@~@~J|z@z~@~|}~}I@{~|z~@~@oal@
           }~@ @ ~@ ~}@ z@ @ ~@ z~@ z~@ |@ @ ~z~@ oalK@
           d~~I@ ~@ z~J|z@ |~@ @ @ oalI@ ~|~@ @ ~@ @ @
           oal@|~@~}@{@c~I@}~|~@{@z{@~@z~@z@z|@
           z@ ~~z@ oal@ ~@ ~|}@ ~@ ~J|zI@ |@ z||@ @ ~@
           ~z~@~z@}{@}z~}@@b~@UK
                 b~@V@{~@@~@z~@zI@{@@~@sJz@~}@@
           @@~@~@z~@@~@z~@|~@z@@z{z{~@@~J|zK@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 178 of 242 PageID #:
                                    8385



           OM NTx                 H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                                       SQV

                            b~@VK@j~@_z@o|~@@lz~@`~|z~}@
                          a~z@@fa`a_@hn`eii@oz}z}I@nz ~}@{@
                         bz}@_zI@pz@e@]{z{~@@o~J_z




                                                    80
                                     Net Score Due to Self-Citations
                                                                 60
                       Google
                       INPHI
                       Longitude
                       Micron
                                                  40

                       Netlist
                       Rambus
                       Round RR
                       Samsung
                                     20             0




                                                                       0    20            40            60     80
                                                                           Citation Rank (No Self-Citations)

                    Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                    Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K

           b~@V@~~z@z@~~z@z~@}~|z~}@~~z@@fa`a_@hn`eii@
           z}z}@ z~@ z~@ |z@ |~@ z{z{~@ @ ~J|zK@ b~@ NM@
           {~@I@z@z@@@~z|@z~@z@|~I@z@@@z{J
           z{~@ @ ~J|zK@ l@ }~~I@ b~@ NM@ @ ~@ @ @
           ~z|@z~@|~@z@@z{z{~@@~J|zI@z~@z@~@z|z@
           |~@~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 179 of 242 PageID #:
                                    8386



           SRM                Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                                                   w r K @O WS M N

                            b~@NMK@l@@az|@lz~@_z@o|~@
                            @lz~@`~|z~}@a~z@@fa`a_@hn`eii@
                               oz}z}@pz@e@]{z{~@@o~J_z




                                                             1                   .9
                                       Proportion of Score Due to Self-Citations
                                                                           .8
                        Google


                                                                      .7
                        INPHI

                                                                .6
                        Longitude
                        Micron
                                                           .5

                        Netlist
                        Rambus
                                                     .4



                        Round RR
                                               .3




                        Samsung
                                         .2                  .1
                                                             0




                                                                                      0    20            40            60          80
                                                                                          Citation Rank (No Self-Citations)

                     Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                     Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K

           b~@ NM@ ~~z@ zI@ @ ~@ hn`eii@ oalI@ z@ z~@ @ @ ~@
           |z@ |~@ @ z{z{~@ @ ~J|zK@ b@ ~z~I@ @ z@ {@ ~@
           @ c~@ hn`eii@ oalI@ ~J|z@z||@ @ {~~~@ UM@~|~@
           z}@VM@~|~@@~@|z@|~K@e@~@~~@@~|}~@~J|z@@
           ~|z|z~@ ~z|@ |z@ |{@ @ fa`a_@ hn`eii@ z}z}I@
           z@ |z@ z@ z{~@ z@ ~@ @ @ @ z~@ @ ~J|z@
           @ ~~~|~@ z@ ~z~@ z~@ }~|~@ @ z~@ Ez}@ ~~~@ z@ z~@
           }~|~@@@~|~~}@|{@@~@hn`eii@z}z}F@~z~@@z@
           |z@z@z{~@z@~@@@@z~@@~J|zK@s~@
           ~|z~@~z|@|z@z~J|z@|~@{@~|}@~J|z@z}@
           ~@~|z|z~@~z|@oal@z @z}@~z~@|{@@~@hn`eii@
           z}z}K@b~@NN@{~@~~@~@~~}@h~@|~@@~@z~@
           }~|z~}@~~z@@fa`a_@hn`eii@z}z}K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 180 of 242 PageID #:
                                    8387



           OM NTx                                                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                            SRN

                                                            b~@NNK@h~@_~@`~|@~@rz~@`{
                                                         @lz~@`~|z~}@a~z@@fa`a_@hn`eii@oz}z}I
                                                             nz ~}@{@bz}@_zI@a|}@o~J_z
                                               800
              Citation Value (No Self-Citations)
                  200       400 0     600




                                                     0                 10                20                30                   40          50
                                                                                         Patent Citation Rank

                                                                                        Google            INPHI
                                                                                        Longitude         Micron
                                                                                        Netlist           Rambus
                                                                                        Round RR          Samsung

                                                     Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~LK
                                                     Nin_W@]@zzK@p@)~@@~~}@@~@ozz@z|z@z~K


           ]zI@ ~@ |~@ z~@ @ ~@ }~}@ |~@ @ b~@ NN@ }|z~@ z@ ~@
           z~@ @ fa`a_@ hn`eii@ z}z}@ @ @ }{~}@ ~z@ z|@ ~@
           }~|z~}J~~z@ z~K@ s~@ z~@ z ~}@ ~@ hn`eii@ oal@ z||}@
           @ ~@ ~@ |z@ |~K@p@ |z~@ @ z@ @ ~@ z@ @ b~@
           S@ E|@ |}~@ ~J|zFI@ ~@ |z|z~@ ~@ c@ |~|~@ @ ~z|@
           zK@ p~@ c@ |~|~@ ~~~@ ~@ z@ @ ~@ z~z@ {~~~@ ~@
           h~@ |~@ z}@ ~@ QRJ}~~~@ ~@ @ ~@ ~~@ z~z@ }~@ ~@ QRJ}~~~@
           ~@ z}@ @ ~@ @ |@ ~z~@ @ ~zK¡NNV@ e@ z@ }{@
           @ |@ ~z|@ z~@ z@ z@ ~z@ |z@ |~I@ ~z|@ z~@ }@ ~@
           @ ~@ QRJ}~~~@ ~I@ z}@ ~@ h~@ |~@ }@ z~@ z@ c@ |~|~@
           @ ~KNOM@ e@ |zI@ z@ z}z}@ ~@ z~@ @ z{z{~@ ~@ @ ~@

             >>• f~@hK@czI@Tb_,Emncg[ncih,i`,nb_,Lil_ht,Colp_, [h^, Gchc,Ih^_rI@RQ@n='K@a194K@D@ o3-3K@PMSI@
           PMT@ ENVTOFX@ m__, [fmi fz~@ izI@ Tb_, Ah[nigs, i`, Ih]ig_, Dcmnlc\oncihI@ QQ@ n='K@ a194K@ D@ o3-3K@ OTMI@ OTM@
           ENVSOF@E e@z@~~z@{~~@z~~}I@z~@|@}|I@z@~@{~@~@~z~@@~z@@
           ~@@@~@zz@z~z@@z@h~@}zz@|@z@{~~~@~@h~@|~@z}@~@
           }zzI@~@|z~}@~@c@e}~@@||~zK¡@E|@iz@f~z@^zI@A,Gl[jbc][f,Ah[fsmcm,
           i`,P_lmih[f,Ih]ig_,Dcmnlc\oncih,ch,nb_,Uhcn_^,Sn[n_mI@PR@]0K@ a194K@n='KI@o~K@NVQRI@ z@SMTI@SMU¢OU@FFX@hzz@
           hz~I@M_[molcha,Ih]ig_,Dcmnlc\oncih,A]limm,Sj[]_,[h^,Tcg_,ch,nb_,Ag_lc][h,Sn[n_mI@UM@o91K@o16K@mK@RRI@RT¢RU@
           ENVVVFK
            >+¥ S__2,_4a4I@izI@mojl[@~@NNVI@z@OUNX@hz~I@mojl[@~@NNVI@z@RUK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 181 of 242 PageID #:
                                    8388



           SRO@                 Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                     w r K @O WS M N

           z~£z@ }{@ z@ @ ~~|@ ~z¡£}@ z~@ z@ c@ |~J
           |~@ @ ~K@ pI@ z@ ~@ c@ |~|~@ }|z~@ ~@ ~z@
           @ z@ }{K@ b@ fa`a_@ hn`eii@ z}z}I@ ~@ }@ z@ ~@
           h~@|~@|}@~J|z@z@z@c@|~|~@@MKPQ@z}@z@
           ~@h~@|~@~|}@~J|z@z@z@c@|~|~@@MKQVK@s~@
           ~~@@~}@@|z|z@~@c@|~|~@@]~}@eeK@
           p~~@~@|@ z@~@ |@@~J|z@@ ~@z~J|zJ
           @~}@|~z~@~@zz~@ ~z¡@@zz@@z~@
           }~|z~}@~~z@@fa`a_@hn`eii@z}z}K
                s~@z@~z~@~@ VMLNM@zI¡@|@@~@z~@@~@VM@~|~J
           ~@ @ ~@ }{@ }}~}@ {@ ~@ NM@ ~|~~@ @ ~@ }{K@
           p@z|@~@@~z@z@~@~~~@@z@}{K@]@~@
           z~@}|z~@~z~@~zK@k@z~@z @@~@hn`eii@zJ
           }z}@z@|}~@~J|z@z@z@VMLNM@z@@SNKTQKNON@e@|zI@@
           z~@z @@~@hn`eii@z}z}@z@~|}~@~J|z@z@z@
           VMLNM@z@@NSTKNQKNOO@]zI@~@)}@z@|}@~J|z@|~z~@
           ~@ zz~@ ~z@ z@ z~@ z~@ @ ~@ hn`eii@ z}z}@ z}@
           z@ ~@ @ ~@ z}z}@ z~@ @ ~Jz ~}@ z~K@ k~@ {~@
           ~zz@@@)}@@z@z~@z@z~@|~}@~@{@~@|zJ
           ~@z~@z@~@@@~J|zK@p~@z@~@zJ
           |~}@~@|~@@@z|~K
                q@~@~~}@|z@z~@~|}@~J|zI@~@~~z~@
           ~z|@|z@z~@@~@z~@@fa`a_@hn`eii@z}z}K@s~@@
           ~z|@ |z@ ~|z|z~}@ z~@ @ ~@ hn`eii@ z}z}@ @ b~@ NO@
           {~K




           @ >+>@ p~@z~@z@~@VM@~|~~@@~@}{@z@z@|z@|~@@NNSVKOSP@z}@~@z~@
           z@~@NM@~|~~@@~@}{@z@z@|z@|~@@NUKVQMK@pI@~@VMLNM@z@@NNSVKOSP@
           ÷@NUKVQM@@SNKTQK@e@~@}I@~@z~@z@~@VM@~|~~@@~@}{@z@z@|z@|~@
           z@SO@~@z@@z@~@|z@|~@@~@z~@z@~@NM@~|~~@@~@}{K
           @ >++@ pz@I@SOOKTRM@÷ PKTOM@@NSTKNQK@S__,c^4
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                                    8389



           OM NTx                                         H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                              SRP

                                          b~@NOK@`{@@rz~@{@_z@@hn`eii@oal
                                             `~~}@@bz}@_zI@a|}@o~J_z
                                                                                                                           42.96



                                         40
              Share of LRDIMM Standard

                                         30
                   No Self-Citations




                                                                                                                25.48
                                         20




                                                                                                      9.68
                                         10




                                                                                            7.91
                                                                                  6.21
                                                                        4.29
                                                              2.18
                                                   1.29
                                         0




                                                Longitude Micron Rambus Samsung INPHI               Google Round RR Netlist


                                              Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~}~LK
                                              Nin_W@q@}zz@@lz~r~I@~@~~}@{@z}@|z@~@}{@
                                              @``nQ@hn`eii@oal@z|@oal@}~@z~@~@~J|zK

           ]@ b~@ NO@ I@ z@ z}J|z@ zz@ z@ z||@ @ ~J|zJ
           @}|z~@z@j~@oal@z||@@QOKVS@~|~@@~@z~@@
           ~@ ~|@ |}~}@ @ fa`a_@ hn`eii@ z}z}K@p~@ z~@ @ ~@
           hn`eii@ z}z}@ z{z{~@ @ j~@ hn`eii@ oal@ @ @
           ~~~@BTVKTT@©@QOKVS@~|~@Y@BPQKOTK@

           F4 Ajjilncihcha, nb_, V[fo_, i`, JEDECum, LRDIMM, Sn[h^[l^, Annlc\on[\f_, ni,
              T_]bhifias,ch,nb_,Po\fc],Dig[ch

           s~@z||@@~@z~@@~@z}z}@z@@z{z{~@@~|@@
           ~@{|@}z@{@~z@~@z~@z@@|z@z @z@@
           ~~}@z~@z@z@@z}@~@}~|z~}@@{~@~~z@@fa`a_@
           hn`eii@ z}z}K@ e@ @ z~@ zz@ }~|{~}@ z{~I@ ~@
           ~|}~}@~~}@z~K@e@@zI@~@~z~@z@z~}@z~@E{@
           z|~@z}@~~}F@z@z~@{~~@}~|z~}@~~z@@~@hn`eii@zJ
           }z}K@s~@z@~@z~@@z|~@z~@@~@|z@z@|~@
           @~@z~I@z}@~@z@~@z~@@~~}@z~@@z@z@
           @~@|z@ l{|K¡
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           SRQ@              Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @          w r K @O WS M N

                p@ ~}@ ~~@ z@ ~@ z~@ z||@ @ z~@ z{z{~@ @
           @h_q@~|~@@~@{|@}z@z@~~@@z~z}@~{}~}@@
           ~@z~z~I@~J{~@z}z}K@d~|~I@~@|@@zz@~|@
           ~~z@ @ ~@ hn`eii@ z}z}@ z@ z@ @ ~|~@ z~}@ @ ~@
           {|@}z@Ez~@~@~z@@~@z~@~|@~@~|FK@
           j@)@z@|z@~@z~@@z@~|@z@~X@|~~I@~@
           ~|@@~~@zzz{~@@z@~~~@z||@~@hn`eii@
           z}z}@@~K
                e@{~z@~z@z@@~}@z~@z@~@z~@@~~}@
           z~@}@z||~@@~@~~~@@~@z}z}I@z~@z@@~@
           ~z@ oal@ ~@ @ @ |~K@ d~~I@ z@ z@ @
           @ )@ ~@ ~~z@ z|@ @ z@ z|z@ |z~K@ b@ ~z~I@ @ z@ ~@ |z~I@
           ~~@ @ {~@ ~}~|~@ z@ |~@ z~z}@ ~|~~@ ~@ {~~)@ @ ~@
           z}z}~}@~|@@~@{|@}z@@~@|~@@zJ
           }z}J|z@ }|K@ e@ z@ |~zI@ @ ~}|@ |~@ }~@ }@
           |@z||@@~@z~@@~|@@~@{|@}z£{~|z~@
           ~@ ~z@ @ ~@ z}z}@ z~@ ~~@ @ {~~}@ z ~@ |~@ @
           z}z}J|z@ }|£z}@ z@ ~~@ }@ @ ~~}@ @ z ~@ z@
           ~@ z}~@ @ z||@ @ z@ z~K@ j~~~I@ ~@ ~@ ~@
           zz@~~@@@~@zz|@@z||@@~@z~@@z}z}~}@
           ~|@@~@{|@}zK@
                lz~@ ~~@ @ ~@ ~zI@ |}@ ~@ ~z@ @ ~@
           z~@ z@ ~@ z}@ ~@ z~@ }~@ z~@ @ z@ ~@ z~@
           z~z|~@ ~~K@ ^~|z~@ ~@ z~@ ~~@ @ {~|z~@ @ ~@
           zz~@@~I@~~@z~@I@@z~z~I@{~@}~@z@z|~@z~K@
           _~~I@~~}@z~@@z~@z}@~@@@{~@|~}@
           {@ z~@ z~I@ |@ }@ "z~@ ~@ |z@ |~@ @ ~~}@ z~@
           ~z~@@z|~@z~K@p@ ~z~@ @~~}@z~@z ~@ @ ~~z@
           @ ~|z~@ ~z|@ z~@ |z@ |~@ @ z@ |z@ @ z~@ @ @
           ~@~@~@z@~z~@|z@z@~@z~@~|~~I@z@~@~z~}@
           @lz@rK^K@
                s~@ )}@ @ ~~@ ~~}@ z~@ z@ ~~@ }~|z~}@ ~~z@ @
           fa`a_@ hn`eii@ z}z}K@ b~@ NP@ @ ~@ }{@ @ z~@
           z~@@z@z~}@z~@E|}@~~}@z~F@}~|z~}@~~z@@
           ~@hn`eii@z}z}@z||}@@~z|@z~@|z@|~@E|}@
           ~J|zFK
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           OM NTx                                            H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                              SRR

                                                          b~@NPK@`{@@rz~@{@_z@@]
                                                           cz~}@hn`eii@oal@`~~}@@bz}
                                                                  _zI@e|}@o~J_z

                                         40
                                                                                                                              33.91


                                                                                                                    29.24
                                         30
              Share of LRDIMM Standard
                                         20




                                                                                                           17.70
                                         10




                                                                                        4.47      4.98
                                                                               3.66
                                                              2.19    2.40
                                                   1.44
                                         0




                                                Micron LongitudeRambus Samsung INPHI Public Round RR Netlist Google


                                              Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~}~LK
                                              Nin_W@q@}zz@@lz~r~I@~@~~}@{@z}@|z@~@}{@@
                                              ``nQ@hn`eii@oal@z|@oal@}~@z~@~@~J|zK@ l{|¡@}~~@
                                              ~@z@@~~}@hne`ii@oalK

           b~@ NP@ @ z@ ~@ ~~}@ z~@ @ ~@ {|@ }z@ z||@ @
           QKVU@ ~|~@ @ ~@ z~@ @ ~@ hn`eii@ z}z}K@ p~@ ~~@ ~~}@
           z~@|{~@~@z~@@~@hn`eii@z}z}@z@~@}}z@
           oal@ @ ~@ K@p@ @ ~@ ~~}@ z~@ ~~@ ~}@ {@ i|I@ z}@
           ~@z@~}@{@n}@n| @n~~z|K@s~@}~@z@z|z@z@@
           ~~@~~@~~}@z~@@pz{~@]KO@@]~}@eeeK
                s~@ z@ |z|z~@ ~@ z~@ }{@ @ z@ z~}@ hn`eii@ oal@
           }~~}@@z}@|z@~|}@~J|zK@p@}~@~J|zJ
           @ @ ~~}@ oalI@ ~@ }~~~@ ~~@ ~@ z~~@ @ ~@ |@
           z~@z|~@~~@~@~~}@z~@z@z~~@@@z~~@z@
           ~@~@@~zK@e@~~@@z@z|@@~~@|~I@~@~|}~@z@
           z~@|z@@@zzK@b~@NQ@@~@}{@@z~@@
           z@z~}@hn`eii@oalI@~|}@~J|zK
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           SRS                                     Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                    w r K @O WS M N

                                                   b~@NQK@`{@@rz~@{@_z@@]
                                                    cz~}@hn`eii@oal@`~~}@@bz}
                                                           _zI@a|}@o~J_z

                                                                                                                           42.51

                                         40
              Share of LRDIMM Standard

                                         30
                   No Self-Citations




                                                                                                                  25.21
                                         20




                                                                                                         9.58
                                         10




                                                                                                7.83
                                                                                       6.14
                                                                              4.24
                                                                     2.16
                                                  1.05     1.28
                                         0




                                                 Public LongitudeMicron Rambus Samsung INPHI GoogleRound RR Netlist


                                              Siol]_W@P[n_hnmVc_qI@qolpkI@WLLKz~~KL~}~LK
                                              Nin_W@q@}zz@@lz~r~I@~@~~}@{@z}@|z@~@}{@
                                              @ ``nQ@ hn`eii@ oal@ z|@oal@}~@z~@~@~J|zK@ l{|¡@
                                              }~~@~@z@@~~}@hne`ii@oalK

           s~@ }@ z@ ~|}@ ~J|z@ {zz@ ~@ l{|@ ~z~@
           z~@ @ ~@ z~@ @ ~@ hn`eii@ z}z}@ @ QKVU@ ~|~@ @ NKMR@
           ~|~K@
               e@ I@ ~@ |z@ ~z~@ ~@ @ @ ~@ z~@ @ ~@ ~|@ @
           fa`a_@ hn`eii@ z}z}@ z@ @ @ ~@ {|@ }z@ {@ |}@
           ~~}@oal@@@z}J|z@zzK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 186 of 242 PageID #:
                                    8393



           OM NTx @                    H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                      SRT

                               reK@q/645@3,=@^-;5-64645Jn-45=@b;-0=9;@@
                                   39@]4-8:=@-@n=-/94-¦8=@n9:-83:@<9;@@
                                    j=386/3/@hn`eii@oal@l9;3<9869

           e@ @ zI@ ~@ zz~@ ~zz{~@ z~@ @ j~@ hn`eii@ oal@
           @ @ ~@ {zzJz~@ z~ KNOP@ s~@ @ z~@
           ~@ ~||@ |~@ }~@ ~@ {zzJz~@ z~ K@ s~@
           ~@z@~@|~@@}~~@~@~@z}@~@{}z~@@~@
           {zz@ z~@ @ j~@ hn`eii@ oal@ K@ q@ @ |z|J
           z~}@ z~@ @ ~@ @ |~z~}@ {@ fa`a_@ hn`eii@ z}z}@ z}@ ~@
           ~@@@z~@zz@@lz@rI@~@~@z@~@{zzJ
           Jz~@z~ @@|z|z~I@@z@~|z@n]j`@~@@BNO@~@
           I@ @ j~@ z}@ z@ ~z@ ~~~@ @ ~@ hn`eii@ z}z}@
           }@ }}~@ ~@ @ ~@ @ z@ z@ zz|@ @ |~~@
           j~@@@z~@~~z@@~@hn`eii@z}z}K

           A4, D_(hcha,nb_,R[ha_,i`,R_[mih[\f_,Ris[fnc_m,`il,N_nfcmnum,LRDIMM,SEP,Piln`ifci

           p~@ |z|z@ @ z@ ~zz{~@ z@ {~@ @ }~@ ~z|@ z@
           ~z@ @ @ z@ ~|z@ ~z@ ||@ @ ~@ ~~@ @
           @ ~~K@ e@ z@ ~|z@ ~zI@ ~@ |~@ z}@ |~~~@
           ~z~@z~@@~@{zz@z~I@|@@}~~}@{@~@|~J
           @@~@@z||~@z}@~@|~~~@z@~@
           @ zK@ e@ ~@ |~~~@ z@ ~@ @ z@ ~|~~}@ ~@ |~@
           @ ~@ @ z||~I@ ~@ ~z@ @ {~@ ||~@ z}@ ~@
           @z~@@~z~@@z@z@z@z@@z@{zz@z~K@
           d~~I@@~@|~~~@z@~@@z@@~@z@~@|~J
           @ @ ~@ @ z||~I@ ~@ {zz@ z~@ @ {~@ ~z~I@
           z}@ ~~@ @ {~@ @ @ ~@ |@ @ {zzK@ l@ }~~I@ @ ~@
           {zz@ z~@ @ ~z~I@ ~~@ @ {~@ @ z@ ~|z~@ {~I@
           z}@~@z~@@z@@~z~@z@|~~K@b@~@~@@@zzJ
           I@~@z~@z@~@{zz@z~@@j~@hn`eii@oal@@J
           ~K@b~@NR@{~@@z@z|@~~~z@@~@{zz@z~K@




           @ >+%@ p~@z@~|z@@@z~ @@fK@c~@o}z I@B[la[chcha,Piq_l,[h^,P[n_hn,D[g[a_mI@
           NV@o3-4K@p=1,K@hK@n='K@N@EOMNRFI@|@~@b~}~z@_@@_zz}z@z}~}@@@iz|@OI@OMNT@}~|@
           @ ]{@ d~|~I@ oK]KoK@ K@ ^~@ d~|~@ p~@ _zz}z@ h¬~I@ OMNT@ bK_K@ NTM@ E_zKFI@ WLL
           }~|K|J|K|K|zL|J|L}~|L~LOOPSVTLNL}|~K}K@ l~|@ @ z@ z|~@ |}~@ o}z I@
           Tb_,M_[hcha,i`,FRAND2,P[ln,I>,Ris[fnc_mI,mojl[@~@VNI@z@VPNX@f~@]K@dzzI@c~@gK@h~z}@D@
           fK@c~@o}z I@P[n_hn,D[g[a_m,[h^,R_[f,Ojncihm>,Hiq,Jo^c]c[f,Cb[l[]n_lct[ncih,i`,Nihch)chacha,Afn_lh[ncp_m,
           R_^o]_m,Ih]_hncp_m,ni,Ihhip[n_I@OO@^=;=8=:@p=1,K@hKfK@UORI@UPO@EOMMTFK
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           SRU                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                           w r K @O WS M N

                                  b~@NRK@p~@^zz@nz~@@z@n~zz{~@
                                       nz@@z@d~|z@j~z




                           Siol]_W@o}z I@B[la[chcha,Piq_l,[h^,P[n_hn,D[g[a_mI@mojl[@~@NOPI@z@OQK

           p@}~~~@~@~@{}@z}@~@~@{}@@~@{zz@z~@
           @ z@ ~zz{~@ zI@ ~@ @ ~@ ~z~@ z@ z@ @ ~@ G_ilac[3
           P[]c`c],z|@z@z~@~~z@z}@@|@z|@@}zz@~KNOQ@p~@zz@
           @~@{zz@z~@@z@~zz{~@z@@j~@hn`iei@oal@
           @ |z@ {~@ ~}|~}@ @ @ ~||@ ~W@ ENF sz@ @ j~@
           @ ~@ @ z||~[¡@ z}@ EOF@ sz@ @ ~@ |~~~@ z@
           ~@@z[¡

                 74   I^_hnc`scha,N_nfcmnum,Mchcgog,Wcffchah_mm,ni,A]]_jn,

           k~@z|@z~|@z@|~@@~@@z||~@@@ }~@
           ¡£z@I@@{~@z~z~@@ @z@z@|~~@z~~~@
           @ ~@ ~|~@ |~~~K@ e@ ~@ |~@ }~@ @ z||~@ @ z~I@
           z@}~@@|@@~@~J@~~z~@~z@@~J
           @ ~@ z~@ @ K@ b@ ~z~I@ ~@ @ ~zz{@ z~I@ z@
           f}~@fz~@n{z@}}@@@}~|@@Mc]limi`n,Cilj4,p4,Minilif[I,Ih]4I@z@
           ~@|~@}~@@}@{~@@|~~@~@z~@@@@
           z@ z~@ KNOR@ eI@ ~~I@ ~~@ @ @ |~@ ~}~|~@ @ }~~}@ ~@
           @z@~@|~@|}@}~~@|~@~~~@@z@z~@I@
           @ @ {~@ ~|~z@ @ z~@ z@ ~@ |~@ @ ~@ @

            >+$ b@z@}~z~}@}|@@@~z|@G_ilac[3P[]c(]@z|@@"~|~@~@z~@@z@
           @~@{zz@z~I@~~@o}z I@B[la[chcha,Piq_l,[h^,P[n_hn,D[g[a_mI@mojl[@~@NOPI@z@NT¢OMK
            >+# jK@_NMJNUOPfhnI@OMNP@sh@ONNNONTI@z@GTQ¢TR@EsK`K@szK@]K@ORI@OMNPF@En{zI@fKFX@m__,[fmi@fK@c~@
           o}z I@Tiolh[g_hnm,[h^,FRAND,Ris[fnc_mI@N@_;63=;694@fK@94@e449'-3694@NMNI@NMQ@EOMNSFK
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           OM NTx @             H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                    SRV

           z||~@ @ ~K@ b@ ~@ ~@ @ @ zzI@ ~@ z~@ |~z~@
           z@ j~@ @ z{~@ @ }~~@ |~@ ~~~@ @ z@ }~@ I@
           |@z@j~@@~@@z||~@@z~}@@{~@~K
                ]~@ z|@ z*~|@ z@ |~@ @ ~@ @ z||~@
           @ ~~@ ~@ |~@ z@ |~}@ z@ z|z@ |£z@ I@ ~@  @
           |@ z@ z@ )@ |@ @ z|z~@ @ z}z}@ ~K@ e@ ~~|~}Jz~@
           ~I@z@z|z@@z}z}@~@@~z@z@|~~@ Jz}~}@
           ~@ @ @ ~~K@ e@ z@ ~|~@ z|z@ |z@ ~|@ ~~@
           @ z|z@ |I@ ~@ @ @ @ z|z~@ @ |~|~@ z}z}@
           ~K@ i~~I@ @ ~@ }@ @ ~@ z@ @ z}~@ @ ~@ )@ }@
           @ z@ ~||@ z~@ @ @ zz{~@ @ ~@ oal@ }~@ zI@ |z@ @
           @ z@~~|zI@~@|z@~|@~~@@ @|@ z}@z@|~J
           ~@  Jz}~}@ ~I@ ~I@ {z@ ~@ ~~@ ~~@ z@ }@
           }~@@z@z|z@~~~@~zI@z@oal@}~@@@~@h_rn@
           }@ @ z}z}@ ~@ z~~@ @ z@ @ z@ }*~~@ ~|z@ @
           ~@@ z~K@pI@ z@|~@|@@z|z@ @ ~@ zJ
           }z}J~@|~@@~|~z@~@z@~@{}@@@@J
           ~@@z||~@@z@z@|~~@~z@@z@~~~@z@
           ~~ @@~@~@|~@oalK
                b@ ~z~@ @ ~I@ ~~I@ ~@ z~@ |~z~@ z@ j~@
           z@ @ |~}@ z@ |@ @ z|z~@ @ fa`a_@ z}z}@ ~K@ e@
           z @ z@ zI@ ~@ @ |~@ }@ @ z~@ z@ @ @ ~I@ ~~@
           @j~@@@oal@}~@~~zK@e@~@}I@~@}~)~@~@~@
           {}@ @ ~@ {zz@ z~@ @ j~@ hn`eii@ oal@ @ @ {~@
           BMK

               84, I^_hnc`scha,[,Lc]_hm__um,M[rcgog,Wcffchah_mm,ni,P[s,

           p@ }~@ z@ |~~~@ z@ ~@ @ zI@ ~@ @ z~@ ~@
           z~@ |~z~}@ {@ ~@ ~|~@ @ @ ~@ z~~}@ ~K@ p~@
           |~~z@ z~@ z@ ~z|@ z~@ @ @ |~z~@ @ ~@ |~~~@ @ {~@
           |z|z~}@ ~z~@ @ ~@ ~J{~@ @ {~@ zzz{~@ @
           ~@ |~~~K@ s@ ~~@ ~||z@ ~@ }~@ ~@ ~J{~@
           {~@~|I@@@z|@~@@z@zz~@zJ
           ~}@~~~@@~@|~@@|~~~I@@@{~@}|@@z@~~@
           ~@@}zz~@@}~~}@z@@@z@}~~}z@z@J
           ~@@zK@d~~I@@~~@@zzz{~@@~@z~~}@~|@}~|@
           ~}~|~@ @ ~@ |~~~@ ^_gihmnl[n_^@ ~@ @ z£|@ z@ z~@
           z@~@@|zz{~@|~~@@~@z~@@@@z ~@|~@
           z|z@ z}@ @ }|@ z||@ ~@ z~£~@ z@ ~~@ ~@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 189 of 242 PageID #:
                                    8396



           SSM@                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                              w r K @O WS M N

           |z@~@~@}zz@@@z@|~z~@~z~@@~@~@{}@@~@
           |~~~@z@~@@zKNOS
                e@lz@rI@~@~}@{~~}@|~@@|z@z~@@~~~z~@
           n`eii@z}@hn`eii@}|@@|z|z~@~@~@|~~z@z~@z@
           |z~@ @ ~@ }~@ }~~@ @ fa`a_@ hn`eii@ z}z}K@
           l@ }*~~I@ ~@ |z|z~}@ ~@ |~@ }~z~}@ ~@
           @ z@ @ hn`eiiJ|z@ }|@ z{~@ z}@ {~}@ ~@ J
           ~@ @ z@ @ n`eiiJ|z@ }|K@ ^~|z~@ @ ~}|@ }~@
           ~@ z|z@ |~@ }zzI@ ~@ |z@ {~~@ }~|@ ~@ |~~~@ ~~|z@
           g[rcgog@ ~@ @ zK@ e~z}I@ ~@ {~~@ @ ^_gihmnl[n_^@ J
           ~@@zI@|@@~@z@@~z@@@z@~@@zK@]@
           |~~~@}~z~}@ ~@ @z@ @ |~@ @ @ ~|~~}@ z@@
           }~z@ |~I@ z@ @ }@ {~@ ~|z@ @ z@ @ |~~~@ @
           ~z@~z~@)@{@z@~@hn`eii@}|@z@z@|~@z@
           @~@z@z@@z@z}@@{z@z@|~~@@~@~|~z@oalK@pI@
           ~@~@|~~z@z~@@fa`a_@hn`eii@z}z}@z@@z{z{~@
           @j~@hn`eii@oal@@@z@|~z~@~z~@@~@~@
           {}@@~@|~~~@z@~@@z@@j~@hn`eii@
           oal@K@
                l@ }*~~I@ ~@ }~)~@ ~@ ~@ {}@ @ ~@ {zz@ z~@ @
           j~@ hn`eii@ oal@ @ z@ BPQKOTKNOT@pI@ ~@ }~)~@ ~@ {zzJ
           @ z~@ @ z@ ~zz{~@ z@ @ j~@ hn`eii@ oal@ @ @
           ~~}@@BM@@BPQKOTK

                 94, Tb_,N_a[ncp_,B[la[chcha,R[ha_

           b@~@~@@@zzI@~@z~@z~}@z@~@{zz@z~@
           @j~@hn`eii@oal@@@~K@e@~@}I@~@z~@
           z@ ~@ |~~~@ z@ ~@ @ z@ ~|~~}@ j~@ @
           ~@ @ z||~K@ d~~I@ @ @ {~@ z@ ~@ |~~~@ z@
           ~@@z@@~@z@j~@@~@@z||~I@|@
           z@~@{zz@z~@@~z~K@b~@NS@{~@@z@z|@~~J
           ~z@@~@~z~@{zz@z~K




           @ >+!@ S__@o}z I@B[la[chcha,Piq_l,[h^,P[n_hn,D[g[a_mI@mojl[@~@NOPI@z@NP@E e@z||~I@~@z|@z}@}zz@
           @ ~@ |z~@ @ ~z{~@ ~@ )}~@ @ z|@ @ zz~@ ~@ ~@ {}@ @ ~@ {zz@ z~@ {@
           ~@|~~~@z|z@{~~}@~@@zI@|@e@|z@@^_gihmnl[n_^@~@@zK@^~|z~@
           ~@ |~~~@ }~z~}@ ~@ @ z@ I@ {@ }~)I@ ~@ z@ @ ~z@ @ ~@ |~~~@ ~@
           z@~@@zI@~@{zz@z~@@z@|~z~@~z~@@~@@~~z~}@{@z@
           ||~@{zzK¡@E~z@@zFFK
           @ >+@ s~@~@~@|~~z@z~@@~@hn`eii@z}z}@z@@z{z{~@@j~@hn`eii@
           oal@I@|@~@|z|z~}@z~@~|}@~J|z@@lz@rK
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           OM NTx                        H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                                              SSN

                                          b~@NSK@p~@j~z~@^zz@nz~




                             Siol]_W@o}z I@B[la[chcha,Piq_l,[h^,P[n_hn,D[g[a_mI@mojl[@~@NOPI@z@OVK

           ]@b~@NS@I@~@~@|~~~@z@~@@z@@{~@
           ~@|~@@~@@z||~I@~~@@z@~z~@K@e@
           ~~|I@~~@@@~@@~@|@@{zzX@~~@z~@@ z@
           @z}~K¡@j~~~I@z@z~@}~@@~@q~}@oz~@@~~}@{@
           z~@@@~@z@z@~zz{~@z@@@z~@@~}INOU@|@
           @ ~||@ ~@ ~z@ z@ ~@ z~@ }~@ @ ~~}@ @ @ ~@ z@
           @ @ ~@ @ z||~K@pI@ ~@ ~~@ @ z@ ~z~@ {zzJ
           @ z~I@ @ |~z@ @ ~@ z~@ }~@ @ z~@ ~~@
           ~~@ ~@ ~@ @ z@ ~@ z~@ }~@ z@ z@ @ ~@ z@
           ~@ z~@ }~@ @ ~@ @ z||~I@ ~~@ @ @ ~|~~}@ ~@
           |~~~@z@~@@zK

           B4 C[f]of[ncha,nb_,Dcpcmcih,i`,Soljfom,B_nq__h,N_nfcmn,[h^,[,Pin_hnc[f,Igjf_g_hn_l,
              i`,nb_,LRDIMM,Sn[h^[l^,ih,nb_,B[mcm,i`,[,Hsjinb_nc][f,.78,P_l3Uhcn,Ris[fns

           e@~||@~I@~@}~~|~@{~~~@~@|~@@J
           ~@ @ z||~@ z}@ ~@ |~~~@ z@ ~@ @ z@ }~~@ ~@
           ~||@ I@ @ z@ @ z}~I@ @ z@ ||~@ ~z@ @ z@
           z@ |~~@ @ ~@ z~@ @ KNOV@ l@ }~~I@ ~@ {zz@
           z~@~z~@~@z~@|~z~}@{@z@||~@|~@zz|K@p@

            >+ PR@qKoK_K@§@OUQ@E q@)}@@~@|zz@~@|@z@zz}@~@|zz@}zz~@z}~z~@
           @ |~z~@ @ ~@ ~~I@ \on, ch, hi, _p_hn, f_mm, nb[h, [, l_[mih[\f_, lis[fns@ @ ~@ ~@ z}~@ @ ~@
           ~@{@~@~I@~~@@~~@z}@|@z@)~}@{@~@|K¡@E~z@z}}~}FFK
            >+• S__ f-1@d6;/,8=6<=;I@]06,-6@c8-=;@D@`-'67@d6;/,8=6<=;I@l;61=@p,=9;:@-47@]..861-3694/W@
           `=16/694/I@i-;=3/I@-47@e4<9;0-3694@OMP¢MQ@E_z{}~@qK@l~@T@~}K@OMMRFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 191 of 242 PageID #:
                                    8398



           SSO@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                             w r K @O WS M N

           z~@~@~@~||@~W@@}@~@|~@z}@|~~~@@
           ~@z@@z}~[@
                p~@z~@z@z@~@{~~~@~@@z~@@}~~}@@
           ~@ ~z~@ {zz@ ~@ @ ~@ z~I@ |@ @ @ @ }~~}@ @
           z|@|@z@~z|@z@}|@z~@Ez@I@~z|@z@|@@|zzF@
           z}@ @ ~~}@ @ }I@ z@ ~KNPM@ e@ ~@ ~~@ @ ~~z@ z}@
           |@@~I@~@~z@@@zz@@z @z@
           ~z}@ j~@ ~z~@ {zz@ ~@ JªJ@ z@ ~|)|@ ~J
           ~~@z}@~z}@~@z@)~}@~|z@z@@}~z~@~@}J
           @@@{~~~@~@@z~K
                o~@ E|@ @ ~@ @ ~F@ z@ j~@ *~~}@ z@
           ~~~@ ~~ @ @ z||~@ fa`a_@ hn`eii@ z}z}@ z@ |~~@
           @z@z@@BNO@~@K@b~@NT@{~@@z|z@~@{zzJ
           @z~@@z@n]j`@z@z@z@~|z@~~~@~@@@
           ~@ @ j~@ hn`eii@ oal@ K@ b~@ NT@ z@ @ ~@ }@
           @ @ z@ }@ ||@ {~~~@ j~@ z}@ z@ ~~~@ }~@
           j~@~|z@*~@@z@BNO@~J@z~K

                             b~@NTK@p~@^zz@nz~@@z@n]j`@nz@@@
                            z@h|~~~@q~@@j~@hn`eii@oal@lI@@@
                            j~@i@s~@@]||~@o~@az@@v~




               Siol]_W@]@z@zzK




           @ >%¥@ S__@ o}z I@ B[la[chcha, Piq_l, [h^, P[n_hn, D[g[a_mI@ mojl[@ ~@ NOPI@ z@ OO@ E n~z~@ {zz@ ~@
           }~~}@@@@~@~z@~@@~@{~~)@z@~z|@z@~~|I@{@z@@~@{~~)@@
           z~~@@z@|z|@z@z@z|z@~@E~@~@{~@{~~)@@z~~@@z@|z|@z@z@z~@
           ~FK@p~~~I@~@z@z@*~@ ~z@@}~z@z@z~~~£z@I@~@z@z@@@
           z~£@ z~@ ~@ {zz@ ~K@ K@ K@ K@ wpx~@ z@ @ ~@ ~@ }|@ z~@ @ z~@ ~@
           {zz@~@{~|z~@@*~@~@@z@}~z@@~z|@z@z~~~K¡FX@m__,[fmi@n9¦=;3@c6¦¦94/I@
           c-0=@p,=9;:@<9;@]..86=7@a194906/3/@SU¢TN@El|~@qK@l~@NVVOFK
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                                    8399



           OM NTx @            H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                SSP

           p~@}zz@~@@b~@NT@~~~@z@@~@{~@z@|~@
           z@ ~@ {zz@ z~I@ |@ |z@ {~@ z~}@ @ ~@ @
           ~zW

               ,                Ris[fns@Y@MWA@H@wm@×@EMWP@¢@MWAFxI@                         ETF

           ~~@ MWA@ @ j~@ @ ~@ @ z||~@ @ |~~@ @
           hn`eii@ oal@ I@ MWP@ @ ~@ |~~~@ z@ ~@ @
           z@ @ j~@ |{@ @ fa`a_@ hn`eii@ z}z}I@ z}@ m@ @ ~@
           ~|~z~@ @ ~@ @ |z~}@ {@ ~@ |~I@ j~K@ p~@ ~|z@
           }z|~@{~~~@MWP@z}@MWA@~~~@~@z@@|~z~}@{@z@
           z@~z~}@|~@z~~~@{~~~@j~@z}@@|~~~X@
           ~@@z~@@~@}}~@z@K
               ]@ ~@ ~z~}@ ~z~I@ ~@ |~z~@ ~@ MWA@ ~z@ @ BMK@pI@
           ~@|z@@az@T@

               ,                           Ris[fns@Y@m@×@MWPK@                              EUF

           c~@z@~|z@BNO@~J@z@z}@~@|~~~@z@J
           ~@@z@@BPQKOTI@m@~z@BNO,÷,BPQKOT@Y,MKPRMOK@pz@I@}~@~@|~J
           z~@z@z}~@z{~I@j~@BNO@~J@z~@}@|z~@@
           ~@ z@ PRKMO@ ~|~@ @ ~@ @ ~@ @ z@ ~@ ~}@ n]j`@
           |~@zz|@}@~~z~K@_~~I@z@|~~@~@z@BNO@~@
           @ }@ ~z{~@ ~@ ~~~@ @ |z~@ BOOKOT@ E@ SQKVU@ ~|~F@ @
           ~@@~@@@z@zz|K
                o~@~z}@z@j~@@~@@z||~@@|~~@
           @ hn`eii@ oal@ @ @ z@ ~~~@ ~|~~}~}@ ~@ E{~|z~@
           j~@z}@z@z{~@}~@@@~~@@~@|~~FK@e@z@|z~I@
           j~@MWA@}@{~@z@~@sJ~|~@@~@{zzJz~@zI@
           z@b~@NU@{~@K@
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                                    8400



           SSQ@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @     w r K @O WS M N

                             b~@NUK@p~@^zz@nz~@@z@n]j`@nz@@@
                            z@h|~~~@q~@@j~@hn`eii@oal@lI@@@
                             j~@i@s~@@]||~@a|~~}@v~




            Siol]_W@]@z@zzK

           ^~|z••~@MWA@~|~~}@~I@~@z@@@@j~@hn`eii@
           oal£z@ I@ ~@ }z|~@ {~~~@ MWA@ z}@ MWP£@ b~@ NU@ z@
           }~|~z~}@~z~@@~@z@@@b~@NTK@pz@I@@z@~@zI@
           ~@|~@|z~@~@~z~@@@~@@~@@@
           ~@@z||~@@~K@]@@@~@@z||~@|~z~@
           E~@ ~~@ ~@ ~J@ z@ |zFI@ ~@ @ @ ~@ J
           z@|~~@zz|@}~|~z~@z}@~@@@~@@z@~@
           |~@|z~@z@}~|~z~K@]@b~@NU@I@@j~@z@z@~@
           MWA@ E@ ~z~I@ {~|z~@ @ z@ z@ z{~@ }~@ @ @ ~@ |~@
           zz|@ @ {~|z~@ @ z@ z@ ~@ |@ @ z|z@ @ fa`a_@
           }~~~@ z}@ ~@ @ ~@ hn`eii@ z}z}FI@ j~@ @ ~|~zJ
           @ |z~@ f_mm, nb[h@ PRKMO@ ~|~@ @ ~@ z~@ z@ @ oal@ |{~}@ @
           fa`a_@hn`eii@z}z}K
                 s~@ MWA@ ~|~~}@ ~I@ ~@ @ ~@ |z@ ~@ az@ U@ @ |z|J
           z~@ ~@ z~@ @ mK@ e~z}I@ ~@ @ ~zz~@ az@ T@ z}@ @ ~@
           zz~@z~K@Ek~@|z@~zz~@az@T@zW@m@Y@ERis[fns@¢@MWAF@÷@
           EMWP@¢@MWAFFK@pz{~@Q@{~@~@~@~~|~@z~@@@z@
           }@"@@j~@z}@@z@~z@|~~~@}~@}*~~@z@
           ~z}@~@~~@@j~@@~@@z||~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 194 of 242 PageID #:
                                    8401



           OM NTx @                  H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                          SSR

                    pz{~@QK@p~@`@@~@o@_~z~}@{@z@rz@j~z~}@@
                        h|~@]~~~@^~~~@j~@z}@z@l~z@h|~~~

                                           j~@                           j~@        h|~~~@
                        n]j`@           d~|z@       h|~~~@   l@@~@     l@@~@
                        nz              is]               isl              o             o
                                                                              Ew]x@¢@w^xF@@
                                                                            ÷@Ew_x@¢@w^xF@           N@¢@w`x@
                        w]x                           w^x          w_x             Y@w`x                Y@wax
              wNx       BNOKMM                      BMKMM      BPQKOT             PRKMOC            SQKVUC
              wOx       BNOKMM                      BPKMM      BPQKOT             OUKTUC             TNKOOC
              wPx       BNOKMM                      BSKMM      BPQKOT             ONKOOC             TUKTUC
              wQx       BNOKMM                      BVKMM      BPQKOT             NNKUTC             UUKNPC
              wRx       BNOKMM                  BNOKMM         BPQKOT             MKMMC            NMMKMMC

              Siol]_W@]@z@zzK

           e@pz{~@ QI@ @ wNx@ @ wRx@ ~@ ~@ z~@ @ ~@ @ z@ }@
           @ @ j~@ @ @ ~|~~@ z@ ~|z@ n]j`@ z@ @ BNO@ ~@ I@
           z@z@j~@z@z@}~~@@~@@z||~@@~z|@
           K@ e@ j~@ MWA@ ~~@ ~@ Ez@ @ wNx@ ~FI@ PRKMO@ ~|~@ @ ~@
           @ }@ @ @ j~@ z}@ SQKVU@ ~|~@ @ ~@ @ }@ @
           @ ~@ |~~~K@]@ j~@ MWA@ zz|~@ BNOI@ @ z~@ @ ~@ @
           zz|~@~K@b~,NV@{~@@z@z|@~~~z@@z@~zJ
           @ {~~~@ j~@ MWA@ z}@ @ z~@ @ ~@ @ @ z@ J
           z@~z~}@|~~@z~~~@@n]j`@~K@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 195 of 242 PageID #:
                                    8402



           SSS@                  Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @   w r K @O WS M N

                b~@NVK@p~@`@@o@^~~~@j~@z}@z@l~z@h|~~~I@@
                    @`*~~@rz~@@j~@i@s~@@]||~




            Siol]_W@]@z@zzK

           e@ b~@ NVI@ ~z|@ }zz@ ~@ ~~~@ ~@ {zz@ z~@ @ ~z|@
           z~z~@ z~@ @ j~@ @ ~@ @ z||~K@ p~@ ~}@ ~@
           ~~~@z@|z@~J@n]j`@z@@BNOK@b~@NV@@zI@z@
           j~@MWA@|~z~@@BM@@BNOI@j~@@@~@@
           E|@~@ ~~|@{~~~@ ~z|@}zz@~@ z}@ ~@~}@~@}~~@
           @~@rJzF@}~|~z~@@PRKMO@~|~@@M@~|~K

                                      reeK@]706//6¦6863:I@]..9;36940=43I@
                                       -47@3,=@q4;=86-¦8=@]83=;4-36'=@
                                      9<@E%,A$#"@e41;=0=43-8@r-82-3694

           k@ ~}|@ |~@ zz@ ~}@ @ z}{~@ z@ ~~@ ~@
           }~@ ~@ b~}~z@ n~@ @ a}~|~K@ e@ z@ |~@ @ ~@ b~}~z@
           _|@ z~@ ~~~@ @ z~@ }zz~K@ e@ |zI@ z@
           zz@@_r,[hn_@|~~z@z~@@~@z~@@@z@~@~@@zJ
           }z}@ z}@ @ ~}|z@ z~}@ @ ~||@ }@ z}@ |~J
           ~@~~zI@~I@z}@~z{~@@z@~}~z@~~K

           A4, Wbs,nb_,H_^ihc],Plc]_,M_nbi^ifias,Im,A^gcmmc\f_

           k@~}|@|~@~}@@z}{~@z@~~@~||@~K@
           ]@@~@}z~@@{|z@@@z|~@@OMNTI@~@~@~@@
           |@ @ zz~@ ~@ z}{@ @ ~~@ ~@ ~@ ~}|@
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                                    8403



           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                         SST

           |~@~z@@@~@z|@|~| @@D[o\_lnKNPN@nz~I@@@~@
           o~~@_@~||@{~zI@z@@D[o\_lnI@z@ wx~@J
           @K@K@K@wz~x@@~@K@K@K@@{~@{~}K¡NPO@f|~@o~~@^~~@zJ
           ~}@@~~@@~@o~~@_@@KogbiI@@z@~@~@@z@
           ~}@}~@@~}~@~@~}@z}{~@z@~~@~J
           KNPP@D[o\_lnI@f|~@^~~@~I@ z}~@|~z@z@@@@z|@z@
           ~z@@{~@~I@@}~~K¡NPQ@ e@@@{~@@@z@z|J
           z@|z~I¡@~@~z{z~}I@ z@z@|z@z}~@{@z@|~|@~@z@~~@
           {~~@ ~@ {~|@ @ ~~@ ~~I@ @ ~@ z|z@ z|z@ z@ ~@ z@
           ~~@~@z~@~~~}@z@|~K¡NPR@a~@~@}~z@z@|~@
           ~@z}@ ~~~@ ~|~z@{zz~}@ @~@~~@ |z@
           ~z~K@f|~@^~~@~@@Kogbi@z@z@z~@@~@z}J
           {@@~~@~@@ ~~|z@K¡NPS
                 ]@ ~@ ~z~}@ @ ~@ }|@ @ @ z|~I@ ~@ z~@ @ zz~@ @
           z@ @ z~J~~@ |z~@ @ |@ z@ ~}~z@ }|@ |@ EI@ @
           z@z~I@~@ep_@@z@z{z@z~F@z@z}~}@@~}~|~@~~@
           ~||@~@z@~~@@~|~|@~z@@~}|@|~@
           @~@z@~zz{~@zK@pz@z{~|~@@~|~}~@@~@z|z@{z@@
           @|z@@z@z}~@z@~@|{@@~@|z|z@@z@n]j`@
           @bn]j`@z@@z@|~@}|K
                 d~~I@ @ z~J~~@ |z~I@ |@ }~)~@ z~@ z}J
           ~}@ @ ~}~|~@ ~~@ ~||@ ~@ z@ ~~@ @ |@ zzJ
           I@ |@ ~@ z|z@ ~|~@ z@ @ ~@ ~}@ @ ~}|@ |~@
           zzK@ ]@ @ ~@ |z~@ |@ z~@ }@ ~@ ~@ @ |@
           zz@@{~@z}{~I@~@@~~}@@~@~~@~@
           }zz@|~|@z}@~@~|~I@@@z@{~@||~@~@
           ~@@~@~|~|@}~@~KNPT@e}~~}I@~@o~~@_@z@
           z||~~}@ z@ ~~@ zz@ E~@ ~@ ~~~}F@ @ z@ |~J
           ~@ @ ~|z@ ~~z|@ z}@ z@ z}{~@ |~)|@ ~}@ @
           ~@~|z@~zKNPU



           @ >%>@ `z{~@K@i~~@`@lzKI@e|KI@RMV@qKoK@RTVI@RVO¢VR@ENVVPFK
           @ >%+@ I^4@z@RVPK
           @ >%%@ g@p~@_K@K@_z|z~I@ROS@qKoK@NPTI@NRN@ENVVVFK
           @ >%$@ I^4
           @ >%#@ I^4X@m__,[fmi@o~~@^~~I@Ihnli^o]ncihI@ch@n=<=;=41=@i-42-8@94@o16=436<61@a'67=41=@NI@S@Eb~}K@
           f}|z@_K@P}@~}K@OMNNFK
           @ >%!@ KogbiI@ROS@qKoK@z@NROK
           @ >%@ S__, fK@ c~@ o}z @ D@ f~~@ kK@ o I@ Umcha, Cihdichn,Ah[fsmcm, ni,Ajjilncih, P[n_hn, D[g[a_mI@ OR@ b=7K@
           _6;K@^-;@fK@RUNI@RUS¢VNI@RVV¢SMV@ EOMNSF@E}|@}|@|@}~@||~@~@z}{@@
           ~~@~@@|@zz@~@@z~J~~@zFK
           @ >%@ S__2,_4a4I@dz{@_K@K@a|z@lK@f@b}I@e|KI@NPQ@oK@_K@OPVUI@OQNR@En{~I@_KfKF@E~z@@
           z@~~@}I@|@~@~~@zzI@@~@z@~}~|~@@~@@|~@z@|zFX@
           p{@K@c~I@QTU@qKoK@PMI@RP@KOM@ENVUSF@E|z@~~@zz@ z}z}@@~@~z~@@
           ~@zz@@z|z@z~}@¡FK
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                                    8404



           SSU@                     Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                      w r K @O WS M N

               b~~I@ |~@ z@ ~z@ OMNM@ ~@ ~}~z@ }|@ |@ z~@ z}J
           ~}@ @ ~}~|~@ ~~@ ~||@ ~@ z@ ~~@ @ ~|~|@
           ~z@ @ ~}|@ |~@ @ @ |~)|z@ @ z@ ~}@ |z@
           z}@@|z|z~@}zz~@*~~}@{@~{~@@z@|zK@e@OMNTI@~@j@
           _|@ ~}@ @ z@ }Jz{~@ |z@ z|@ |z~@ z@ ~@ }|@ |@ }}@
           @ z{~@ @ }|~@ {@ z@ ~@ z*I@ z@ ~@ |zJ|~)|z@
           z~I@ @ ~@ @ ~z~@ ~@ |z}~@ |~@ ~@ z{z{~@ @
           ~@~@@z{@@K@K@K@~}|@~~@zz@@|z|z~@~@
           |~@~@z{z{~@@~@NMMC@jzz@z{~¡@@{~@@s~@
           | @ @ z@ z~~}@ |z~}@ {~~~~}@ ~}~@ z@ ~~@
           @ zzKNPV@ p~@ j@ _|@ |z~}@ ~}|@ ~~@ zz@ z@ ~@
           ~z{~}@}zz~@}~wxK¡NQM
               ]@ ~@ z~@ @ @ @ z|~I@ @ @ ~@ z@ {~@ @ jlijim_@ z@
           ~}@@~z~@|~@z~@@}|@~z~@@~@~@
           @z@~}|@|~@~~K@e@~@}zz@z~@zzz{~I@@@z|z@{~@
           @~@z@~z~~@@|~)|@K

           B4, Wbs, nb_, H_^ihc], Plc]_, M_nbi^ifias, Cigjfc_m, qcnb, nb_, F_^_l[f, Ccl]ocnum,
               Ajjilncihg_hn,R_kocl_g_hn

           e@Elc]mmih,p4, D3LcheI@}~|}~}@@OMNQI@~@b~}~z@_|@~z~}@zI@
            wzx@ @ z@ z~I@ ~@ z@ z~@ @ oal@ @ {~@ z~}@ @ ~@
           z~@@~@z~~}@~K¡NQN@p~@|@z}W

                    s~@ }~z@ @ oalI@ ~~@ z~@ @ ~|z@ z~@ ~@
                    z@ z~K@ bI@ ~@ z~~}@ ~z~@ @ {~@ z~}@ @ z@ @
                    ~@ z~~}@ ~z~@ ~"~|~}@ @ ~@ z}z}K@ o~|}I@ ~@ z~~~@
                    z@@{~@~~}@@~@z~@@~@z~~}@~z~I@@z@z~@
                    z}}~}@{@~@z}z}@z}@@~@z~~}@~|KNQO

           p~@b~}~z@_|@z}}~}@z@~~@@~@z~@~|~z@@~~@z@
           ~@}zz~@zz}@@~~|@ ~@|~~z@z~@z@~@z~~}@chp_h3
           ncih@z}}@@~@}|I@@z@z~@z}}~}@{@~@z}z}zK¡NQP@p~@
           @~zI@@Ciggihq_[fnb,S]c_hnc`c],[h^,Ih^omnlc[f,R_m_[l]b,Ola[hcm[ncih,
           0CSIRO1,p4,Ccm]i,Ssmn_gm2,Ih]4I@~@b~}~z@_|@~z~}@z@~@z~@
           |~@ z@ @ z@ oalI@ ~z}~@ @ ~~@ ~@ z~@ {~|@ @ z@




           @ >%•@   S__,^~@K@_]z@b}I@e|KI@jK@NRJRRTOTI@OMNT@sh@RPQONI@z@GO@EV@_K@fzK@PI@OMNTFK
           @ >$¥@   I^4@
           @ >$>@   a|I@e|K@K@`Jh @oKI@e|KI@TTP@bKP}@NOMNI@NOPO@Eb~}K@_K@OMNQFK
           @ >$+@   I^4@
           @ >$%@   I^4@E~z@@zFK
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                                    8405



           OM NTx @                  H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                               SSV

           bn]j`@ |~KNQQ@ k@ ~}@ }~@ z@ @ ~z@ @
           ~~@~@b~}~z@_|@z~@~~~KNQR
                 bI@{@|z@~@z~@@~@z}z}@@~@@~@~J
           {~@z~z~@z}z}I@@~}|@~~@zz@~zz~@~@z~@
           @ ~@ ~|~@ |}~}@ @ ~@ z}z}@ @ ~@ z~@ |~z~}@ {@ z@
           z@z@z}z}@@z@@@~@)@z|~K@s~@}~)~@~@z~@@zJ
           }z}z@ z@ ~@ z~@ @ ~@ z~~~@ @ ~~@ z@ )~}@ z}z}K@
           pz@z~@z~@@ENF@~@~}|@@zz|@|@@~~J
           ~@@~@z}z}@z}@@oal@}~I@z}@EOF@~@~ @~*~|@~~z~}@
           {@ ~@ {z{@ @ z}@ ~~z{@ {~~~@ z}z}J|z@
           }|K@ _~@ ~~@ hn`eii@ @ n`eii@ {~|z~@ @ ~@ ~@
           ~||z@z}z|~}@~z~@E|@z@~@~}|~}@z}@@~@|~@
           ~~@|~z@|~@@E_lqF@z@~@}~~F@z@~@hn`eii@
           z}z}@I@z~@z@~@~~}@@z~~@@z@|@z}z}@z}@
           ~@ {~~)@ @ z@ ~ @ ~*~|K@ p~~~I@ ~@ }*~~|~@ @
           z~@{~~~@~@@z}z}@Ehn`eii@z}@n`eiiF@~"~|@~@z~@
           @~@~@~|~@|}~}@@~@hn`eii@z}z}I@z~@z@~@
           z~@@z}z}z£|@~@n`eii@z}z}@E@@z@~}~|~@
           ~|@ z}z}~}@ {@ fa`a_I@ |@ z@ `eiiF@ z}@ z~z}@ z|~~}@
           @~@}~K@
                 o~|}I@ @ ~}@ ~zz~@ ~@ z~@ @ ~@ oal@ @ @ @
           ~@|~~z@z~@@fa`a_@hn`eii@z}z}K@s~@}@@{@}~J
           @~@~~@@z|~@qKoK@z~@z@|z~@z~@}~|z~}@@{~@
           ~~z@ @ ~@ hn`eii@ z}z}K@ s~@ ~@ z@ ~@ ~z~@ z~@
           z@z@~@oal@}~@hn`eii@@|{~@@~@z@z~@
           @ fa`a_@ hn`eii@ z}z}@ {@ |z|z@ z@ ~~}@ z~J|z@
           |~@ @~z|@ oalK@pz@ I@~@~@~@z~@ @~z|@ hn`eii@oal@{@
           @ z}@ |z@ @ z||@ @ z@ oal@ z~@ ~z~@ @ ~@ oal@
           @ ~@ hn`eii@ z}z}@ E|}@ ~~}@ oal@ z@ z~@ @ ~@ {|@
           }zFK@^@~@@z@z~@~}I@~@z~@~@z~@
           @ z@ }}z@ oal@ }~@ |{@ @ ~@ |~~z@ z~@ z@
           fa`a_@hn`eii@z}z}@z@|~z~}K
                 e@ I@ @ ~}@ z~~@ ~@ z~@ @ ~@ @ @ ~@
           z~~}@ hn`eii@ oal@ ~@ @ @ ~@ z~@ z}}~}@ {@ ~@ zJ
           }z}@ }~~z}@ z}I@ {@ @ @ ~@ ~|@ ~K¡NQS@
           e@|~I@~@|}@z@z@z@~}@@~z~@z@~zz{~@
           z@@z@z~~}@~|@|}~}@@z@|~@}|I@
           ~~@@z@~|@~~@@~~z@@z@}@z}z}K

           @ >$$@ UMV@bKP}@NOVRI@NPMQ¢MR@Eb~}K@_K@OMNRFK
           @ >$#@ p~@@@@zz|@z~z@@~||z@~@@o}z I@Tb_,V[fo_,i`,[,Sn[h^[l^,V_lmom,
           nb_,V[fo_,i`,Sn[h^[l^ct[ncihI,mojl[@~@PK
           @ >$!@ CSIROI@UMV@bKP}@z@NPMQK@
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 199 of 242 PageID #:
                                    8406



           STM@                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                            w r K @O WS M N

           C4, Wbs,nb_,a@]~,Ih]l_g_hn[f,V[fo_,M_nbi^ifias,Im,Ill_f_p[hn2,Uhb_fj`of2,[h^,
               Uhl_fc[\f_

           k@ ~}@ }~@ @ @ @ ~~@ ~@ _r, [hn_@ |~~z@
           z~@~}@z@~@z|z}~|I@z|~I@z}@~~@J
           |z@ z~@ z~}@ }@ }~@ ~@ }~~z@ @ n]j`@ Ez}@ bn]j`F@
           z~K@ b@ ~z~I@ ~@ b~}~z@pz}~@ _@ z}@ @ OMNN@ z@ wzx@
           }~@@n]j`@{z~}@@~@_r,[hn_@z~@@~@z~~}@~|@z@
           ~@ ~@ ~@ z}z}@ @ |~@ @ ~|~z@ @ |~@ @ {~~@ @
           |~@ z@ ~|~@ @ {~@ |z~}@ @ ~@ z}z}K¡NQT@
           _~~I@~@bp_@~z~}I@ w|x@}@|z@~@wn]j`x@z@
           z@ ~@ |~~z@ z~@ @ ~@ z~~}@ ~|@ ~@ z~z~@ zzJ
           z{~@z@~@~@~@z}z}@z@|~K¡NQU@pz@~|~}zI@z@
           ~{z|~}@ @ ~@ z|z}~|@ z|~INQV@ z~@ ~@ b~}~z@ _|@ {~J
           ~@ }z|~@ @ Elc]mmih, p4, D3Lche@ @ |@ z@ n]j`@ @ bn]j`@
           zK@
                Elc]mmih, p4, D3Lche@ ~~@ z@ }zz~@ @ ~@ ~~@ @ oal@
           ~"~|@~@ |~~z@z~@z@~@z~~}@chp_hncih@z}}@@~@}|I@
           @z@ z~@z}}~}@{@~@z}z}z@ @ z@~|K¡NRM@d~~I@
           ~@ b~}~z@ _|@ z@ ~~@ ~}@ ~@ n]j`@ z@ @ ~@ |~~J
           z@z~@@~@oal@~@~@~J{~I@z~z~@~|@z@~@ook@
           |}@ z~@ |~@ @ ~~@ ~@ z}z}K@ ozI@ @ }~~@ z@
           ~zz{~@z@@z~@~~I@|@~@~@~@_r,[hn_,~@
           ~~@ @ z@ ~z@ @ ~@ ~~@ @ )@ ~~KNRN@ p~@ b~}~z@


           @ >$@ b=7=;-8@ p;-7=@ _9006//694I@ p,=@ a'98'645@ el@ i-;=3.8-1=W@ ]8654645@ l-3=43@ j9361=@ -47@
           n=0=76=/@63,@_90.=363694@OO¢OP@EOMNNF@E~z@z}}~}FK
           @ >$@ I^K@z@OPK
           @ >$•@ S__,`~@sK@_z@D@]z@hK@oz~I@Ah,E]ihigc],Ihn_ljl_n[ncih,i`,FRANDI@V@fK@_90.=363694@
           hK@D@a194K@RPNI@ RQR@EOMNPF@E ]@~zz{~@z@K@K@K@ @~@|~@@bn]j`@ z}@ z@ook@ @z@z@
           K@ K@ K@ z@ }@z~@ {~~@~z~}@ _r, [hn_I@ {~~@~@ z~~}@ ~|@ z@ ~@z}@ {~~@ z}~}@
           @~@z}z}@z}@@@~@|~~~@|@ @|K@p~@z@z@_r,[hn_,@{z~}@@
           ~@|~~z@z~@z@~@~|@{@@~@|~~~@|z~}@@~@~J{~@z~z~@
           zzz{~K@ j@ )@ }@ z@ ~@ z@ z@ z@ @ z@ _r, [hn_@ ~z@ ~@ z@ z~z~@ @
           zzz{~K¡FX@c~@gK@h~z}@D@iz@]K@h~I@D_n_lgchcha,RAND,Ris[fns,R[n_m,`il,Sn[h^[l^3Emm_h3
           nc[f,P[n_hnmI@OV@]4363;2/3I@bz@OMNQI@z@USI@UT@E p~@}~)@@n]j`@|z@{~@K@K@K@~)~}@@{~@~@_r,
           [hn_@ |~~z@z~@@~@oalI@ |@@ ~@z}}z@z~@}~}@ {@~@oal@~@~@~J{~@
           {~@ ~|K¡FX@ fz@ k}~@ D@ ]z@ oz~I@ Ihn_ljl_ncha, nb_, FRAND, Ciggcng_hnI@
           ]4363;2/3@ o92;1=I@ k|K@ OMNQI@ z@ NI@ U@ E wpx~@ _r, [hn_, z~ @ z @ z@ @ ~@ |~~z@ z~@ @
           ~@z~~}@~|@~z~@@~@z~z~@zzz{~@@@~@z}z}@{~@~K@p~@z@@
           @~~~@~@{~~)@@z@|~@z@z@z|z@@~z@~~@@@~@z}z}@
           {~@~K¡FK
           @ >#¥@ a|I@e|K@K@`Jh @oKI@e|KI@TTP@bKP}@NOMNI@NOPO@Eb~}K@_K@OMNQF@E~z@@zFK@
           @ >#>@ b@~z~I@@Lo]_hn,T_]bhifiac_m2,Ih]4,p4,G[n_q[s2,Ih]4I@~@b~}~z@_|@z}W
                   hz@ ~@ z}@ ~~z@ zz|~@ @ |z|z@ z@ ~zz{~@ zK( K( K( K@
                   p~@ K@ K@ K@ ~@ |@ zz|I@ |z~}@ ~@ ~|z@ ~zwIx@ K( K( K@ z~@
                   @ z|~z@ ~@ z@ @ |@ ~@ z~@ }@ z~@ z~~}@ z}@ ~@ ||~J
                   @ ~z~}@ z@ z~~~@ @ {~~@ ~~@ {~zK@ K( K( K@ p~@ ~|z@
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           OM NTx @                     H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                        STN

           _|@z@hin,z}~}@z@}*~~@zz|@@|z~@@~@~J
           ~@@oalK
                e@ ~@ }I@ |z@ @ ~@ |@ z}@ @ ~@ z|z}~|@
           ~z~@ z}|z@ ~@ z~J}@ |~|~I@ ~@ b~}~z@ _|@ z@
           @~}@~@}z~@@~@~|z@~z@@~@}z~@@~@zJ
           }z}@z}K@e@Elc]mmih,p4,D3LcheI@~@b~}~z@_|@~|@z}@z@
            wx~@z|@~@z@~@@zz@}@{~@}@@z|~@~@}z~@
           @~@~|z@~z@z@@~@}z~@@~@z}@@~@z}z}@
           E@z@}z~@~}z~@~@~~F@@z@@}|@z@z~@z}}~}@{@
           ~@z}z}zK¡NRO@d~~I@{~|z~@ `Jh @}}@@~~@z@|@
           |I¡@ ~@ b~}~z@ _|@ w}}x@ @ z}}~@ ~~@ @ ~@
           @ @~@~|z@~z@@~~@zz~@@~|~zK¡NRP@
           p@@}z@~@b~}~z@_|@@z@@~{z|~}@~@ _r,[hn_@|~~z@
           z~@~}¡@z@~@~@z}|z~K@
                h~@ |@ z~@ z@ }~|~}@ @ z}@ ~@ _r, [hn_@ |~~J
           z@ z~@ zz|@ @ }~~@ }zz~@ @ ~@ ~~@ @ oalK@
           Ihhip[nci,IP,V_hnol_mI@ }~|}~}@ @ OMNP@{@f}~@ fz~@d}~z@ @ ~@qKoK@
           `|@_@@~@j~@`|@@eI@@~@@~~}@|z~@
           @~@q~}@oz~@@|@z@|@~|@~@~@~|z@~J
           z@ z@ z@ ~@ {~~@ ~@ ook@ z}@ z}~}@ ~@ ~|@ |~~}@ {@ ~@
           z~@@@@~@z}z}KNRQ@d~~I@@Ihhip[nci@~@}z~@@~@zJ
           }z}@ z}@ z~~}@ @ ||}~@ @ ~@ }z~@ @ )@ ~~KNRR@
           p~@z~@}}@@}~@~@}z~@@~@~|z@~zK
                i~~I@ f}~@ d}~z@ ~~@ z~~}@ @ Ihhip[nci@ @ }~@
           ~@ |~~z@ z~@ @ ~@ oal@ @ @ ~@ ~@ ~J{~@ z~z~@
           zzz{~@ z@ ~@ ~@ @ ~@ z}z}@ z}K@ ]}@ @ }@ ~zK@ ]@
           f}~@ fz~@ n{z@ @ ~@ qKoK@ `|@ _@ @ ~@ s~~@ `|@ @
           sz@~z~}@z~@@OMNP@@Mc]limi+,Cilj4,p4,Minilif[,Ih]4I@~@_r,
                    ~z@~I@z@{~@z@{~I@@~|~z~@~@_r,[hn_,|~@~z@|~z@
                    z}@@}~|{~@~@~@z~~~K
           RUM@bKP}@NPMNI@NPOQ@Eb~}K@_K@OMMVFX@m__,[fmi,]z@o~}@K@e~@l@_~@p~zI@TTQ@bKP}@TSSI@TTM@Eb~}K@
           _K@OMNQF@EpzzI@fKF@E|@Lo]_hn,p4,G[n_q[sI@RUM@bKP}@z@NPOQ¢ORFX,n~@K@o~@aK@D@l}K@_KI@OVU@
           bKP}@ NPMOI@ NPNP@ Eb~}K@ _K@ OMMOF@ E ]@ ~zz{~@ z@ }~~z@ @ ~@ @ z @ z@ }zz~@
           ~zz@@~z~@@~@~@~~@||~}I@z}@@{~@z@z~J~Jz|@z~~K¡FX@k@
           pz| @ ez@ h}K@ K@pJi{~@ qo]I@ e|KI@ NMS@ bK@ oK@ P}@ POVI@ QMU¢NM@ EoK`KjKuK@ OMNRF@ E}|@
           ~@~~z|~@ @ J~~@z@@ ~@}~~z@@ z@ ~zz{~@z@@ z~@
           ~~FX@s}~z}@ j~}@_KI@h}K@K@p~@e}K@hh_I@jK@ OWNPJ|JMMPUTI@OMNR@sh@
           SSSVNRQI@ z@ GO@ EsK`K@ l~K@ k|K@ PMI@ OMNRF@ E ]zI@ wzx@ ~zz{@ z¡@ |~z~@ z@ ~J
           |z@ ~z@ {~~~@ ~@ z~~~@ z}@ ~@ ~@ z@ z@ ~@ \_`il_, nb_, ch)cha_g_hn, \_a[hK@ nz~@
           z@|@ @@~Jz~@ z~@@~@z~I@~~I@iK@_z~@ zz~@~@ ~@w|x@z~@@
           ~@ z~@ {@ |}~@ ~@ ~@ z@p~@ z|~}@ [+_l, ~~@ {~zK¡@ E|@ Rcf_sI@
           OVU@bKP}@z@NPNNF@E~z@|z@~}F@E~z@@zFFK
           @ >#+@ Elc]mmih,p4,D3LcheI@TTP@bKP}@z@NOPQ@KNMK
           @ >#%@ I^4
           @ >#$@ Ih,l_@ez@el@r~~I@hh_@lz~@hKI@jK@NN@_@VPMUI@OMNP@sh@RRVPSMVI@z@GU@EjK`K@eK@k|K@
           PI@OMNPFK
           @ >##@ I^4
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           STO@                     Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @                                w r K @O WS M N

           [hn_, |~~z@ z~@ zz|@ z| wx@ K@ K@ K@ ~zJ}@ z|z{K¡NRS@p~@
           ~}@}@~~@~@|@@~z~@~@z~@@~~@oalI@@
           }~@~@z~z~@zzz{~@z@~@~@@~@ook@}|@@~@
           z}z}I@z}@~@@}~~~@~@~~|~@z~K@pz@z @}@{~@
           z{}@ z|J~~I@ ~J|I@ |I@ z}@ ~|z~K@ qz~I@
           @}@{~@{~@@~@@z||~K
               e@ z@ z@ |z~I@ ~~@ ~@ ~@ @ ~@ _r, [hn_, |~~z@
           z~@ zz|@@z@ @ z@ ~@ ~~~@ @z}{~@ ~}~|~K@
           q}~@~@b~}~z@n~@@a}~|~I@~}~|~@@{~@~~z@@{~@z}J
           {~K@ n~@ QMN@ @ ~@ b~}~z@ n~@ @ a}~|~@ ~|)~@ @ ~|~z@
           |}@z@@}@@~}~|~@@{~@~~zKNRT@bI@|~@@
           n~@QMNEzFI@~@~}~|~@@{~@{z~I@~z@z@~@~}~|~@@
           z ~@ ~@ z|z@ @ ~@ E@ ~F@  ~@ z@ @ }@ {~@ @
           ~@ ~}~|~KNRU@ o~|}I@ |~@ @ n~@ QMNE{FI@ ~@ ~}~|~@ @ {~@
           z~zI@ ~z@ z@ ~~@ @ {~@ z@  @ {~~~@ ~@ z|z@ J
           @z@~@~}~|~@~}@@~z{@z}@~@~z@~@z@~@~}~|~@
           ~~ @ @ zKNRV@]||}@ @ ~~@ |~zI@ ~@ _r, [hn_@ |~~z@ z~@
           zz|@@~~zW@~}~|~@}~~}@@~@zz|@@~~@{zJ
           ~@@z~zK@
               e}~~}I@ ~~@ ~@ ~@ @ ~@ _r, [hn_, |~~z@ z~@
           zz|@@|z@{~@{zz@~@~}|z@z@{z~K@n~@
           TMP@@~@b~}~z@n~@@a}~|~@~|)~@zI@~~@@~@z|@@}zz@
           z@@~@{z@@z@~~@@ }@~~@{~@z}{~I@
           ~@~@@~@@z@}|~@~@@@~@{z~@z~@
           @~@~@@~zz~@~@@{zz@~@~@~J
           }|z@~*~|K¡NSM@p~@_r,[hn_,|~~z@z~@zz|@z| @{z~@z~@
           {~|z~@@@ z{~@@z||~K
               e@ z}}I@ ~~@ ~@ ~z}@ ~@ _r, [hn_, |~~z@ z~@
           zz|@ @ ~K@ _~@ @ n~@ TMO@ @ ~@ b~}~z@ n~@ @
           a}~|~I@ ~~@ ~@ @ {~@ ~@ @ {~@ z}{~KNSN@ e@ |z~@
           ~z}@ n]j`@ z~@ @ oalI@ @ ~z~I@ |~z@ z~@
           }~{z~}@ ~@ ~}~z@ z~@ @ ~@ z~J}@ z}@ zJz| @
           |~|~K@]@ z@ ~I@ ~@ b~}~z@ _|@ z@ z}@ z@ ~@ |~|~@
           @{~@~~|~}@~@~@z~@~}@@~|)|@z|@@~@|z~KNSO@p~@z~@

           @ >#!@ jK@_NMJNUOPfhnI@OMNP@sh@ONNNONTI@z@GNP@EsK`K@szK@]K@ORI@OMNPF@En{zI@fKFK
           @ >#@ b=7K@nK@a'67K@QMNK
           @ >#@ I^4,QMNEzFK
           @ >#•@ I^4@QMNE{FK
           @ >!¥@ I^4, TMOX@ m__, [fmi, i|@ _~KI@ e|K@ K@ h~I@ e|KI@ PNT@ bKP}@ NPUTI@ NPVN@ Eb~}K@ _K@ OMMPF@ E e@ OMMMI@
           n~(TMO@z@z~}~}@@~~@@D[o\_ln,z}@|z~@z@K¡FK
           @ >!>@ b=7K@nK@a'67K@TMOK
           @ >!+@ S__2,_4a4I,a|I@e|K@K@`Jh @oKI@e|KI@TTP@bKP}@NOMNI@NOPQ@Eb~}K@_K@OMNQFX@_~z@o|K@D@
           e}K@n~~z|@kK@K@_|@oKI@e|KI@UMV@bKP}@NOVRI@NPMO@Eb~}K@_K@OMNRFK@i~@~~zI@~@o~~@
           _@z@z}W@ s~@z@~~@@@@~}@{@&|~@z|@@z}z~@@@~@~~@@
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           OM NTx @                      H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                          STP

           |~z@ @ }@ ~@ @ |~|~@ @ z ~@ z~@ z@
           z}|z~@ z@ z@ n]j`@ z@ @ z@ oal@ }@ {~@ {z~}@ @ ~@ _r, [hn_,
           |~~z@ z~KNSP@ qI@ z@ z~@ z|~@ ~@ z~@ {~@
           @ z)z{@ z@ ~@ z~J}@ z}@ zJz| @ |~|~K@
           ^~|z~@ ~@ _r, [hn_, |~~z@ z~@ zz|@ ~~@ }zz@ z@ |z@
           }@@~I@~@~~|~@|z@{~@~|zK@pI@@|z@{~@~@@
           ~@)}~@@z|K
                s~@}@@z~@@@z|~@@z@z@~~|z@zz|@z@~@
           b~}~z@ _|@ z@ ~~@ ~}~}@ z}@ z@ @ {~@ @ z}~@ @
           ~@~z@}K@e~z}I@~@z~@~z~}@z}@z~}@@@z|~@z@~@
           @ ~||@ ~}@ z@ @ ~@ @ ~~@ @ z||~I@
           z@~~@@z|z@z~@z@~~@}zzI@z}@z@z~@~@
           ~@)}~@@z|@{@~z{@z@~@~zz{~@z@z||}@@
           ~@}}z@|{@@~@oal@@K
                ]@ z@ ~~z@ ||@ @ z@ @ ~}|@ |~@ ~}@
           }~@ @ }~@ z@ z{@ ~@ }|z@ |~@ @
           ~@n]j`@{zK@pz@|z@@~K@^I@@{@~@@@~@
           z~@sz@ ^zI@ @ z@ @ @ ~@ z@ @ ~}|@ |~@ zz@ }~@
           @ {zz|~@ ~@ {}~@ @ |~@ {z}~K@p~@ |z@ z@ ~}|@ |~@
           zz@ }~@ @ @~@ {@ @ z@ }|z¡@~"~|@
           z@ }z~z@}~z}@z{@ ~@ {~|~@ @~}|@ |~@ zzJ
           @@@|~£z~I@@~z~@~@|~~z@z~@@z@z}z}@
           z{~@z}@{~}@~@z~@@~@~J{~@K@p~@~@@z@zzJ
           @ }|z~@ z@ |~@ @ ~@ ~zz{~@ zX@ ~@ ~|z@ ~@ }@
           @ ~@ £z}@ z~@ @ ~}~}@ @ ~@ £~~@ z@ ~zz{~@ z~@
           @ z@ }|z@ @ ~@ ~z@ @ ~@ n]j`@ @ bn]j`@
           |~@}~)~}@{@|z|@{@~@~|)|@ook@@~KNSQ

                                                             _94182/694

           p~@ ~@ @ ~}|@ |~@ ~z@ @ z@ ||~z@ {~z @ @ ~@
           |z|z@ @ ~zz{~@ z~@ @ z~@ ~~I@ {@ @ zJ
           }z}J~~z@z~@{~|@@z@n]j`@@bn]j`@|~@z}@@
           z~@z@z~@@}~|z~}@~~z@@z@z}z}K@d~}|@|~@zz@
           ~@ zI@ @ ~@ }z{~@ ~|}@ z|@ |z}|@ @ ~~@ ~}~@ ~@ @ ~zz{~I@ @
           |z@@z@@~}|K¡@^ ~@c@h}K@K@^@D@sz@p{z||@_KI@RMV@qKoK@OMVI@
           OQO@ENVVPFK
           @ >!%@ S__2, _4a4I, o|Ji@ D@ ozI@ Snl[n_ac], P[n_hn, A]kocmcncihmI@ mojl[@ ~@ VNI@ z@ QTN@ E n~zz{~@
           z~I@{z~}@@z@~|z@~@z~@~zI@}@~~@~|~~}@~@~@z~@|~~z@z~@
           @~@z~~}@~|K@n~zz{~@z~@@@{~@z@~z~@@~@z~@@~@}~z@
           }|@ @ ~@ ~|@ z@ |~@ ~@ z~@ {~I@ ~~|z@ @ @ |~@ ~@ ~z~@ @ z@ |~@
           }~|~@@~|~K¡FK
           @ >!$@ ]@ @ ~z@ z}@ ~||@ zz@ @ ~@ }|z@ ~~~@ @ ~@ n]j`@ @
           bn]j`@ |~@ z~z@ @ fK@ c~@ o}z I@ F[cl, [h^, Uh`[cl, Dcm]lcgch[ncih, ch, Ris[fnc_m, `il, Sn[h3
           ^[l^3Emm_hnc[f,P[n_hnmI@O@_;63=;694@fK@94@e449'-3694@PMN@EOMNTFK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 203 of 242 PageID #:
                                    8410



           STQ@             Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @      w r K @O WS M N

           }~@z@|~|z@@~z@@z@~@b~}~z@_|@}~|J
           ~@@Elc]mmih,p4,D3Lche,@}z~z~@~@z~@@z@z@z}z}@@z@
           @ @ ~@ |~~z@ z~@ @ ~@ |~@ z}z}I@ z}@ ~@ @ }zJ
           ~z~@~@~@|~~z@|{@z@z@~@oal@@@@
           oal@z ~@@~@~z@z~@@z@|~@z}z}K@
                p~@|@z}}~@@@~@~}|@~~@}~@@~@@
           zz~@~|~|@}~@@~~@z@}~|~K@s~@~~~}@
           @ z@ zz~@ z}@ @ zI@ ~}|@ |~@ zz@ }~@ z@
           ~~@~||@~£z}I@z~I@~@)}~@@z|£@z@~z{~@
           ~}@@}~~~@~~@z@~@|~~@*~@z)~@~@~zJ
           z{~~@ ~~~@ @ z@ n]j`@ @ bn]j`@ |~K@ b@ z@
           ~zI@~}|@|~@~z@|z@@~@|z|z@@z@~zz{~@
           z@@|~z@z~@z@z@}~@@~@z}z}J~~J
           z@z~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 204 of 242 PageID #:
                                    8411



           OM NTx        H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m   STR

                           ]..=476¨@eK@o.=160=4@9<@-@fa`a_
                                 h61=4/=@]//2;-41=
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 205 of 242 PageID #:
                                    8412



           STS                   Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                      w r K @O WS M N




                 Siol]_W@fa`a_K
                 Nin_W@p@h|~~@]z|~L`|~@b@}|~@~@z~@z|z@@qKoK@lz~@jK@
                 UIRNSINURI@~}@{@j~I@e|K@b@z|@~zI@~@z~@~}z|~}@~@z~I@|z|@zI@
                 z}@z~@@j~@~~~z~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 206 of 242 PageID #:
                                    8413



           OM NTx                      H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m                                         STT

                               ]..=476¨@eeK@a/360-3645@3,=@c646@_9=<<616=43@

           p~@ c@ |~|~I@ wx~@ @ |@ z||~~}@ ~z~@ @ ~zJ
           @w@z@}{xI¡NSR@@}~~}@z@~@z@@~@z~z@{~~~@~@
           QRJ}~~~@ ~@ z}@ ~@ h~@ |~@ @ ~@ z@ z~z@ }~@ ~@ QRJ}~~~@
           ~KNSS@p~@QRJ}~~~@~@~~~@z@~~|@~z@}{@@z~I@
           z}@ ~@ h~@ |~@ ~~~@ ~@ z|z@ }{@ @ z~@ @ ~@
           }zzKNST@pI@~@c@|~|~@~z~@~@~~@@|@~@}{J
           @@~@}zz@}~z~@@z@~|zI@~~|@~z@}{K@e@
           @z~}I@~@}|~@~@z~}J~@~}@z@~|@
           ~@ ~@ @ |z|z~@ ~@ c@ |~|~K@s~@ z@ }|~@ z@ ~@
           z~z~@ ~}@ z@ @ zz~@ @ @ }zz@ z}@ z@ ~@ z~@
           ~}@@|z|z~@~@~~}@c@|~|~@@lz@rKa@z{~K

                             b~@]NK@cz|@n~~~z@@~@c@_~&|~




                                  Siol]_W@]@z@)~K

               e@ b~@ ]NI@ ~@ ~|z@ z@ ~z~@ ~z|@ z~@ |z~@ |zJ
           @ |~I@ z}@ ~@ z@ z@ ~z~@ ~z|@ z~@ z @ @ ~@

            >!# izI@mojl[@~@NNVI@z@OUNK@k~@@z@~z~@ ~z@@z@}{@@~@VMLNM@
           zI@ |@ ~@ z~@ ~z~}@ z}@ ~~}@ @ lz@rKa@ mojl[K@ S__2, _4a4I@ fzz@ b~@ D@p@ iK@
           o~~}I@ Ih]ig_, Ih_ko[fcnsI@ l-3,-:/@ Eo.=16-8@ e//2=FI@ OMNSI@ z@ POI@ PQI@ WLL~zKz}K~}L
           ~L}~zL)~LlzzJokpqJOMNSK}K@d~~I@{~|z~@~@VMLNM@z@~z~@@~@~~~@
           ~}@@z@}{I@@}~@@*~@z@~|~@~z~@@~z@z}@~@|~~@@z@}{K@
           j~~~I@~@|z@~@~@VMLNM@z@z@z@{~@|~| @@~@c@|~&|~K@
            >!! S__@izI@mojl[@~@NNVI@z@OUNK
            >! S__,c^4
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 207 of 242 PageID #:
                                    8414



           STU                    Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih                           w r K @O WS M N

           hn`eii@ z}z}I@ @ ~@ {z@ @ @ @ |z@ |~K@p~@ c@ |~J
           )|~@@~z@@A,÷ EA,H,BFI@~~@A@~~~@~@~}@z~z@{~~~@~@
           QRJ}~~~@ ~@ z}@ ~@ h~@ |~I@ B@ ~~~@ ~@ z@ z~z@ {~@ ~@
           h~@ |~I@ z}@ A, H,B@ ~~~@ ~@ z@ z~z@ }~@ ~@ QRJ}~~~@ ~K@
           a|@z}@ z|z@~@z@~}~@ @ ~z~@ ~@
           c@ |~&|~KNSU@ k~@ |@ ~}@ ~}@ @ ~@ z~}J~@
           ~}INSV@|@~~@@~@z~}@~@@|z|@@zzJ
           @~@z~z@}~@z@|~KNTM

                                      b~@]OK@p~@pz~}Jn~@i~}@
                                          @az@~@c@_~&|~




                                    Siol]_W@]@z@)~K

               p~@ z~}J~@ ~}@ ~z~@ ~@ c@ |~&|~@ {@
           z@~@z~}@~@@)}@~@z~z@}~@~@~|~~@~z@h~@
           |~K¡NTN@ b@ ~z~I@ @ b~@ ]OI@ ~@ |z@ ~@ ~@ z~}J~@ ~J
           }@ @ |z|z~@ z@ zz@ @ ~@ z~z@ }~@ ~@ h~@ |~@
           {@z @~@@@ ~@z~z@@~@z~}£z@I@C&H D H E H FK@ ^@
            >! S__2, _4a4I@ c^4@ E@ ~@ z~}J~@ ~}@ @ zz@ ~@ c@ |~&|~FX@
           czI@mojl[@~@NNVI@z@PMVX@bz @]K@bzI@Tb_,Gchc,Ih^_r,[h^,M_[mol_m,i`,Ih_ko[fcnsI@NNT@]0K@i-3,J
           =0-361-8@ i943,8:@ URNI@ URO@ EOMNMF@ E@ zI@ ~@ z@ ~z@ @ ~@ h~@ |~I@ ~@ |z@ ~@
           ~z@@|~@~@z~z@{~~~@@|~FX@f@c}~I@A,Scgjf_,G_ig_nlc],Ajjli[]b,ni,Ajjlirc3
           g[ncha,nb_,Gchc,Ci_!]c_hnI@PV@fK@a194K@a721K@SUI@TM¢TQ@EOMMUF@E@~@ZJz}~@~I@|@~@
           ~|z@~@}zz@@~z~@~@c@|~&|~FK
            >!• S__2,_4a4I@izI@mojl[@~@NNVI@z@OUNX@czI@mojl[@~@NNVI@z@PMVX@bzI@mojl[@~@NSUI@z@URSX@
           c}~I@mojl[@~@NSUI@z@TQ¢TRK
            >¥ S__2,_4a4I@c68¦=;3@o3;-45I@_-81282/@OOO¢OP@Es~~~J_z{}~@l~@NVVNFK
             >> bzI@mojl[@~@NSUI@z@URTK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 208 of 242 PageID #:
                                    8415



           OM NTx @                   H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                  STV

           {z|@z@z~z@@~@z~z@}~@~@QRJ}~~~@~£|@@~z@
           @ ~@ z~z@ @ ~@ z~@ @ ~|~@ EMI MFI@ ErQI MFI@ z}@ ErQI yQFNTO£~@
           |z@zz~@~@z~z@{~~~@~@QRJ}~~~@~@z}@~@h~@|~K@
           az@]N@z~@~@z~}J~@~}W

                ,                              G@@EAQR° ¢@#Az~}F@÷@AQR°I@                                   E]NF

           ~~@G@@~@c@|~|~I@AQR° @~@z~z@}~@~@QRJ}~~~@~I@z}@
           #Az~}@ @ ~@@ @~@ z~z@ @ ~@ z~}K@ q@ ~@z~}J~@
           ~}I@~@{z~}@c@|~|~@@MKPP@~@|}@~J|zJ
           @z}@MKQV@~@~|}@~J|z@@~@RM@hn`eii@z~@@
           @~z@z~KNTP
               e@ @ @ @ z@ ~@ z~}J~@ ~}@ }~~z~@
           ~@ c@ |~&|~@ {~|z~@ ~@ h~@ |~@ @ |~KNTQ@ l@ }*~~I@
           {~|z~@~@@h~@|~@~|~z@~@{~@~@~|~~J~z@
           zz@ @ ~@ h~@ |~@ }~)~}@ {@ ~@ }~@ @ ~@ z~}I@
           z@~@~}@~@@b~@]O@I@~@z~}J~@~}@~~J
           z~@~@z~z@{~@~@h~@|~K@d~~I@z@~@{~@@z~}@
           |~z~I@~@~|~~J~z@zz@@~@h~@|~@@{~~@
           zz~@~@z~@@~@@h~@|~I@|@@|~z~@~@
           z||z|@@~@~z@@~@c@|~&|~K@s~@~@z@z~z~@Ez}@
           ~F@~}I@|@b~@]P@}~z~K




           @ >+@ p~@~z@@|@~@z~z@@z@z~@@@|~@MKR@×@\@×@bI@~~@\@@~@{z~@@~@
           z~@z}@b@@~@~@@~@z~K@pI@@~@~@@~~I@~@|z@|z|z~@~@z~z@
           {~@~@QRJ}~~~@~@@b~@]O@z@MKR@×@rQ@×@sQK
           @ >%@ s~@~z~}@~@c@|~&|~@@~@ozz@z|z@z~K
           @ >$@ S__2,_4a4I,czI@mojl[@~@NNVI@z@PMVX@c}~I@mojl[@~@NSUI@z@TQK
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 209 of 242 PageID #:
                                    8416



           SUM                 Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih             w r K @O WS M N

                                   b~@]PK@]@o~@]~z~@i~}@
                                        @az@~@c@_~&|~




                                Siol]_W@]@z@)~K

           e@ b~@ ]PI@ [NI@ [OI@ z}@ [P@ ~~~@ ~@ }~~|~@ E@ ~|z@ }z|~F@
           {~~~@ ~@ QRJ}~~~@ ~@ z}@ ~@ h~@ |~@ @ z~@ @ |zJ
           @z @rNI@rOI@ z}@rPI@ ~~|~K@ozI@ \NI@\OI@\PI@z}@ \Q@~~~@ ~@
           }~~|~@ E@ ~|z@ }z|~F@ {~~~@ ~@ rJz@ z}@ ~@ QRJ}~~~@ ~@
           @z~@@|z@z @rNI@rOI@rPI@z}@rQI@~~|~K@Eb~@]P@}~@
           @@[Q@{~|z~@@@~z@@~KF@p@~z~@~@c@|~|~I@~@
           }}~}@~@@@~@}~~|~@{~~~@~@QRJ}~~~@~@z}@~@h~@
           |~@@ ~z|@ z~@ {@ ~@@ @ ~@ }~~|~@ {~~~@ ~@ rJz@ z}@
           ~@QRJ}~~~@~@@~z|@z~I@z@az@]O@W

                                                        G@@#,[c@-@#,\cI                            E]OF

           ~~@#,[c@@~@@@~@}~~|~@{~~~@~@QRJ}~~~@~@z}@~@
           h~@|~@@~z|@z~@z}@#,\c@@~@@@~@}~~|~@{~~~@
           ~@rJz@z}@~@QRJ}~~~@~@@~z|@z~K@k@~z~}@c@|~J
           |~@@~@hn`eii@oal@z~@MKPQ@~@|}@~J|z@z}@MKQV@
           ~@~|}@~J|zKNTR@pI@@~z@@~@c@|~|~@
           z~@@~@z@~@~@{z@@~@z~}J~@~}J
           I@{@~@|}@z}@~|}@~J|zK


            ># s~@~z~}@~@c@|~&|~@@~@ozz@z|z@z~K
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 210 of 242 PageID #:
                                    8417



           OM NTx @             H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                 SUN

                             ]..=476¨@eeeK@b-132-8@o200-;:@9<@l-3=43/@@
                            e41827=7@64@3,=@b9;-;7J_63-3694@]4-8:/6/


                                  pz{~@]NK@]|~@lz~@`~|z~}@@^~@@
                                 a~z@@fa`a_@hn`eii@oz}z}

                                                                            j{~@     lz~J@
             lz~@ lz~@ _~@                                       @         _z@   lz~@e~@
            j{~r nz       ]~~       lz~@p~                    _z   o|~       `z~
            SQVUTSS    OU    oz@       e~z~}@||@             VR          TNKR        OMMOJNOJOQ
                             a~||@   ~@}~|~@z@
                             _K@h}K       ~@}|z@z@
                                            @|~z~@~z{@
                                            @~z}@z}@@
                                            ~z@z}@~}@@
                                            ~z@z~
            SVUMMON    OR    e@_K    k@{*~@@~@         UN          PKQT        OMMRJNOJOT
                                            z@|~@~}z|~@
                                            @}@|zz|~J~J
                                            z~}@z@~
             TMRUTTS   OT    oz@       ]|@~@            TT          MKOTR       OMMSJMSJMS
                             a~||@   @|~@|@
                             _K@h}K       z~@z}@~@
                                            ~@~@z~
             TNMTQNR   PT    n}@n| @ l~}@~@{*~@               OV          ORKN        OMMSJMVJNO
                             n~~z|@   z}@~}@@@
                             hh_         ~@~~@@~@
                                         }~
             TNOMTQP   OS    n}@n| @ ]{z@~@z}@            SN          PPKM        OMMSJNMJNM
                             n~~z|@   ~}@@~@
                             hh_         ~~@@z@{J{z~}@
                                         ~@~
             TNPPVTO   Q     n}@n| @ i~@{@@~z@   NMS                PMKO        OMMSJNNJMT
                             n~~z|@   |z|~@z}L@~@z||~@
                             hh_         ~}|
            TOMMMSO    OP    n}@n| @ i~}@z}@~@@        TU               NQKO        OMMTJMQJMP
                             n~~z|@   ~}|@~@~z @|~@@
                             hh_         ~~@}z|@z}@
                                         z||~@~@}~|~
             TONMMRV   T     n}@n| @ o~@z}@~}@@             NMN         PNKN        OMMTJMQJOQ
                             n~~z|@   J{z}@}z|@@
                             hh_         ~@}~
             TOOOONP   PO    i|@        o~@z}@~}@            PV            RTKQ        OMMTJMRJOO
                             p~|@    @||z@~@
                             e|K           |z@z@@
                                            ~@}~@}@
                                            zz@@~@~@
                                            }~
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 211 of 242 PageID #:
                                    8418



           SUO@             Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @             w r K @O WS M N

            TOPQMTM    QP   n}@n| @ o~@z}@~}@@             NT    PRKT       OMMTJMSJNV
                            n~~z|@   @z@~z@~~|~@@
                            hh_         ~z{@||z@
                                        @z@J~~}@J
                                        |@~z|~@@~@
                                        z{~|~@@|| @z}
             TORQMPS   NV   j~@e|K   d@}~@~@            VR    QUKS       OMMTJMUJMT
                                           }~@@z| ~}@
                                           ~}@||@{z}
             TOSMSUR   PN   n}@n| @ i~@{@z}@z||~@             PU    ONKT       OMMTJMUJON
                            n~~z|@   ~}@z@~z@
                            hh_         ~~|@{*~
            TOSVMQO    NP   n}@n| @ i~@z| @~@            UU    VKVS       OMMTJMVJNN
                            n~~z|@   z}@~}
                            hh_
             TOUSQPS   NO   j~@e|K   dJ}~@~@          NMS     PVKP       OMMTJNMJOP
                                           }~@@J}~@
                                           ~@|~
             TOUVPUS   S    j~@e|K   i~@}~@}~|}~           NNT   OPKO       OMMTJNMJPM
             TPMTUSP   OO   nz{@        lzz{~@~@          TT    QOKV       OMMTJNOJNN
                            e|K           @{*~@@n`eii@
                                           z}}~@~~
             TPNMTRO   QV   n}@n| @ o~@z}@~}@@             T     QQKU       OMMTJNOJNU
                            n~~z|@   J{z}@@z@
                            hh_         ~@@~@}~
             TPTRVTM   QN   j~@e|K   d@}~@~@            PN    ROKR       OMMUJMRJOM
                                           }~@@z| ~}@
                                           ~}@||@{z}
             TPTVPNS   R    c~@e|K    i~}@z}@zzz@@       NMR   PSKO       OMMUJMRJOT
                                           z| @`n]i
             TPUSSRS   NU   c~@e|K    e~z|~@||@~@       TV    QKOO       OMMUJMSJNM
                                           z}@~}@@~@
                                           ~@zz~~@
                                           ~z@@||@
                                           @@z@@@z@
                                           ~@||
             TPVOPPU   ON   c~@e|K    e~z|~@||@~@       TP    NOKM       OMMUJMSJOQ
                                           z}@~}@@zJ
                                           @~@~@
                                           zz~~@~z@@
                                           ||@@z@z@
                                           @~@||
             TQMUPVP   OQ   e@_K    iz~Jz~@"J"@z}@       SR    RPKS       OMMUJMUJMR
                                           || @|~~
             TQTOOOM   NT   c~@e|K    e~z|~@||@~@       TS    PVKR       OMMUJNOJPM
                                           z}@~}@@~@
                                           ~@zz~~@
                                           ~z@@~@
                                           zz~~@z
Case 1:21-cv-01453-RGA-JLH Document 97-1 Filed 04/19/23 Page 212 of 242 PageID #:
                                    8419



           OM NTx @            H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                       SUP

             TRNRQRP   OM   c~@e|K    e~z~}@~@|~@           ST    PSKP   OMMVJMQJMT
                                           z}@~@~z|~@
                                           ||
             TRPORPT O      j~@e|K   i~@}~@@               NOQ   PQKQ   OMMVJMRJNO
                                           z@||@}@z}@
                                           z@z}@~@
                                           }z@zz
             TRUMPNO NR     c~@e|K    l~@z@~@z}@          TR    QMKO   OMMVJMUJOR
                                           ~}@@~@@z@
                                           z@@~@||
             TRUNNOT NS     c~@e|K    e~z|~@||@~@         TQ    PTKU   OMMVJMUJOR
                                           z}@~}@@~@
                                           ~@z@~z@
                                           }@z@|z}J~z~}@
                                           z~|
            TRVMTVS NQ      c~@e|K    o~@z}@~}@@            TS    STKP   OMMVJMVJNR
                                           ~@zz~~@@
                                           ~@~
             TRVVOMR V      c~@e|K    i~}@z}@zzz@@         TV    QNKU   OMMVJNMJMS
                                           z| @`n]i
             TSNVVNO P      j~@e|K   i~@}~@}~|}~             NMV   QMKU   OMMVJNNJNT
            TSPMOMO QO      j~@e|K   d@}~@}~@z@ ON          QOKP   OMMVJNOJMU
                                           z@~z@@{z~@
                                           z}@z@~z@~@~z@
                                           |}|~@z~@~~{~J
                                           ~~
             TSPSOTQ OV     j~@e|K   i~@}~@@               QT    QRKM   OMMVJNOJOO
                                           z@||@}@z}@
                                           z@z}@~@
                                           }z@zz
             TTOQRUV NM     c~@e|K    o~@z}@~}@@            TQ    SMKP   OMNMJMRJOR
                                           }~z@z@z@|J
                                           |z~}@@z@~@@
                                           z@~z@~@@z@z@@
                                           ~@||
             TTPMPPU NN     c~@e|K    e~z|~@||@~@         TP    NNKU   OMNMJMSJMN
                                           z}@~}@@zJ
                                           @~@~@
                                           zz~~@~z@@
                                           ||@@z@z@
                                           @~@||
             TTQRVNV QR     h}~@     o~|}|@}~|~@             NP    OQKT   OMNMJMSJOV
                            h|~@     |}@z@z@@
                            h}K           ~|}|@|@z}@
                                           z@z@@J~@
                                           
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           SUQ@           Tb_,C lcn _lc ih, Jiol h[ f , ih,Ihh ip[ ncih @           w r K @O WS M N

             TTSNTOQ U    c~@e|K    e~z|~@||@~@      TO   QQKV       OMNMJMTJOM
                                         z}@~}@@~@
                                         ~@zz~~@
                                         ~z@@||@
                                         @@z@@@z@
                                         ~@||
             TVNSRTQ PQ   j~@e|K   _|@}@z}@        PP   QQKU       OMNNJMPJOV
                                         z@z}@~@
                                         }z@zz@@
                                         ~@}~
             TVROOMN QS   h}~@     o~|}|@}~|~@          U    TKQN       OMNNJMRJPN
                          h|~@     |}@z| ~}@~|J
                          h}K           }|@|
            UMMNQPQ PM    j~@e|K   i~@{z}@@             QP   QRKM       OMNNJMUJNS
                                         ~J~@|zz{

             UMTOUPT QM   j~@e|K   _|@}@z}@        OP   NTKP       OMNNJNOJMS
                                         z@z}@~@
                                         }z@zz@@
                                         ~@}~
             UMUNRPR PU   j~@e|K   _|@@}@         OP   QKTP       OMNNJNOJOM
                                         |J~~|@z@@z@
                                         z@@z @@z@``n@
                                         ~@}~
             UMUNRPS PR   j~@e|K   _|@@~@}~      PM   OQKM       OMNNJNOJOM
             UMUNRPT PV   j~@e|K   _|@@}@         OP   NOKR       OMNNJNOJOM
                                         |J~~|@z@@z@
                                         z@@z @@z@``n@
                                         ~@}~
             UOPVUNO RN   h}~@     o~|}|@}~|~I@         P    NOKS       OMNOJMUJMT
                          h|~@     z}~@~}@~~@
                          h}K           z}@}zz@|~@~
            UOSQVMP PP    j~@e|K   o~@z}@~}@           OU   NSKU       OMNOJMVJNN
                                         @~~@z@~@
                                         }~
             UPUNNRT QU   h}~@     o~|}|@}~|~I@         R    NOKS       OMNPJMOJNV
                          h|~@     z}~@~}@~~@
                          h}K           z}@}zz@|~@~
             UQOOOSP QT   h}~@     hz}@~}|~}@~@           T    OKNT       OMNPJMQJNS
                          h|~@     }~@z}@~@~@
                          h}K           |}@~@z~
             UQTPSRP QQ   h}~@     o~|}|@}~|~I@         NO   NTKR       OMNPJMSJOR
                          h|~@     |@~}@@~@
                          h}K           ~|}|@}~|~@z}@
                                         z@|~@
                                         ~@|}@~@z~
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           OM NTx @                  H_ ^ihc ],Plc]_m ,[h^,P[ n_ hn,Ri s[f nc _m@                                 SUR

             UQUVUPT PS          j~@e|K    o~@z}@~}@@   ON               QKSM        OMNPJMTJNS
                                                 z}z @@z@~@
                                                 }~
              VNOUSPO RO         j~@e|K    i~@}~@@             N           QKTO        OMNRJMVJMU
                                                 }{~}@}zz@{*~@z}@
                                                 ~}@@~z

           Nin_W@p~@{~@@|z@z}@~@z~J|z@|~@z~@|z|z~}@|}@~J|zK


                                      pz{~@]OK@a~}@lz~@`~|z~}@@^~@@
                                      a~z@@fa`a_@hn`eii@oz}z}

                                                                                j{~@      lz~J@
              lz~@ lz~@ _~@                                          @          _z@   lz~@e~@
             j{~ nz       ]~~           lz~@p~                   _z    o|~       `z~
             SUOMNUN N           n}@n| @ i~}@z}@~@@             NQQ          TNKR        OMMQJNNJNS
                                 n~~z|@   |@~@
                                 hh_         z||~~@@~@
                                             }~@z@z@~@
                                             {@z|~|~
             TPQVOTT RM          n}@n| @ i~}@z}@~@@             R            PKQT        OMMUJMPJOR
                                 n~~z|@   ~}|@~@~z @|~@
                                 hh_         @~~@}z|@
                                             z}@z||~@~@
                                             }~|~
             TPSSVOM RP          i|@         o~@z}@~}@@         M            MKMOTR      OMMUJMQJOV
                                 p~|@     ~~|~@~@}~@
                                 e|K            ~@zz~~

           Nin_W@p~@{~@@|z@z}@~@z~J|z@|~@z~@|z|z~}@|}@~J|zK
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                            EXHIBIT J
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